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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                               )
     In re:                                                    )   Chapter 11
                                                               )
     ART VAN FURNITURE, LLC ., et al., 1                       )   Case No. 20-10553 (CSS)
                                                               )
                                     Debtors.                  )   (Jointly Administered)
                                                               )
                                                               )   Re: Docket No. 49

   INTERIM ORDER: (I) AUTHORIZING SECURED POST-PETITION FINANCING
 PURSUANT TO 11 U.S.C. SECTIONS 105, 361, 364(c) AND 364(d); (II) SCHEDULING A
          FINAL HEARING; AND (III) GRANTING RELATED RELIEF

              Upon the motion (the “Motion”) 2 of the debtors and debtors in possession (collectively,

 the “Debtors”) in the above-captioned Chapter 11 cases (collectively, the “Cases”), seeking among

 other relief, inter alia, an order (this “Interim Order”) pursuant to sections 105, 361, 364(c)(1),

 364(c)(2) and 364(d) of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

 and Rule 4001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) inter alia:

              (i)       authorizing Sam Levin, Inc. (“DIP Borrower”), authority to obtain postpetition

 financing and grant a senior purchase money security interest in the DIP Collateral (as defined

 below) 3 to Levin Furniture, LLC “DIP Lender”), solely with respect to DIP Collateral purchased




 1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
       identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291);
       AVCE, LLC (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC
       (3451); Levin Parent, LLC (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep
       Franchising, LLC (8968); AVF Franchising, LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc.
       (5198); and Comfort Mattress LLC (4463). The location of the Debtors’ service address in these
       chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.
 2
       Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to such terms
       in the Motion.
 3
       As used in this Interim Order, “DIP Collateral” shall mean and include all of the following personal
       property assets of the DIP Borrower, whether now in existence or hereafter acquired or arising, and
       wherever located:



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 with the Advances made postpetition to DIP Borrower together with superpriority administrative

 expense status and adequate protection to the DIP Lender in accordance with this order; and

        (ii)        scheduling a final hearing (the “Final Hearing”) within twenty days of the




       (a) all inventory of the DIP Borrower purchased solely with the proceeds of any Advances made
    under the DIP Credit Agreement;
       (b) all receivables of the DIP Borrower arising out of the sale of inventory referred to in clause (a)
    above;
         (c) all right, title and interest in and to (i) all inventory returned or rejected by customers previously
    sold by the DIP Borrower giving rise to receivables referred to in clause (b) above, (ii) all of DIP
    Borrower’s rights as a consignor, a consignee, an unpaid vendor, mechanic, artisan, or other lienor,
    including stoppage in transit, setoff, detinue, replevin, reclamation and repurchase with respect to any
    of the foregoing (a) or (b), (iii) all additional amounts due to DIP Borrower from any customer relating
    to the receivables set forth in clause (b) above, (iv) other property, including warranty claims, relating
    to any of the foregoing (a) and (b), (v) all of DIP Borrower’s contract rights, rights of payment which
    have been earned under a contract right, instruments (including promissory notes), documents, chattel
    paper (including electronic chattel paper), warehouse receipts, deposit accounts, letters of credit and
    money relating to any of the foregoing (a) and (b), (vi) all commercial tort claims (whether now existing
    or hereafter arising) relating to any of the foregoing (a) and (b), and (vii) if and when obtained by DIP
    Borrower, all real and personal property of third parties in which DIP Borrower has been granted a lien
    or security interest as security for the payment or enforcement of receivables referred to in clause (b);
         (d) ledger sheets, ledger cards, files, correspondence, records, books of account, business papers,
    computer software (owned by Borrower or in which it has an interest and in which the granting of a
    security interest therein is not expressly prohibited), computer programs, tapes, disks and documents
    relating to (a), (b) or (c) of this definition; and
         (e) proceeds and products of (a), (b), (c) or (d) of this definition in whatever form, including, but
    not limited to cash, deposit accounts (whether or not comprised solely of proceeds), certificates of
    deposit, insurance proceeds (including hazard and credit insurance), negotiable instruments and other
    instruments for the payment of money, chattel paper, security agreements, documents and tort claim
    proceeds.
    Notwithstanding anything to the contrary in this Interim Order or the DIP Credit Agreement, the term
    "DIP Collateral" shall not include any lease, license, contract, property right or agreement (or any of
    its rights or interests thereunder) if and to the extent that the grant of the security interest shall, after
    giving effect to Sections 9-406, 9-407, 9-408 or 9-409 of the Uniform Commercial Code (or any
    successor provision or provisions), the Bankruptcy Code or any other applicable law, constitute or result
    in (i) the abandonment, invalidation or unenforceability of any right, title or interest of Borrower therein
    or (ii) a breach or termination pursuant to the terms of, or a default under, any such lease license,
    contract, property rights or agreement; provided, however, that (y) the Collateral excluded hereby shall
    not include any and all proceeds of such property rights or agreements or any right, title or interest of
    Borrower therein, and (z) the security interest shall attach immediately at any such time as the restriction
    resulting in abandonment, invalidation or unenforceability or breach or termination shall be removed
    or any condition thereto (including any consent) shall be satisfied.




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     Petition Date to consider the relief requested in the Motion on a final basis (the “Final Order”) and

     approving the form of notice with respect to the Final Hearing.

             The Court having considered the Motion, the exhibits attached thereto, Declaration of

     David Ladd, Executive Vice President and Chief Financial Officer of Art Van Furniture, LLC, in

     Support of Chapter 11 Petitions and First Day Motions (D.I. 20) and the evidence submitted and

     argument made at the first day hearing held on March 10, 2020 and the interim hearing held on

     March 12, 2020 (the “Interim Hearing”); and notice of the Interim Hearing having been given in

     accordance with Bankruptcy Rules 2002, 4001(b) and (d), and all applicable local rules of the

     United States Bankruptcy Court for the District of Delaware (the “Local Rules”); and the Interim

     Hearing having been held and concluded; and all objections, if any, to the interim relief requested

     in the Motion having been withdrawn, resolved or overruled by the Court; and it appearing that

     approval of the interim relief requested in the Motion is necessary to avoid immediate and

     irreparable harm to the Debtors and their estates pending the Final Hearing, and otherwise is fair

     and reasonable and in the best interests of the Debtors, their estates, and all parties in interest, and

     is essential for the continued operation of the Debtors’ businesses and the preservation of the value

     of the Debtors’ assets; and after due deliberation and consideration, and good and sufficient cause

     appearing therefor;

     BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING, THE

     COURT MAKES THE FOLLOWING FINDINGS OF FACT AND CONCLUSIONS OF

     LAW: 4




4
     The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
     pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014.
     To the extent that any of the following findings of fact constitute conclusions of law, they are adopted as




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                 A.      Petition Date. On March 8, 2020 (the “Petition Date”), each of the Debtors

 filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code with the United States

 Bankruptcy Court for the District of Delaware (the “Court”).

                 B.      Debtors in Possession. The Debtors have continued in the management

 and operation of their businesses and properties as debtors in possession pursuant to sections 1107

 and 1108 of the Bankruptcy Code.

                 C.      Jurisdiction and Venue. This Court has jurisdiction over the Cases, the

 Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and 1334.

 Venue for the Cases and proceedings on the Motion is proper before this Court pursuant to 28

 U.S.C. §§ 1408 and 1409.

                 D.      Committee Formation. As of the date hereof, the United States Trustee

 for the District of Delaware (the “U.S. Trustee”) has not appointed an official committee of

 unsecured creditors in these Cases pursuant to section 1102 of the Bankruptcy Code (a

 “Committee”).

                 E.      DIP Loan. DIP Borrower proposes that it obtain post-petition financing

 (the “DIP Facility”) from the DIP Lender pursuant to the terms set forth in this Interim Order and

 in that certain form of Debtor-In-Possession Credit and Security Agreement (the “DIP Credit

 Agreement”) and that certain Revolving Credit Note (collectively with the DIP Credit Agreement,

 the “DIP Loan Documents”), each in substantially the form as filed on the docket in these chapter

 11 proceedings on March 13, 2020.

                 F.      Debtor Operations.         DIP Borrower is unable to operate without the


 such. To the extent any of the following conclusions of law constitute findings of fact, they are adopted as
 such.




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 Liquidity provided by the DIP Facility.

                 G.      Inability to Obtain Alternative Credit. DIP Borrower asserts that it is

 unable to obtain unsecured credit allowable under Bankruptcy Code Section 503(b)(1) as an

 administrative expense in an amount necessary to fund operations and that financing on a post-

 petition basis is not otherwise available to pay operating expenses or wage obligations to its

 employees without the DIP Borrower granting, pursuant to Bankruptcy Code Section 364(c)(1),

 claims having priority over any and all administrative expenses of the kinds specified in Sections

 503(b) and 507(b) of the Bankruptcy Code and the granting of a senior priming lien pursuant to

 Bankruptcy Code Section 364(d).

                 H.      Good Faith. The DIP Lender and the DIP Borrower have negotiated at

 arms’ length and in good faith regarding the DIP Facility. Entry of this Interim Order is in the best

 interests of the Debtors, their estates and their creditors.

                 I.      Immediate Entry. Sufficient cause exists for immediate entry of this

 Interim Order pursuant to Bankruptcy Rule 4001(c)(2).

                 J.      Interim Debt Limit. The DIP Borrower has requested immediate entry of

 this Interim Order so that the DIP Lender will advance funds in an amount not to exceed

 $10,000,000.00 during this Interim Period in accordance with the DIP Loan Documents.

                 K.      Avoid Immediate and Irreparable Harm. The partial relief granted

 herein to obtain the Interim DIP Loan (as defined herein) is necessary to avoid immediate and

 irreparable harm to the Debtor’s estate. This Court concludes that entry of this Interim Order is in

 the best interests of the Debtor’s estate and creditors as its implementation will, among other

 things, allow for the Debtor to continue servicing its necessary contracts and providing services to

 its customers without interruption.




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           L.            Interim Hearing. Notice of the Interim Hearing and the relief requested in

 the Motion has been provided by the Debtors, whether by facsimile, electronic mail, overnight

 courier or hand delivery, to certain parties-in-interest, including: (i) the U.S. Trustee; (ii) those

 entities or individuals included on the Debtors’ list of 30 largest unsecured creditors on a

 consolidated basis; (iii) counsel to the Prepetition ABL Agent; (iv) counsel to the Prepetition Term

 Loan Agent; (v) counsel to the Consultant (as defined in the Consulting Agreement); and (v) all

 other parties entitled to notice under the Bankruptcy Rules and the Local Rules.

           Based upon the foregoing findings and conclusions, the Motion and the record before the

 Court with respect to the Motion, and after due consideration and good and sufficient cause

 appearing therefor,

           IT IS HEREBY ORDERED that:

                  1.     Motion Granted. The Motion is granted.

                  2.     Authorization For Interim DIP Loan. The DIP Borrower is expressly

 authorized and empowered to obtain credit pursuant to the DIP Loan Documents and this Interim

 Order on an interim basis (the “Interim DIP Loan”) for the purchase of inventory during the Interim

 Period.

                  3.     Terms of the Interim DIP Loan. The terms of the Interim DIP Loan are

 governed by the DIP Loan Documents between the DIP Lender and the DIP Borrower, as modified

 by this Interim Order; provided, however, notwithstanding anything to the contrary in the Motion

 or the forms of the DIP Loan Documents annexed to the Motion: (a) the “Maximum advance

 Amount” (as defined in the DIP Credit Agreement) shall be Twenty Million and 00/100 U.S.

 dollars ($20,000,000.00); (b) the aggregate balance of outstanding advances outstanding at any

 time pursuant to this Interim Order shall not exceed Ten Million and 00/100 U.S. dollars




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 ($10,000,000.00); and Section 14(a)(i) of the DIP Credit Agreement is deemed amended to strike

 the text “[April 7, 2020]” and replace it with “April 9, 2020”. The Debtors are authorized to revise,

 execute and deliver the DIP Loan Documents to conform with this Paragraph 3.

                  4.    Additional DIP Loan Documents; Non-Material Amendments. The DIP

 Borrower may enter into such other agreements, instruments and documents as may be necessary

 or required or requested by the DIP Lender in its sole discretion to evidence the Interim DIP Loan

 and to consummate the terms and provisions contemplated by the DIP Loan Documents and this

 Interim Order and to evidence perfection of the liens and security interests to be given to Lender

 hereunder. The DIP Borrower and the DIP Lender may enter into any nonmaterial amendments

 of or modification to the DIP Loan Documents without the need of further notice and hearing or

 order of this Court.

                  5.    The DIP Indebtedness. The Interim DIP Loan and all other indebtedness

 and obligations incurred by the DIP Borrower on or after the Petition Date with respect to loans,

 advances and any other indebtedness or obligations, contingent or absolute, pursuant to this Interim

 Order and the Interim DIP Loan which may now or from time to time hereafter be owing by the

 DIP Borrower to the DIP Lender (including principal, accrued and unpaid interest, fees, costs and

 expenses, including without limitation reasonable attorneys’ fees and expenses, and any other

 amounts owed under this Order or the DIP Loan Documents) are referred to herein as the “DIP

 Indebtedness”.

                  6.    Interest, Fees, Costs and Expenses. The DIP Indebtedness shall bear

 interest at the applicable non-default rate as set forth in the Motion and in the DIP Loan

 Documents. Notwithstanding the foregoing, nothing in this Interim Order shall be construed to




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 limit or otherwise impair the liability of the DIP Borrower for all of the DIP Indebtedness under

 the DIP Loan Documents.

                 7.      Termination of the DIP Loan. DIP Lender’s obligation to provide the

 Interim DIP Loan shall immediately and automatically terminate (except as DIP Lender may

 otherwise agree in writing in its sole discretion), and all DIP Indebtedness shall be immediately

 due upon the earlier of (i) closing of a § 363 sale of substantially all of the DIP Borrower’s assets;

 or (ii) the occurrence of an Event of Default (as defined in the DIP Loan Documents). In the event

 of a postpetition default of the terms of this Interim Order and/or the DIP Loan Documents, the

 DIP Lender may declare the DIP Indebtedness immediately due and owing; provided that the DIP

 Lender may not exercise any remedies against the DIP Borrower upon default without first

 providing five (5) business days’ notice of default to the DIP Borrower, obtaining a hearing date

 and without further order of the Court.

                 8.      DIP Intercreditor Provisions. Notwithstanding anything to the contrary

 herein, (a) the DIP Lenders shall not have a lien on any Prepetition or Postpetition Collateral 5 that

 is not DIP Collateral, (b) the Prepetition ABL Agent (for the benefit of itself and the Prepetition

 ABL Lenders) shall have a lien (and corresponding adequate protection lien) on the DIP Collateral,

 junior only to the DIP Lenders and the Prepetition ABL Permitted Prior Liens, (c) the Prepetition

 Term Loan Agent (for the benefit of itself and the Prepetition Term Loan Lenders) shall have a

 lien (and corresponding adequate protection lien) on the DIP Collateral, junior only to the DIP

 Lenders, the Prepetition ABL Agent and the Prepetition Term Loan Permitted Prior Liens, (d) the


 5
     Capitalized terms used in this paragraph 8 but not otherwise defined shall have the meanings ascribed
     to such terms in the Interim Order (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting
     Adequate Protection to the Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV)
     Scheduling a Final Hearing, and (V) Granting Related Relief (D.I. 93) (the “Interim CC Order”).




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 DIP Indebtedness shall not be repaid from (or have any recourse to) any proceeds of Prepetition

 or Postpetition Collateral that is not DIP Collateral, and (e) the Debtors shall cause the proceeds

 of DIP Collateral to be deposited into a segregated, non-commingled account which is required to

 be subject to the control of the DIP Lender and the Debtors’ use of such proceeds shall be subject

 to, and distributed in accordance with, the DIP Loan Documents and the Budget.

                9.      Security for DIP Loan. As security for the DIP Indebtedness, the DIP

 Lender is granted a valid, perfected, first priority priming lien (the “DIP Lien”) against the DIP

 Collateral, as that term is defined in the DIP Loan Documents; provided, however, that the DIP

 Lien shall be junior only to the pre-existing liens on and security interests in such DIP Collateral

 granted in favor of third parties (other than any Prepetition ABL Secured Party or any Prepetition

 Term Loan Secured Party (each as defined in the Interim CC Order)) that, as of the Petition Date,

 (a) were senior in priority under applicable law to the DIP Lien, (b) were not subordinated by

 agreement or applicable law, and (c) were in existence, valid, enforceable, properly perfected and

 non-avoidable as of the Petition Date, including any such liens and security interests that were

 perfected after the Petition Date but relate back to the Petition Date pursuant to section 546(b) of

 the Bankruptcy Code. Solely with respect to the DIP Collateral, the DIP Lender is granted an

 administrative expense in the amount of the Interim DIP Loan with the highest priority under

 §364(c) of the Bankruptcy Code, and shall have priority over all other costs and expenses of

 administration of any kind, including those specified in, or ordered pursuant to, §§ 105, 326, 330,

 331, 503(b), 507(a), 507(b) or 726 or any other provision of the Bankruptcy Code or otherwise

 (whether incurred in this Case or any successor case), and shall at all times be senior to the rights

 of the DIP Borrower, any successor trustee or estate representative in the Case or any successor

 case.




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                  10.     Perfection of DIP Lien and Limited Stay Relief. The DIP Lien shall be,

  and is hereby deemed duly perfected and recorded under all applicable federal or state or other

  laws as of the date hereof, and no notice, filing, mortgage recordation, possession, further order,

  landlord or warehousemen lien waivers or other third party consents or other act, shall be required

  to effect such perfection; provided, however, that notwithstanding the provisions of Section 362

  of the Bankruptcy Code which stay is lifted for the limited purpose of allowing perfection, the (i)

  DIP Lender may, at its sole option, file or record or cause the DIP Borrower to obtain any such

  landlord or warehousemen lien waivers or other third party consents or execute, file or record, at

  the DIP Borrower’s expense, any such UCC financing statements, notices of liens and security

  interests, mortgages and other similar documents as DIP Lender may require, and (ii) DIP Lender

  may require the DIP Borrower to deliver to DIP Lender any chattel paper, instruments or securities

  evidencing or constituting any DIP Collateral, and the DIP Borrower is directed to cooperate and

  comply therewith. If DIP Lender, in its sole discretion, shall elect for any reason to cause to be

  obtained any landlord or warehouse lien waivers or other third party consents or cause to be filed

  or recorded any such notices, financing statements, mortgages or other documents with respect to

  such security interests and liens, or if DIP Lender, in accordance with the DIP Loan Documents

  or this Interim Order, elects to take possession of any DIP Collateral, all such landlord or

  warehouse lien waivers or other third party consents, financing statements or similar documents

  or taking possession shall be deemed to have been filed or recorded or taken in this Case as of the

  commencement of this Case but with the priorities as set forth herein. The DIP Lender may (in its

  sole discretion), but shall not be required to, file a certified copy of this Interim Order in any filing

  or recording office in any county or other jurisdiction in which the DIP Borrower has property.




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                 11.    Books and Records. The DIP Borrower shall permit DIP Lender and any

  authorized representatives designated by DIP Lender (including, without limitation, its auditors,

  appraisers and financial advisors) to visit and inspect any of the properties of the DIP Borrower,

  including the DIP Borrower’s financial and accounting records, and to make copies and take

  extracts therefrom, and to discuss any DIP Borrower’s affairs, finances and business with such

  DIP Borrower’s officers and independent public accountants, at such reasonable times during

  normal business hours and as often as may be reasonably requested. Without limiting the generality

  of the foregoing, the DIP Borrower shall promptly provide to DIP Lender any information or data

  reasonably requested to monitor the Debtor’s compliance with the covenants and the provisions of

  the DIP Loan Documents and this Order.

                 12.    Effect of Dismissal, Conversion or Substantive Consolidation. If the DIP

  Borrower’s Case is dismissed, converted, otherwise superseded or substantively consolidated, DIP

  Lender’s rights and remedies under this Interim Order and the DIP Loan Documents shall be and

  remain in full force and effect as if the DIP Borrower’s Case had not been dismissed, converted,

  superseded or substantively consolidated. Furthermore, notwithstanding any such dismissal,

  conversion, or substantive consolidation, all of the terms and conditions of this Interim Order,

  including, without limitation, the liens and the priorities granted hereunder, shall remain in full

  force and effect.

                 13.    Order Binding on Successors. The provisions of this Interim Order shall

  be binding upon and inure to the benefit of DIP Lender and the DIP Borrower and their respective

  successors and assigns (including any subsequently appointed trustee, examiner or other estate

  representative appointed as a representative of the DIP Borrower’s estate or of any estate in any




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  successor cases). No third parties are intended to be or shall be deemed to be third party

  beneficiaries of this Interim Order or the DIP Loan Documents.

                 14.     RESERVED

                 15.     Order Binding Upon Parties in Interest. To the fullest extent that relief

  is available at a hearing held pending a final hearing as contemplated by Bankruptcy Rule 4001(2),

  all of the provisions of this Interim Order shall be final and binding on the DIP Borrower

  (including, without limitation, its successors and assigns), the DIP Borrower’s equity holders, and

  all creditors and other parties in interest, including any Chapter 11 or Chapter 7 trustee hereinafter

  appointed.

                 16.     Effect of Modification of Interim Order. The DIP Borrower shall not,

  without DIP Lender’s prior written consent (which shall be given or refused in its sole discretion),

  seek to modify, vacate or amend this Interim Order or any DIP Loan Documents. If any of the

  provisions of this Interim Order are hereafter modified, vacated or stayed by subsequent order of

  this or any other Court without DIP Lender’s prior written consent, such stay, modification or

  vacatur shall not affect the validity of any obligation outstanding immediately prior to the effective

  time of such stay, modification or vacation, or the validity and enforceability of any lien, priority,

  right, privilege or benefit authorized hereby with respect to any such obligations. Notwithstanding

  any such stay, modification or vacatur, any obligation outstanding immediately prior to the

  effective time of such modification, stay or vacatur shall be governed in all respects by the original

  provisions of this Interim Order, and DIP Lender shall be entitled to all the rights, privileges and

  benefits, including, without limitation, the security interests and priorities granted herein, with

  respect to all such obligations.




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                 17.    Safe Harbor. The Court has considered and determined the matters

  addressed herein pursuant to its powers under the Bankruptcy Code, including the power to

  authorize the DIP Borrower to obtain credit on the terms and conditions upon which the DIP

  Borrower and Lender have agreed. Thus, each of such terms and conditions constitutes a part of

  the authorization under Section 364 of the Bankruptcy Code, and is, therefore, subject to the

  protections contained in Section 364(e) of the Bankruptcy Code.

                 18.    Insurance Proceeds and Policies. Upon entry of this Interim Order and to

  the fullest extent provided by applicable law, the DIP Lender, shall be, and shall be deemed to be,

  without any further action or notice, named as additional insured and loss payee on each insurance

  policy maintained by the DIP Borrower that in any way relates to the DIP Collateral.

                 19.    Relationship to Contemplated Sale Transaction. As contemplated by the

  Levin-Wolf LOI (attached as Exhibit B to the First Day Declaration), the Sale Agreement (as

  defined in the DIP Credit Agreement) shall provide for the DIP Lender and Levin Trucking, LLC,

  the purchasers thereunder, to assume, pay or otherwise satisfy all allowed section 503(b)(9) claims

  against the DIP Borrower, effective upon and subject to the occurrence of the closing under such

  Sale Agreement.

                 20.    Notice of Interim Order. The DIP Borrower shall promptly serve a copy

  of this Order, by regular mail upon the creditors holding the 30 largest unsecured claims of each

  of the Debtor, or the Committee, if appointed, and any other party which theretofore has filed in

  the Cases a request for special notice with this Court and served such request upon DIP Borrower’s

  counsel.

                 21.    Objections Overruled or Withdrawn. All objections to the entry of this

  Interim Order have been withdrawn or are hereby overruled.




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                 22.     Controlling Effect of Order. To the extent any provisions in this Interim

  Order conflict with any provisions of the Motion, or any DIP Loan Document, the provisions of

  this Interim Order shall control.

                 23.     Final Hearing. The Final Hearing to consider entry of the Final Order is

  scheduled for April 6, 2020 at 1:00 p.m. (Prevailing Delaware Time) before the Honorable

  Christopher S. Sontchi, Chief United States Bankruptcy Judge at the United States Bankruptcy

  Court for the District of Delaware. On or before March 13, 2020, the Debtors shall serve, by

  United States mail, first-class postage prepaid, notice of the entry of this Interim Order and of the

  Final Hearing (the “Final Hearing Notice”), together with copies of this Interim Order and the

  Motion, on: (a) the parties having been given notice of the Interim Hearing; (b) any party which

  has filed prior to such date a request for notices with this Court; (c) counsel for a Committee (if

  appointed); (d) the Securities and Exchange Commission; and (e) the Internal Revenue Service.

  The Final Hearing Notice shall state that any party in interest objecting to the entry of the proposed

  Final Order shall file written objections with the Clerk of the Court no later than March 30, 2020,

  which objections shall be served so as to be received on or before such date by: (i) counsel to the

  Debtors, Benesch, Friedlander, Coplan & Aronoff LLP, 222 Delaware Avenue, Suite 201,

  Wilmington, Delaware 19801-1611, Attn: Michael J. Barrie and Gregory W. Werkheiser;

  (ii) counsel to the DIP Lender, Clark Hill PLC, (a) 301 Grant Street, 14th Floor, Pittsburgh,

  Pennsylvania 15219, Attn: William C. Price and Jarrod Duffy, and (b) 824 N. Market Street, Suite

  710, Wilmington, Delaware 19801, Attn: Karen Grivner; (iii) the Office of The United States

  Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Linda

  Richenderfer; (iv) lead counsel to the Prepetition ABL Agent, Morgan Lewis & Bockius LLP, (a)

  101 Park Avenue, New York, New York 10178-0060, Attn: Jennifer Feldsher, and (b) One Federal




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  Street, Boston, Massachusetts 02110, Attn: Marjorie Crider and Christopher L. Carter; (v)

  Delaware counsel to the Prepetition ABL Agent, Burr & Forman LLP, 1201 N. Market Street,

  Suite 1407, Wilmington, Delaware 19801, Attn: J. Cory Falgowski; (vi) counsel to the Prepetition

  Term Loan Agent, Greenberg Traurig, LLP, One International Place, Suite 2000, Boston, MA

  02110, Attn: Jeffrey M. Wolf; and (vii) counsel to the Committee (if appointed)

                 24.     Nunc Pro Tunc Effect of this Interim Order. This Interim Order shall

  constitute findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052 and shall take

  effect and be enforceable nunc pro tunc to the Petition Date immediately upon execution thereof.

                 25.     Retention of Jurisdiction. The Court has and will retain jurisdiction to

  enforce the terms of, any and all matters arising from or related to this Interim Order.




          Dated: March 16th, 2020                      CHRISTOPHER S. SONTCHI
          Wilmington, Delaware                         UNITED STATES BANKRUPTCY JUDGE




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                                  EXHIBIT G




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                                         MEMORANDUM

  TO:            Employees Affected By Closing of 6500 E 14 Mile Rd, Warren, MI, 48092;
                 27775 Novi Rd, Novi, MI, 48377; 4375 28th St SE, Grand Rapids, MI, 49321;
                 4095 E Court St, Burton, MI, 48509; 14055 Hall Rd, Shelby Township, MI,
                 48315; 8748 W Saginaw Hwy, Lansing, MI, 48917; and 4273 Alpine Ave Nw
                 Ste B, Alpine, MI, 49321

  FROM:          Cathrine Wenger, Senior Counsel

  SUBJECT:       WARN Act Notice

  DATE:          March 5, 2020


          Art Van Furniture, LLC (the “Company”) has made the difficult decision to wind-down
  its operations, which will include the closure of its facilities located at 6500 E 14 Mile Rd,
  Warren, MI, 48092; 27775 Novi Rd, Novi, MI, 48377; 4375 28th St SE, Grand Rapids, MI,
  49321; 4095 E Court St, Burton, MI, 48509; 14055 Hall Rd, Shelby Township, MI, 48315; 8748
  W Saginaw Hwy, Lansing, MI, 48917; and 4273 Alpine Ave Nw Ste B, Alpine, MI, 49321, and
  will be permanently terminating the employment of all employees at these locations.

         The Company submits this notice to you to satisfy any obligation that may exist under the
  federal Worker Adjustment and Retraining Notification Act, 29 U.S.C. § 2101 et seq. (the
  “WARN Act”). If no obligations exist, this notice is being provided to you voluntarily.

           All terminations of employment will be permanent and you will not have bumping rights
  for other positions (i.e., you will not have the right to displace employees with less seniority).
  While an exact date has not yet been established for these closures, it is anticipated that your
  employment with the Company will terminate on May 5, 2020 or a date within 14 days thereafter
  which may be provided to you by the Company (your “Termination Date”). Nothing in this
  letter alters your at-will employment status with the Company.

          You will be required to work through your Termination Date, following which date you
  will not be required to report to work or provide any services to the Company.

         I will be acting as the Company’s representative with regard to these matters. Should you
  have any questions, please contact me for further information at Cathrine Wenger, Senior
  Counsel, cwenger@artvan.com, (586) 983-2000. My address is 6500 E 14 Mile Rd, Warren, MI
  48092.

                                     *             *             *

       On a personal note, we are extremely grateful for the service you have given to the
  Company, and greatly appreciate your continued professionalism through this process.



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                                  EXHIBIT H




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                       )
      In re:                                                           ) Chapter 11
                                                                       )
      ART VAN FURNITURE, LLC, et al., 1                                ) Case No. 20-10553 (CSS)
                                                                       )
                                          Debtors.                     ) (Jointly Administered)
                                                                       )
                                                                       ) Objection Deadline: At the Hearing
                                                                       ) Hearing Date: April 6, 2020 at 1:00 p.m. (ET)
                                                                       )

              DEBTORS’ CORRECTED MOTION FOR ENTRY OF AN ORDER
             (I) CONVERTING THEIR CHAPTER 11 CASES TO CASES UNDER
            CHAPTER 7, (II) ESTABLISHING A DEADLINE FOR FILING FINAL
          CHAPTER 11 FEE APPLICATIONS AND SETTING A HEARING THEREON,
                       AND (III) GRANTING RELATED RELIEF

               The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

  hereby submit this motion (this “Motion”), pursuant to section 1112(a) of title 11 of the United

  States Code (the “Bankruptcy Code”), Rule 1017(f) of the Federal Rules of Bankruptcy Procedure

  (the “Bankruptcy Rules”), and Rule 2002-1 of the Local Rules of Bankruptcy Practice and

  Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

  for the entry of an order, substantially in the form attached hereto as Exhibit A (the “Proposed

  Order”), (i) converting each of the Debtors’ chapter 11 cases to cases under chapter 7 of the

  Bankruptcy Code, effective as of 12:00 a.m. (prevailing Delaware time on April 7, 2020 (the

  “Conversion Date”), (ii) establishing a deadline for filing final chapter 11 fee applications and



  1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
               identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291);
               AVCE, LLC (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451);
               Levin Parent, LLC (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC
               (8968); AVF Franchising, LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort
               Mattress LLC (4463). The location of the Debtors’ service address in these chapter 11 cases is: 6500 East
               14 Mile Road, Warren Michigan 48092.




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  setting a hearing thereon, and (iii) granting related relief. In support of this Motion, the Debtors

  respectfully state as follows:

                                   PRELIMINARY STATEMENT 2

         1.      These Chapter 11 Cases were pending for just three days when on March 11, 2020,

  the World Health Organization declared the novel coronavirus disease (COVID-19) outbreak to

  be a pandemic. 3 These Chapter 11 Cases were pending for just five days when on March 13, 2020,

  the Trump administration declared a national emergency in response to the COVID-19 outbreak. 4

  These Chapter 11 Cases were pending for just six days when on March 14, 2020, government

  regulators in Pennsylvania, one of four states in which the Debtors’ core retail operations are

  concentrated, issued guidance urging all non-essential retail businesses to close, with other states

  and localities soon to follow. 5 And, these Chapter 11 Cases were pending for just eleven to

  fourteen days when the four states in which the Debtors’ principal operations are located —

  Michigan, Pennsylvania, Ohio and Illinois — issued “stay at home” or “shelter in place” orders

  requiring, among other things, all non-essential businesses (including the Debtors’ retail stores) to

  shut their doors and mandating that individuals not leave their homes except in limited

  circumstances. 6


  2
         Capitalized terms used but not defined in this Preliminary Statement have the meanings ascribed to such
         terms elsewhere in this Motion.
  3
         World Health Organization, WHO Director-General’s opening remarks at the media briefing on COVID-19,
         March 11, 2020 (https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-
         media-briefing-on-covid-19---11-march-2020).
  4
         Pres. Donald J. Trump, Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus
         Disease (COVID-19) Outbreak, dated March 13, 2020 (https://www.whitehouse.gov/presidential-
         actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-
         outbreak/).
  5
         Wolf Administration Issues Guidance to Non-essential Businesses as Part of COVID-19 Mitigation Efforts,
         March 14, 2020 (https://dced.pa.gov/newsroom/wolf-administration-issues-guidance-to-non-essential-
         businesses-as-part-of-covid-19-mitigation-efforts/).
  6
         Michigan: Gov. Gretchen Whitmer, Executive Order 2020-21 (COVID-19), dated March 23, 2020
         (https://www.michigan.gov/whitmer/0,9309,7-387-90499_90705-522626--,00.html); Pennsylvania: Gov.




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         2.      Even before government action in response to the COVID-19 pandemic made it

  impossible for the Debtors’ retail operations to continue, the consumer public’s understandable

  fear of the spread of the COVID-19 disease already had a devastating impact on the Debtors’

  ability to implement their original restructuring plan. These key components included (a) the

  continuation of Store Closing Sales at substantially all of the Debtors’ 125 Art Van Furniture, Art

  Van Pure Sleep and Scott Shuptrine Interiors branded locations and eight of the Debtors’ Wolf

  Furniture branded locations, and (b) the operation of 44 Levin Furniture, Levin Mattress and Wolf

  Furniture locations pending consummation of a going concern sale of those business lines and

  related assets that was contemplated at the outset of these proceedings. Unfortunately, by the

  conclusion of the week ending March 14, 2020, customer traffic in the Debtors’ stores — both

  those participating in the Store Closing Sales program and the Levin and Wolf going concern

  locations — precipitously dropped below what any of the Debtors’ pre-bankruptcy and pre-

  COVID-19 pandemic financial could have predicted. As a consequence, it was quickly evident

  that continued retail operations of any sort would cause the Debtors to incur expenses for the

  foreseeable future that far outstripped the revenues generated.           Ultimately, of course, the

  aforementioned restrictions on economic and other activity that various state and local

  governments determined to be necessary to slow the spread of the COVID-19 disease effectively

  removed any choice the Debtors had in the matter by mandating that the Debtors discontinue all

  retail operations and other non-essential business operations.




         Tom Wolf, Executive Order, dated March 19, 2020 (https://www.governor.pa.gov/wp-
         content/uploads/2020/03/20200319-TWW-COVID-19-business-closure-order.pdf); Ohio: Dir. Of Public
         Health,      Amy       Acton,     Stay    at    Home      Order,     dated     March    22,   2020
         (https://content.govdelivery.com/attachments/OHOOD/2020/03/22/file_attachments/1407840/Stay%20Ho
         me%20Order.pdf); and Illinois: Gov. JB Pritzker, Executive Order in Response to COVID-19 (COVID-19
         Executive Order No. 8), dated March 20, 2020 (https://www2.illinois.gov/IISNews/21288-
         Gov._Pritzker_Stay_at_Home_Order.pdf).




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          3.      By late March, the exponential spread of the COVID-19 disease throughout the

  United States, along with the resulting state and locally imposed limitations and prohibitions on

  non-essential retail operations, had left the Debtors with few potentially viable options. Further,

  these extraordinary and unprecedented events have made it extremely difficult for the Debtors and

  their advisors to predict with any reasonable certainty the best path forward in these proceedings

  for the Debtors and their estates. At present, no one can predict with any reliability how long the

  shelter-in-place orders issued in many states where the Debtors operate will remain in effect. In

  fact, the Trump administration just recently extended social distancing guidelines from April 15,

  2020 through April 30, 2020. 7          And, even assuming regulatory barriers to resuming retail

  operations are lifted in the near future, no one can predict with any reliability what consumer

  appetite will exist for furniture, given the economic and other trauma that the nation is undergoing

  presently. 8

          4.      In order to preserve to the greatest extent possible the value of the Debtors’ assets

  and maximize the proceeds thereof that may eventually be distributable to their creditors, the

  Debtors had initially hoped — consistent with what has been recently approved in certain other

  retail chapter 11 bankruptcy proceedings 9 — to pursue relief from this Court authorizing the

  Debtors to “mothball” their remaining assets and operations and to suspend substantially all

  activity in these chapter 11 cases until such time as the broader economic and public safety


  7
          See, e.g., Michael D. Shear, “Trump Extends Social Distancing Guidelilnes Through End of April,” The New
          York        Times      (Pub.      March       29,       2020,     updated       April     1,       2020)
          (https://www.nytimes.com/2020/03/29/us/politics/trump-coronavirus-guidelines.html).
  8
          See, e.g., Ed Yong, “How the Pandemic Will End,” The Atlantic (March 25, 2020) (exploring different
          plausible scenarios for resolution of the COVID-19 epidemic with some taking 12-18 months for society to
          return to a level of normalcy).
  9
          See Order Establishing Temporary Procedures and Granting Related Relief, entered March 30, 2020 [D.I.
          217], In re CraftWorks Parent, LLC, et al., Case No. 20-10475 (BLS) (Bankr. D. Del.); Order Temporarily
          Suspending the Debtors’ Chapter 11 Case Pursuant to 11 U.S.C. §§ 105 and 305, entered March 27, 2020
          [D.I. 166], In re Modell’s Sporting Goods, Inc., et al., Case No. 20-14179 (VFP) (Bankr. D.N.J.).




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  situations stabilized and hopefully improved sufficiently to allow the Debtors to resume value-

  maximizing actions for the benefit of their creditors and other stakeholders. After consultation with

  advisors for the Prepetition ABL Agent and the Committee, as of last Thursday, March 26, 2020,

  the Debtors believed that they had at least conceptual support for pursuing this path, as the Debtors

  reported to this Court and parties in interest at the status conference held that day.

         5.      Unfortunately, despite the Debtors and their advisors working around the clock for

  days, in consultation with the Prepetition ABL Agent, the Committee and others, no viable path

  forward in chapter 11 emerged that would garner the support of the Debtors’ senior secured lenders

  and certain other stakeholders. With the COVID-19 pandemic still raging and by all reputable

  accounts likely to get worse in the next several weeks before it improves, the execution risk

  associated with any of these strategies appears to be unacceptably high for the Debtors to garner

  the support their senior secured lenders and other stakeholders necessary for the Debtors to be able

  to move forward. The Debtors’ ability to implement any of these strategies is further confounded

  by the reality that what remains of the Debtors’ cash on hand is likely inadequate to implement

  certain of these restructuring alternatives, such as the resumption of GOB Sales. Even in the best

  case forecasts available to the Debtors, virtually all of their remaining cash on hand would be

  consummated by the time the Debtors and their senior secured lenders conceivably might have

  some visibility into if or when any of these restructuring alternatives could be successfully

  implemented.

         6.      Furthermore, the Debtors have no ability, without the consent of the Prepetition

  ABL Agent, to implement any case suspension-based restructuring strategy. Of necessity, on or

  about March 19, 2020, after communicating with representatives of the Prepetition ABL Agent on

  several occasions about the Debtors’ increasing operating losses and need to take appropriate




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  action to prevent further dissipation of the Debtors’ assets, the Debtors ceased operating their retail

  stores as going concerns and thereafter dismissed the vast majority of their employees. As a result,

  the Debtors have no top line revenue, such that each dollar expended by the Debtors at this point

  is not being replaced. For this and other reasons, the Debtors have no ability to demonstrate that

  their secured lenders are adequately protected to the degree required for the Debtors continue using

  cash collateral and other collateral without their consent. And, under the terms of the Interim CC

  Order, absent extraordinary relief from the Court, the consent of the Senior Secured Parties to use

  cash collateral and other collateral will expire no later than the end of the day Monday, April 6,

  2020.

          7.     The Debtors, thus, find themselves with no choice other than to move for the

  prompt conversion of these Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code.

  Though this path is a difficult one that the Debtors are following only after exhausting all other

  alternatives, under these dire circumstances, the Debtors believe that converting these cases is in

  the best interests of the Debtors’ estates. The Debtors understand that the conversion of Chapter

  11 Cases is supported by the Debtors’ senior lenders and not opposed by the Committee.

                                   JURISDICTION AND VENUE

          9.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

  1334(b), and the Amended Standing Order of Reference from the United States District Court for

  the District of Delaware dated as of February 29, 2012. This is a core proceeding pursuant to 28

  U.S.C. § 157(b) and, pursuant to Rule 9013-1(f) of the Local Rules, the Debtors consent to the

  entry of a final order by the Court in connection with this Motion to the extent that it is later

  determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

  connection herewith consistent with Article III of the United States Constitution.




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         10.      Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         11.      The statutory bases for the relief requested herein are section 1112(a) of the

  Bankruptcy Code, Bankruptcy Rule 1017(f), and Local Rule 2002-1.

                                                BACKGROUND

                  A. General Background.

         12.      On March 8, 2020 (the “Petition Date”), each of the Debtors commenced with this

  Court voluntary cases (the “Chapter 11 Cases”) under chapter 11 of the Bankruptcy Code. The

  Debtors continue to operate their businesses and manage their properties as debtors in possession

  pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         13.      The Debtors’ cases are being jointly administered under lead Case No. 20-10553

  (CSS) pursuant to Bankruptcy Rule 1015.

         14.      Information regarding the Debtors’ business, capital structure, and the

  circumstances leading to the commencement of these chapter 11 cases is set forth in the

  Declaration of David Ladd, Executive Vice President and Chief Financial Offer of Art Van

  Furniture, LLC, in Support of Chapter 11 Petitions and First Day Motions (the “First Day

  Declaration”) [D.I. 12], incorporated by reference herein.

         15.      At the commencement of these cases, the Debtors operated 169 stores in eight

  states, specifically Michigan, Indiana, Ohio, Illinois, Pennsylvania, Maryland, Missouri, West

  Virginia, and Virginia. 10 The Debtors also have four regional distribution centers, three of which

  are leased and one of which is owned. The Debtors are headquartered in Warren, Michigan and

  had approximately 4,500 employees as of the Petition Date.



  10
         The vast majority of the Debtors’ stores were located in four states: Michigan; Ohio; Pennsylvania; and
         Illinois. The remaining five states listed above accounted for only 16 of the Debtors’ 169 retail locations as
         of the Petition Date.




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         16.      As set forth in the First Day Declaration, the Debtors filed these chapter 11 cases

  with the intention of liquidating their inventory through store closing sales (the “Store Closing

  Sales”) conducted with the assistance of the Consultant and other proposed professionals, paying

  down their secured debt, and using any remaining proceeds of their Store Closing Sales to windup

  their operations. Also as set forth in the First Day Declaration and Exhibit B thereto, as of the

  Petition Date, the Debtors were party to a binding letter of intent for a going concern sale of 44

  Levin and Wolf stores and related assets and operations (the “Levin-Wolf Sale”). The Debtors

  intended to effectuate this restructuring through the consensual use of cash collateral.

         17.      In furtherance thereof, on or around the Petition Date, the Debtors filed, among

  other things:

               a. Debtors' Application for Entry of Order Appointing Kurtzman Carson Consultants
                  LLC as Claims and Noticing Agent Nunc Pro Tunc to the Petition Date [D.I. 3];

               b. Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing Use of
                  Cash Collateral and Affording Adequate Protection; (II) Modifying the Automatic
                  Stay; (III) Scheduling a Final Hearing; and (IV) Granting Related Relief [D.I. 5];
                  and

               c. Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Approving
                  Procedures for Store Closing Sales, (II) Authorizing Customary Bonuses to
                  Employees of Closing Stores, (III) Authorizing Assumption of the Consulting
                  Agreement Under §§ 363 and 365 of the Bankruptcy Code, (IV) Authorizing the
                  Debtors to Retain Certain Consultant Entities as Special Asset Disposition
                  Advisors to the Debtors Pursuant to § 327(a) of the Bankruptcy Code and (V)
                  Granting Related Relief [D.I. 52] (the “Store Closing Motion”).

         18.      On March 10, 2020 (as continued, in part, to March 12, 2020), the Court held a

  hearing (the “First Day Hearing”) following which it entered certain orders, including: (a) an order

  [D.I. 77], pursuant to 28 U.S.C. § 156(c), appointing Kurtzman Carson Consultants LLC (“KCC”)

  as the Claims and Noticing Agent for these Chapter 11 Cases (the “Claims Agent”); (b) the Interim

  Order (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate Protection to the

  Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing,



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  and (V) Granting Related Relief [D.I. 93] (the “Interim CC Order”); and (c) an order [D.I. 143]

  granting limited relief in connection with the Store Closing Motion on an interim basis.

         19.     Shortly after the Petition Date, the Debtors filed applications to employ and retain:

  (a) Benesch, Friedlander, Coplan & Aronoff, LLP (“Benesch”), as their proposed general

  bankruptcy counsel [D.I. 142]; (b) Montgomery McCracken Walker & Rhoads (“MMWR”), as

  their proposed special counsel [D.I. 193]; (c) Alvarez & Marsal North America LLC (“A&M”), as

  their proposed financial advisors [D.I. 145]; and (d) Jones Lang Lasalle Americas, Inc. (“JLL,”

  and together with Benesch, MMWR and A&M, the “Debtors’ Professionals”), as their proposed

  real estate consultants and advisors [D.I. 141]. The applications to employ and retain Benesch,

  A&M and JLL, each are scheduled to be heard on April 6, 2020, at 1:00 p.m. (ET). The application

  to employ and retain MMWR is scheduled to be heard on April 27, 2020, at 2:00 p.m. (ET).

         20.     On March 18, 2020, the Office of the United States Trustee for the District of

  Delaware (the “U.S. Trustee”) appointed a seven member Official Committee of Unsecured

  Creditors in these Chapter 11 Cases (as reconstituted from time to time, the “Committee”). The

  Committee has engaged and filed applications to employ and retain Pachulski Stang Ziehl & Jones

  LLP (“Pachulski Stang”) as its proposed counsel [D.I. 244] and Alix Partners (“Alix Partners,”

  and together with Pachulski Stang, the “Committee’s Professionals”), as its proposed financial

  advisor [D.I. 241].

                 B. Events in the Chapter 11 Cases.

         21.     Since the First Day Hearing, the exponential spread of COVID-19 has wrought

  economic and social havoc across the country and the globe. As discussed in the Preliminary

  Statement, on the afternoon of March 13, 2020, President Trump declared COVID-19 a national




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  emergency and most of the states in which the Debtors operate have also declared states of

  emergency and issued “stay at home” or “shelter-in-place” type orders.

         22.     Notwithstanding the careful planning and modeling of the Debtors and their

  advisors, since shortly after the Petition Date, the Debtors’ situation has changed drastically as a

  result of COVID-19. Customer traffic in the Debtors’ stores, which had been robust just days

  earlier, dissipated to almost nothing within the first week after the Petition Date. Specifically,

  during the initial days of the Store Closing Sales from March 5-8, 2020, deposits from inventory

  sales were in excess of $23.0 million; 11 however, for the full week ending March 15th, deposits

  from sales were just $8.0 million. It quickly became apparent to the Debtors’ management and

  advisory teams that continued retail operations of any sort were causing the Debtors to incur

  expenses (and would do so for the foreseeable future) that far outstripped any revenues being

  generated through the Debtors’ continued retail operations.

         23.     By March 14, 2020, Governor Tom Wolf of Pennsylvania, where 25 of the Debtors’

  stores and two of their distribution centers are located, had issued guidance urging all non-essential

  businesses to close. 12 Two days later, Governor Wolf repeated and amplified that guidance,

  declaring: “The Wolf Administration is relying on businesses to act now before the governor or

  the Secretary of Health finds it necessary to compel closures under the law for the interest of public

  health ….” 13 Similarly, on March 16, 2020, Governor Gretchen Whitmer of Michigan — where


  11
         The Debtors, however, did not realize the cash proceeds from most of these sales because just prior to the
         Petition Date and immediately thereafter, certain of the Debtors’ credit card processor banks purported to
         exercise rights to intercept the proceeds from such transactions and redirect them into chargeback reserve
         accounts.
  12
         Wolf Administration Issues Guidance to Non-essential Businesses as Part of COVID-19 Mitigation Efforts,
         March 14, 2020 (https://dced.pa.gov/newsroom/wolf-administration-issues-guidance-to-non-essential-
         businesses-as-part-of-covid-19-mitigation-efforts/)
  13
         Wolf Administration Updates Businesses on Guidance for COVID-19 Mitigation Efforts, March 16, 2020
         (https://www.governor.pa.gov/newsroom/wolf-administration-updates-businesses-on-guidance-for-covid-
         19-mitigation-efforts/).




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  the Debtors’ headquarters, a distribution center and 82 of their stores are located — entered an

  executive order that closed Michigan’s bars, theaters, casinos and other public spaces. 14 While

  Michigan’s initial order did not explicitly mandate closing of all non-essential retail

  establishments, it was accompanied by appropriately alarming statement from Governor Whitmer

  urging Michigan residents to “mak[e] smart choices” by “not putting [themselves] or others at risk

  by going out in public unless it is absolutely necessary.” 15 Government authorities in Ohio and

  Illinois also issued similar guidance and direction.

         24.     As detailed in the Preliminary Statement, on March 19, 2020, Pennsylvania became

  the first of the four states in which the Debtors’ major retail and fulfillment operations are located

  to issue a “stay at home” or “shelter in place” type order. Similar orders soon followed in

  Michigan, Ohio and Illinois, all of which also were in lock-down by March 23, 2020.

         25.     Although the situation was evolving rapidly, the Debtors’ board, management team

  and advisors were paying close attention to the threat COVID-19 posed to the health and welfare

  of the Debtors’ employees and customers and to the financial impact on the Debtors’ businesses.

  The Debtors’ board, management team and advisors were in near constant communication about

  these events as they unfolded in mid-March. Moreover, the Debtors and their advisors worked to

  the best of their ability under these circumstances to keep their secured lenders and other

  stakeholders informed about these challenges and exhausted all efforts to work with them to

  develop viable responses to the rapidly deteriorating situation. When no other viable alternative

  emerged, on March 19, 2020, the Debtors made the painful decision to suspend all retail operations




  14
         Governor Whitmer Signs Executive Order Temporarily Closing Bars, Theaters, Casinos, and Other Public
         Spaces; Limiting Restaurants to Delivery and Carry-Out Orders, March 16, 2020
         (https://www.michigan.gov/coronavirus/0,9753,7-406-98158-521763--,00.html).
  15
         Id.




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  and terminate the majority of their employees — moves the Debtors hoped at the time would be

  only temporary measures.

         26.     Further compounding the Debtors’ problems, on March 19, 2020 the proposed

  purchaser for the Levin-Wolf Sale notified the Debtors that they would not proceed with the

  transaction at that time, effectively ending any hope the Debtors had to consummate a going

  concern transaction for the Levin and Wolf furniture operations and dashing hopes to save upwards

  of a 1,000 jobs.

         27.     Late in the day on March 19, 2020, however, the Prepetition ABL Agent issued a

  purported Termination Declaration under the Interim CC Order. Pursuant to Paragraph 21 of the

  Interim CC Order, a valid Termination Declaration issued on March 19th would have triggered a

  Remedies Notice Period five business days’ in length. Thereafter, the Prepetition ABL Agent

  agreed to extend any Remedies Notice Period relating to the alleged Termination Declaration

  through the end of the day on Tuesday, March 31, 2020, and then again through and including the

  end of the day on Monday, April 6, 2020.

         28.     Following these events, the Debtors and their advisors continued to work with the

  Prepetition ABL Agent, the Committee, and their respective advisors to identify solutions for the

  Debtors’ deteriorating situation that would allow them to preserve to the greatest extent possible

  the value of the Debtors’ assets and maximize the proceeds thereof that might eventually be

  distributable to their creditors. The Debtors had hoped — consistent with what has been recently

  approved this Court in the CraftWorks chapter 11 cases and by the District of New Jersey

  bankruptcy court in the Modell’s chapter 11 cases — to pursue relief from this Court authorizing

  the Debtors to “mothball” their remaining assets and operations and to suspend substantially all

  activity in these Chapter 11 Cases until such time as the broader economic and public safety




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  situations stabilized and hopefully improved sufficiently to allow the Debtors to resume value-

  maximizing actions for the benefit of their creditors and other stakeholders. After consultation with

  advisors for the Prepetition ABL Agent and the Committee, as of last Thursday, March 26, 2020,

  the Debtors believed that they had at least conceptual support for pursuing this path, as the Debtors

  reported to the Court that day.

         29.     Both before and after the March 26th status conference, the Debtors, with the

  assistance of their advisors and in consultation with the Prepetition ABL Agent, the Committee

  and their respective advisors, were working to develop and evaluate several potentially value

  maximizing alternatives for the Debtors to pursue after the contemplated suspension of operations

  and downscaling of activities in these Chapter 11 Cases came to an end. One such path was to

  resume Store Closing Sales at all of the Debtors’ locations where it would be financially and

  operationally viable to do so. A second path considered was to focus on one or more bulk sales

  most or all of the Debtors’ inventory, equipment, and other readily monetizable assets.

  Additionally, the Debtors and their advisors examined several “middle” paths for the Debtors and

  their estates, which would involve various combinations of resuming Store Closing Sales at certain

  locations and bulk-selling inventory, equipment, and certain other assets associated with other

  locations.

         30.     To be clear, each of the post-suspension restructuring alternatives explored by the

  Debtors had the prospect of producing some return to the Debtors’ senior secured lenders and

  potentially to other stakeholders. But none of the potential scenarios showed a reasonable chance

  of generating a recovery for the Debtors’ senior secured lenders coming anywhere near what the

  pre-COVID 19 pandemic modeling had suggested. Indeed, under most scenarios, the Prepetition

  ABL Secured Parties, which at the outset of these proceedings were projected to receive a full




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  recovery on their approximately $34 million of Prepetion ABL Obligations by the mid-point of

  the Store Closing Sales Process, would not get out whole before their ABL Priority Collateral was

  fully monetized.

         31.     Despite the Debtors working around the clock for days, in consultation with the

  Prepetition ABL Agent, the Committee and others, these concerted efforts were unable to produce

  a path forward in chapter 11 that would garner the support of their senior secured lenders and

  potentially other stakeholders. Unfortunately, with the COVID-19 pandemic still raging and by

  all reputable accounts likely to get worse before it improves, the perceived execution risk of any

  of these restructuring strategies has proven to be an insurmountable barrier to the Debtors ability

  to obtain the necessary support of their secured lenders and others. The Debtors’ ability to

  implement any of these strategies is further confounded by the reality that what remains of the

  Debtors’ cash on hand is inadequate to implement certain of these restructuring alternatives, such

  as the resumption of GOB Sales. Even in the reasonable best case forecasts available to the

  Debtors, virtually all of their remaining cash on hand would be consumed by operating expenses

  before the Debtors and their senior secured lenders would have meaningful visibility into whether

  these restructuring alternatives could be successfully implemented.

         32.     By Monday, March 30, 2020, the Debtors were effectively out of time, with their

  access to Cash Collateral under the Interim CC Order then due to terminate at the end of the

  following day. Although it was clear by this point in the proceedings that the Debtors would be

  unable to continue these Chapter 11 Cases without the support and consent of their senior secured

  lenders, unresolved issues existed as to what obligations would and would not be funded under the

  terms of the Interim CC Order prior to any conversion of the Chapter 11 Cases. Recognizing the

  contributions that their employees had made to the Debtors’ businesses postpetition and the




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  extreme hardship that many of the employees and their families were apt to experience as a result

  of losing their jobs in the midst of an ongoing pandemic and associated economic crisis, the

  Debtors attempted everything in their power to ensure that employee payroll and related employee

  obligations would be fully funded under the Interim CC Order.

         33.      These efforts were to a degree successful. At a hearing held on March 31, 2020,

  the Court confirmed that the Debtors would have access to Cash Collateral to fund and pay current

  payroll obligations, including wages, salaries and commissions. The cash available, however, was

  insufficient for it to be possible for the Debtors to provide at this time for payment in full of other

  employee related obligations, such as coverage obligations for employee healthcare expenses and

  certain other benefits plans that were, in whole or part, self-funded by the company. 16 Even though

  this situation is primarily the result of the COVID-19 pandemic and other circumstances entirely

  beyond the Debtors’ control, the Debtors deeply regret that they are not in a position to be able to

  do more for their employees, customers, vendors, landlords and other stakeholders.

         34.      Based upon the foregoing, the Debtors have considered the circumstances in which

  they find themselves, and have concluded that converting the Debtors’ Chapter 11 Cases to cases

  under chapter 7 of the Bankruptcy Code is in the best interests of the Debtors’ estates.




  16
         The Debtors estimate the total unfunded trailing liabilities under their partially self-funded employee health
         plan to be approximately $8.5 million. Under self-funded plans, like the ones the Debtors had established for
         their employees in the ordinary course of business prior to the Petition Date, when employees and their
         covered dependents receive covered services the resulting charges are remitted to the plan’s claims
         administrator for processing. Thereafter, the approved claims are batched and remitted to the Debtors for
         payment. The remittance of the batched claims to the Debtors for payment can trail the rendering of services
         to employees by up to several months. In general, the Debtors terminated health care covered for their
         employees effective as of the dates such employees separated from the company. Thus, the estimated $8.5
         million of trailing obligations is on account of covered healthcare services to covered persons provided prior
         to each such employee’s termination date. Although the Debtors’ original budget for these Chapter 11 Cases
         contemplated the funding of such trailing employee healthcare plan obligations, the COVID-19 pandemic’s
         disruption of the Debtors’ ability to operate postpetition combined with the issuance of a Termination
         Declaration under the Interim CC Order that followed, left the Debtors with inadequate cash on hand and
         inadequate access to additional cash with which to fund such obligations.




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                                         RELIEF REQUESTED

          35.      By this Motion, the Debtors request entry of the Proposed Order, pursuant to section

  1112(a) of the Bankruptcy Code and Bankruptcy Rule 1017(f), (i) converting the Debtors’ chapter

  11 cases to cases under chapter 7 of the Bankruptcy Code effective as of the Conversion Date, (ii)

  establishing a deadline for filing final chapter 11 professional fee applications and setting a date

  for a hearing thereon, and (iii) granting related relief.

          36.      The Debtors also request that the Court approve the following procedures in

  connection with the conversion of these Chapter 11 Cases to chapter 7 of the Bankruptcy Code

  (the “Conversion Procedures”):

                a. Professional Fees. To the extent professionals currently or hereafter retained in the
                   Chapter 11 case have not already submitted final fee applications to the Court (the
                   “Final Fee Applications”), all professionals shall submit Final Fee Applications in
                   accordance with the Bankruptcy Code, Bankruptcy Rules, Local Rules, and orders
                   of this Court by no later than thirty (30) days after the Conversion Date (the “Final
                   Fee Application Deadline”). Objections, if any, to the Final Fee Applications shall
                   be filed and served by no later than twenty-one (21) days after the Final Fee
                   Application Deadline. The Court will schedule a hearing, if necessary, at the
                   Court’s convenience and subject to the Court’s availability, on such Final Fee
                   Applications within fourteen (14) days thereafter or such later date as the Court
                   determines. To the extent no objections are filed to a given professional’s final fee
                   application, such professional may file a Certificate of No Objection, and the Court
                   may, in its sole discretion, enter an order approving such fees. To the extent the
                   Court approves a Final Fee Application after the Conversion Date, all approved
                   amounts owed for professional fees and expenses shall be paid (x) first, from each
                   professional’s retainer to the extent such retainers exist; (y) next, from the Carve
                   Out Reserves (as defined in the Interim CC Order) in accordance with its terms;
                   and (z) thereafter, from the Debtors’ chapter 7 estates in accordance with the
                   priorities set forth in the Bankruptcy Code.

                b. Books and Records. As soon as reasonably practicable, but in no event more than
                   fourteen (14) days after the appointment of the interim chapter 7 trustee, the
                   Debtors shall turn over or provide access to the chapter 7 trustee the books and
                   records of the Debtors in the Debtors’ possession and control, as required by
                   Bankruptcy Rule 1019(4). For purposes hereof, the Debtors may provide copies
                   (including electronic copies) of such books and records to the chapter 7 trustee, or
                   instructions for locating and accessing such books and records, and may retain




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                  copies of such books and records to the extent necessary to complete the reports
                  required herein.

               c. Schedules and SOFA. To the extent not already filed with the Court, the statements
                  and schedules required by Bankruptcy Rules 1019(1)(A) and 1007(b) shall be filed
                  within forty-two (42) days after the Conversion Date.

               d. Schedule of Unpaid Debts. Within fourteen (14) days of the Conversion Date, the
                  Debtors shall file a schedule of unpaid debts incurred after commencement of the
                  Debtors’ Chapter 11 Cases, including the name and address of each creditor, as
                  required by Bankruptcy Rule 1019(5).

               e. Final Report. Within thirty (30) days after the Conversion Date, the Debtors shall
                  file and transmit to the chapter 7 trustee a final report and account in accordance
                  with Bankruptcy Rule 1019(5)(A).

               f. Claims. Within fourteen (14) days of the Conversion Date, KCC shall (i) forward
                  to the Clerk of this Court an electronic version of all imaged claims; (ii) upload the
                  creditor mailing list into CM/ECF; (iii) docket a final claims register in the Debtors’
                  Chapter 11 Cases; and (iv) box and transport all original claims to the Philadelphia
                  Federal Records Center, 14470 Townsend Road, Philadelphia, PA 19154 and
                  docket a completed SF-135 Form indicating the accession and location numbers of
                  the archived claims.

                                          BASIS FOR RELIEF

  A.     The Conversion Relief Should be Granted

         37.      Section 1112(a) of the Bankruptcy Code provides that a debtor may convert a case

  to chapter 7 as a matter of right. See H.R. Rep. No. 95-595, 1st Sess. 405 (1977) (“Subdivision (a)

  gives the debtor an absolute right to convert a voluntarily commenced chapter 11 case in which

  the debtor remains in possession to a liquidation case”); see also Tex. Extrusion Corp. v. Lockheed

  Corp. (In re Tex. Extrusion Corp.), 844 F.2d 1142 (5th Cir. 1988) (“[A] debtor has the absolute

  right to convert [its] Chapter 11 case to a Chapter 7 case”). There are only three circumstances

  where a debtor is precluded from exercising that right: (i) the debtor is not a debtor in possession;

  (ii) the case was originally commenced as an involuntary case under chapter 11; or (iii) the case

  was converted to a case under chapter 11 other than at the debtor's request. 11 U.S.C. § 1112(a).




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  None of those exceptions is applicable in these Chapter 11 Cases. Therefore, the Debtors are

  entitled, as an absolute right, to convert the Chapter 11 Cases to cases under chapter 7.

           38.   In addition, conversion of these Chapter 11 Cases to cases under chapter 7 is in the

  best interests of the Debtors’ estates and creditors. The Debtors no longer have funding to

  administer these Chapter 11 Cases. Thus, although there is substantial inventory and equipment

  remaining in the Debtors’ stores and distribution centers and other estate assets that may be

  available to satisfy certain creditor claims, without an ability to fund ongoing administrative

  expenses, the Debtors have no ability to pursue the recovery of those assets or prosecute a chapter

  11 plan. Accordingly, the Debtors believe there is no reasonable likelihood that the Debtors could

  confirm and consummate a chapter 11 plan, and respectfully submit that a chapter 7 trustee will

  be able to more efficiently and effectively bring these cases to their conclusion.

           39.   Accordingly, the Debtors respectfully request that the Court enter an order

  converting the Debtors’ cases from chapter 11 to chapter 7, effective as of the Conversion Date.

  B.       The Conversion Procedures and Other Related Relief Should Be Approved

           40.   Pursuant to Local Rule 2002-1(f)(xi), “[u]pon conversion of a chapter 11 case to a

  chapter 7 case, if there are more than 200 creditors, the claims agent appointed in the chapter 11

  case shall . . . submit a termination order." Del. Bankr. L.R. 2002-1(f)(xi).

           41.   Accordingly, the Debtor requests that the conversion order sought hereby also

  provides for the termination of KCC services as claims and noticing agent in these Chapter 11

  Cases.

           42.   The Debtor also believes that the Conversion Procedures are appropriate under the

  facts of this case and should be approved. The Conversion Procedures include, among other things,

  a request to extend the deadline under Bankruptcy Rule 1019(1)(A) for the filing of any statements




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  and schedules required by Bankruptcy Rules 1019(1)(A) and 1007(b) from fourteen (14) days after

  the Conversion Date to forty-two days (42) after the Conversion Date.

          43.     The Court has authority to grant the requested extension under Bankruptcy Rules

  1007(c) and 9006(b) and Bankruptcy Local Rule 1007-1(b). Bankruptcy Rule 1007(c), together

  with Bankruptcy Rule 9006(b), allows the Court to extend the filing deadline for the Schedules

  and Statements “for cause shown.” Similarly, Bankruptcy Local Rule 1007-1(b) provides that such

  an extension may be granted for cause. Showing “cause” merely requires that a debtor

  “demonstrate some justification for the issuance of the order,” and bankruptcy courts will normally

  grant such extensions “in the absence of bad faith or prejudice to the adverse party.” See, e.g.,

  Bryant v. Smith, 165 B.R. 176, 182 (W.D. Va. 1994) (discussing the standard for granting

  extensions under Bankruptcy Rule 1007) (internal citations and quotation marks omitted).

          44.     Because of the COVID-19 pandemic and other extremely difficult circumstances

  that have defined these Chapter 11 Cases, the Debtors and their advisors have had virtually no free

  time or resources available since he Petition Date to devote to the preparation of schedules and

  statements required by Bankruptcy Rules 1019(1)(A) and 1007(b). Given the extent of work that

  remains to be done and the extremely limited resources remaining with which to undertake such

  work, which conditions both exist through no fault of the Debtors and their advisors, the Debtors’

  respectfully submit that “cause” exists to extend this deadline. Moreover, since these proceedings

  are still in their very early stages, the granting of such an extension is unlikely to prejudice the

  trustee, any creditor or any other party in interest.

                                                NOTICE

          45.     Notice of this Motion has been provided to: (i) the U.S. Trustee for the District of

  Delaware; (ii) proposed counsel for the Committee; (iii) the agents under the Debtors’ prepetition




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  secured facilities and counsel thereto; and (iv) any party that has requested notice pursuant to

  Bankruptcy Rule 2002. A copy of this Motion is also available on the website of the Debtors’

  notice and claims agent at https://www.kccllc.net/artvan. In light of the nature of the relief

  requested herein, the Debtors submit that no other or further notice is necessary.

                                   RESERVATION OF RIGHTS

         46.     The Debtors understand that employee payroll, the Carve Out and all other

  obligations that are required to be funded and paid under the Interim CC Order, including without

  limitation Paragraph 2 thereof, have been or will be funded and paid prior to the Conversion Date.

  Nevertheless, in the event that such obligations are not funded and paid as required under the

  Interim CC Order, the Debtors reserve all rights for themselves and their estates, including but not

  limited to any chapter 7 trustee that may hereafter be appointed.




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         WHEREFORE, the Debtors respectfully request that the Court enter an order, substantially

  in the form attached hereto, granting the relief requested in this Motion and granting such other

  relief as is appropriate under the circumstances.

  Dated: April 3, 2020                          BENESCH, FRIEDLANDER, COPLAN
  Wilmington, Delaware                          & ARONOFF LLP

                                                  /s/ Gregory W. Werkheiser
                                                Gregory W. Werkheiser (DE No. 3553)
                                                Michael J. Barrie (DE No. 4684)
                                                Jennifer Hoover (DE No. 5111)
                                                Kevin Capuzzi (DE No. 5462)
                                                Kate Harmon (DE No. 5343)
                                                John C. Gentile (DE No. 6159)
                                                222 Delaware Avenue, Suite 801
                                                Wilmington, DE 19801
                                                Telephone: (302) 442-7010
                                                Facsimile: (302) 442-7012
                                                E-mail: gwerkheiser@beneschlaw.com
                                                        mbarrie@beneschlaw.com
                                                        jhoover@beneschlaw.com
                                                        kcapuzzi@beneschlaw.com
                                                        kharmon@beneschlaw.com
                                                        jgentile@beneschlaw.com

                                                Proposed Counsel to the Debtors and Debtors in
                                                Possession




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                                 Exhibit A




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                        )
      In re:                                                            ) Chapter 11
                                                                        )
      ART VAN FURNITURE, LLC, et al., 1                                 ) Case No. 20-10553 (CSS)
                                                                        )
                                          Debtors.                      ) (Jointly Administered)
                                                                        )
                                                                        ) Re: D.I. _______
                                                                        )


        ORDER (I) CONVERTING THEIR CHAPTER 11 CASES TO CASES UNDER
      CHAPTER 7, (II) ESTABLISHING A DEADLINE FOR FILING FINAL CHAPTER 11
         FEE APPLICATIONS AND SETTING A HEARING THEREON, AND (III)
                            GRANTING RELATED RELIEF



               Upon consideration of the corrected motion (the “Motion”) 2 of the above-captioned debtors

  and debtors in possession (collectively, the “Debtors”) for the entry of an order, pursuant to section

  1112(a) of the Bankruptcy Code, (i) converting the Debtors’ chapter 11 cases to cases under

  chapter 7 of the Bankruptcy Code, (ii) establishing a deadline for filing final chapter 11 fee

  applications, and (iii) granting related relief; and it appearing that this Court has jurisdiction to

  consider the Motion pursuant to 28 U.S.C. §§ 1334 and 157, and the Amended Standing Order of

  Reference from the United States District Court for the District of Delaware dated February 29,

  2012; and it appearing that this is a core matter pursuant to 28 U.S.C. § 157(b)(2) and that this



  1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
               identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291);
               AVCE, LLC (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451);
               Levin Parent, LLC (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC
               (8968); AVF Franchising, LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort
               Mattress LLC (4463). The location of the Debtors’ service address in these chapter 11 cases is: 6500 East
               14 Mile Road, Warren Michigan 48092.
  2
               Capitalized terms used but not otherwise defined in this Order have the meanings ascribed to such terms in
               the Motion.




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  Court may enter a final order consistent with Article III of the United States Constitution; and it

  appearing that venue of these chapter 11 cases and of the Motion is proper pursuant to 28 U.S.C.

  §§ 1408 and 1409; and it appearing that due and adequate notice of the Motion has been given

  under the circumstances, and that no other or further notice need be given; and this Court having

  determined that the relief requested in the Motion is in the best interests of the Debtors, their

  estates, their creditors, and other parties in interest; and after due deliberation and sufficient cause

  appearing therefor,

          IT IS HEREBY ORDERED THAT:

          1.      The Motion is GRANTED, as set forth herein.

          2.      Effective as of 12:00 a.m. (prevailing Delaware time), on April 7, 2020 (the

  “Conversion Date”), the Chapter 11 Cases shall be converted to cases under chapter 7 of the

  Bankruptcy Code.

          3.      The following Conversion Procedures are hereby approved:

               a. Professional Fees. To the extent professionals currently or hereafter retained in the
                  Chapter 11 case have not already submitted final fee applications to the Court (the
                  “Final Fee Applications”), all professionals shall submit Final Fee Applications in
                  accordance with the Bankruptcy Code, Bankruptcy Rules, Local Rules, and orders
                  of this Court by no later than thirty (30) days after the Conversion Date (the “Final
                  Fee Application Deadline”). Objections, if any, to the Final Fee Applications shall
                  be filed and served by no later than twenty-one (21) days after the Final Fee
                  Application Deadline. The Court will schedule a hearing, if necessary, at the
                  Court’s convenience and subject to the Court’s availability, on such Final Fee
                  Applications within fourteen (14) days thereafter or such later date as the Court
                  determines. To the extent no objections are filed to a given professional’s final fee
                  application, such professional may file a Certificate of No Objection, and the Court
                  may, in its sole discretion, enter an order approving such fees. To the extent the
                  Court approves a Final Fee Application after the Conversion Date, all approved
                  amounts owed for professional fees and expenses shall be paid (x) first, from each
                  professional’s retainer to the extent such retainers exist; (y) next, from the Carve
                  Out Reserves (as defined in the Interim CC Order) in accordance with its terms;
                  and (z) thereafter, from the Debtors’ chapter 7 estates in accordance with the
                  priorities set forth in the Bankruptcy Code.




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              b. Books and Records. As soon as reasonably practicable, but in no event more than
                 fourteen (14) days after the appointment of the interim chapter 7 trustee, the
                 Debtors shall turn over or provide access to the chapter 7 trustee the books and
                 records of the Debtors in the Debtors’ possession and control, as required by
                 Bankruptcy Rule 1019(4). For purposes hereof, the Debtors may provide copies
                 (including electronic copies) of such books and records to the chapter 7 trustee, or
                 instructions for locating and accessing such books and records, and may retain
                 copies of such books and records to the extent necessary to complete the reports
                 required herein.

              c. Schedules and SOFA. To the extent not already filed with the Court, the statements
                 and schedules required by Bankruptcy Rules 1019(1)(A) and 1007(b) shall be filed
                 within forty-two (42) days after the Conversion Date.

              d. Schedule of Unpaid Debts. Within fourteen (14) days of the Conversion Date, the
                 Debtors shall file a schedule of unpaid debts incurred after commencement of the
                 Debtors’ Chapter 11 Cases, including the name and address of each creditor, as
                 required by Bankruptcy Rule 1019(5).

              e. Final Report. Within thirty (30) days after the Conversion Date, the Debtors shall
                 file and transmit to the chapter 7 trustee a final report and account in accordance
                 with Bankruptcy Rule 1019(5)(A).

              f. Claims. Within fourteen (14) days of the Conversion Date, KCC shall (i) forward
                 to the Clerk of this Court an electronic version of all imaged claims; (ii) upload the
                 creditor mailing list into CM/ECF; (iii) docket a final claims register in the Debtors’
                 Chapter 11 Cases; and (iv) box and transport all original claims to the Philadelphia
                 Federal Records Center, 14470 Townsend Road, Philadelphia, PA 19154 and
                 docket a completed SF-135 Form indicating the accession and location numbers of
                 the archived claims.

         4.      Subject to its compliance with Del. Bankr. L.R. 2002-1(f)(x)-(xi), on the

  Conversion Date, KCC shall be relieved of its responsibilities as the Debtors’ claims and noticing

  agent in the Debtors’ Chapter 11 Cases and will have no further obligations to the Court, the

  Debtors, the chapter 7 trustee (once appointed), or any party in interest with respect to the Debtors’

  Chapter 11 Cases or the chapter 7 cases.

         5.      Notwithstanding anything to the contrary in the Interim Order (I) Authorizing the

  Debtors to Use Cash Collateral, (II) Granting Adequate Protection to the Prepetition Secured

  Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting




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  Related Relief [D.I. 93] (the “Interim CC Order”), KCC shall be treated as a Professional Person

  (as such term is defined in the Interim CC Order) solely for the purpose of KCC’s eligibility to

  have its fees and expenses paid from the Carve Out Reserves or otherwise as part of the Carve Out

  (each as defined in the Interim CC Order). To the extent that KCC is entitled, or hereafter becomes

  entitled, to payment of its fees and expenses in accordance with the Order Appointing KCC as

  Claims and Noticing Agent Nunc Pro Tunc to the Petition Date [D.I. 77] (the “Claims Agent

  Order”) and the Agreement (as defined in the Claims Agent Order), such fees and expenses shall

  be Allowed Professional Fees (as defined in the Interim CC Order) for purposes of the Carve Out.

         6.      Except as expressly provided in Paragraph 5 above, nothing in this Order or the

  conversion of these Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code shall affect

  or modify the terms of the Interim CC Order, prejudice any person or entity’s rights thereunder or

  relieve any person or entity of obligations thereunder. All rights, claims, remedies, defenses and

  obligations under and in connection with the Interim CC Order shall be reserved and preserved in

  their entirety. For the avoidance of doubt and without in any way limiting the foregoing, all rights

  and obligations in respect of the Carve Out and the Carve Out Reserves (each as defined in the

  Interim CC Order) shall survive any termination of the Specified Period (as defined in the Interim

  CC Order).

         7.      For the avoidance of doubt, with respect to cash and cash equivalents in the

  possession, custody or control of any Debtor as of the date of entry of this Order, neither the entry

  of this Order, nor any relief granted hereunder, nor the occurrence of the Conversion Date for any

  Debtor’s Chapter 11 Case shall have any effect on whether such cash or cash equivalents (i) are or

  are not funds collected on account of “trust fund taxes” and held in trust for the benefit taxing

  authorities or other governmental units (as defined in section 101(27) of the Bankruptcy Code) or




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  (ii) are or are not property of any Debtor’s bankruptcy estate pursuant section 541 of the

  Bankruptcy Code.

         8.      Nothing herein shall affect the Order Granting the Motion of Jofran Sales, Inc. for

  Injunctive Relief entered on March 27, 2020, in Adversary Proceeding 20-50546.

         9.      This Court shall retain jurisdiction to hear and determine all matters arising from

  or related to the implementation, interpretation and/or enforcement of this Order.




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                 )
      In re:                                                     ) Chapter 11
                                                                 )
      ART VAN FURNITURE, LLC, et al.,1                           ) Case No. 20-10553 (CSS)
                                                                 )
                                     Debtors.                    ) (Jointly Administered)
                                                                 )
                                                                 ) Objection Deadline: At the Hearing
                                                                 ) Hearing Date: April 6, 2020 at 1:00 p.m. (ET) (requested)
                                                                 )

         NOTICE OF VIDEO AND TELEPHONIC HEARING REGARDING DEBTORS’
        CORRECTED MOTION FOR ENTRY OF AN ORDER (I) CONVERTING THEIR
         CHAPTER 11 CASES TO CASES UNDER CHAPTER 7, (II) ESTABLISHING A
      DEADLINE FOR FILING FINAL CHAPTER 11 FEE APPLICATIONS AND SETTING
             A HEARING THEREON, AND (III) GRANTING RELATED RELIEF

               PLEASE TAKE NOTICE that on April 3, 2020, the above-captioned debtors and debtors

  in possession (collectively, the “Debtors”) filed the Debtors Corrected Motion for Entry of an

  Order (I) Converting Their Chapter 11 Cases to Cases Under Chapter 7, (II) Establishing a

  Deadline for Filing Final Chapter 11 Fee Applications and Setting a Hearing Thereon, and (III)

  Granting Related Relief (the “Motion”) with the United States Bankruptcy Court for the District

  of Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy

  Court”). A copy of the Motion is attached hereto.

               PLEASE TAKE FURTHER NOTICE that this Motion will be heard on April 6, 2020

  at 1:00 p.m. (ET), before the Honorable Chief Judge Christopher S. Sontchi via video and

  telephonic conference.


  1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
  identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC
  (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC
  (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC
  (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location of the
  Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.




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        PLEASE TAKE FURTHER NOTICE THAT THE HEARING IS PROCEEDING

  VIA ZOOM USING THE FOLLOWING INSTRUCTIONS:

        Topic: Art Van Furniture 20-10553 - Hearing
        Time: Apr 6, 2020 1:00 PM Eastern Time (US and Canada)
        Join Zoom Meeting
        https://uchicago.zoom.us/j/911880719
        Meeting ID: 911 880 719

        DO NOT COME TO THE COURTHOUSE. ANY PARTY WHO WISHES TO

  PRESENT EVIDENCE OR EXAMINE WITNESSES IS REQUIRED TO ACCESS VIA

  ZOOM. ANY PARTY WHO WISHES TO ACCESS VIA ZOOM MUST ALSO MAKE

  AUDIO ARRANGEMENTS THROUGH COURTCALL BY TELEPHONE (888-882-6878)

  OR FACSIMILE (310-743-1850).

        OTHER PARTIES IN INTEREST MAY MAKE ARRANGEMENTS TO

  PARTICIPATE BY TELEPHONE AT THE HEARING THROUGH COURTCALL BY

  TELEPHONE (888-882-6878) OR FACSIMILE (310-743-1850).

        PLEASE TAKE FURTHER NOTICE THAT, IF NO RESPONSES OR

  OBJECTIONS TO THE MOTION ARE TIMELY RECEIVED IN ACCORDANCE WITH

  THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE RELIEF

  REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.




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  Dated: April 3, 2020                  BENESCH, FRIEDLANDER, COPLAN &
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                                        Proposed Counsel to the Debtors and Debtors in
                                        Possession




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                                   EXHIBIT D




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                                                                   ADVERTISEMENT




          BU SINESS




        Art Van Furniture to close all stores,
        including 24 in Illinois
                                                      By C HI C AGO TR I BUN E STAF F
                                                  C HIC AGO TRIBUNE | MAR 05, 2020




                                                                                             ONLY $1 FOR 6 MONTHS             L OG IN
       S E CT I O N S
                                                                                               Our best offer ends soon




        The ArtVan store at 2606 N. Elston on November 2, 2015. (Phil Velasquez / Chicago Tribune)


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        Art Van Furniture, one of the Midwest’s largest furniture retailers with almost 180
        stores, including two dozen in Illinois, announced Thursday it will shut down.

        Liquidation sales are scheduled to begin Friday.

                                                                  ADVERTISEMENT




                     American Greetings - Sponsored                          American Greetings - Sponsored

                     Make Every Moment Merrier                               Make Every Moment Merrier

                     Shop Now                                                Shop Now


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        The company, started in the Detroit area in 1959 and now based in Warren,
        Michigan, operates stores in the Chicago name under the names Art Van


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https://www.chicagotribune.com/business/ct-biz-art-van-shutting-down-20200305-2efw2ukfk5g2dfpzgooebjv7ry-story.html                  2/5
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        Furniture, Art Van PureSleep and Scott Shuptrine Interiors. In addition to stores
        in Michigan and Illinois, it has locations in Indiana, Missouri and Ohio.




        Shoppers inside the Art Van Furniture store in Chicago on Nov. 2, 2015. (Phil Velasquez / Chicago Tribune)


        It entered the Chicago market in mid-2013, with plans to invest more than $40
        million in land, store build-out, inventory and labor. The state’s Department of
        Commerce and Economic Opportunity provided a $404,000 tax credit spread over
        10 years and based on the company creating 35 jobs and making a $4.9 million
        investment at its Bolingbrook distribution facility. The distribution center will
        close when final sales are completed, said spokeswoman Diane Charles.




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        The company’s website lists 24 stores in Illinois. Altogether, the shutdown will
        mean the loss of 520 jobs in Illinois, she said.

        Nordstrom closing Trunk Club stores »

        Art Van drew attention for its creative marketing promotions. Those included free
        furniture if the temperature at O’Hare International Airport topped 100 degrees
        during part of the summer of 2016 and bets on heavy snowfall during Super Bowl
        games. In 2015, Art Van refunded a total of $2.5 million to about 1,200 furniture
        buyers when it snowed more than 3 inches during that year’s Super Bowl.

                                                                  ADVERTISEMENT




        In 2017, Boston-based private equity firm Thomas H. Lee Partners acquired a
        majority stake in Art Van and the retailer began an aggressive expansion, including
        buying other chains and opening in spaces left empty by other retailers.

        The Standard Club, long the social nexus for Chicago’s Jewish leaders, is
        closing May 1 amid financial struggles »




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                                   EXHIBIT E




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                       )
      In re:                                                           ) Chapter 11
                                                                       )
      ART VAN FURNITURE, LLC, et al.,1                                 ) Case No. 20-10533 (CSS)
                                                                       )
                                         Debtors.                      ) (Joint Administration Requested)
                                                                       )

             DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
        (I) AUTHORIZING SECURED POST-PETITION FINANCING PURSUANT TO 11
         U.S.C. SECTIONS 105, 361, 364(c) AND 364 (d); AND (II) GRANTING RELATED
                                           RELIEF


               The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

  respectfully state as follows in support of this motion (this “Motion”):

                                                    Relief Requested

               1.    The Debtors seek entry of an interim order (the “Interim Order”), substantially in

  the form attached hereto as Exhibit A, and a final order (the “Final Order” and, collectively with

  the Interim Order, the “Orders”) authorizing the Debtors’ use of secured post-petition financing

  (the “DIP Facility”) on an interim and final basis pursuant to the terms of the Debtor-in-Possession

  Credit and Security Agreement (the “DIP Credit Agreement”) by and among Debtor Sam Levin,

  Inc. (the “Borrower” or “Debtor Levin”) and Levin Furniture LLC (the “DIP Lender”) attached

  here to as Exhibit B.




  1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509);
        AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC
        (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising,
        LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location
        of the Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.



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           2.    In addition, the Debtors request that the Court schedule a final hearing within

  approximately 35 days of the commencement of these chapter 11 cases to consider approval of

  this Motion on a final basis.

           3.    In further support of the Motion, the Debtors respectfully represent as follows:

                                               Overview

           4.    By this Motion, the Debtors seek entry of the Interim Order:

                 a.      authorizing, under sections 364(c) of the Bankruptcy Code and Bankruptcy
                         Rule 4001(c), the Debtors to obtain secured, superpriority, post-petition
                         loans, advances and other financial accommodations (the “DIP Facility”),
                         on an interim basis;

                 b.      authorizing the Debtors to execute and deliver the DIP Credit Agreement
                         and all other related documents and agreements as contemplated by the DIP
                         Credit Agreement and requested by the DIP Lender (collectively, the “DIP
                         Loan Documents”);

                 c.      authorizing the Debtors, prior to the entry of the Final Order, to request
                         extensions of credit under the DIP Facility up to an aggregate principal
                         amount of $7,000,000.00 at any one time outstanding;

                 d.      granting allowed superpriority administrative expense claim status pursuant
                         to section 364(c)(1) of the Bankruptcy Code to all obligations owing under
                         the DIP Credit Agreement and the other DIP Loan Documents, subject to
                         carve-outs;

                 e.      granting to the DIP Lender automatically perfected security interests and
                         liens on all of the DIP Collateral;

                 f.      authorizing and directing the Debtors to pay the principal, interest, fees,
                         expenses and other amounts payable under the DIP Loan Documents;

                 g.      vacating and modifying the automatic stay imposed by section 362 of the
                         Bankruptcy Code to the extent necessary to implement and effectuate the
                         terms and provisions of the DIP Loan Documents and the Interim Order;

                 h.      granted related relief; and

                 i.      scheduling the final hearing on this Motion (the “Final Hearing”).




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                                         Jurisdiction and Venue

           5.     The United States Bankruptcy Court for the District of Delaware (the “Court”) has

  jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

  Order of Reference from the United States District Court for the District of Delaware, dated

  February 29, 2012. The Debtors confirm their consent, pursuant to rule 7008 of the Federal Rules

  of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 9013-1(f) of the Local Rules of

  Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

  Delaware (the “Bankruptcy Local Rules”), to the entry of a final order by the Court in connection

  with this Motion to the extent that it is later determined that the Court, absent consent of the parties,

  cannot enter final orders or judgments in connection herewith consistent with Article III of the

  United States Constitution.

           6.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

           7.     The bases for the relief requested herein are 105, 361, 363(c) and 364(d) of chapter

  11 of title 11 of the United States Code (the “Bankruptcy Code”), Bankruptcy Rules 2002, 4001,

  6004 and 9014, and Bankruptcy Local Rule 4001-2.

                                               Background

           8.     The Debtors operate 169 locations, including 92 furniture and mattress showrooms

  and 77 freestanding mattress and specialty locations. The Debtors do business under brand names,

  including Art Van Furniture, Pure Sleep, Scott Shuptrine Interiors, Levin Furniture, Levin

  Mattress, and Wolf Furniture. The Debtors were founded in 1959 and was owned by its founder,

  Art Van Elslander, until it was sold to funds affiliated with Thomas H. Lee Partners, L.P. (“THL”)

  in March 2017. Pennsylvania based Levin Furniture and Wolf Furniture were acquired by Art Van

  in November 2017. As of the Petition Date (as defined below), the Debtors operate stores

  throughout Michigan, Indiana, Ohio, Illinois, Pennsylvania, Maryland, Missouri, and Virginia.

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  The Debtors are headquartered in Warren, Michigan and have approximately 4,500 employees as

  of the Petition Date (as defined below).

           9.      On March 8, 2020 (the “Petition Date”), each of the Debtors filed a voluntary

  petition for relief under chapter 11 of the Bankruptcy Code. A detailed description surrounding

  the facts and circumstances of these chapter 11 cases is set forth in the Declaration of David Ladd,

  Executive Vice President and Chief Financial Offer of Art Van Furniture, LLC, in Support of

  Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), filed

  contemporaneously with this Motion and incorporated by reference herein. Concurrently with the

  filing of this Motion, the Debtors filed a motion requesting procedural consolidation and joint

  administration of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b). The Debtors are

  operating their business and managing their properties as debtors in possession pursuant to

  sections 1107(a) and 1108 of the Bankruptcy Code. No request for the appointment of a trustee

  or examiner has been made in these chapter 11 cases and no official committees have been

  appointed or designated.

                                       Need to the DIP Facility

           10.     The Debtors have an urgent and immediate need to obtain postpetition financing.

  Here, the DIP Facility sends a fundamentally positive signal to the Debtors’ vendors, employees,

  customers, and other parties critical to maintaining the Debtors’ viability that the operations at the

  stores subject to the Wolf-Levin LOI (attached to the First Day Declaration) will continue as a

  going concern.

           11.     The DIP Facility is narrow and limited to purchasing inventory for sale in those

  stores. Without the availability provided under the DIP Facility, the Debtors may be unable to

  preserve such stores as a going concern.



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           12.    Hence, the Debtors have determined, in the exercise of their sound business

  judgment, that they require financing under the terms of the DIP Credit Agreement and hereby

  request authority to obtain such financing through the proposed Orders.

                      Statement of the Material Terms of the Interim Order

           13.    Pursuant to Bankruptcy Rule 4001(b), (c) and (d) and Bankruptcy Local Rule 4001-

  2(a)(i) and (ii), the following is a concise statement and summary of the material terms of the

  Interim Order and/or the DIP Credit Agreement (collectively, the “Highlighted Provisions”):

        Material Terms                     Summary of Material Terms                     Para(s). of
                                                                                         Interim
                                                                                          Order
                                                                                        and/or DIP
                                                                                          Credit
                                                                                        Agreement
     Borrowers               Sam Levin, Inc.                                             DIP Credit
                                                                                        Agreement at
                                                                                            p. 1

     Guarantors                                                                          (i) N/A
                                                                                               N
                             None

     DIP Lender             Levin Furniture, LLC                                        DIP Credit
                                                                                        Agreement
                                                                                           at p.1
     Purpose                To fund operations of Borrower, specifically, to              Interim
                            purchase inventory in the ordinary course of business of    Order at ¶ G
                            Borrower during the administration of the Bankruptcy
                            Case

     Interim Debt            Not to exceed $3,500,000.00 during the Interim Period.        Interim
     Limit                                                                              Order at ¶ K
                                                                                       and DIP Credit
                                                                                        Agreement at
                                                                                            § 3(d)
     Type and                $7 million secured superpriority facility                       DIP
     Amount of DIP                                                                       Agreement
                                                                                        introduction
     Facility                                                                            and defined
                                                                                            terms




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        Material Terms                   Summary of Material Terms                               Para(s). of
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                                                                                                   Order
                                                                                                and/or DIP
                                                                                                   Credit
                                                                                                Agreement
     Maturity Date         April 7, 2020                                                        DIP Credit
                                                                                               Agreement at §
                                                                                                   14(a)


     Interest Rate         Non-default rate: 9% per annum based upon 360 day                    DIP Credit
                           year                                                                 Agreement
                                                                                                at §§ 1 and
                           Default rate: Non-default rate plus 2% per annum                       3(e)(ii)

     Other Fees            N/A                                                                      N/A



     Conditions                            (a)     Each of the representations and               DIP Credit
     Precedent       to   warranties made by Borrower in or pursuant to DIP Credit               Agreement
                          Agreement and any Other Document, as the case may be, and               at § 10
     Lending
                          each of the representations and warranties contained in any
                          certificate, document or financial or other statement furnished
                          at any time under or in connection with this Agreement or any
                          Other Document shall be true and correct in all material respects
                          on and as of such date as if made on and as of such date.

                                            (b)      Financing Orders. Subject to Section
                          9(c) of the DIP Credit Agreement, the Financing Orders shall be
                          in full force and effect and shall not have been stayed, reversed,
                          modified or amended in any respect without the prior written
                          consent of the DIP Lender, provided, that at the time of the
                          making of any Advance the aggregate amount of which, when
                          added to the sum of the principal amount of all Advances then
                          outstanding would exceed the amount authorized by the Interim
                          Financing Order (collectively, the "Additional Credit"), the DIP
                          Lender shall have received satisfactory evidence of the entry of
                          the Final Financing Order, which, in any event, shall have been
                          entered by the Bankruptcy Court no later than twenty (20) days
                          after the Petition Date and at the time of the extension of any
                          Additional Credit the Final Financing Order shall be in full force
                          and effect, and shall not have been vacated, stayed, reversed,
                          modified or amended in any respect without the prior written
                          consent of the DIP Lender; and if either the Interim Financing
                          Order or the Final Financing Order is the subject of a pending
                          appeal in any respect, neither the making of the Advances nor

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        Material Terms                   Summary of Material Terms                                Para(s). of
                                                                                                  Interim
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                                                                                                 and/or DIP
                                                                                                   Credit
                                                                                                 Agreement
                         the performance by the Borrower of any of its obligations under
                         the DIP Credit Agreement or any of the Other Documents shall
                         be the subject of a presently effective stay pending appeal.

                                           (c)        Sale Motion. For each Advance made
                                                   th
                         on or after the fifth (5 ) day following the Petition Date, the
                         Borrower shall have filed a motion for approval of the sale of
                         substantially all of the assets of the Borrower to the DIP Lender,
                         which shall be reasonably satisfactory in form and substance to
                         the DIP Lender (the "Sale Motion").

                                           (d)      Asset Purchase Agreement. For each
                         Advance made on or after the tenth (10th) day following the
                         Petition Date, Borrower and LF Trucking, Inc., a Pennsylvania
                         corporation and co-Debtor in the Bankruptcy Case, as sellers
                         (collectively, the “Sellers”), and the DIP Lender and Levin
                         Trucking, LLC, a Pennsylvania limited liability company, as
                         purchasers (collectively, the “Purchasers”), shall have entered
                         into a purchase and sale agreement for the purchase and sale of
                         substantially all of the assets of the Sellers to the Purchasers (the
                         “Sale Agreement”), which shall be reasonably satisfactory in
                         form and substance to the DIP Lender (the "Sale Motion").

                                           (e)     For each Advance made on or after the
                         twenty-first (21st) day following the Petition Date, an order
                         reasonably satisfactory in form and substance to the DIP Lender
                         (the "Sale Order") shall have been entered by the Bankruptcy
                         Court approving a sale to the Purchasers pursuant to the Sale
                         Motion and the Sale Agreement, which Sale Order shall not be
                         subject to a stay pending appeal. Within two (2) Business Days
                         after entry of the Sale Order, the Sellers and the Purchasers shall
                         close on such sale pursuant to the Purchase Agreement.

                                         (f)      No Default. No Event of Default or
                         Default shall have occurred and be continuing on such date, or
                         would exist after giving effect to the Advances requested to be
                         made, on such date; provided, however that, the DIP Lender, in
                         its sole discretion, may continue to make Advances
                         notwithstanding the existence of an Event of Default or Default
                         and that any Advances so made shall not be deemed a waiver of
                         any such Event of Default or Default.

     Interim Borrowing    Not to exceed $3,500,000.00 during the Interim Period.                   Interim
     Limit                                                                                       Order at ¶ K

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        Material Terms                 Summary of Material Terms                        Para(s). of
                                                                                        Interim
                                                                                         Order
                                                                                       and/or DIP
                                                                                         Credit
                                                                                       Agreement


   Limitations on Use of   The funds available under the DIP Facility may be used       DIP Credit
   Proceeds:               to purchase inventory in the ordinary course of              Agreement
                                                                                          at § 4
                           business of Borrower during the administration of the
                           Bankruptcy Case in accordance with the terms of any
                           order regarding Borrower's use of cash collateral or the
                           Financing Orders.

     Budget and Financial N/A                                                              N/A
     Covenants




     Cash Dominion         N/A                                                             N/A




     DIP Lien /            Borrower agrees to grant DIP Lender an allowed                DIP Credit
     Superpriority         Superpriority Claim which shall survive any conversion Agreement at
     Claim                 of the these matters to a case under chapter 7 of the        §§ 1 and 5(i)
                           Bankruptcy Code. “Superpriority Claim” shall mean
                           indebtedness or other claim arising out of credit
                           obtained or debt incurred by the Borrower in the
                           Bankruptcy Case having priority in accordance with the
                           provisions of Section 364(c)(1) of the Bankruptcy Code
                           over any or all administrative expenses of the kind
                           specified in Sections 503(b) or 507(b) of the Bankruptcy
                           Code.
     DIP Collateral        To secure prompt payment and performance of all               DIP Credit
                           obligations, the Borrower grants to the DIP Lender a         Agreement at
                           continuing security interest in and Lien upon: (a) all            §1
                           inventory of the Borrower purchased solely with the
                           proceeds of any Advances under the DIP Loan
                           Documents; (b) all receivables; (c) all right, title and
                           interest in and to (i) all inventory returned or rejected by

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                         customers previously sold by the Borrower giving rise to
                         receivables referred to in clause (b) above; (ii) all of
                         Borrower’s rights as a consignor, a consignee, an unpaid
                         vendor, mechanic, artisan, or other lienor, including
                         stoppage in transit, setoff, dentinue, replevin,
                         reclamation and repurchase with respect to any of the
                         foregoing (a) or (b); (iii) all additional amounts due to
                         Borrower from any customer related to the receivables
                         set forth in clause (b) above; (iv) other property,
                         including warranty claims, relating to any of the
                         foregoing (a) and (b); (v) all of Borrower’s contract
                         rights, rights of payment which have been earned under
                         a contract right, instruments (including promissory
                         notes), documents, chattel paper (including electronic
                         chattel paper), warehouse receipts, deposit accounts,
                         letters of credit and money relating to any of the
                         foregoing (a) and (b); (vi) all commercial tort claims
                         (whether now existing or hereafter arising) relating to
                         any of the foregoing (a) and (b); and (vii) if and when
                         obtained by Borrower, all real and personal property of
                         third parties in which Borrower has been granted a lien
                         of security interest as security for the payment or
                         enforcement of receivables referred to in clause (b)

                         (d) ledger sheets, ledger cards, files, correspondence,
                         records, books of account, business papers, computer
                         software (owned by Borrower or in which it has an
                         interest and in which the granting of a security interest
                         therein is not expressly prohibited), computer programs,
                         tapes, disks and documents relating to (a), (b) or (c) of
                         this definition; and

                         (e) proceedings and products of (a), (b), (c) or (d) of this
                         definition, in whatever form, including, but not limited
                         to: cash, deposit accounts (whether or not comprised
                         solely of proceeds), certificates of deposit, insurance
                         proceeds (including hazard and credit insurance),
                         negotiable instruments and other instruments for the
                         payment of money, chattel paper, security agreements,
                         documents and tort claims proceeds.


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                          The term Collateral shall not include any lease, license,
                          contract, property right or agreement (or any of its rights
                          or interests thereunder) if and to the extent that the grant
                          of the security interest shall, after giving effect to
                          Section 9-406, 9-407, 9-408 or 9-409 of the Uniform
                          Commercial Code (or any successor provision or
                          provisions), the Bankruptcy Code, or any other
                          applicable law, constitute or result in (i) the
                          abandonment, invalidation or uneforceability of any
                          right, title or interest of Borrower therein or (ii) a breach
                          of termination pursuant to the terms of, or a default
                          under, any such lease license, contract, property rights
                          or agreement; provided, however, that (y) the Collateral
                          excluded hereby shall not include any and all proceeds
                          of such property rights or agreements or any right, title
                          or interest or Borrower therein, and (z) the security
                          interest shall attach immediately at any such time as the
                          restriction resulting in abandonment, invalidation or
                          unenforceability or breach or termination shall be
                          removed or any condition thereto (including any
                          consent) shall be satisfied.
     Lien on              N/A                                                                 N/A
     Avoidance
     Claims


     Administrative      Subject to the Financing Orders and the DIP Loan Agreement, DIP Credit
     Carve-Out           the Borrower hereby covenants, represents and warrants that        Agreement at
                         upon entry of the Interim Financing Order (and the Final             § 15(k)
                         Financing Order, as applicable), the Obligations shall: (i)
                         pursuant to Section 364(c)(l) of the Bankruptcy Code, at all
                         times constitute allowed claims in the Bankruptcy Case having
                         priority over any and all administrative expenses, diminution
                         claims and all other claims against the Borrower, now existing
                         or hereafter arising, of any kind whatsoever, including without
                         limitation, all administrative expenses of the kind specified in
                         Sections 503(b) or 507(b) of the Bankruptcy Code; (ii)
                         pursuant to Section 364(c)(2) of the Bankruptcy Code, at all
                         times be secured by a valid, binding, continuing, enforceable
                         and fully-perfected first priority senior security interest in and
                         Liens upon the Collateral that is not subject to valid, perfected

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                         and non-avoidable Liens on the Petition Date; and (iii)
                         pursuant to Section 364(d) of the Bankruptcy Code, the
                         Advances shall be secured by valid, binding, continuing and
                         enforceable senior priming security interests, senior priming
                         liens on all the Collateral.


     Waivers              N/A                                                                N/A




     Perfection Other     The Interim DIP Lien shall be automatically perfected           Interim Order
     Than Under           upon entry of the Interim Order.                               at ¶10 and DIP
     State Law                                                                                Credit
                                                                                          Agreement at
                                                                                              § 5(b)
     Events of            The occurrence of one or more of the following events             DIP Credit
     Default              shall constitute an “Event of Default”:                         Agreement at
                                                                                               § 12
                                        (a)     Payment of Obligations. Failure by
                         Borrower to pay any principal or interest on the
                         Obligations when due, whether at maturity or by reason of
                         acceleration pursuant to the terms of this Agreement, or by
                         required prepayment or failure to pay any other liabilities
                         or make any other payment, fee or charge provided for
                         herein when due or in any Other Document.

                                        (b)    Misrepresentations.             Any
                         representation or warranty made by Borrower in this
                         Agreement or any Other Document or in any certificate,
                         document or financial or other statement furnished at any
                         time in connection herewith or therewith, as the case may
                         be, shall prove to have been misleading in any material
                         respect on the date when made or deemed to have been
                         made.

                                        (c)    Failure to Furnish Information.
                         Failure by Borrower to (i) furnish financial information
                         required to be provided hereunder when due, (ii) furnish
                         financial information requested by the Lender within ten


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                         (10) days after such information is requested, or
                         (iii) permit the inspection of its books or records.

                                         (d)     Liens Against Assets. Issuance of a
                         notice of Lien (other than Permitted Encumbrances), levy,
                         assessment, injunction or attachment against the Collateral
                         or a material portion of Borrower's property which is not
                         stayed or lifted within ten (10) days.

                                        (e)    Breach of Covenants. Except as
                         otherwise provided for in this Section, failure or neglect of
                         Borrower to perform, keep or observe any term, provision,
                         condition or covenant herein contained or contained in any
                         other agreement or arrangement, now or hereafter entered
                         into between Borrower and the Lender relating to the
                         Obligations.

                                        (f)     Judgment.       Any judgment is
                         rendered or judgment lien is filed against Borrower for any
                         post-petition obligation (to the extent not covered by
                         insurance to which the insurance provider has not
                         contested coverage).

                                         (g)    Loss of Priority Lien. Any Lien
                         created hereunder or provided for hereby or under any
                         related agreement for any reason ceases to be or is not a
                         valid and perfected Lien having the priority contemplated
                         herein and in the Financing Orders.

                                       (h)     Invalidity of Credit Agreement.
                         Any material provision of this Agreement shall, for any
                         reason, cease to be valid and binding on Borrower, or
                         Borrower shall so claim in writing to the Lender.

                                        (i)    Destruction of Collateral. Any
                         portion of the Collateral shall be seized or taken by a
                         Governmental Body, or Borrower or the title and rights of
                         Borrower shall have become the subject matter of
                         litigation which might, in the reasonable opinion of the
                         Lender, upon final determination, result in material


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                         impairment or loss of the security provided by this
                         Agreement or the Other Documents.

                                        (j)     Pre-Petition Payments. Except as
                         permitted by the Financing Orders, the Borrower shall
                         make any pre-petition payment other than pre-petition
                         payments authorized by the Bankruptcy Court (w) in
                         accordance with the Cash Collateral Order, (x) in
                         accordance with other "first day" orders reasonably
                         satisfactory to the Lender, (y) in connection with the
                         assumption of executory contracts and unexpired leases
                         and (z) in respect of accrued payroll and related expenses
                         and employee benefits as of the Petition Date.

                                         (k)    Dismissal or Conversion of
                         Bankruptcy Case.        The Bankruptcy Case shall be
                         dismissed or converted to a case under Chapter 7 of the
                         Bankruptcy Code or Borrower shall file a motion or other
                         pleading seeking the dismissal of the Bankruptcy Case
                         under Section 1112 of the Bankruptcy Code or otherwise;
                         a trustee under Chapter 7 or Chapter 11 of the Bankruptcy
                         Code, a responsible officer or an examiner with enlarged
                         powers relating to the operation of the business (powers
                         beyond those set forth in Sections 1106(a)(3) and (4) of the
                         Bankruptcy Code) under Section 1106(b) of the
                         Bankruptcy Code shall be appointed in the Bankruptcy
                         Case, or an application shall be filed by Borrower for the
                         approval of any other Superpriority Claim in the
                         Bankruptcy Case which is pari passu with or senior to the
                         claims of the Lender against Borrower hereunder, or there
                         shall arise or be granted any such pari passu or senior
                         Superpriority Claim.

                                         (l)     Relief from Stay. The Bankruptcy
                         Court shall enter an order or orders granting relief from the
                         automatic stay applicable under Section 362 of the
                         Bankruptcy Code to the holder or holders of any security
                         interest to permit foreclosure (or the granting of a deed in
                         lieu of foreclosure or the like) or repossession on any
                         assets of the Borrower.


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                                        (m)     The Financing Orders. Borrower
                         shall apply for authority to amend, supplement, stay,
                         vacate or otherwise modify any of the Financing Orders
                         without the consent of the Lender, and the Lender has sent
                         notice of such default to Borrower. Any of the Financing
                         Orders shall be revoked, remanded, vacated, reversed,
                         stayed, rescinded or shall cease to be in full force and
                         effect, in each case without the consent of the Lender,
                         modified or amended on appeal by any Bankruptcy Judge
                         or District Court Judge or the Final Financing Order shall
                         not have been entered within twenty-one (21) days of the
                         Petition Date.

                                         (n)    Lien Challenge. Borrower shall
                         support (in any such case by way of any motion or other
                         pleading filed with the Bankruptcy Court or any other
                         writing to another party-in-interest executed by or on
                         behalf of Borrower) any other Person's opposition of, any
                         motion made in the Bankruptcy Court by Lender seeking
                         confirmation of the amount of Lender's claim or the
                         validity or enforceability of the Liens in favor of Lender.
                         Borrower shall seek to, or shall support (in any such case
                         by way of any motion or other pleading filed with the
                         Bankruptcy Court or any other writing to another party-in-
                         interest executed by or on behalf of Borrower) any other
                         Person's motion to disallow in whole or in part Lender's
                         claim in respect of the Obligations or to challenge the
                         validity, perfection and enforceability of Liens in favor or
                         the Lender.

                                         (o)     Filing of Reorganization Plan or
                         Sale Motion. A plan of reorganization or a motion for the
                         sale of substantially all of the assets of the Sellers is filed
                         by any party in interest in the Bankruptcy Case which does
                         not contemplate a sale to the Purchasers.




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                                                                                      Agreement
     Remedies /             Upon the occurrence and during the continuance of any     DIP Credit
     Relief from            Event of Default, the automatic stay provisions of       Agreement at
     Automatic Stay         section 362 of the Bankruptcy Code shall be vacated         § 7(d)
                            and/or modified to the extent necessary to permit the
                            DIP Lender to (i) perfect the security interests and Liens
                            granted under the DIP Loan Documents and (ii) exercise
                            its rights under section 13 of the DIP Loan Documents.
     Indemnification        Borrower shall indemnify the DIP Lender and each of         DIP Credit
     and Exculpation        its officers, directors, affiliates, employees, attorneys  Agreement at
                            and agents from and against any and all liabilities,         § 15(a)
                            obligations, losses, damages, penalties, actions,
                            judgments, suits, costs, expenses and disbursements of
                            any kind or nature whatsoever (including, without
                            limitation, fees and disbursements of counsel) which
                            may be imposed on, incurred by, or asserted against the
                            Lender in any litigation, proceeding or investigation
                            instituted or conducted by any governmental agency or
                            instrumentality or any other Person (as defined in the
                            DIP Loan Agreement) with respect to any aspect of, or
                            any transaction contemplated by, or referred to in, or
                            any matter related thereto, the DIP Loan Agreement or
                            Other Documents (as defined in the DIP Loan
                            Agreement), whether or not the DIP Lender is party
                            thereto, except to the extent that any of the foregoing
                            arises out of the gross negligence or willful misconduct
                            of the party being indemnified.

                           Bankruptcy Local Rule 4001-2 Disclosures

           13.   The Debtors do not believe that this Motion or the Interim Order contain any

  provisions requiring special disclosure under Bankruptcy Local Rule 4001-2(a).




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                                              Basis for Relief

  I.            The Debtors Should Be Permitted to Obtain Post-Petition Financing Pursuant to
                Section 364(c) of the Bankruptcy Code.

           14.      Section 364(c) of the Bankruptcy Code requires a finding, made after notice and a

  hearing, that the debtors seeking post-petition financing on a secured basis cannot “obtain

  unsecured credit allowable under section 503(b)(1) of [the Bankruptcy Code] as an administrative

  expense…” 11 U.S.C. § 364(c).

           15.      In evaluating proposed post-petition financing under section 364(c) of the

  Bankruptcy Code, courts perform a qualitative analysis and generally consider similar factors,

  including whether: (i) unencumbered credit or alternative financing without superpriority status is

  available to the debtor; (ii) the credit transactions are necessary to preserve assets of the estate; (iii)

  the terms of the credit agreement are fair, reasonable, and adequate; (iv) the proposed financing

  agreement was negotiated in good faith and at arm’s-length and entry thereto is an exercise of

  sound and reasonable business judgment and in the best interest of the debtor’s estate and its

  creditors; and (v) the proposed financing agreement adequately protects prepetition secured

  creditors.

           16.      See, e.g., In re Los Angeles Dodgers LLC, 457 B.R. 308, 312 (Bankr. D. Del. 2011)

  (applying the first three factors); In re Aqua Assoc., 123 B.R. 192, 195-96 (Bankr. E.D. Pa. 1991)

  (applying the first three factors in making a determination under section 364(c)); In re Crouse

  Group, Inc., 71 B.R. 544, 546 (Bankr. E.D. Pa. 1987) (same); Bland v. Farmworker Creditors,




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  308 B.R. 109, 113-14 (S.D. Ga. 2003) (applying all factors in making a determination under

  section 364(d)).

           17.   For the reasons discussed below, the Debtors satisfy the standards required to obtain

  post-petition financing under section 364(c) of the Bankruptcy Code. For the avoidance of doubt,

  the Debtors are not seeking any relief pursuant to section 364(d) of the Bankruptcy Code

  II.      The Debtors Were Unable to Obtain Financing on an Unsecured Basis.

           18.   Whether debtors were unable to obtain unsecured credit is determined by

  application of a good faith effort standard, and debtors must make a good faith effort to

  demonstrate that credit was not available without granting a security interest. See In re YL West

  87th Holdings I LLC, 423 B.R. 421, 441 (Bankr. S.D.N.Y. 2010) (“Courts have generally deferred

  to a debtor’s business judgment in granting section 364 financing.”); In re Gen. Growth Props.,

  Inc., 412 B.R. 122, 125 (Bankr. S.D.N.Y. 2009). The required showing under section 364 of the

  Bankruptcy Code that unsecured credit was not available is not rigorous. See, e.g., Bray v.

  Shenandoah Fed. Sav. & Loan Ass’n (In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir. 1986)

  (stating that section 364(d) of the Bankruptcy Code imposes no duty to seek credit from every

  possible lender, particularly when “time is of the essence in an effort to preserve a vulnerable

  seasonal enterprise”).

           19.   Here, as detailed in the First-Day Declaration, as supplemented by the record, the

  Debtors filed these cases to avert a liquidity crisis and prevent further deterioration of their

  business. The Debtors are unable, in the present circumstances, to purchase inventory at the Wolf-

  Levin go-forward stores by obtaining financing on an unsecured, administrative expense basis.

           20.   The Debtors respectfully submit that their efforts to obtain post-petition financing

  therefore satisfy the standards required under section 364(c) of the Bankruptcy Code. See, e.g., In


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  re Simasko Production Co., 47 B.R. 444, 448-49 (Bankr. D. Colo. 1985) (authorizing interim

  financing stipulation where debtor’s best business judgment indicated financing was necessary and

  reasonable for benefit of estates); In re Ames Dept. Stores, 115 B.R. 34, 38 (Bankr. S.D.N.Y. 1990)

  (with respect to post-petition credit, courts “permit debtors in possession to exercise their basic

  business judgment consistent with their fiduciary duties”); In re Sky Valley, Inc., 100 B.R. 107,

  113 (Bankr. N.D. Ga. 1988) (where few lenders can or will extend the necessary credit to a debtor,

  “it would be unrealistic and unnecessary to require [the debtor] to conduct such an exhaustive

  search for financing”).

  III.     The Proposed Financing is Necessary to Preserve the Assets of the Debtors’ Estates.

           21.   Cash is necessary for working capital, operating costs and expenses incurred during

  these Cases, including purchasing inventory for the Wolf-Levin go-forward stores so that they can

  continue as going concerns. The DIP Facility thus is essential to Debtor Levin’s continued

  operational viability and will provide Debtor Levin with the opportunity to preserve its businesses

  while the Debtors prepare to enter the sale process.

           22.   As debtors in possession, the Debtors have a fiduciary duty to protect and maximize

  their estates’ assets. See Burtch v. Ganz (In re Mushroom Transp. Co.), 382 F.3d 325, 339 (3d Cir.

  2004). As noted above, the Debtors require post-petition financing under the terms of the DIP Loan

  Documents to continue their operations during these Chapter 11 Cases.

  IV.      The Terms of the Proposed Financing Are Fair, Reasonable, and Appropriate.

           23.   In considering whether the terms of post-petition financing are fair and reasonable,

  courts consider the terms in light of the relative circumstances and disparate bargaining power of

  both the debtor and the potential lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr.

  W.D. Mo. 2003); see also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank &


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  Trust Co. (In re Ellingsen MacLean Oil Co.), 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (a debtor

  may have to enter into hard bargains to acquire funds).

           24.   The terms of the DIP Credit Agreement and the proposed DIP Orders were

  negotiated between the Debtors and the DIP Lender. The Debtors negotiated with the DIP Lender

  in good faith to ensure that the terms of the DIP Facility are consistent with “market” terms, and

  are fair and reasonable to the Debtors. To that end, the Debtors, on the one hand, and the DIP

  Lender on the other hand, each had separate business teams and used separate counsel in

  negotiating the DIP Facility.

  V.       Entry Into the Proposed Financing Reflects the Debtors’ Sound Business Judgment.

           25.   A debtor’s decision to enter into a post-petition lending facility under section 364

  of the Bankruptcy Code is governed by the business judgment standard. See, e.g., Trans World

  Airlines, Inc. v. Travelers Int’l AG (In re Trans World Airlines, Inc.), 163 B.R. 964, 974 (Bankr.

  D. Del. 1994) (approving post-petition credit facility because such facility “reflect[ed] sound and

  prudent business judgment”); In re Ames Dep’t Stores, Inc., 115 B.R. at 38 (“cases consistently

  reflect that the court’s discretion under section 364 is to be utilized on grounds that permit

  reasonable business judgment to be exercised so long as the financing agreement does not contain

  terms that leverage the bankruptcy process and powers or its purpose is not so much to benefit the

  estate as it is to benefit a party-in-interest”). One court has noted that “[m]ore exacting scrutiny

  [of the debtors’ business decisions] would slow the administration of the debtor’s estate and

  increase its cost, interfere with the Bankruptcy Code’s provision for private control of

  administration of the estate, and threaten the court’s ability to control a case impartially.”

  Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d 1303, 1311 (5th Cir. 1985).

           26.   Here, the Debtors’ sound business judgment clearly supports entry into the DIP



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  Credit Agreement to gain access to needed funding and maximize value for all constituents.



  VI.      The DIP Lender is Extending Credit in Good Faith.

           27.   Section 364(e) of the Bankruptcy Code provides that:

                 The reversal or modification on appeal of an authorization under this
                 section to obtain credit or incur debt, or of a grant under this section
                 of a priority or a lien, does not affect the validity of any debt so
                 incurred, or any priority or lien so granted, to an entity that extended
                 such credit in good faith, whether or not such entity knew of the
                 pendency of the appeal, unless such authorization and the incurring
                 of such debt, or the granting of such priority or lien, were stayed
                 pending appeal.

  11 U.S.C. § 364(e).

           28.   The Debtors and the DIP Lender negotiated the DIP Credit Agreement in good

  faith. Accordingly, the DIP Orders should provide that the DIP Lender, as a good faith lender, is

  entitled to all of the protections set forth in section 364(e) of the Bankruptcy Code.

                                      Request for Final Hearing

           29.   Pursuant to Bankruptcy Rule 400l(b)(2), the Debtors request that the Court set a

  date for the Final Hearing within thirty-five (35) days of the Petition Date and fix the date and time

  prior to the Final Hearing for parties to file objections to the relief requested by this Motion.

           30.   The urgent need to preserve the Debtors’ businesses, and avoid immediate and

  irreparable harm to the Debtors’ estates, makes it imperative that the Debtors be authorized to

  obtain post-petition financing as of the Petition Date, pending the Final Hearing, in order to

  continue their operations and administer the Cases. Without the ability to obtain access to such

  funding, the Debtors would be unable to meet their post-petition obligations, including maintaining

  and maximizing the value of the Debtors’ businesses, thus causing irreparable harm to the value

  of the Debtors’ estates.


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           31.   Accordingly, the Debtors respectfully request that, pending the hearing on the Final

  Order, the Interim Order be approved in all respects, and that the terms and provisions of the

  Interim Order be implemented and be deemed binding, and that, after the Final Hearing, the Final

  Order be approved in all respects and the terms and provisions of the Final Order be implemented

  and be deemed binding.

                   The Requirements of Bankruptcy Rule 6003(b) Are Satisfied

           32.   Bankruptcy Rule 6003 empowers a court to grant relief within the first 21 days after

  the commencement of a chapter 11 case “to the extent that relief is necessary to avoid immediate

  and irreparable harm.” Fed. R. Bankr. P. 6003. For the reasons discussed above, authorizing the

  Debtors to use the DIP Facility and granting the other relief requested herein is integral to the

  Debtors’ ability to transition their operations into these chapter 11 cases smoothly. Failure to

  receive such authorization and other relief during the first 21 days of these chapter 11 cases would

  severely disrupt the Debtors’ operations at this critical juncture. Accordingly, the Debtors submit

  that they have satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule 6003

  to support granting the relief requested herein.

                         Waiver of Bankruptcy Rule 6004(a) and 6004(h)

           33.   To implement the foregoing successfully, the Debtors request that the Court enter

  an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

  that the Debtors have established cause to exclude such relief from the 14-day stay period under

  Bankruptcy Rule 6004(h).

                                                 Notice

           34.   Notice of the hearing on the relief requested in this Motion will be provided by the

  Debtors in accordance and compliance with Bankruptcy Rules 4001 and 9014, as well as the

  Bankruptcy Local Rules, and is sufficient under the circumstances.           Without limiting the

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  foregoing, due notice will be afforded, whether by facsimile, electronic mail, overnight courier or

  hand delivery, to parties-in-interest, including: (a) the Office of the U.S. Trustee for the District

  of Delaware; (b) the holders of the 30 largest unsecured claims against the Debtors (on a

  consolidated basis); (c) the agents under the Debtors’ prepetition secured facilities and counsel

  thereto; (d) the United States Attorney’s Office for the District of Delaware; (e) the Internal

  Revenue Service; (f) the state attorneys general for states in which the Debtors conduct business;

  and (g) any party that has requested notice pursuant to Bankruptcy Rule 2002. The Debtors submit

  that, in light of the nature of the relief requested, no other or further notice need be given.

                                           No Prior Request

           35.   No prior motion for the relief requested herein has been made to this or any other

  court.

                              [Remainder of page intentionally left blank.]




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           WHEREFORE, for the reasons set forth herein and in the First Day Declaration, and based

  on the record of the Chapter 11 Case, the Debtors respectfully request that this Court (a) enter the

  Orders (i) authorizing the Debtors to use the DIP Facility on an interim and final basis subject to

  the terms and conditions set forth therein; (ii) scheduling the Final Hearing, pursuant to the Interim

  Order, within approximately thirty-five (35) days of the commencement of the chapter 11 cases,

  to consider approval of this Motion on a final basis; and (iii) granting related relief; and (b) grant

  the Debtors such other and further relief as may be just and proper.


  Dated: March 9, 2020                           BENESCH, FRIEDLANDER, COPLAN &
  Wilmington, Delaware                           ARONOFF LLP

                                                    /s/ Gregory W. Werkheiser
                                                 Gregory W. Werkheiser (DE No. 3553)
                                                 Michael J. Barrie (DE No. 4684)
                                                 Jennifer Hoover (DE No. 5111)
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                                                         kcapuzzi@beneschlaw.com
                                                         kharmon@beneschlaw.com

                                                 Proposed Counsel to the Debtors and Debtors in
                                                 Possession




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                                  EXHIBIT A




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                 )
      In re:                                                     )   Chapter 11
                                                                 )
      ART VAN FURNITURE, LLC ., et al.,1                         )   Case No. 20-10533 (CSS)
                                                                 )
                                      Debtors.                   )   (Joint Administration Requested)
                                                                 )
                                                                 )   Re: Docket No. _____

    INTERIM ORDER: (I) AUTHORIZING SECURED POST-PETITION FINANCING
  PURSUANT TO 11 U.S.C. SECTIONS 105, 361, 364(c) AND 364(d); (II) SCHEDULING A
           FINAL HEARING; AND (III) GRANTING RELATED RELIEF

               Upon the motion (the “Motion”)2 of the debtors and debtors in possession (collectively, the

  “Debtors”) in the above-captioned Chapter 11 cases (collectively, the “Cases”), seeking among

  other relief, inter alia, an order (this “Interim Order”) pursuant to sections 105, 361, 364(c)(1),

  364(c)(2) and 364(d) of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

  and Rule 4001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) inter alia:

               (i)       authorizing Sam Levin, Inc. (“DIP Borrower”), authority to obtain postpetition

  financing and grant a senior purchase money security interest in the Collateral (as defined in the

  DIP Loan Documents, and referred to herein as the “DIP Collateral”) to Levin Furniture, LLC

  “DIP Lender”), solely with respect to DIP Collateral purchased with the Advances made

  postpetition to DIP Borrower together with superpriority administrative expense status and


  1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291);
        AVCE, LLC (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC
        (3451); Levin Parent, LLC (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep
        Franchising, LLC (8968); AVF Franchising, LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc.
        (5198); and Comfort Mattress LLC (4463). The location of the Debtors’ service address in these
        chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.
  2
        Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to such terms
        in the Motion.


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      adequate protection to the DIP Lender in accordance with this order; and

               (ii)      scheduling a final hearing (the “Final Hearing”) within twenty days of the

      Petition Date to consider the relief requested in the Motion on a final basis (the “Final Order”) and

      approving the form of notice with respect to the Final Hearing.

               The Court having considered the Motion, the exhibits attached thereto, Declaration of

      David Ladd, Executive Vice President and Chief Financial Officer of Art Van Furniture, LLC, in

      Support of Chapter 11 Petitions and First Day Motions (D.I. 20) and the evidence submitted and

      argument made at the interim hearing held on March 10, 2020 (the “Interim Hearing”); and notice

      of the Interim Hearing having been given in accordance with Bankruptcy Rules 2002, 4001(b) and

      (d), and all applicable local rules of the United States Bankruptcy Court for the District of

      Delaware (the “Local Rules”); and the Interim Hearing having been held and concluded; and all

      objections, if any, to the interim relief requested in the Motion having been withdrawn, resolved

      or overruled by the Court; and it appearing that approval of the interim relief requested in the

      Motion is necessary to avoid immediate and irreparable harm to the Debtors and their estates

      pending the Final Hearing, and otherwise is fair and reasonable and in the best interests of the

      Debtors, their estates, and all parties in interest, and is essential for the continued operation of the

      Debtors’ businesses and the preservation of the value of the Debtors’ assets; and after due

      deliberation and consideration, and good and sufficient cause appearing therefor;

      BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING, THE

      COURT MAKES THE FOLLOWING FINDINGS OF FACT AND CONCLUSIONS OF

      LAW:3


3
      The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
      pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014.
      To the extent that any of the following findings of fact constitute conclusions of law, they are adopted as
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                  A.      Petition Date. On March 8, 2020 (the “Petition Date”), each of the Debtors

  filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code with the United States

  Bankruptcy Court for the District of Delaware (the “Court”).

                  B.      Debtors in Possession. The Debtors have continued in the management

  and operation of their businesses and properties as debtors in possession pursuant to sections 1107

  and 1108 of the Bankruptcy Code.

                  C.      Jurisdiction and Venue. This Court has jurisdiction over the Cases, the

  Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and 1334.

  Venue for the Cases and proceedings on the Motion is proper before this Court pursuant to 28

  U.S.C. §§ 1408 and 1409.

                  D.      Committee Formation. As of the date hereof, the United States Trustee

  for the District of Delaware (the “U.S. Trustee”) has not appointed an official committee of

  unsecured creditors in these Cases pursuant to section 1102 of the Bankruptcy Code (a

  “Committee”).

                  E.      Notice. Proper, timely, adequate, and sufficient notice of the Motion and

  the Interim Hearing has been provided in accordance with the Bankruptcy Code, the Bankruptcy

  Rules, and the Local Rules, and no other or further notice of the Motion with respect to the relief

  requested at the Interim Hearing or the entry of this Interim Order shall be required.

                  F.      DIP Loan. DIP Borrower proposes that it obtain post-petition financing

  (the “DIP Facility”) from the DIP Lender pursuant to the terms set forth in that certain Debtor-In-

  Possession Credit and Security Agreement and that certain Revolving Credit Note (collectively,


  such. To the extent any of the following conclusions of law constitute findings of fact, they are adopted as
  such.
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  the “DIP Loan Documents”) attached to the Motion and as Exhibit B thereto.

                  G.      Debtor Operations.       DIP Borrower is unable to operate without the

  Liquidity provided by the DIP Facility.

                  H.      Inability to Obtain Alternative Credit. DIP Borrower asserts that it is

  unable to obtain unsecured credit allowable under Bankruptcy Code Section 503(b)(1) as an

  administrative expense in an amount necessary to fund operations and that financing on a post-

  petition basis is not otherwise available to pay operating expenses or wage obligations to its

  employees without the DIP Borrower granting, pursuant to Bankruptcy Code Section 364(c)(1),

  claims having priority over any and all administrative expenses of the kinds specified in Sections

  503(b) and 507(b) of the Bankruptcy Code and the granting of a senior priming lien pursuant to

  Bankruptcy Code Section 364(d).

                  I.      Good Faith. The DIP Lender and the DIP Borrower have negotiated at

  arms’ length and in good faith regarding the DIP Facility. Entry of this Interim Order is in the best

  interests of the Debtors, their estates and their creditors.

                  J.      Immediate Entry. Sufficient cause exists for immediate entry of this

  Interim Order pursuant to Bankruptcy Rule 4001(c)(2).

                  K.      Interim Debt Limit. The DIP Borrower has requested immediate entry of

  this Interim Order so that the DIP Lender will advance funds in an amount not to exceed

  $3,500,000.00 during this Interim Period in accordance with the DIP Loan Documents.

                  L.      Avoid Immediate and Irreparable Harm. The partial relief granted

  herein to obtain the Interim DIP Loan (as defined herein) is necessary to avoid immediate and

  irreparable harm to the Debtor’s estate. This Court concludes that entry of this Interim Order is in

  the best interests of the Debtor’s estate and creditors as its implementation will, among other

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  things, allow for the Debtor to continue servicing its necessary contracts and providing services to

  its customers without interruption.

                   M.     Interim Hearing. Notice of the Interim Hearing and the relief requested in

  the Motion has been provided by the Debtors, whether by facsimile, electronic mail, overnight

  courier or hand delivery, to certain parties-in-interest, including: (i) the U.S. Trustee; (ii) those

  entities or individuals included on the Debtors’ list of 30 largest unsecured creditors on a

  consolidated basis; (iii) counsel to the Prepetition ABL Agent; (iv) counsel to the Prepetition Term

  Loan Agent; (v) counsel to the Consultant (as defined in the Consulting Agreement); and (v) all

  other parties entitled to notice under the Bankruptcy Rules and the Local Rules. The Debtors have

  made reasonable efforts to afford the best notice possible under the circumstances and no other

  notice is required in connection with the relief set forth in this Interim Order.

            Based upon the foregoing findings and conclusions, the Motion and the record before the

  Court with respect to the Motion, and after due consideration and good and sufficient cause

  appearing therefor,

            IT IS HEREBY ORDERED that:

                   1.     Motion Granted. The Motion is granted.

                   2.     Authorization For Interim DIP Loan. The DIP Borrower is expressly

  authorized and empowered to obtain credit pursuant to the DIP Loan Documents and this Interim

  Order on an interim basis (the “Interim DIP Loan”) for the purchase of inventory during the Interim

  Period.

                   3.     Terms of the Interim DIP Loan. The terms of the Interim DIP Loan are

  governed by the DIP Loan Documents between the DIP Lender and the DIP Borrower attached to

  the Motion and incorporated herein, as modified by this Interim Order.

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                   4.    DIP Loan Documents. The DIP Borrower may enter into such other

  agreements, instruments and documents as may be necessary or required or requested by the DIP

  Lender in its sole discretion to evidence the Interim DIP Loan and to consummate the terms and

  provisions contemplated by the DIP Loan Documents and this Interim Order and to evidence

  perfection of the liens and security interests to be given to Lender hereunder. The DIP Borrower

  and the DIP Lender may enter into any nonmaterial amendments of or modification to the DIP

  Loan Documents without the need of further notice and hearing or order of this Court.

                   5.    The DIP Indebtedness. The Interim DIP Loan and all other indebtedness

  and obligations incurred by the DIP Borrower on or after the Petition Date with respect to loans,

  advances and any other indebtedness or obligations, contingent or absolute, pursuant to this Interim

  Order and the Interim DIP Loan which may now or from time to time hereafter be owing by the

  DIP Borrower to the DIP Lender (including principal, accrued and unpaid interest, fees, costs and

  expenses, including without limitation reasonable attorneys’ fees and expenses, and any other

  amounts owed under this Order or the DIP Loan Documents) are referred to herein as the “DIP

  Indebtedness”.

                   6.    Interest, Fees, Costs and Expenses. The DIP Indebtedness shall bear

  interest at the applicable non-default rate as set forth in the Motion and in the DIP Loan

  Documents. Notwithstanding the foregoing, nothing in this Interim Order shall be construed to

  limit or otherwise impair the liability of the DIP Borrower for all of the DIP Indebtedness under

  the DIP Loan Documents.

                   7.    Termination of the DIP Loan. DIP Lender’s obligation to provide the

  Interim DIP Loan shall immediately and automatically terminate (except as DIP Lender may

  otherwise agree in writing in its sole discretion), and all DIP Indebtedness shall be immediately

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  due upon the earlier of (i) closing of a § 363 sale of substantially all of the DIP Borrower’s assets;

  or (ii) the occurrence of an Event of Default (as defined in the DIP Loan Documents). In the event

  of a postpetition default of the terms of this Interim Order and/or the DIP Loan Documents, the

  DIP Lender may declare the DIP Indebtedness immediately due and owing; provided that the DIP

  Lender may not exercise any remedies against the DIP Borrower upon default without first

  providing five (5) business days’ notice of default to the DIP Borrower, obtaining a hearing date

  and without further order of the Court.

                  8.      DIP Intercreditor Provisions. Notwithstanding anything to the contrary

  herein, (a) the DIP Lenders shall not have a lien on any Prepetition or Postpetition Collateral4 that

  is not DIP Collateral, (b) the Prepetition ABL Agent (for the benefit of itself and the Prepetition

  ABL Lenders) shall have a lien (and corresponding adequate protection lien) on the DIP Collateral,

  junior only to the DIP Lenders and the Prepetition ABL Permitted Prior Liens, (c) the Prepetition

  Term Loan Agent (for the benefit of itself and the Prepetition Term Loan Lenders) shall have a

  lien (and corresponding adequate protection lien) on the DIP Collateral, junior only to the DIP

  Lenders, the Prepetition ABL Agent and the Prepetition Term Loan Permitted Prior Liens, (d) the

  DIP Indebtedness shall not be repaid from (or have any recourse to) any proceeds of Prepetition

  or Postpetition Collateral that is not DIP Collateral, and (e) the Debtors shall cause the proceeds

  of DIP Collateral to be deposited into a segregated, non-commingled account which is required to

  be subject to the control of the DIP Lender and the Debtors’ use of such proceeds shall be subject

  to, and distributed in accordance with, the DIP Loan Documents and the Budget.


  4
      Capitalized terms used in this paragraph 8 but not otherwise defined shall have the meanings ascribed
      to such terms in the Interim Order (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting
      Adequate Protection to the Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV)
      Scheduling a Final Hearing, and (V) Granting Related Relief (D.I. ___).
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                 9.      Security for DIP Loan. As security for the DIP Indebtedness, the DIP

  Lender is granted a valid, perfected, first priority priming lien (the “DIP Lien”) against the DIP

  Collateral, as that term is defined in the DIP Loan Documents. Solely with respect to the DIP

  Collateral, the DIP Lender is granted an administrative expense in the amount of the Interim DIP

  Loan with the highest priority under §364(c) of the Bankruptcy Code, and shall have priority over

  all other costs and expenses of administration of any kind, including those specified in, or ordered

  pursuant to, §§ 105, 326, 330, 331, 503(b), 507(a), 507(b) or 726 or any other provision of the

  Bankruptcy Code or otherwise (whether incurred in this Case or any successor case), and shall at

  all times be senior to the rights of the DIP Borrower, any successor trustee or estate representative

  in the Case or any successor case.

                 10.     Perfection of DIP Lien and Limited Stay Relief. The DIP Lien shall be,

  and is hereby deemed duly perfected and recorded under all applicable federal or state or other

  laws as of the date hereof, and no notice, filing, mortgage recordation, possession, further order,

  landlord or warehousemen lien waivers or other third party consents or other act, shall be required

  to effect such perfection; provided, however, that notwithstanding the provisions of Section 362

  of the Bankruptcy Code which stay is lifted for the limited purpose of allowing perfection, the (i)

  DIP Lender may, at its sole option, file or record or cause the DIP Borrower to obtain any such

  landlord or warehousemen lien waivers or other third party consents or execute, file or record, at

  the DIP Borrower’s expense, any such UCC financing statements, notices of liens and security

  interests, mortgages and other similar documents as DIP Lender may require, and (ii) DIP Lender

  may require the DIP Borrower to deliver to DIP Lender any chattel paper, instruments or securities

  evidencing or constituting any DIP Collateral, and the DIP Borrower is directed to cooperate and

  comply therewith. If DIP Lender, in its sole discretion, shall elect for any reason to cause to be

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  obtained any landlord or warehouse lien waivers or other third party consents or cause to be filed

  or recorded any such notices, financing statements, mortgages or other documents with respect to

  such security interests and liens, or if DIP Lender, in accordance with the DIP Loan Documents

  or this Interim Order, elects to take possession of any DIP Collateral, all such landlord or

  warehouse lien waivers or other third party consents, financing statements or similar documents

  or taking possession shall be deemed to have been filed or recorded or taken in this Case as of the

  commencement of this Case but with the priorities as set forth herein. The DIP Lender may (in its

  sole discretion), but shall not be required to, file a certified copy of this Interim Order in any filing

  or recording office in any county or other jurisdiction in which the DIP Borrower has property.

                  11.     Books and Records. The DIP Borrower shall permit DIP Lender and any

  authorized representatives designated by DIP Lender (including, without limitation, its auditors,

  appraisers and financial advisors) to visit and inspect any of the properties of the DIP Borrower,

  including the DIP Borrower’s financial and accounting records, and to make copies and take

  extracts therefrom, and to discuss any DIP Borrower’s affairs, finances and business with such

  DIP Borrower’s officers and independent public accountants, at such reasonable times during

  normal business hours and as often as may be reasonably requested. Without limiting the generality

  of the foregoing, the DIP Borrower shall promptly provide to DIP Lender any information or data

  reasonably requested to monitor the Debtor’s compliance with the covenants and the provisions of

  the DIP Loan Documents and this Order.

                  12.     Effect of Dismissal, Conversion or Substantive Consolidation. If the DIP

  Borrower’s Case is dismissed, converted, otherwise superseded or substantively consolidated, DIP

  Lender’s rights and remedies under this Interim Order and the DIP Loan Documents shall be and

  remain in full force and effect as if the DIP Borrower’s Case had not been dismissed, converted,

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  superseded or substantively consolidated. Furthermore, notwithstanding any such dismissal,

  conversion, or substantive consolidation, all of the terms and conditions of this Interim Order,

  including, without limitation, the liens and the priorities granted hereunder, shall remain in full

  force and effect.

                 13.     Order Binding on Successors. The provisions of this Interim Order shall

  be binding upon and inure to the benefit of DIP Lender and the DIP Borrower and their respective

  successors and assigns (including any subsequently appointed trustee, examiner or other estate

  representative appointed as a representative of the DIP Borrower’s estate or of any estate in any

  successor cases). No third parties are intended to be or shall be deemed to be third party

  beneficiaries of this Interim Order or the DIP Loan Documents.

                 14.     No Liability to Third Parties. DIP Lender shall not (i) have liability to any

  third party nor shall it be deemed to be in control of the operations of the DIP Borrower or to be

  acting as a “controlling person”, “responsible person” or “owner or operator” with respect to the

  operation or management of the DIP Borrower (as such terms, or any similar terms, are used in

  the Internal Revenue Code, the Unites States Comprehensive, Environmental Response,

  Compensation and Liability Act as amended, or any similar Federal or state statute), or owe any

  fiduciary duty to the DIP Borrower, its creditors or its estates, and (ii) DIP Lender’s relationship

  with the DIP Borrower shall not constitute nor be deemed to constitute a joint venture or

  partnership with the DIP Borrower. Except as explicitly provided for herein, this Interim Order

  does not create any rights for the benefit of any third party, creditor, equity holder or any direct,

  indirect, or incidental beneficiary.

                 15.     Order Binding Upon Parties in Interest. All of the provisions of this

  Interim Order shall be final and binding on the DIP Borrower (including, without limitation, its

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  successors and assigns), the DIP Borrower’s equity holders, and all creditors and other parties in

  interest, including any Chapter 11 or Chapter 7 trustee hereinafter appointed.

                 16.     Effect of Modification of Interim Order. The DIP Borrower shall not,

  without DIP Lender’s prior written consent (which shall be given or refused in its sole discretion),

  seek to modify, vacate or amend this Interim Order or any DIP Loan Documents. If any of the

  provisions of this Interim Order are hereafter modified, vacated or stayed by subsequent order of

  this or any other Court without DIP Lender’s prior written consent, such stay, modification or

  vacatur shall not affect the validity of any obligation outstanding immediately prior to the effective

  time of such stay, modification or vacation, or the validity and enforceability of any lien, priority,

  right, privilege or benefit authorized hereby with respect to any such obligations. Notwithstanding

  any such stay, modification or vacatur, any obligation outstanding immediately prior to the

  effective time of such modification, stay or vacatur shall be governed in all respects by the original

  provisions of this Interim Order, and DIP Lender shall be entitled to all the rights, privileges and

  benefits, including, without limitation, the security interests and priorities granted herein, with

  respect to all such obligations.

                 17.     Safe Harbor. The Court has considered and determined the matters

  addressed herein pursuant to its powers under the Bankruptcy Code, including the power to

  authorize the DIP Borrower to obtain credit on the terms and conditions upon which the DIP

  Borrower and Lender have agreed. Thus, each of such terms and conditions constitutes a part of

  the authorization under Section 364 of the Bankruptcy Code, and is, therefore, subject to the

  protections contained in Section 364(e) of the Bankruptcy Code.

                 18.     Insurance Proceeds and Policies. Upon entry of this Interim Order and to

  the fullest extent provided by applicable law, the DIP Lender, shall be, and shall be deemed to be,

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  without any further action or notice, named as additional insured and loss payee on each insurance

  policy maintained by the DIP Borrower that in any way relates to the DIP Collateral.

                 19.     Notice of Interim Order. The DIP Borrower shall promptly serve a copy

  of this Order, by regular mail upon the creditors holding the 30 largest unsecured claims of each

  of the Debtor, or the Committee, if appointed, and any other party which theretofore has filed in

  the Cases a request for special notice with this Court and served such request upon DIP Borrower’s

  counsel.

                 20.     Objections Overruled or Withdrawn. All objections to the entry of this

  Interim Order have been withdrawn or are hereby overruled.

                 21.     Controlling Effect of Order. To the extent any provisions in this Interim

  Order conflict with any provisions of the Motion, or any DIP Loan Document, the provisions of

  this Interim Order shall control.

                 22.     Final Hearing. The Final Hearing to consider entry of the Final Order is

  scheduled for [________], 2020 at [__]:00 [_].m. (EST) before the Honorable Christopher S.

  Sontchi, United States Bankruptcy Judge at the United States Bankruptcy Court for the District of

  Delaware. On or before March 12, 2020, the Debtors shall serve, by United States mail, first-class

  postage prepaid, notice of the entry of this Interim Order and of the Final Hearing (the “Final

  Hearing Notice”), together with copies of this Interim Order and the Motion, on: (a) the parties

  having been given notice of the Interim Hearing; (b) any party which has filed prior to such date a

  request for notices with this Court; (c) counsel for a Committee (if appointed); (d) the Securities

  and Exchange Commission; and (e) the Internal Revenue Service. The Final Hearing Notice shall

  state that any party in interest objecting to the entry of the proposed Final Order shall file written

  objections with the Clerk of the Court no later than on [_________], 2020, at [__]:00 p.m. (EST),

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  which objections shall be served so as to be received on or before such date by: (i) counsel to the

  Debtors, Benesch, Friedlander, Coplan & Aronoff LLP, 222 Delaware Avenue, Suite 201,

  Wilmington, Delaware 19801-1611, Attn: Michael J. Barrie and Gregory W. Werkheiser;

  (ii) counsel to the DIP Lender, Clark Hill PLC, (a) 301 Grant Street, 14th Floor, Pittsburgh,

  Pennsylvania 15219, Attn: William C. Price and Jarrod Duffy, and (b) 824 N. Market Street, Suite

  710, Wilmington, Delaware 19801, Attn: Karen Grivner; (iii) the Office of The United States

  Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Linda

  Richenderfer; (iv) lead counsel to the Prepetition ABL Agent, Morgan Lewis & Bockius LLP, (a)

  101 Park Avenue, New York, New York 10178-0060, Attn: Jennifer Feldsher, and (b) One Federal

  Street, Boston, Massachusetts 02110, Attn: Marjorie Crider and Christopher L. Carter; (v)

  Delaware counsel to the Prepetition ABL Agent, Burr & Forman LLP, 1201 N. Market Street,

  Suite 1407, Wilmington, Delaware 19801, Attn: J. Cory Falgowski; (vi) counsel to the Prepetition

  Term Loan Agent, Greenberg Traurig, LLP, One International Place, Suite 2000, Boston, MA

  02110, Attn: Jeffrey M. Wolf; and (vii) counsel to the Committee (if appointed)

                 23.     Nunc Pro Tunc Effect of this Interim Order. This Interim Order shall

  constitute findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052 and shall take

  effect and be enforceable nunc pro tunc to the Petition Date immediately upon execution thereof.

                 24.     Retention of Jurisdiction. The Court has and will retain jurisdiction to

  enforce the terms of, any and all matters arising from or related to this Interim Order.


   Dated: __________
   Wilmington, Delaware                                 CHIEF JUDGE CHRISTOPHER S. SONTCHI
                                                        UNITED STATES BANKRUPTCY JUDGE



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                                  EXHIBIT B




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                DEBTOR-IN-POSSESSION CREDIT AND SECURITY AGREEMENT

         This DEBTOR-IN-POSSESSION CREDIT AND SECURITY AGREEMENT (this
  "Agreement"), dated the 10th day of March, 2020, is entered into by and between Sam Levin, Inc., a
  Pennsylvania corporation ("Borrower"), and Levin Furniture LLC, a Pennsylvania limited liability
  company ("Lender").

                                                   Recitals

           WHEREAS, Borrower has encountered financial difficulties and, together with certain of is
  affiliates, has filed for bankruptcy protection under chapter 11 of 11 U.S.C. § 101, et seq. (the
  "Bankruptcy Code") in the United States Bankruptcy Court for the District of Delaware (the "Bankruptcy
  Court"), which cases are the subject of a request for joint administration under Case No. 20-10553 (CSS)
  (collectively, the “Bankruptcy Cases”);

          WHEREAS, Lender has agreed to provide post-petition debtor-in-possession financing (the "DIP
  Financing") to Borrower as more fully set forth herein and as set forth in the Financing Orders (as defined
  in Section 1 hereof), which Financing Orders shall be in form and substance acceptable to Lender in
  Lender's sole discretion, such DIP Financing to be used to pay certain expenses of Borrower during the
  Bankruptcy Case on the terms set forth below;

          WHEREAS, in return for the DIP Financing, Lender requires that Borrower obtain entry by the
  Bankruptcy Court of the Financing Orders, specifically granting Lender, among other things, a secured
  superpriority administrative expense claim against Borrower and its assets only pursuant to Section
  364(c) of the Bankruptcy Code with respect to the DIP Financing; and

          WHEREAS, Borrower and Lender each acknowledge and agree that the terms of this Agreement
  must be approved by the Bankruptcy Court and that the Interim Financing Order (as defined in Section 1
  hereof) be entered by the Bankruptcy Court before this Agreement is enforceable.

          NOW THEREFORE, in consideration of the mutual covenants and undertakings herein
  contained, the receipt and sufficiency of which are hereby acknowledged, Borrower and Lender hereby
  agree as follows:

                                                 Agreement

          Borrower and Lender each agree that the foregoing Recitals are true and correct.

          1.     Definitions.    For purposes of this Agreement the following terms shall have the
  following meanings:

                  "Additional Credit" shall have the meaning set forth in Section 10(b) hereof.

                 "Advances" shall mean loans made pursuant to the terms of this Agreement under the
  Revolving Credit Note.

                  "Agreement" shall have the meaning set forth in the Preamble hereof.

                  "Approved Amount" shall mean, as of any date, the maximum amount of Advances that
  are authorized pursuant to the terms of the Interim Financing Order or the Final Financing Order, as the
  case may be.




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                   "Bankruptcy Case" shall have the meaning set forth in the Recitals hereof.

                   "Bankruptcy Code" shall have the meaning set forth in the Recitals hereof.

                   "Bankruptcy Court" shall have the meaning set forth in the Recitals hereof.

                   "Borrower" shall have the meaning set forth in the Preamble hereof.

                   "Borrower Group" shall have the meaning set forth in Section 15(l) hereof.

                "Business Day" shall mean any day other than Saturday or Sunday or a legal holiday on
  which commercial banks are authorized or required by law to be closed for business in Pittsburgh,
  Pennsylvania.

                 “Cash Collateral Order” shall mean that certain Interim Order (I) Authorizing the Debtors
  to Use Cash Collateral, (II) Granting Adequate Protection to the Prepetition Secured Parties, (III)
  Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief entered
  by the Bankruptcy Court in connection with the Bankruptcy Case.

                   "Charges" shall mean all taxes, charges, fees, imposts, levies or other assessments,
  including, without limitation, all net income, gross income, gross receipts, sales, use, ad valorem, value
  added, transfer, franchise, profits, inventory, capital stock, license, withholding, payroll, employment,
  social security, unemployment, excise, severance, stamp, occupation and property taxes, custom duties,
  fees, assessments, liens, claims and charges, together with any interest and any penalties, additions to tax
  or additional amounts, imposed by any taxing or other similar governmental authority, domestic or
  foreign, upon the Collateral, the Borrower or any affiliates of the Borrower.

                   "Claims" shall have the meaning set forth in Section 15(l) hereof.

               "Closing" shall mean the closing of the DIP Financing and the other transactions to be
  consummated on the Closing Date, as contemplated by this Agreement.

                "Closing Date" shall mean the date on which all conditions to the effectiveness of this
  Agreement are satisfied, but in no event shall such date be later than seven (7) days after the Petition
  Date.

                 "Collateral" shall mean and include all of the following personal property assets of the
  Borrower, whether now in existence or hereafter acquired or arising, and wherever located:

                       (a)          all inventory of the Borrower purchased solely with the proceeds of any
  Advances made hereunder;

                             (b)   all receivables of the Borrower arising out of the sale of inventory
  referred to in clause (a) above;

                            (c)     all right, title and interest in and to (i) all inventory returned or rejected
  by customers previously sold by the Borrower giving rise to receivables referred to in clause (b) above;
  (ii) all of Borrower's rights as a consignor, a consignee, an unpaid vendor, mechanic, artisan, or other
  lienor, including stoppage in transit, setoff, detinue, replevin, reclamation and repurchase with respect to
  any of the foregoing (a) or (b); (iii) all additional amounts due to Borrower from any customer relating to
  the receivables set forth in clause (b) above; (iv) other property, including warranty claims, relating to any




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  of the foregoing (a) and (b); (v) all of Borrower's contract rights, rights of payment which have been
  earned under a contract right, instruments (including promissory notes), documents, chattel paper
  (including electronic chattel paper), warehouse receipts, deposit accounts, letters of credit and money
  relating to any of the foregoing (a) and (b); (vi) all commercial tort claims (whether now existing or
  hereafter arising) relating to any of the foregoing (a) and (b); and (vii) if and when obtained by Borrower,
  all real and personal property of third parties in which Borrower has been granted a lien or security
  interest as security for the payment or enforcement of receivables referred to in clause (b);

                         (d)       ledger sheets, ledger cards, files, correspondence, records, books of
  account, business papers, computer software (owned by Borrower or in which it has an interest and in
  which the granting of a security interest therein is not expressly prohibited), computer programs, tapes,
  disks and documents relating to (a), (b) or (c) of this definition; and

                             (e)    proceeds and products of (a), (b), (c) or (d) of this definition in whatever
  form, including, but not limited to: cash, deposit accounts (whether or not comprised solely of proceeds),
  certificates of deposit, insurance proceeds (including hazard and credit insurance), negotiable instruments
  and other instruments for the payment of money, chattel paper, security agreements, documents and tort
  claim proceeds.

  Notwithstanding anything to the contrary in this Agreement, the term "Collateral" shall not include any
  lease, license, contract, property right or agreement (or any of its rights or interests thereunder) if and to
  the extent that the grant of the security interest shall, after giving effect to Sections 9-406, 9-407, 9-408 or
  9-409 of the Uniform Commercial Code (or any successor provision or provisions), the Bankruptcy Code
  or any other applicable law, constitute or result in (i) the abandonment, invalidation or unenforceability of
  any right, title or interest of Borrower therein or (ii) a breach or termination pursuant to the terms of, or a
  default under, any such lease license, contract, property rights or agreement; provided, however, that
  (y) the Collateral excluded hereby shall not include any and all proceeds of such property rights or
  agreements or any right, title or interest of Borrower therein, and (z) the security interest shall attach
  immediately at any such time as the restriction resulting in abandonment, invalidation or unenforceability
  or breach or termination shall be removed or any condition thereto (including any consent) shall be
  satisfied.

                  "Contract Rate" shall mean a fixed interest rate equal to [9 percent (9.00%)] per annum
  based on a three hundred sixty (360) day year.

                  "Default" shall mean an event which, with the giving of notice or passage of time or both,
  would constitute an Event of Default.

                   "Default Rate" shall have the meaning set forth in Section 3(e)(ii) hereof.

                   "DIP Financing" shall have the meaning set forth in the Recitals hereof.

                   "Event of Default" shall mean the occurrence of any of the events set forth in Section 12
  hereof.

                 "Final Financing Order" shall mean a Financing Order that is a Final Order entered in the
  Bankruptcy Case after notice and final hearing pursuant to Rule 4001(c) of the Federal Rules of
  Bankruptcy Procedure and applicable local rules.

                  "Final Order" shall mean an order or judgment of the Bankruptcy Court duly entered in
  the docket of the Bankruptcy Case that (a) has not been modified or amended without the consent of the




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  Lender, or vacated, reversed, revoked, rescinded, stayed or appealed from, except as the Lender may
  otherwise specifically agree, (b) with respect to which the time to appeal, petition for certiorari,
  application or motion for reversal, rehearing, reargument, stay, or modification has expired, (c) no
  petition, application or motion for reversal, rehearing, reargument, stay or modification thereof or for a
  writ of certiorari with respect thereto has been filed or granted or the order or judgment of the Bankruptcy
  Court has been affirmed by the highest court to which the order or judgment was appealed and (d) is no
  longer subject to any or further appeal or petition, application or motion for reversal, rehearing,
  reargument, stay or modification thereof or for any writ of certiorari with respect thereto or further
  judicial review in any form.

                   "Financing Orders" shall mean the Interim Financing Order and such other interim, final,
  permanent and/or supplemental orders, including the Final Financing Order, satisfactory to the Lender
  entered by the Bankruptcy Court in the Bankruptcy Case after notice pursuant to Section 364 of the
  Bankruptcy Code relating thereto or authorizing the granting of credit by the Lender to the Borrower
  pursuant to the terms of this Agreement.

                  "GAAP" shall mean generally accepted accounting principles in the United States of
  America in effect from time to time.

                   "Governmental Body" shall mean any nation or government, any state or other political
  subdivision thereof or any entity exercising the legislative, judicial, regulatory or administrative functions
  of or pertaining to a government.

                   "Indebtedness" of a Person at a particular date shall mean all obligations of such Person
  which in accordance with GAAP would be classified upon a balance sheet as liabilities and in any event,
  without limitation by reason of enumeration, shall include all indebtedness, debt and other similar
  monetary obligations of such Person whether direct or guaranteed, and all premiums, if any, due at the
  required prepayment dates of such indebtedness, and all indebtedness secured by a Lien on assets owned
  by such Person, whether or not such indebtedness actually shall have been created, assumed or incurred
  by such Person. Any indebtedness of such Person resulting from the acquisition by such Person of any
  assets subject to any Lien shall be deemed, for the purposes hereof, to be the equivalent of the creation,
  assumption and incurring of the indebtedness secured thereby, whether or not actually so created,
  assumed or incurred.

                 "Interim Financing Order" shall mean the order entered by the Bankruptcy Court on or
  about the date hereof in the form of Exhibit A attached hereto, with such changes thereto as may be
  approved by the Lender.

                  "Lender" shall have the meaning set forth in the Preamble hereof.

                  "Lender Group" shall have the meaning set forth in Section 15(l) hereof.

                   "Lien" shall mean any mortgage, deed of trust, pledge, hypothecation, assignment,
  security interest, lien (whether statutory or otherwise), Charge, claim or encumbrance, or preference,
  priority or other security agreement or preferential arrangement held or asserted in respect of any asset of
  any kind or nature whatsoever including, without limitation, any conditional sale or other title retention
  agreement, any lease having substantially the same economic effect as any of the foregoing, and the filing
  of, or agreement to give, any financing statement under the Uniform Commercial Code or comparable
  law of any jurisdiction.




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                   "Material Adverse Effect" shall mean a material adverse effect on (a) the financial
  condition, results of operations, business or prospects of Borrower or (b) the Lender's Liens on the
  Collateral taken as a whole or, subject to Permitted Encumbrances, the priority of any such Lien; it being
  understood that the commencement of the Bankruptcy Case and events and conditions which customarily
  occur as a result of events leading up to and following the commencement of a proceeding under Chapter
  11 of the Bankruptcy Code (including, without limitation, reduction in payment terms by suppliers and
  reclamation claims) shall not be deemed a material adverse effect.

                 "Maximum Advance Amount" shall mean Seven Million and 00/100 Dollars
  ($7,000,000.00).

                  "Notice" shall have the meaning set forth in Section 15(b) hereof.

                   "Obligations" shall mean and include advances, debts, liabilities, obligations, covenants
  and duties (absolute, contingent, matured or unmatured) owing by the Borrower to the Lender or to any
  other direct or indirect subsidiary or affiliate of the Lender of any kind or nature, present or future
  (including, without limitation, any interest accruing thereon after maturity, or after the filing of any
  petition in bankruptcy, or the commencement of any insolvency, reorganization or like proceeding
  relating to Borrower, whether or not a claim for post-filing or post-petition interest is allowed in such
  proceeding), whether or not evidenced by any note, guaranty or other instrument, arising under this
  Agreement or the Other Documents, whether or not for the payment of money, whether arising by reason
  of an extension of credit, opening of a letter of credit, loan or guarantee, or arising under any hedging
  contract or in connection with any cash management or treasury administration services or agreements,
  whether arising out of overdrafts or deposit or other accounts or electronic funds transfers (whether
  through automated clearing houses or otherwise) or out of the Lender's non-receipt of or inability to
  collect funds or otherwise not being made whole in connection with depository transfer check or other
  similar arrangements, whether direct or indirect, absolute or contingent, joint or several, due or to become
  due, now existing or hereafter arising, contractual or tortious, liquidated or unliquidated, regardless of
  how such indebtedness or liabilities arise, whether evidenced by any other agreement or instrument,
  including, but not limited to, any and all of Borrower's Indebtedness and/or liabilities under this
  Agreement or the Other Documents and any amendments, extensions, renewals or increases and all costs
  and expenses of the Lender incurred in the documentation, negotiation, modification, enforcement,
  collection or otherwise in connection with any of the foregoing, including but not limited to, reasonable
  attorneys' fees and expenses and all obligations of Borrower to the Lender to perform acts or refrain from
  taking any action, in each such case solely with respect to and/or arising in connection with the
  Collateral.

                  "Other Documents" shall mean the Revolving Credit Note, each agreement pursuant to
  which the Lender is granted a Lien to secure the Obligations and any and all other agreements,
  instruments and documents, including, without limitation, guaranties, pledges, powers of attorney,
  consents and all other writings heretofore, now or hereafter executed by Borrower and/or delivered to the
  Lender in respect of the transactions contemplated by this Agreement whether or not specifically
  mentioned herein or therein, in each case as amended, supplemented, amended and restated or otherwise
  modified from time to time.

                    "Permitted Encumbrances" shall mean (a) Liens in favor of the Lender; (b) Liens for taxes,
  assessments or other governmental charges not delinquent or being contested in good faith and by appropriate
  proceedings and with respect to which proper reserves have been taken by Borrower in accordance with
  GAAP; provided, that, such Liens shall have no effect on the priority of the Liens in favor of the Lender or
  the value of the assets in which the Lender has such a Lien and a stay of enforcement of any such Lien shall
  be in effect; (c) deposits or pledges to secure obligations under worker's compensation, social security or




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  similar laws, or under unemployment insurance or general liability or product liability insurance; (d) deposits
  or pledges to secure bids, tenders, contracts (other than contracts for the payment of money), leases, statutory
  obligations, performance bonds, surety and appeal bonds and other obligations of like nature arising in the
  ordinary course of Borrower's business; (e) zoning restrictions, easements, encroachments, rights of way,
  restrictions, leases, licenses, restrictive covenants and other similar title exceptions or Liens affecting real
  property, none of which materially impairs the use of such real property or the value thereof, and none of
  which is violated in any material respect by existing or supporting structures or land use; (f) Liens of the
  Prepetition Secured Parties as set forth in the Cash Collateral Order; (g) other Liens permitted by the Cash
  Collateral Order; and (h) Liens disclosed on Schedule 1(f) attached hereto provided that the principal amount
  secured thereby is not hereafter increased to an amount greater than the amount outstanding on the Closing
  Date, and no additional assets become subject to such Liens except as otherwise specifically identified on
  Schedule 1(f).

                  "Person" shall mean any individual, sole proprietorship, partnership, corporation,
  business trust, joint stock company, trust, unincorporated organization, association, limited liability
  company, institution, public benefit corporation, joint venture, entity or government (whether federal,
  state, county, city, municipal or otherwise, including any instrumentality, division, agency, body or
  department thereof).

                   "Petition Date" shall mean March 8, 2020.

                   "Preamble" shall mean the introductory paragraph of this Agreement.

                   "Prior Event" shall have the meaning set forth in Section 15(l) hereof.

                   "Purchasers" shall have the meaning set forth in Section 10(d) hereof.

                  "Revolving Credit Note" shall mean the promissory note referred to in Section 3(a)
  hereof, together with all amendments, restatements, extensions, renewals, replacements, refinancings or
  refundings thereof in whole or in part.

                   "Sale Agreement" shall have the meaning set forth in Section 10(d) hereof.

                   "Sale Motion" shall have the meaning set forth in Section 10(d) hereof.

                   "Sale Order" shall have the meaning given set forth Section 10(f) hereof.

                   "Sellers" shall have the meaning set forth in Section 10(d) hereof.

                   "Superpriority Claim" shall mean indebtedness or other claim arising out of credit
  obtained or debt incurred by the Borrower in the Bankruptcy Case having priority in accordance with the
  provisions of Section 364(c)(1) of the Bankruptcy Code over any or all administrative expenses of the
  kind specified in Sections 503(b) or 507(b) of the Bankruptcy Code.

                   "Term" shall have the meaning set forth in Section 14(a) hereof.

                  "Uniform Commercial Code" shall mean the Uniform Commercial Code or other similar
  law of the Commonwealth of Pennsylvania as in effect on the date of this Agreement and as amended
  from time to time.




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           2.       Accounting Terms. As used in this Agreement, the Revolving Credit Note or any
  certificate, report or other document made or delivered pursuant to this Agreement, accounting terms not
  defined herein shall have the respective meanings given to them under GAAP.

          3.      The DIP Financing.

                   (a)   Advances. Subject to the terms and conditions set forth in this Agreement,
  Lender will make Advances to the Borrower in aggregate amounts outstanding at any time equal to the
  lesser of (x) the Maximum Advance Amount and (y) the Approved Amount. The Advances shall be
  evidenced by a secured promissory note substantially in the form attached hereto as Exhibit B (the
  "Revolving Credit Note").

                   (b)     Procedure for Borrowing Advances. Borrower may notify Lender prior to 12:00
  p.m. (eastern time) on a Business Day of Borrower's request to incur, on that day, an Advance hereunder.
  Should any amount required to be paid as interest hereunder, or as fees or other charges under this
  Agreement or any Other Document, or with respect to any other Obligation, become due, same shall be
  deemed a request for an Advance as of the date such payment is due, in the amount required to pay in full
  such interest, fee, charge or Obligation under this Agreement or any Other Document, and such request
  shall be irrevocable.

                  (c)     Disbursement of Advance Proceeds. During the Term, Borrower may use the
  Advances by borrowing, repaying and reborrowing, all in accordance with the terms and conditions
  hereof. The proceeds of (i) each Advance requested by Borrower to the extent Lender makes such
  Advance, shall be made available to Borrower on the day so requested by way of credit to Borrower's
  operating account at Bank of America in immediately available funds and (ii) each Advance deemed to
  have been requested by Borrower under Section 3(b) hereof shall be disbursed to Lender to be applied to
  the outstanding Obligations giving rise to such deemed request.

                 (d)     Maximum Advances. The aggregate balance of outstanding Advances
  outstanding at any time (i) pursuant to the Interim Financing Order shall not exceed the lesser of
  (a) Three Million Five Hundred Thousand and 00/100 Dollars ($3,500,000.00) and (b) the Approved
  Amount and (ii) pursuant to the Final Financing Order shall not exceed the lesser of (a) the Maximum
  Advance Amount and (b) the Approved Amount.

                  (e)     Interest on Advances.

                           (i)    Interest charges shall be computed on the actual principal amount of
                  Advances outstanding during the calendar month and shall bear interest for each day at a
                  rate per annum equal to the Contract Rate.

                          (ii)    Upon and after the occurrence of an Event of Default, and during the
                  continuation thereof, the Obligations shall bear interest at the Contract Rate plus two
                  percent (2.00%) per annum (the "Default Rate").

                          (iii)   If any payment to be made hereunder becomes due and payable on a day
                  other than a Business Day, the due date thereof shall be extended to the next succeeding
                  Business Day and interest thereon shall be payable at the Contract Rate during such
                  extension.

                         (iv)    In no event whatsoever shall interest and other charges charged
                  hereunder exceed the highest rate permissible under law. In the event interest and other




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                  charges as computed hereunder would otherwise exceed the highest rate permitted under
                  law, such excess amount shall be first applied to any unpaid principal balance owed by
                  the Borrower, and if then remaining excess amount is greater than the previously unpaid
                  principal balance, the Lender shall promptly refund such excess amount to the Borrower
                  and the provisions hereof shall be deemed amended to provide for such permissible rate.

                  (f)      Repayment of Advances.

                           (i)     The Advances shall be due and payable in full on the last day of the
                  Term. Borrower shall pay principal, interest, and all other amounts payable hereunder, or
                  under any related agreement, without any deduction whatsoever, including, but not
                  limited to, any deduction for any setoff or counterclaim.

                          (ii)    All payments of principal, interest and other amounts payable hereunder,
                  or under any of the Other Documents shall be made to Lender not later than 11:00 A.M.
                  (eastern time) on the due date therefor in lawful money of the United States of America
                  in immediately available funds. Lender shall have the right to effectuate payment on any
                  and all Obligations due and owing hereunder by charging the Borrower or by making
                  Advances as provided in Section 3(b) hereof.

                          (iii)   The aggregate balance of outstanding Advances at any time in excess of
                  the maximum amount of such Advances permitted hereunder shall be immediately due
                  and payable without the necessity of any demand, whether or not a Default or Event of
                  Default has occurred.

          4.      Use of Funds. The funds available under the DIP Financing may be used to purchase
  inventory in the ordinary course of business of Borrower during the administration of the Bankruptcy
  Case in accordance with the terms of any order regarding Borrower's use of cash collateral or the
  Financing Orders.

          5.      Collateral; General Terms.

                   (a)     Security Interest in the Collateral. Pursuant to the Interim Financing Order and
  the Final Financing Order and in accordance with the terms thereof, to secure the prompt payment and
  performance to the Lender of the Obligations, Borrower hereby assigns, pledges and grants to the Lender
  a continuing security interest in and to all of its Collateral, whether now owned or existing or hereafter
  acquired or arising and wheresoever located. Borrower shall promptly provide the Lender with written
  notice of all commercial tort claims, such notice to contain the case title together with the applicable court
  and a brief description of the claim(s). Upon delivery of each such notice, Borrower shall be deemed to
  hereby grant to the Lender a security interest and lien in and to such commercial tort claims and all
  proceeds thereof.

                    (b)      Perfection of Security Interest. Borrower shall take all action that may be
  necessary or desirable, or that the Lender may request, so as at all times to maintain the validity,
  perfection, enforceability and priority of the Lender's security interest in the Collateral or to enable the
  Lender to protect, exercise or enforce its rights hereunder and in the Collateral, including, but not limited
  to, (i) immediately discharging all Liens on the Collateral other than Permitted Encumbrances,
  (ii) delivering to the Lender, endorsed or accompanied by such instruments of assignment as the Lender
  may specify, and stamping or marking, in such manner as the Lender may specify, any and all chattel
  paper, instruments, letters of credits and advices thereof and documents evidencing or forming a part of
  the Collateral, (iii) entering into warehousing, lockbox and other custodial arrangements satisfactory to




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  the Lender as and to the extent required hereunder, and (iv) executing and delivering control agreements,
  instruments of pledge, notices and assignments, in each case in form and substance satisfactory to the
  Lender, relating to the creation, validity, perfection, maintenance or continuation of the Lender's security
  interest in Collateral under the Uniform Commercial Code or other applicable law. The Lender is hereby
  authorized to file financing statements in accordance with the Uniform Commercial Code from time to
  time. By its signature hereto, Borrower hereby authorizes the Lender to file against Borrower, one or
  more financing, continuation, or amendment statements pursuant to the Uniform Commercial Code to
  perfect Liens in the Collateral securing Obligations arising hereunder in form and substance satisfactory
  to the Lender. All charges, expenses and fees the Lender may incur in doing any of the foregoing, and
  any local taxes relating thereto, shall be charged to the Borrower as an Advance and added to the
  Obligations (notice thereof shall be provided to the Borrower thereafter), or, at the Lender's option, shall
  be paid to the Lender immediately upon demand.

                  (c)     Disposition of Collateral. Borrower will safeguard and protect all Collateral for
  the Lender's general account and make no disposition thereof whether by sale, lease or otherwise except
  as may be otherwise permitted under this Agreement.

                   (d)      Preservation of Collateral. Following the occurrence and during the continuation
  of an Event of Default in addition to the rights and remedies set forth in Section 13(a) hereof, the Lender:
  (i) may at any time take such steps as the Lender deems necessary to protect the Lender's interest in and
  to preserve the Collateral, including the hiring of such security guards or the placing of other security
  protection measures as the Lender may deem appropriate; (ii) may employ and maintain at any of
  Borrower's premises a custodian who shall have full authority to do all acts necessary to protect the
  Lender's interests in the Collateral; (iii) may lease warehouse facilities to which the Lender may move all
  or part of the Collateral; (iv) may use Borrower's owned or leased lifts, hoists, trucks and other facilities
  or equipment for handling or removing the Collateral; and (v) shall have, and is hereby granted, a right of
  ingress and egress to the places where the Collateral is located, and may proceed over and through any of
  Borrower's owned or leased property. Borrower shall cooperate fully with all of the Lender's efforts to
  preserve the Collateral as permitted in the foregoing sentence and will take such actions to preserve the
  Collateral as the Lender may direct. All of the Lender's expenses of preserving the Collateral in
  accordance with the foregoing, including any expenses relating to the bonding of a custodian, shall be
  charged to the Borrower as an Advance and added to the Obligations, or, at the Lender's option, shall be
  paid to the Lender immediately upon demand.

                   (e)     Ownership of Collateral. With respect to the Collateral, at the time the Collateral
  becomes subject to the Lender's security interest: (i) Borrower shall be the owner of and fully authorized
  and able to sell, transfer, pledge and/or grant a security interest having the priority set forth in the
  Financing Orders in each and every item of its Collateral to the Lender; and, except for Permitted
  Encumbrances, the Collateral shall be free and clear of all Liens and encumbrances whatsoever; (ii) each
  document and agreement executed by Borrower or delivered to the Lender in connection with this
  Agreement shall be true and correct in all material respects; (iii) all signatures and endorsements of
  Borrower that appear on such documents and agreements shall be genuine and Borrower shall have full
  capacity to execute same; and (iv) Borrower's inventory shall be located as set forth on Schedule 5(e)
  attached hereto (as such Schedule may be updated from time to time) and shall not be removed from such
  location(s) without the prior written consent of the Lender except with respect to the sale of inventory in
  the ordinary course of business and with respect to inventory in transit from (a) a supplier to one location
  identified on Schedule 5(e) (as such Schedule may be updated from time to time) or (b) one location
  identified on Schedule 5(e) to another location identified on Schedule 5(e).

                     (f)     Defense of Lender's Interests. Until (i) indefeasible payment and performance in
  full of all of the Obligations and (ii) termination of this Agreement, the Lender's interests in the Collateral




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  shall continue in full force and effect. During such period Borrower shall not, without the Lender's prior
  written consent, pledge, sell (except inventory in the ordinary course of business), assign, transfer, create
  or suffer to exist a Lien upon or encumber or allow or suffer to be encumbered in any way except for
  Permitted Encumbrances, and except for dispositions expressly permitted elsewhere herein, any part of
  the Collateral. Borrower shall defend the Lender's interests in the Collateral against any and all Persons
  whatsoever. At any time after an Event of Default has occurred and is continuing and after demand by
  the Lender for payment of all Obligations, the Lender shall have the right, after the giving of any required
  notices under Section 13 hereof and upon the effectiveness of the granting of relief from the stay of
  Section 362(a) of the Bankruptcy Code, to take possession of the indicia of the Collateral and the
  Collateral in whatever physical form contained, including, without limitation, labels, stationery,
  documents, instruments and advertising materials. If the Lender exercises such right to take possession of
  the Collateral, Borrower shall, upon demand, assemble it in the best manner possible and make it
  available to the Lender at a place reasonably convenient to the Lender. In addition, with respect to all
  Collateral, the Lender shall be entitled to all of the rights and remedies set forth herein and further
  provided by the Uniform Commercial Code or other applicable law. After the occurrence and during the
  continuance of an Event of Default and after the giving of any required notices under Section 13 hereof,
  Borrower shall, and the Lender may, at its option, instruct all suppliers, carriers, forwarders, warehousers
  or others receiving or holding cash, checks, inventory, documents or instruments in which the Lender
  holds a security interest to deliver same to the Lender and/or subject to the Lender's order and if they shall
  come into Borrower's possession, they shall be held by Borrower in trust as the Lender's trustee, and
  Borrower will immediately deliver them to the Lender in their original form together with any necessary
  endorsement.

                   (g)      Books and Records. Borrower shall (i) keep proper books of record and account
  in which full, true and correct entries will be made of all dealings or transactions of or in relation to its
  business and affairs; (ii) set up on its books accruals with respect to all taxes, assessments, charges, levies
  and claims; and (iii) on a reasonably current basis set up on its books, from its earnings, allowances
  against doubtful receivables, advances and investments and all other proper accruals (including without
  limitation by reason of enumeration, accruals for premiums, if any, due on required payments and
  accruals for depreciation, obsolescence, or amortization of properties), which should be set aside from
  such earnings in connection with its business. All determinations pursuant to this subsection shall be
  made in all material respects in accordance with, or as required by, GAAP consistently applied in the
  opinion of such independent public accountant as shall then be regularly engaged by Borrower.

                   (h)     Financial Disclosure. Borrower hereby irrevocably authorizes and directs all
  accountants and auditors employed by Borrower at any time during the Term and promptly after the
  written request of the Lender (with prior written notice to the Borrower so long as no Event of Default has
  occurred and is continuing) to deliver to the Lender copies of Borrower's financial statements (if any exist
  at or prior to the date of such request), trial balances or other accounting records of any sort in the
  accountant's or auditor's possession, and to disclose to the Lender any information such accountants may
  have concerning Borrower's financial status and business operations. Borrower hereby authorizes all
  federal, state and municipal authorities to furnish to the Lender copies of reports or examinations relating
  to Borrower, whether made by Borrower or otherwise; however, the Lender will attempt to obtain such
  information or materials directly from Borrower prior to obtaining such information or materials from
  such accountants or such authorities.

                 (i)      Priority. Subject to entry of the Financing Orders by the Bankruptcy Court,
  Borrower agrees to grant Lender an allowed Superpriority Claim, and said Superpriority Claim shall
  survive any conversion of the Bankruptcy Case to a case under Chapter 7 of the Bankruptcy Code.




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                   (j)     Compliance with Laws. Borrower shall comply with all laws, acts, rules,
  regulations and orders of any Governmental Body with jurisdiction over it or the Collateral or any part
  thereof or to the operation of Borrower's business the non-compliance with which could reasonably be
  expected to have a Material Adverse Effect. Borrower may, however, contest or dispute any acts, rules,
  regulations, orders and directions of those Governmental Bodies or officials in any reasonable manner,
  provided that any related Lien is inchoate or stayed and sufficient reserves are established to the
  reasonable satisfaction of the Lender to protect the Lender's Lien on or security interest in the Collateral.
  The Collateral at all times shall be maintained in accordance with the material requirements of all
  insurance carriers which provide insurance with respect to the Collateral so that such insurance shall
  remain in full force and effect.

                    (k)    Inspection of Premises. Borrower shall (i) permit the Lender or any of its agents,
  attorneys, field examiners, auditors, financial consultants, appraisers and/or any other consultants or
  advisors access to Borrower's assets, properties, and premises at times to be mutually agreed, during
  normal business hours to, among other things, conduct appraisals and evaluations of the Collateral and
  any other assets or properties of Borrower, and (ii) fully cooperate and completely and promptly comply
  with any and all requests of the Lender and/or any of its agents for information or copies of documents.
  All fees, costs, and expenses of such agents, now or hereafter incurred by the Lender shall be reimbursed
  by Borrower in accordance with Section 15(e) hereof.

                   (l)      Insurance. Borrower shall bear the full risk of any loss of any nature whatsoever
  with respect to the Collateral. Subject to the orders of the Bankruptcy Court, at Borrower's own cost and
  expense in amounts and with carriers acceptable to the Lender, Borrower shall (i) keep all its insurable
  properties and properties in which Borrower has an interest insured against the hazards of fire, flood,
  sprinkler leakage, those hazards covered by extended coverage insurance and such other hazards, and for
  such amounts, as is customary in the case of companies engaged in businesses similar to Borrower's
  including, without limitation, business interruption insurance; (ii) maintain insurance in such amounts as
  is customary in the case of companies engaged in businesses similar to Borrower insuring against larceny,
  embezzlement or other criminal misappropriation of insured's officers and employees who may either
  singly or jointly with others at any time have access to the assets or funds of Borrower either directly or
  through authority to draw upon such funds or to direct generally the disposition of such assets;
  (iii) maintain public and product liability insurance against claims for personal injury, death or property
  damage suffered by others; (iv) maintain all such worker's compensation or similar insurance as may be
  required under the laws of any state or jurisdiction in which Borrower is engaged in business; and
  (v) furnish the Lender with (1) evidence of the maintenance of all such insurance by the renewal thereof
  no later than the expiration date thereof, and (2) appropriate lender loss payable endorsements in form and
  substance satisfactory to the Lender, naming the Lender as an additional insured and lender loss payee as
  its interests may appear but only with respect to all insurance coverage covering damage, loss or
  destruction of Collateral, and providing (A) that all proceeds thereunder covering a loss of or damage to
  Collateral shall be payable to the Lender, (B) no such insurance shall be affected by any act or neglect of
  the insured or owner of the property described in such policy, and (C) that such policy and loss payable
  clauses may not be cancelled, amended or terminated unless at least thirty (30) days' prior written notice
  is given to the Lender. Borrower shall provide copies of all such insurance policies (including the
  appropriate lender loss payee and additional insured endorsements) within thirty (30) days after the
  Lender's request, however, only certificates of such insurance shall be required at Closing. In the event of
  any loss under any insurance covering Collateral, the carriers named in such insurance policies covering
  Collateral hereby are directed by the Lender and the Borrower to make payment for such loss to the
  Lender and not Borrower and the Lender jointly. If any insurance losses with respect to Collateral are
  paid by check, draft or other instrument payable to Borrower and the Lender jointly, the Lender may
  endorse Borrower's name thereon and do such other things as the Lender may deem advisable to reduce
  the same to cash. The Lender is hereby authorized to negotiate and compromise claims under insurance




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  coverage with respect to Collateral. All loss recoveries with respect to Collateral received by the Lender
  upon any such insurance may be applied to the Obligations, in such order as the Lender in its sole
  discretion shall determine. Any surplus with respect to Collateral shall be paid by the Lender to Borrower
  or applied as may be otherwise required by law. Any deficiency thereon shall be paid by the Borrower to
  the Lender, on demand. Any loss recoveries not relating to items of Collateral shall be payable directly to
  Borrower and, if received by the Lender, the Lender shall promptly deliver same to Borrower. Anything
  hereinabove to the contrary notwithstanding, and subject to the fulfillment of the conditions set forth
  below, the Lender shall remit to the Borrower all proceeds of business interruption insurance, and all
  proceeds of insurance with respect to larceny, embezzlement or other criminal misappropriation,
  regardless of amount, shall be payable directly and promptly to the Borrower. The agreement of the
  Lender to remit insurance proceeds in the manner above provided shall be subject to satisfaction that no
  Event of Default or Default shall then have occurred and be continuing.

                   (m)     Failure to Pay Insurance. If Borrower fails to obtain insurance as hereinabove
  provided, or to keep the same in force, the Lender, if the Lender so elects, may obtain such insurance and
  pay the premium therefor on behalf of Borrower, and charge the Borrower therefor as an Advance and
  such expenses so paid shall be part of the Obligations, or, at the Lender's option, shall be paid to the
  Lender immediately upon demand.

                   (n)      Payment of Taxes. Subject to the orders of the Bankruptcy Court, Borrower will
  pay, when due, all taxes, assessments and other Charges lawfully levied or assessed upon Borrower or
  any of the Collateral including, without limitation, real and personal property taxes, assessments and
  charges and all franchise, income, employment, social security benefits, withholding, and sales taxes,
  except (i) those taxes, assessments or charges that are not material; (ii) those taxes, assessments or
  Charges to the extent that Borrower has contested or disputed those taxes, assessments or Charges in good
  faith, by expeditious protest, administrative or judicial appeal or similar proceeding; and (iii) those taxes
  which Borrower is prohibited from paying (or are not required to pay) by operation of the Bankruptcy
  Code, provided that, with respect to items (i) and (ii) referenced above in this Section 5(n), that any
  related tax Lien is stayed and sufficient reserves are established to the reasonable satisfaction of the
  Lender to protect the Lender's security interest in or Lien on the Collateral. If any tax by any
  governmental authority is or may be imposed on or as a result of any transaction between Borrower and
  the Lender which the Lender may be required to withhold or pay or if any taxes, assessments, or other
  Charges remain unpaid after the date fixed for their payment, or if any claim shall be made which, in the
  Lender's opinion, may possibly create a valid Lien on the Collateral, the Lender may without notice to
  Borrower pay the taxes, assessments or other Charges and Borrower hereby indemnifies and holds the
  Lender harmless in respect thereof. The Lender will not pay any taxes, assessments or Charges to the
  extent that Borrower has contested or disputed those taxes, assessments or Charges in good faith, by
  expeditious protest, administrative or judicial appeal or similar proceeding provided that any related tax
  Lien is stayed and sufficient reserves are established to the reasonable satisfaction of the Lender to protect
  the Lender's security interest in or Lien on the Collateral. The amount of any payment by the Lender
  under this Section 5(n) shall be charged to the Borrower as an Advance and added to the Obligations and,
  until Borrower shall furnish the Lender with an indemnity therefor (or supply the Lender with evidence
  satisfactory to the Lender that due provision for the payment thereof has been made), the Lender may
  hold without interest any balance standing to the Borrower's credit and the Lender shall retain its security
  interest in any and all Collateral held by the Lender.

                   (o)      Payment of Leasehold Obligations. Borrower shall at all times pay, when and as
  due, its rental obligations arising after the Petition Date under all leases under which it is a tenant, and
  shall otherwise comply, in all material respects, with all other terms of such leases (other than to the
  extent that the enforcement of such terms by the applicable landlord is stayed by virtue of the Bankruptcy
  Case) and, at the Lender's reasonable request will provide evidence of having done so.




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                   (p)       Power of Lender to Act on Borrower's Behalf. The Lender shall have the right,
  at any time after the occurrence and during the continuance of an Event of Default after the giving of any
  required notices under Section 13 hereof and upon the effectiveness of relief from the automatic stay of
  Section 362(a) of the Bankruptcy Code, to receive, endorse, assign and/or deliver in the name of the
  Lender or Borrower any and all checks, drafts and other instruments for the payment of money relating to
  receivables, and Borrower hereby waives notice of presentment, protest and non-payment of any
  instrument so endorsed. Borrower hereby constitutes the Lender or the Lender's designee as Borrower's
  attorney with power at any time after the occurrence and during the continuance of an Event of Default
  after the giving of any required notices under Section 13 hereof and upon the effectiveness of relief from
  the automatic stay of Section 362(a) of the Bankruptcy Code (i) to endorse Borrower's name upon any
  notes, acceptances, checks, drafts, money orders or other evidences of payment or Collateral; (ii) to sign
  Borrower's name on any invoice or bill of lading relating to any of the receivables, drafts against
  customers, assignments and verifications of receivables; (iii) to send verifications of receivables to any
  customer; (iv) to demand payment of the receivables; (v) to enforce payment of the receivables by legal
  proceedings or otherwise; (vi) to exercise all of the Borrower's rights and remedies with respect to the
  collection of the receivables and any other Collateral; (vii) to settle, adjust, compromise, extend or renew
  the receivables; (viii) to settle, adjust or compromise any legal proceedings brought to collect receivables;
  (ix) to prepare, file and sign Borrower's name on a proof of claim in bankruptcy or similar document
  against any customer; (x) to prepare, file and sign Borrower's name on any notice of Lien, assignment or
  satisfaction of Lien or similar document in connection with the receivables; and (xi) to do all other acts
  and things necessary to carry out this Agreement. All acts of said attorney or designee are hereby ratified
  and approved, and said attorney or designee shall not be liable for any acts of omission or commission nor
  for any error of judgment or mistake of fact or of law, unless done with gross (not mere) negligence or
  willful misconduct; this power being coupled with an interest is irrevocable while any of the Obligations
  remain unpaid. The Lender shall have the right at any time following the occurrence and during the
  continuance of an Event of Default after the giving of any required notices under Section 13 hereof and
  upon the effectiveness of relief from the automatic stay of Section 362(a) of the Bankruptcy Code, to
  change the address for delivery of mail addressed to Borrower to such address as the Lender may
  designate and to receive, open and dispose of all mail addressed to Borrower.

                   (q)     No Liability. The Lender shall not, under any circumstances or in any event
  whatsoever, have any liability for any error or omission or delay of any kind occurring in the settlement,
  collection or payment of any of the receivables or any instrument received in payment thereof, or for any
  damage resulting therefrom unless such liability arises from the Lender's willful misconduct or gross
  negligence as finally determined by a court of competent jurisdiction. Following the occurrence and
  during the continuance of an Event of Default after the giving of any required notices under Section 13
  hereof and after the effectiveness of relief from the automatic stay of Section 362(a) of the Bankruptcy
  Code, the Lender may, without any other notice or consent from Borrower, sue upon or otherwise collect,
  extend the time of payment of, compromise or settle for cash, credit or upon any terms any of the
  receivables or any other securities, instruments or insurance applicable thereto and/or release any obligor
  thereof. The Lender is authorized and empowered to accept following the occurrence and during the
  continuance of an Event of Default after the giving of any required notices under Section 13 hereof and
  after the effectiveness of relief from the automatic stay of Section 362(a) of the Bankruptcy Code the
  return of the goods represented by any of the receivables, without notice to or consent by Borrower, all
  without discharging or in any way affecting Borrower's liability hereunder.

                   (r)     Exculpation of Liability. Nothing herein contained shall be construed to
  constitute the Lender as Borrower's agent for any purpose whatsoever, nor shall the Lender be responsible
  or liable for any shortage, discrepancy, damage, loss or destruction of any part of the Collateral wherever
  the same may be located and regardless of the cause thereof except to the extent such shortage,
  discrepancy, damage, loss or destruction resulted directly from the gross (not mere) negligence or willful




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  misconduct of the Lender. The Lender will not, whether by anything herein or in any assignment or
  otherwise, assume any of Borrower's obligations under any contract or agreement assigned to the Lender,
  and the Lender shall not be responsible in any way for the performance by Borrower of any of the terms
  and conditions thereof.

          6.      Representations and Warranties.

                    (a)     Authority. Subject to entry of the Financing Orders, Borrower has the full
  power, authority and legal right to enter into this Agreement and the Other Documents to which it is a
  party and to perform all of its Obligations hereunder and thereunder, as the case may be. Subject to entry
  of the Financing Orders, this Agreement and the Other Documents constitute the legal, valid and binding
  obligations of Borrower, enforceable in accordance with their terms. The execution, delivery and
  performance of this Agreement and of the Other Documents by Borrower (i) subject to entry of the
  Financing Orders, are within Borrower's limited liability company powers, have been duly authorized, are
  not in contravention of law or the terms of Borrower's operating agreement, articles of organization or
  other applicable documents relating to Borrower's formation or organization, as the case may be, or to the
  conduct of Borrower's business or of any material agreement or undertaking arising after the Petition Date
  to which Borrower is a party or by which Borrower is bound, and (ii) will not conflict with nor result in
  any breach in any of the provisions of or constitute a default under or result in the creation of any Lien
  except Permitted Encumbrances upon any asset of Borrower under the provisions of any agreement,
  charter document or other instrument arising after the Petition Date to which Borrower is a party or by
  which it or its property may be bound.

                   (b)    Formation and Qualification. Borrower is duly organized and in good standing
  under the laws of the Commonwealth of Pennsylvania, which constitutes all jurisdictions in which
  qualification and good standing are necessary for Borrower to conduct its business and own its property
  and where the failure to so qualify could reasonably be expected to have a Material Adverse Effect.
  Borrower has delivered to the Lender true and complete copies of its articles of organization, operating
  agreement or other organizational documents and will promptly notify the Lender of any amendment or
  changes thereto.

                   (c)     Survival of Representations and Warranties. All representations and warranties
  of Borrower contained in this Agreement and the Other Documents, as the case may be, shall be true at
  the time of Borrower's execution of this Agreement and the Other Documents, as the case may be, and
  shall survive the execution, delivery and acceptance thereof by the parties thereto and the Closing.

                   (d)      No Litigation, Violation or Default. Except as disclosed in Schedule 6(e),
  Borrower does not have any pending or threatened litigation, arbitration, actions or proceedings which
  could reasonably be expected to have a Material Adverse Effect. Borrower is not in violation of any
  applicable statute, regulation or ordinance in any respect which could reasonably be expected to have a
  Material Adverse Effect, nor is Borrower in violation of any order of any court, governmental authority or
  arbitration board or tribunal which would reasonably be expected to have a Material Adverse Effect.

                   (e)     The Financing Orders. On the date of the making of the initial Advances
  hereunder, the Interim Financing Order will have been entered and be in full force and effect and will not
  have been reversed, stayed, vacated or, without the Lender's consent, which consent shall be in its sole
  discretion, amended, supplemented or modified. On the date of the making of any Advance, the Interim
  Financing Order or the Final Financing Order, as the case may be, shall have been entered and be in full
  force and effect and shall not have been reversed, stayed, vacated or, without the Lender's consent, which
  consent shall be in Lender's sole discretion, amended, supplemented or modified. Upon the maturity
  (whether by the acceleration or otherwise) of any of the Obligations, the Lender shall, subject solely to




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  the provisions of Sections 3(f)(iv), 12 and 13 hereof and to such reservations of rights as may be
  expressly set forth in the Financing Orders, be entitled to immediate payment in full of such Obligations
  in cash, and the Lender shall be entitled to enforce the remedies provided for hereunder, without further
  application to or order by the Bankruptcy Court.

                  (f)    Good Faith. This Agreement has been negotiated in good faith and at arm's
  length between the Borrower and the Lender.

           7.       Affirmative Covenants. Following the Closing Date, Borrower shall until payment or
  satisfaction in full of the Obligations and termination of this Agreement:

                    (a)      Conduct of Business and Maintenance of Existence and Assets. (i) Conduct its
  business according to good business practices and maintain all of its properties useful or necessary in its
  business in good working order and condition (reasonable wear and tear excepted and except as may be
  disposed of in accordance with the terms of this Agreement), including, without limitation, all licenses,
  patents, copyrights, design rights, tradenames, trade secrets and trademarks and take all actions necessary
  to enforce and protect the validity of any intellectual property right or other right included in the
  Collateral; (ii) keep in full force and effect its existence and comply in all material respects with the laws
  and regulations governing the conduct of its business where the failure to do so could reasonably be
  expected to have a Material Adverse Effect; and (iii) make all such reports and pay all such franchise and
  other taxes and license fees arising after the Petition Date and do all such other acts and things as may be
  lawfully required to maintain its rights, licenses, leases, powers and franchises under the laws of the
  United States or any political subdivision thereof where the failure to do so would reasonably be expected
  to have a Material Adverse Effect.

                   (b)    Violations. Promptly notify the Lender in writing of any violation of any law,
  statute, regulation or ordinance of any Governmental Body, or of any agency thereof, applicable to
  Borrower or the Collateral which could reasonably be expected to have a Material Adverse Effect.

                  (c)      Execution of Supplemental Instruments. Execute and deliver to the Lender from
  time to time, upon demand, such supplemental agreements, statements, assignments and transfers, or
  instructions or documents relating to the Collateral, and such other instruments as the Lender may
  reasonably request, in order for the full intent of this Agreement to be carried into effect.

                   (d)     Modification of the Automatic Stay. The Interim Financing Order (and Final
  Financing Order, as applicable) shall contain language, which shall be satisfactory to the Lender in its
  sole discretion, vacating and modifying the automatic stay provisions of Section 362 of the Bankruptcy
  Code to the extent necessary to permit the Lender to (i) perfect the security interests and Liens granted
  hereunder and (ii) exercise its rights under Section 13 hereof of this Agreement.

          8.       Negative Covenants. Borrower shall not until satisfaction in full of the Obligations and
  termination of this Agreement:

                  (a)      Merger, Consolidation, Acquisition and Sale of Assets.

                                   (i)     Enter into any merger, consolidation or other reorganization with
                           or into any other Person or acquire all or a substantial portion of the assets or
                           stock of any Person or permit any other Person to consolidate with or merge with
                           it; or




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                                   (ii)    Except transactions involving the sale, lease, transfer or other
                          disposition of inventory in the ordinary course of business, sell, lease, transfer or
                          otherwise dispose of any of its properties or assets unless such sale is in
                          accordance with the Sale Agreement, the Sale Motion and the Sale Order.

                   (b)      Creation of Liens. Create or suffer to exist any Lien or transfer upon or against
  any of its property or assets now owned or hereafter acquired, except Permitted Encumbrances.

                 (c)     Guarantees. Become liable upon the obligations of any Person by assumption,
  endorsement or guaranty thereof or otherwise.

                  (d)     Loans. Make advances, loans or extensions of credit to any Person, including,
  without limitation, any affiliate, except with respect to the extension of commercial trade credit in
  connection with the sale of inventory in the ordinary course of its business.

                    (e)     Indebtedness. Create, incur, assume or suffer to exist any Indebtedness except in
  respect of (i) trade debt, deposits placed with the Borrower by customers of the Borrower for boat orders,
  and as disclosed by the Borrower in its schedules filed in the Bankruptcy Case, (ii) Indebtedness existing
  on the Closing Date and set forth on Schedule 8(e) attached hereto (including any extensions, renewals or
  refinancings thereof), provided that there is no material change in the material terms thereof and the
  principal amount of such Indebtedness shall not be increased to an amount greater than the amount
  outstanding on the Closing Date without the prior written consent of the Lender, (iii) Indebtedness of the
  Prepetition Secured Parties under the Prepetition Documents as set forth in the Cash Collateral Order, (iv)
  other Indebtedness permitted pursuant to the Cash Collateral Order, and (v) Indebtedness to the Lender
  under or pursuant to this Agreement or the Other Documents.

                   (f)     Nature of Business. Substantially change the nature of the business in which it is
  currently engaged, nor, except as specifically permitted hereby purchase or invest, directly or indirectly,
  in any assets or property other than in the ordinary course of business or other than those which are useful
  in, necessary for and are to be used in its business, as presently conducted.

                  (g)    Amendment of Articles of Organization or Operating Agreement. Amend,
  modify or waive any material term or material provision of its articles of organization or operating
  agreement or other organizational documents which amendment, modification or waiver would
  reasonably be considered material and adverse to the Lender, unless required by law.

                  (h)      Prepayment of Indebtedness. At any time, directly or indirectly, prepay or
  repurchase, redeem or retire any Indebtedness, except for the prepayment, repurchase, redemption,
  retirement or acquisition of any Indebtedness of Borrower owed to the Lender pursuant to this Agreement
  or the Other Documents.

         9.      Conditions to Initial Advances. The agreement of the Lender to make the initial
  Advance requested to be made on the Closing Date is subject to the satisfaction, or waiver by the Lender,
  immediately prior to or concurrently with the making of such Advance, of the following conditions
  precedent:

                  (a)     Note. The Lender shall have received the Revolving Credit Note duly executed
  and delivered by an authorized officer of Borrower.

                  (b)     Bankruptcy Matters. No trustee or examiner with expanded powers relating to
  the operation of the business of the Borrower shall have been appointed with respect to Borrower or its




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  business, properties or assets, including without limitation, the Collateral and any other property that is
  security for the Obligations and Borrower shall have complied in full with all other requirements as
  provided for under the Interim Financing Order.

                    (c)     Interim Financing Order. At the time of the making of the initial Advance, the
  Lender shall have received satisfactory evidence of the entry of the Interim Financing Order which
  Interim Financing Order (i) shall be in form and substance satisfactory to the Lender in Lender's sole
  discretion, (ii) shall have been entered not later than seven (7) days following the Petition Date and
  (iii) shall not have been vacated, stayed, reversed, modified or amended in any respect without the
  express written consent of the Lender, and, if the Interim Financing Order is the subject of a pending
  appeal in any respect, neither the making of such Advance, nor the performance by the Borrower of any
  of its obligations hereunder or under the Other Documents or under any other instrument or agreement
  referred to herein, shall be the subject of a presently effective stay pending appeal.

                   (d)     First Day Orders. All of the "first day orders" entered by the Bankruptcy Court
  at the time of the commencement of the Bankruptcy Case shall be reasonably satisfactory in form and
  substance to the Lender.

                   (e)    Corporate Proceedings of Borrower. The Lender shall have received a copy of
  the resolutions in form and substance reasonably satisfactory to the Lender, of the board of directors,
  partners, managers or members, as the case may be, of Borrower authorizing (i) the execution, delivery
  and performance of this Agreement, the Revolving Credit Note and any Other Document to which
  Borrower is a party, and (ii) the granting by Borrower of the security interests in and Liens upon the
  Collateral. Such resolutions shall be certified by an authorized individual of Borrower as of the Closing
  Date and such certificate shall state that the resolutions thereby certified have not been amended,
  modified, revoked or rescinded as of the date of such certificate.

                   (f)     Incumbency Certificate of Borrower. The Lender shall have received a
  certificate of an authorized individual of Borrower, dated the Closing Date, as to the incumbency and
  signature of the officers or manager of Borrower executing any certificate or other documents to be
  delivered by Borrower pursuant hereto, together with evidence of the incumbency of such authorized
  individual.

                   (g)     Good Standing Certificates. The Lender shall have received copies of good
  standing certificates, or similar certifications, for Borrower, issued by the Department of State of the
  Commonwealth of Pennsylvania and each jurisdiction where the conduct of its business activities or the
  ownership of its properties necessitates qualification.

                  (h)      Insurance. The Lender shall have received in form and substance satisfactory to
  the Lender, certificates of insurance for the Borrower's casualty insurance policies, together with loss
  payable endorsements on the Borrower's standard form of loss payee endorsement naming the Lender as
  lender loss payee with respect to the Collateral, and certificates of insurance for the Borrower's liability
  insurance policies, together with endorsements naming the Lender as an additional insured.

                   (i)     Consents. The Lender shall have received any and all consents necessary to
  permit the effectuation of the transactions contemplated by this Agreement and the Other Documents;
  and, such consents of such third parties as might assert claims with respect to the Collateral, as the Lender
  and its counsel shall deem necessary.




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                    (j)      Other. All limited liability company and other proceedings, and all documents,
  instruments and other legal matters in connection with the transactions contemplated by this Agreement
  shall be satisfactory in form and substance to the Lender and its counsel.

           10.      Conditions to Each Advance. The agreement of the Lender to make any Advance
  requested to be made on any date (including, without limitation, the initial Advance), is subject to the
  satisfaction of the following conditions precedent as of the date such Advance is made.

                   (a)      Representations and Warranties. Each of the representations and warranties
  made by Borrower in or pursuant to this Agreement and any Other Document, as the case may be, and
  each of the representations and warranties contained in any certificate, document or financial or other
  statement furnished at any time under or in connection with this Agreement or any Other Document shall
  be true and correct in all material respects on and as of such date as if made on and as of such date.

                  (b)      Financing Orders. Subject to Section 9(c) hereof, the Financing Orders shall be
  in full force and effect and shall not have been stayed, reversed, modified or amended in any respect
  without the prior written consent of the Lender, provided, that at the time of the making of any Advance
  the aggregate amount of which, when added to the sum of the principal amount of all Advances then
  outstanding would exceed the amount authorized by the Interim Financing Order (collectively, the
  "Additional Credit"), the Lender shall have received satisfactory evidence of the entry of the Final
  Financing Order, which, in any event, shall have been entered by the Bankruptcy Court no later than
  twenty (20) days after the Petition Date and at the time of the extension of any Additional Credit the Final
  Financing Order shall be in full force and effect, and shall not have been vacated, stayed, reversed,
  modified or amended in any respect without the prior written consent of the Lender; and if either the
  Interim Financing Order or the Final Financing Order is the subject of a pending appeal in any respect,
  neither the making of the Advances nor the performance by the Borrower of any of its obligations under
  this Agreement or any of the Other Documents shall be the subject of a presently effective stay pending
  appeal.

                   (c)    Sale Motion. For each Advance made on or after the fifth (5th) day following the
  Petition Date, the Borrower shall have filed a motion for approval of the sale of substantially all of the
  assets of the Borrower to the Lender, which shall be reasonably satisfactory in form and substance to the
  Lender (the "Sale Motion").

                   (d)      Asset Purchase Agreement. For each Advance made on or after the tenth (10th)
  day following the Petition Date, Borrower and LF Trucking, Inc., a Pennsylvania corporation and co-
  Debtor in the Bankruptcy Case, as sellers (collectively, the “Sellers”), and the Lender and Levin
  Trucking, LLC, a Pennsylvania limited liability company, as purchasers (collectively, the “Purchasers”),
  shall have entered into a purchase and sale agreement for the purchase and sale of substantially all of the
  assets of the Sellers to the Purchasers (the “Sale Agreement”), which shall be reasonably satisfactory in
  form and substance to the Lender (the "Sale Motion").

                   (e)    For each Advance made on or after the twenty-first (21st) day following the
  Petition Date, an order reasonably satisfactory in form and substance to the Lender (the "Sale Order")
  shall have been entered by the Bankruptcy Court approving a sale to the Purchasers pursuant to the Sale
  Motion and the Sale Agreement, which Sale Order shall not be subject to a stay pending appeal. Within
  two (2) Business Days after entry of the Sale Order, the Sellers and the Purchasers shall close on such sale
  pursuant to the Purchase Agreement.

                  (f)     No Default. No Event of Default or Default shall have occurred and be
  continuing on such date, or would exist after giving effect to the Advances requested to be made, on such




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  date; provided, however that, the Lender, in its sole discretion, may continue to make Advances
  notwithstanding the existence of an Event of Default or Default and that any Advances so made shall not
  be deemed a waiver of any such Event of Default or Default.

                   (g)      Maximum Advances. In the case of any Advances requested to be made, after
  giving effect thereto, the aggregate Advances shall not exceed the Maximum Advance Amount.

  Each request for an Advance by the Borrower hereunder shall constitute a representation and warranty by
  Borrower as of the date of such Advance that the conditions contained in this subsection shall have been
  satisfied (to the extent that such conditions are required to be satisfied by such date).

          11.     Information as to Borrower. Borrower shall, until payment or satisfaction in full of the
  Obligations and the termination of this Agreement deliver the following information:

                    (a)   Disclosure of Material Matters. Immediately upon learning thereof, report to the
  Lender all matters materially affecting the value, enforceability or collectability of any portion of the
  Collateral including, without limitation, Borrower's reclamation or repossession of, or the return to
  Borrower of, a material amount of goods or material claims or material disputes asserted by any customer
  or other obligor.

                  (b)     Litigation. Promptly notify the Lender in writing of any adversary proceeding,
  contested matter or administrative proceeding affecting Borrower, whether or not the claim is covered by
  insurance, and of any adversary proceeding, contested matter or administrative proceeding, which in any
  such case could reasonably be expected to have a Material Adverse Effect.

                   (c)     Material Occurrences. Promptly, but in any event no later than five (5) days after
  such occurrence, notify the Lender in writing upon the occurrence of (i) any Event of Default or Default;
  (ii) any event, development or circumstance whereby any financial statements or other reports furnished
  to the Lender fail in any material respect to present fairly, in accordance with GAAP consistently applied,
  the financial condition or operating results of Borrower as of the date of such statements; (iii) each and
  every default by Borrower which would reasonably be expected to result in the acceleration of the
  maturity of any Indebtedness arising after the Petition Date, including the names and addresses of the
  holders of such Indebtedness with respect to which there is a default existing or with respect to which the
  maturity has been or could be accelerated, and the amount of such Indebtedness; and (iv) any other
  development in the business or affairs of Borrower which could reasonably be expected to have a
  Material Adverse Effect; in each case, to the extent permitted by applicable law, describing the nature
  thereof and the action Borrower proposes to take with respect thereto.

                   (d)    Additional Information. Furnish the Lender with such additional information as
  the Lender shall reasonably request in order to enable the Lender to determine whether the terms,
  covenants, provisions and conditions of this Agreement and the Revolving Credit Note have been
  complied with by Borrower and execute and deliver to the Lender, upon request, such documents and
  agreements as the Lender may, from time to time, reasonably request to carry out the purposes, terms or
  conditions of this Agreement.

                 (e)     Weekly Reporting. Furnish the Lender with weekly reporting of inventory
  tracking, accounts payable aging and accounts receivable aging of the Borrower by 5:00 p.m. on
  Thursday of each week for the preceding week.

          12.     Events of Default. The occurrence of any one or more of the following events shall
  constitute an "Event of Default":




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                  (a)     Payment of Obligations. Failure by Borrower to pay any principal or interest on
  the Obligations when due, whether at maturity or by reason of acceleration pursuant to the terms of this
  Agreement, or by required prepayment or failure to pay any other liabilities or make any other payment,
  fee or charge provided for herein when due or in any Other Document.

                  (b)     Misrepresentations. Any representation or warranty made by Borrower in this
  Agreement or any Other Document or in any certificate, document or financial or other statement
  furnished at any time in connection herewith or therewith, as the case may be, shall prove to have been
  misleading in any material respect on the date when made or deemed to have been made.

                  (c)     Failure to Furnish Information. Failure by Borrower to (i) furnish financial
  information required to be provided hereunder when due, (ii) furnish financial information requested by
  the Lender within ten (10) days after such information is requested, or (iii) permit the inspection of its
  books or records.

                 (d)     Liens Against Assets. Issuance of a notice of Lien (other than Permitted
  Encumbrances), levy, assessment, injunction or attachment against the Collateral or a material portion of
  Borrower's property which is not stayed or lifted within ten (10) days.

                 (e)     Breach of Covenants. Except as otherwise provided for in this Section 12, failure
  or neglect of Borrower to perform, keep or observe any term, provision, condition or covenant herein
  contained or contained in any other agreement or arrangement, now or hereafter entered into between
  Borrower and the Lender relating to the Obligations.

                  (f)     Judgment. Any judgment is rendered or judgment lien is filed against Borrower
  for any post-petition obligation (to the extent not covered by insurance to which the insurance provider
  has not contested coverage).

                  (g)     Loss of Priority Lien. Any Lien created hereunder or provided for hereby or
  under any related agreement for any reason ceases to be or is not a valid and perfected Lien having the
  priority contemplated herein and in the Financing Orders.

                  (h)     Invalidity of Credit Agreement. Any material provision of this Agreement shall,
  for any reason, cease to be valid and binding on Borrower, or Borrower shall so claim in writing to the
  Lender.

                    (i)    Destruction of Collateral. Any portion of the Collateral shall be seized or taken
  by a Governmental Body, or Borrower or the title and rights of Borrower shall have become the subject
  matter of litigation which might, in the reasonable opinion of the Lender, upon final determination, result
  in material impairment or loss of the security provided by this Agreement or the Other Documents.

                   (j)      Pre-Petition Payments. Except as permitted by the Financing Orders, the
  Borrower shall make any pre-petition payment other than pre-petition payments authorized by the
  Bankruptcy Court (w) in accordance with the Cash Collateral Order, (x) in accordance with other "first
  day" orders reasonably satisfactory to the Lender, (y) in connection with the assumption of executory
  contracts and unexpired leases and (z) in respect of accrued payroll and related expenses and employee
  benefits as of the Petition Date.

                  (k)     Dismissal or Conversion of Bankruptcy Case. The Bankruptcy Case shall be
  dismissed or converted to a case under Chapter 7 of the Bankruptcy Code or Borrower shall file a motion
  or other pleading seeking the dismissal of the Bankruptcy Case under Section 1112 of the Bankruptcy




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  Code or otherwise; a trustee under Chapter 7 or Chapter 11 of the Bankruptcy Code, a responsible officer
  or an examiner with enlarged powers relating to the operation of the business (powers beyond those set
  forth in Sections 1106(a)(3) and (4) of the Bankruptcy Code) under Section 1106(b) of the Bankruptcy
  Code shall be appointed in the Bankruptcy Case, or an application shall be filed by Borrower for the
  approval of any other Superpriority Claim in the Bankruptcy Case which is pari passu with or senior to
  the claims of the Lender against Borrower hereunder, or there shall arise or be granted any such pari
  passu or senior Superpriority Claim.

                   (l)     Relief from Stay. The Bankruptcy Court shall enter an order or orders granting
  relief from the automatic stay applicable under Section 362 of the Bankruptcy Code to the holder or
  holders of any security interest to permit foreclosure (or the granting of a deed in lieu of foreclosure or the
  like) or repossession on any assets of the Borrower.

                   (m)    The Financing Orders. Borrower shall apply for authority to amend, supplement,
  stay, vacate or otherwise modify any of the Financing Orders without the consent of the Lender, and the
  Lender has sent notice of such default to Borrower. Any of the Financing Orders shall be revoked,
  remanded, vacated, reversed, stayed, rescinded or shall cease to be in full force and effect, in each case
  without the consent of the Lender, modified or amended on appeal by any Bankruptcy Judge or District
  Court Judge or the Final Financing Order shall not have been entered within twenty-one (21) days of the
  Petition Date.

                   (n)     Lien Challenge. Borrower shall support (in any such case by way of any motion
  or other pleading filed with the Bankruptcy Court or any other writing to another party-in-interest
  executed by or on behalf of Borrower) any other Person's opposition of, any motion made in the
  Bankruptcy Court by Lender seeking confirmation of the amount of Lender's claim or the validity or
  enforceability of the Liens in favor of Lender. Borrower shall seek to, or shall support (in any such case
  by way of any motion or other pleading filed with the Bankruptcy Court or any other writing to another
  party-in-interest executed by or on behalf of Borrower) any other Person's motion to disallow in whole or
  in part Lender's claim in respect of the Obligations or to challenge the validity, perfection and
  enforceability of Liens in favor or the Lender.

                  (o)     Filing of Reorganization Plan or Sale Motion. A plan of reorganization or a
  motion for the sale of substantially all of the assets of the Sellers is filed by any party in interest in the
  Bankruptcy Case which does not contemplate a sale to the Purchasers.

          13.      Lenders' Rights and Remedies After Default.

                  (a)      Rights and Remedies. Upon the occurrence of an Event of Default and at any
  time thereafter (such default not having previously been cured), at the option of Lender during the
  continuance of such event, and without further order of or application to the Bankruptcy Court except as
  otherwise provided in the Financing Orders, the Lender may, by notice to the Borrower and its counsel
  (with a copy to (x) counsel for any statutory creditors' committee appointed in the Bankruptcy Case, (y)
  the United States Trustee for the Bankruptcy Court and (z) counsel to each of the Prepetition ABL
  Secured Parties and the Prepetition Term Loan Secured Parties pursuant to the Cash Collateral Order),
  take one or more of the following actions, at the same or different times: (i) terminate or suspend
  forthwith the commitment to make Advances hereunder; (ii) declare the Advances or any portion thereof
  then outstanding to be forthwith due and payable, whereupon the principal of such Advances together
  with accrued interest thereon and any unpaid accrued fees and all other liabilities of the Borrower accrued
  hereunder and under any Other Document, shall become forthwith due and payable, without presentment,
  demand, protest or any other notice of any kind, all of which are hereby expressly waived by the
  Borrower, anything contained herein or in any Other Document to the contrary notwithstanding; and (iii)




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  exercise any and all remedies under this Agreement and the Other Documents and under applicable law
  available to the Lender.

                   (b)     Lender's Discretion. The Lender shall have the right in its sole discretion to
  determine which rights, Liens, security interests or remedies the Lender may at any time pursue,
  relinquish, subordinate, or modify or to take any other action with respect thereto and such determination
  will not in any way modify or affect any of the Lender's rights hereunder.

                  (c)    Setoff. In addition to any other rights which the Lender may have under
  applicable law, upon the occurrence and during the continuance of an Event of Default hereunder, the
  Lender shall have a right to apply Borrower's property held by the Lender to reduce the Obligations;
  provided that in no event shall the Postpetition Collateral (as defined in the Cash Collateral Order)
  be available for such right of setoff.

                   (d)     Rights and Remedies Not Exclusive. The enumeration of the foregoing rights
  and remedies is not intended to be exhaustive and the exercise of any right or remedy shall not preclude
  the exercise of any other right or remedies provided for herein or otherwise provided by law, all of which
  shall be cumulative and not alternative.

                   (e)      Allocation of Payments After Event of Default. Notwithstanding any other
  provisions of this Agreement to the contrary, after the occurrence and during the continuance of an Event
  of Default, all amounts collected or received from Borrower (including the monetary proceeds of
  collections or of realization upon any Collateral) shall be applied in such order as the Lender shall
  determine in its sole discretion.

          14.     Effective Date and Termination.

                   (a)     Term. This Agreement, which shall inure to the benefit of and shall be binding
  upon the respective successors and permitted assigns of Borrower and the Lender, shall become effective
  on the date hereof and shall continue in full force and effect, and Advances borrowed under this
  Agreement will be paid in full in cash and the DIP Financing will terminate upon the earliest to occur of
  the following (the "Term"): (i) [April 7, 2020], or such later date as may be agreed pursuant to this
  Agreement, (ii) unless extended with the consent of the Lender, the failure to meet any of the dates set
  forth in the Sale Motion or the entry of the Sale Order to occur, (iii) the closing of a sale pursuant to the
  Sale Agreement, the Sale Motion and the Sale Order, (iv) at the option of the Lender, at any time on or
  after an Event of Default, or (v) acceleration of the Obligations in accordance with this Agreement.

                    (b)      Termination. The termination of this Agreement shall not affect Borrower's or
  the Lender's rights, or any of the Obligations having their inception prior to the effective date of such
  termination, and the provisions hereof shall continue to be fully operative until all transactions entered
  into, rights or interests created or Obligations have been fully disposed of, concluded or liquidated. The
  security interests, Liens and rights granted to the Lender hereunder and the financing statements filed
  hereunder shall continue in full force and effect, notwithstanding the termination of this Agreement, until
  all of the Obligations of Borrower have been paid or performed in full after the termination of this
  Agreement or Borrower has furnished the Lender with an indemnification satisfactory to the Lender with
  respect thereto. Accordingly, Borrower waives any rights which it may have under the Uniform
  Commercial Code to demand the filing of termination statements with respect to the Collateral, and the
  Lender shall not be required to send such termination statements to Borrower, or to file them with any
  filing office, unless and until this Agreement shall have been terminated in accordance with its terms and
  all Obligations paid in full in immediately available funds. All representations, warranties, covenants,
  waivers and agreements contained herein shall survive termination hereof until all Obligations are paid or




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  performed in full. Without limitation, all indemnification obligations contained herein shall survive the
  termination hereof and payment in full of the Obligations.

          15.     Miscellaneous.

                    (a)     Indemnity. Borrower shall indemnify the Lender and each of its officers,
  directors, affiliates, employees, attorneys and agents from and against any and all liabilities, obligations,
  losses, damages, penalties, actions, judgments, suits, costs, expenses and disbursements of any kind or
  nature whatsoever (including, without limitation, fees and disbursements of counsel) which may be
  imposed on, incurred by, or asserted against the Lender in any litigation, proceeding or investigation
  instituted or conducted by any governmental agency or instrumentality or any other Person with respect to
  any aspect of, or any transaction contemplated by, or referred to in, or any matter related to, this
  Agreement or the Other Documents, whether or not the Lender is a party thereto, except to the extent that
  any of the foregoing arises out of the gross negligence or willful misconduct of the party being
  indemnified.

                   (b)      Notice. Any notice or request hereunder may be given to the Borrower or to the
  Lender at their respective addresses set forth below or at such other address as may hereafter be specified
  in a notice designated as a notice of change of address under this Section 15(b). Any notice, request,
  demand, direction or other communication (for purposes of this Section 15(b) only, a "Notice") to be
  given to or made upon any party hereto under any provision of this Agreement shall be given or made by
  telephone or in writing (which includes by means of electronic transmission (i.e., "e-mail") or facsimile
  transmission in accordance with this Section 15(b). Any such Notice must be delivered to the applicable
  parties hereto at the addresses and numbers set forth under their respective names on Section 15(b) hereof
  or in accordance with any subsequent unrevoked Notice from any such party that is given in accordance
  with this Section 15(b). Any Notice shall be effective:

                                   (i)     In the case of hand-delivery, when delivered;

                                    (ii)   If given by mail, four (4) days after such Notice is deposited
                           with the United States Postal Service, with first-class postage prepaid, return
                           receipt requested;

                                   (iii)   In the case of a telephonic Notice, when a party is contacted by
                           telephone, if delivery of such telephonic Notice is confirmed no later than the
                           next Business Day by hand delivery, a facsimile or electronic transmission or an
                           overnight courier delivery of a confirmatory Notice (received at or before noon
                           on such next Business Day);

                                   (iv)    In the case of a facsimile transmission, when sent to the
                           applicable party's facsimile machine's telephone number, if the party sending
                           such Notice receives confirmation of the delivery thereof from its own facsimile
                           machine;

                                   (v)     In the case of electronic transmission, when actually received;

                                  (vi)     If given by any other means (including by overnight courier),
                           when actually received.




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                  (A)     If to Lender:          Levin Furniture, LLC
                                                 c/o Goldberg, Kamin & Garvin
                                                 1806 Frick Building
                                                 437 Grant St.
                                                 Pittsburgh, Pennsylvania 15219
                                                 Attention: Jonathan M. Kamin
                                                 Telephone:
                                                 Email:

                          With a copy to:        Clark Hill PLC
                                                 One Oxford Centre
                                                 301 Grant Street, 14th Floor
                                                 Pittsburgh, Pennsylvania 15219-1425
                                                 Attention: Jarrod J. Duffy / William C. Price
                                                 Telephone: (412) 394-2324 / (412) 394-7776
                                                 Telecopier: (412) 394-2555
                                                 Email: jduffy@clarkhill.com / wprice@clarkhill.com

                  (B)     If to Borrower:        Sam Levin, Inc.

                                                 c/o Art Van Furniture, LLC
                                                 6500 14 Mile Road
                                                 Warren, MI 48092
                                                 Attention: Michael Zambricki
                                                 Email: mzambricki@artvan.com

                                                 with copies (which shall not constitute notice) to:

                                                 Benesch, Friedlander, Coplan & Aronoff LLP
                                                 222 Delaware Avenue, Suite 801
                                                 Wilmington, Delaware 19801
                                                 Attn: Gregory Werkheiser & Michael J. Barrie
                                                 Email: gwerkheiser@beneschlaw.com /
                                                 mbarrie@beneschlaw.com


                    (c)    Representation by Counsel. Each party hereto acknowledges that it has been
  represented by counsel in connection with this Agreement. The provisions of this Agreement shall be
  interpreted in a reasonable manner to effect the intent of the parties hereto.

                  (d)     Governing Law. This Agreement shall be governed by, and construed in
  accordance with, the laws of the Commonwealth of Pennsylvania, without reference to the conflicts of
  law provisions thereof and, to the extent applicable, the Bankruptcy Code.

                   (e)     Expenses. All costs and expenses including, without limitation, reasonable
  attorneys' fees and disbursements incurred by the Lender (i) in all efforts made to enforce payment of any
  Obligation or effect collection of any Collateral, or (ii) in connection with the modification, amendment,
  administration and enforcement of this Agreement or any consents or waivers hereunder and all related
  agreements, documents and instruments, or (iii) in instituting, maintaining, preserving, enforcing and




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  foreclosing on the Lender's security interest in or Lien on any of the Collateral, whether through judicial
  proceedings or otherwise, or (iv) in defending or prosecuting any actions or proceedings arising out of or
  relating to the Lender's transactions with Borrower, or (v) in connection with any advice given to the
  Lender with respect to its rights and obligations under this Agreement and any Other Document, may be
  charged to the Borrower and shall be part of the Obligations (the Lender shall promptly thereafter provide
  notice thereof to the Borrower).

                  (f)     Injunctive Relief. Borrower recognizes that, in the event it fails to perform,
  observe or discharge any of its obligations or liabilities under this Agreement, any remedy at law may
  prove to be inadequate relief to the Lender; therefore, the Lender, if the Lender so requests, shall be
  entitled to temporary and permanent injunctive relief in any such case without the necessity of proving
  that actual damages are not an adequate remedy.

                    (g)    Consequential Damages. Neither the Lender nor any of its agents or attorneys
  shall be liable to Borrower for any special, incidental, consequential or punitive damages arising from any
  breach of contract, tort or other wrong relating to the establishment, administration or collection of the
  Obligations.

                 (h)      Counterparts. This Agreement may be executed in counterpart, each of which
  shall be deemed an original, but all of which together shall constitute one and the same Agreement.

                 (i)      Modifications in Writing. No modification or amendment of the terms of this
  Agreement shall be valid unless such amendment is in writing and signed by Borrower and Lender.

                 (j)     Headings. The headings of the paragraphs of this Agreement are inserted for
  convenience only and shall not affect the interpretation hereof.

                   (k)     Effect of Financing Orders. The Liens and security interest referred to in this
  Agreement and any Other Document with respect to the Borrower shall be deemed valid and perfected by
  entry of the Interim Financing Order.

  Subject to the Financing Orders and this Agreement, the Borrower hereby covenants, represents and
  warrants that upon entry of the Interim Financing Order (and the Final Financing Order, as applicable),
  the Obligations shall: (i) pursuant to Section 364(c)(l) of the Bankruptcy Code, at all times constitute
  allowed claims in the Bankruptcy Case having priority over any and all administrative expenses,
  diminution claims and all other claims against the Borrower, now existing or hereafter arising, of any kind
  whatsoever, including without limitation, all administrative expenses of the kind specified in Sections
  503(b) or 507(b) of the Bankruptcy Code; (ii) pursuant to Section 364(c)(2) of the Bankruptcy Code, at all
  times be secured by a valid, binding, continuing, enforceable and fully-perfected first priority senior
  security interest in and Liens upon the Collateral that is not subject to valid, perfected and non-avoidable
  Liens on the Petition Date; and (iii) pursuant to Section 364(d) of the Bankruptcy Code, the Advances
  shall be secured by valid, binding, continuing and enforceable senior priming security interests, senior
  priming liens on all the Collateral.

                  (l)      Release. Borrower, on behalf of itself and any Person claiming by, through, or
  under Borrower (collectively, the "Borrower Group") acknowledges that it has no claim, counterclaim,
  setoff, recoupment, action or cause of action of any kind or nature (including, for the avoidance of doubt,
  any claim under Chapter 5 of the Bankruptcy Code) whatsoever (collectively, "Claims") against the
  Lender and/or any of its former, present or future directors, officers, members, employees, agents,
  attorneys, financial advisors, legal representatives, affiliates, shareholders, stockholders, partners,
  successors and assigns (the Lender and its former, present or future directors, officers, members,




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Case 1:22-cv-00450-CFC
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  employees, agents, attorneys, financial advisors, legal representatives, affiliates, shareholders,
  stockholders, partners, successors and assigns are jointly and severally referred to as the "Lender Group"),
  that directly or indirectly arise out of, are based upon, or are in any manner connected with any Prior
  Event; and, should any Claims nonetheless exist, Borrower, on behalf of itself and all the other members
  of the Borrower Group, hereby (i) releases and discharges each member of the Lender Group from any
  liability whatsoever on such Claims that directly or indirectly arise out of, are based upon, or are in any
  manner connected with a Prior Event, and (ii) releases, remises, waives and discharges all such Claims
  against any member of the Lender Group. As used herein the term "Prior Event" means any transaction,
  event, circumstance, action, failure to act or occurrence of any sort or type, including without limitation
  any approval or acceptance given or denied, whether known or unknown, which occurred, existed, was
  taken, permitted or begun prior to the execution of this Agreement.



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          IN WITNESS WHEREOF, Borrower and Lender have caused this Agreement to be executed as
  of the date first set forth above.


                                                   BORROWER:

                                                   Sam Levin, Inc.,
                                                   a Pennsylvania corporation


                                                   By:
                                                   Name:
                                                   Title:


                                                   LENDER:

                                                   Levin Furniture, LLC,
                                                   a Pennsylvania limited liability company



                                                   By: Robert Levin, President




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                                  INDEX TO EXHIBITS


  Exhibit A          -     Interim Financing Order
  Exhibit B          -     Revolving Credit Note




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                                      EXHIBIT A

                                Interim Financing Order



                                     (see attached)




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                                      EXHIBIT B

                                 Revolving Credit Note



                                     (see attached)




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                                INDEX TO SCHEDULES


  Schedule 1(f)      -     Permitted Encumbrances
  Schedule 5(e)      -     Inventory Locations
  Schedule 6(e)      -     Litigation
  Schedule 8(e)      -     Indebtedness




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                                    SCHEDULE 1(f)

                                Permitted Encumbrances




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                                    SCHEDULE 5(e)

                                  Inventory Locations




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                                     SCHEDULE 6(e)
                                      Litigation




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                                    SCHEDULE 8(e)

                                     Indebtedness




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                                       REVOLVING CREDIT NOTE

  $7,000,000.00                                                                         Date: March __, 2020
                                                                                      Pittsburgh, Pennsylvania

          This Revolving Credit Note (this “Note”) is executed and delivered under and pursuant to the
  terms of that certain Debtor-in-Possession Credit and Security Agreement, dated of even date herewith (as
  may be amended, modified, supplemented or restated, from time to time, the “DIP Credit Agreement”),
  by and between Sam Levin, Inc., a Pennsylvania corporation (the “Borrower”), and Levin Furniture, LLC,
  a Pennsylvania limited liability company (the “Lender”). Capitalized terms not otherwise defined herein
  shall have the meanings provided in the DIP Credit Agreement.

          FOR VALUE RECEIVED, the Borrower hereby promises to pay to the order of the Lender at
  such place as Lender may from time to time designate to the Borrower in writing:

          (i)    the principal sum of Seven Million Five Hundred Thousand and 00/100 Dollars
  ($7,000,000.00) or, if different from such amount, the unpaid principal balance of the Advances as may
  be due and owing under the DIP Credit Agreement, payable in accordance with the provisions of the DIP
  Credit Agreement and subject to acceleration upon the occurrence of an Event of Default under the DIP
  Credit Agreement or earlier termination of the DIP Credit Agreement pursuant to the terms thereof; and

          (ii)     interest on the principal amount of this Note from time to time outstanding until such
  principal amount is paid in full at the Contract Rate in accordance with the provisions of the DIP Credit
  Agreement. In no event, however, shall interest exceed the maximum interest rate permitted by law.
  Upon and after the occurrence of an Event of Default, and during the continuation thereof, interest shall
  be payable at the Default Rate.

          This Note is the Revolving Credit Note referred to in the DIP Credit Agreement and is secured by
  the Liens granted pursuant to the DIP Credit Agreement and the Other Documents, is entitled to the
  benefits of the DIP Credit Agreement and the Other Documents and is subject to all of the agreements,
  terms and conditions therein contained.

          This Note may be voluntarily prepaid, in whole or in part, on the terms and conditions set forth in
  the DIP Credit Agreement.

          If an Event of Default shall have occurred under the DIP Credit Agreement, then this Note may,
  as provided in the DIP Credit Agreement, be declared immediately due and payable, without notice,
  together with reasonable attorneys’ fees if the collection hereof is placed in the hands of an attorney to
  obtain or enforce payment hereof.

           This Note shall be construed and enforced in accordance with the laws of the Commonwealth of
  Pennsylvania. The Borrower hereby consents to the jurisdiction and venue of the United States
  Bankruptcy Court for the District of Delaware (“Bankruptcy Court”) with respect to any suit arising out
  of or mentioning this Note provided, however, that in the event that the Bankruptcy Court does not have
  jurisdiction over any matter or if it has jurisdiction but does not exercise such jurisdiction for any reason,
  the Borrower hereby consents to the jurisdiction and venue of the courts of the Commonwealth of
  Pennsylvania or the United States District Court for the Western District of Pennsylvania, in each case
  located in Allegheny County, Pennsylvania.

          The Borrower expressly waives any presentment, demand, protest, notice of protest, or notice of
  any kind except as expressly provided in the DIP Credit Agreement.




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        WAIVER OF TRIAL BY JURY. THE UNDERSIGNED HEREBY EXPRESSLY,
  KNOWINGLY AND VOLUNTARILY WAIVE ALL BENEFIT AND ADVANTAGE OF ANY
  RIGHT TO A TRIAL BY JURY, AND THEY WILL NOT AT ANY TIME INSIST UPON, OR
  PLEAD OR IN ANY MANNER WHATSOEVER CLAIM OR TAKE THE BENEFIT OR
  ADVANTAGE OF A TRIAL BY JURY IN ANY ACTION ARISING IN CONNECTION WITH
  THIS NOTE, THE DIP CREDIT AGREEMENT OR ANY OF THE OTHER DOCUMENTS.



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         IN WITNESS WHEREOF, and intending to be legally bound, the undersigned has hereby
  executed this Revolving Credit Note on the date first set forth above.


                                               BORROWER:

                                               Sam Levin, Inc.,
                                               a Pennsylvania corporation


                                               By:___________________________________
                                               Name:
                                               Title:




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                                          ACKNOWLEDGMENT


  _____________ OF ________________                                )
                                                                   )       SS:
  COUNTY OF _____________________                                  )


           On this, the ____ day of March, 2020, before me, a Notary Public, the undersigned officer,
  personally appeared ______________________________________ who acknowledged himself/herself
  to be the ____________________ of Sam Levin, Inc., a Pennsylvania corporation (the “Company”), and
  that he/she as such officer, being authorized to do so, executed the foregoing instrument for the purposes
  therein contained by himself/herself as such officer on behalf the Company.

          IN WITNESS WHEREOF, I hereunto set my hand and official seal.



                                                  _____________________________________
                                                               Notary Public


  My Commission Expires:




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                                   EXHIBIT F




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                )
      In re:                                                    )   Chapter 11
                                                                )
      ART VAN FURNITURE, LLC ., et al., 1                       )   Case No. 20-10553 (CSS)
                                                                )
                                      Debtors.                  )   (Jointly Administered)
                                                                )
                                                                )   Re: Docket No. 49

    INTERIM ORDER: (I) AUTHORIZING SECURED POST-PETITION FINANCING
  PURSUANT TO 11 U.S.C. SECTIONS 105, 361, 364(c) AND 364(d); (II) SCHEDULING A
           FINAL HEARING; AND (III) GRANTING RELATED RELIEF

               Upon the motion (the “Motion”) 2 of the debtors and debtors in possession (collectively,

  the “Debtors”) in the above-captioned Chapter 11 cases (collectively, the “Cases”), seeking among

  other relief, inter alia, an order (this “Interim Order”) pursuant to sections 105, 361, 364(c)(1),

  364(c)(2) and 364(d) of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

  and Rule 4001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) inter alia:

               (i)       authorizing Sam Levin, Inc. (“DIP Borrower”), authority to obtain postpetition

  financing and grant a senior purchase money security interest in the DIP Collateral (as defined

  below) 3 to Levin Furniture, LLC “DIP Lender”), solely with respect to DIP Collateral purchased




  1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291);
        AVCE, LLC (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC
        (3451); Levin Parent, LLC (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep
        Franchising, LLC (8968); AVF Franchising, LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc.
        (5198); and Comfort Mattress LLC (4463). The location of the Debtors’ service address in these
        chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.
  2
        Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to such terms
        in the Motion.
  3
        As used in this Interim Order, “DIP Collateral” shall mean and include all of the following personal
        property assets of the DIP Borrower, whether now in existence or hereafter acquired or arising, and
        wherever located:



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  with the Advances made postpetition to DIP Borrower together with superpriority administrative

  expense status and adequate protection to the DIP Lender in accordance with this order; and

         (ii)        scheduling a final hearing (the “Final Hearing”) within twenty days of the




        (a) all inventory of the DIP Borrower purchased solely with the proceeds of any Advances made
     under the DIP Credit Agreement;
        (b) all receivables of the DIP Borrower arising out of the sale of inventory referred to in clause (a)
     above;
          (c) all right, title and interest in and to (i) all inventory returned or rejected by customers previously
     sold by the DIP Borrower giving rise to receivables referred to in clause (b) above, (ii) all of DIP
     Borrower’s rights as a consignor, a consignee, an unpaid vendor, mechanic, artisan, or other lienor,
     including stoppage in transit, setoff, detinue, replevin, reclamation and repurchase with respect to any
     of the foregoing (a) or (b), (iii) all additional amounts due to DIP Borrower from any customer relating
     to the receivables set forth in clause (b) above, (iv) other property, including warranty claims, relating
     to any of the foregoing (a) and (b), (v) all of DIP Borrower’s contract rights, rights of payment which
     have been earned under a contract right, instruments (including promissory notes), documents, chattel
     paper (including electronic chattel paper), warehouse receipts, deposit accounts, letters of credit and
     money relating to any of the foregoing (a) and (b), (vi) all commercial tort claims (whether now existing
     or hereafter arising) relating to any of the foregoing (a) and (b), and (vii) if and when obtained by DIP
     Borrower, all real and personal property of third parties in which DIP Borrower has been granted a lien
     or security interest as security for the payment or enforcement of receivables referred to in clause (b);
          (d) ledger sheets, ledger cards, files, correspondence, records, books of account, business papers,
     computer software (owned by Borrower or in which it has an interest and in which the granting of a
     security interest therein is not expressly prohibited), computer programs, tapes, disks and documents
     relating to (a), (b) or (c) of this definition; and
          (e) proceeds and products of (a), (b), (c) or (d) of this definition in whatever form, including, but
     not limited to cash, deposit accounts (whether or not comprised solely of proceeds), certificates of
     deposit, insurance proceeds (including hazard and credit insurance), negotiable instruments and other
     instruments for the payment of money, chattel paper, security agreements, documents and tort claim
     proceeds.
     Notwithstanding anything to the contrary in this Interim Order or the DIP Credit Agreement, the term
     "DIP Collateral" shall not include any lease, license, contract, property right or agreement (or any of
     its rights or interests thereunder) if and to the extent that the grant of the security interest shall, after
     giving effect to Sections 9-406, 9-407, 9-408 or 9-409 of the Uniform Commercial Code (or any
     successor provision or provisions), the Bankruptcy Code or any other applicable law, constitute or result
     in (i) the abandonment, invalidation or unenforceability of any right, title or interest of Borrower therein
     or (ii) a breach or termination pursuant to the terms of, or a default under, any such lease license,
     contract, property rights or agreement; provided, however, that (y) the Collateral excluded hereby shall
     not include any and all proceeds of such property rights or agreements or any right, title or interest of
     Borrower therein, and (z) the security interest shall attach immediately at any such time as the restriction
     resulting in abandonment, invalidation or unenforceability or breach or termination shall be removed
     or any condition thereto (including any consent) shall be satisfied.




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    Petition Date to consider the relief requested in the Motion on a final basis (the “Final Order”) and

    approving the form of notice with respect to the Final Hearing.

            The Court having considered the Motion, the exhibits attached thereto, Declaration of

    David Ladd, Executive Vice President and Chief Financial Officer of Art Van Furniture, LLC, in

    Support of Chapter 11 Petitions and First Day Motions (D.I. 20) and the evidence submitted and

    argument made at the first day hearing held on March 10, 2020 and the interim hearing held on

    March 12, 2020 (the “Interim Hearing”); and notice of the Interim Hearing having been given in

    accordance with Bankruptcy Rules 2002, 4001(b) and (d), and all applicable local rules of the

    United States Bankruptcy Court for the District of Delaware (the “Local Rules”); and the Interim

    Hearing having been held and concluded; and all objections, if any, to the interim relief requested

    in the Motion having been withdrawn, resolved or overruled by the Court; and it appearing that

    approval of the interim relief requested in the Motion is necessary to avoid immediate and

    irreparable harm to the Debtors and their estates pending the Final Hearing, and otherwise is fair

    and reasonable and in the best interests of the Debtors, their estates, and all parties in interest, and

    is essential for the continued operation of the Debtors’ businesses and the preservation of the value

    of the Debtors’ assets; and after due deliberation and consideration, and good and sufficient cause

    appearing therefor;

    BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING, THE

    COURT MAKES THE FOLLOWING FINDINGS OF FACT AND CONCLUSIONS OF

    LAW: 4




4
    The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
    pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014.
    To the extent that any of the following findings of fact constitute conclusions of law, they are adopted as




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                  A.      Petition Date. On March 8, 2020 (the “Petition Date”), each of the Debtors

  filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code with the United States

  Bankruptcy Court for the District of Delaware (the “Court”).

                  B.      Debtors in Possession. The Debtors have continued in the management

  and operation of their businesses and properties as debtors in possession pursuant to sections 1107

  and 1108 of the Bankruptcy Code.

                  C.      Jurisdiction and Venue. This Court has jurisdiction over the Cases, the

  Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and 1334.

  Venue for the Cases and proceedings on the Motion is proper before this Court pursuant to 28

  U.S.C. §§ 1408 and 1409.

                  D.      Committee Formation. As of the date hereof, the United States Trustee

  for the District of Delaware (the “U.S. Trustee”) has not appointed an official committee of

  unsecured creditors in these Cases pursuant to section 1102 of the Bankruptcy Code (a

  “Committee”).

                  E.      DIP Loan. DIP Borrower proposes that it obtain post-petition financing

  (the “DIP Facility”) from the DIP Lender pursuant to the terms set forth in this Interim Order and

  in that certain form of Debtor-In-Possession Credit and Security Agreement (the “DIP Credit

  Agreement”) and that certain Revolving Credit Note (collectively with the DIP Credit Agreement,

  the “DIP Loan Documents”), each in substantially the form as filed on the docket in these chapter

  11 proceedings on March 13, 2020.

                  F.      Debtor Operations.         DIP Borrower is unable to operate without the


  such. To the extent any of the following conclusions of law constitute findings of fact, they are adopted as
  such.




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  Liquidity provided by the DIP Facility.

                  G.      Inability to Obtain Alternative Credit. DIP Borrower asserts that it is

  unable to obtain unsecured credit allowable under Bankruptcy Code Section 503(b)(1) as an

  administrative expense in an amount necessary to fund operations and that financing on a post-

  petition basis is not otherwise available to pay operating expenses or wage obligations to its

  employees without the DIP Borrower granting, pursuant to Bankruptcy Code Section 364(c)(1),

  claims having priority over any and all administrative expenses of the kinds specified in Sections

  503(b) and 507(b) of the Bankruptcy Code and the granting of a senior priming lien pursuant to

  Bankruptcy Code Section 364(d).

                  H.      Good Faith. The DIP Lender and the DIP Borrower have negotiated at

  arms’ length and in good faith regarding the DIP Facility. Entry of this Interim Order is in the best

  interests of the Debtors, their estates and their creditors.

                  I.      Immediate Entry. Sufficient cause exists for immediate entry of this

  Interim Order pursuant to Bankruptcy Rule 4001(c)(2).

                  J.      Interim Debt Limit. The DIP Borrower has requested immediate entry of

  this Interim Order so that the DIP Lender will advance funds in an amount not to exceed

  $10,000,000.00 during this Interim Period in accordance with the DIP Loan Documents.

                  K.      Avoid Immediate and Irreparable Harm. The partial relief granted

  herein to obtain the Interim DIP Loan (as defined herein) is necessary to avoid immediate and

  irreparable harm to the Debtor’s estate. This Court concludes that entry of this Interim Order is in

  the best interests of the Debtor’s estate and creditors as its implementation will, among other

  things, allow for the Debtor to continue servicing its necessary contracts and providing services to

  its customers without interruption.




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            L.            Interim Hearing. Notice of the Interim Hearing and the relief requested in

  the Motion has been provided by the Debtors, whether by facsimile, electronic mail, overnight

  courier or hand delivery, to certain parties-in-interest, including: (i) the U.S. Trustee; (ii) those

  entities or individuals included on the Debtors’ list of 30 largest unsecured creditors on a

  consolidated basis; (iii) counsel to the Prepetition ABL Agent; (iv) counsel to the Prepetition Term

  Loan Agent; (v) counsel to the Consultant (as defined in the Consulting Agreement); and (v) all

  other parties entitled to notice under the Bankruptcy Rules and the Local Rules.

            Based upon the foregoing findings and conclusions, the Motion and the record before the

  Court with respect to the Motion, and after due consideration and good and sufficient cause

  appearing therefor,

            IT IS HEREBY ORDERED that:

                   1.     Motion Granted. The Motion is granted.

                   2.     Authorization For Interim DIP Loan. The DIP Borrower is expressly

  authorized and empowered to obtain credit pursuant to the DIP Loan Documents and this Interim

  Order on an interim basis (the “Interim DIP Loan”) for the purchase of inventory during the Interim

  Period.

                   3.     Terms of the Interim DIP Loan. The terms of the Interim DIP Loan are

  governed by the DIP Loan Documents between the DIP Lender and the DIP Borrower, as modified

  by this Interim Order; provided, however, notwithstanding anything to the contrary in the Motion

  or the forms of the DIP Loan Documents annexed to the Motion: (a) the “Maximum advance

  Amount” (as defined in the DIP Credit Agreement) shall be Twenty Million and 00/100 U.S.

  dollars ($20,000,000.00); (b) the aggregate balance of outstanding advances outstanding at any

  time pursuant to this Interim Order shall not exceed Ten Million and 00/100 U.S. dollars




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  ($10,000,000.00); and Section 14(a)(i) of the DIP Credit Agreement is deemed amended to strike

  the text “[April 7, 2020]” and replace it with “April 9, 2020”. The Debtors are authorized to revise,

  execute and deliver the DIP Loan Documents to conform with this Paragraph 3.

                   4.    Additional DIP Loan Documents; Non-Material Amendments. The DIP

  Borrower may enter into such other agreements, instruments and documents as may be necessary

  or required or requested by the DIP Lender in its sole discretion to evidence the Interim DIP Loan

  and to consummate the terms and provisions contemplated by the DIP Loan Documents and this

  Interim Order and to evidence perfection of the liens and security interests to be given to Lender

  hereunder. The DIP Borrower and the DIP Lender may enter into any nonmaterial amendments

  of or modification to the DIP Loan Documents without the need of further notice and hearing or

  order of this Court.

                   5.    The DIP Indebtedness. The Interim DIP Loan and all other indebtedness

  and obligations incurred by the DIP Borrower on or after the Petition Date with respect to loans,

  advances and any other indebtedness or obligations, contingent or absolute, pursuant to this Interim

  Order and the Interim DIP Loan which may now or from time to time hereafter be owing by the

  DIP Borrower to the DIP Lender (including principal, accrued and unpaid interest, fees, costs and

  expenses, including without limitation reasonable attorneys’ fees and expenses, and any other

  amounts owed under this Order or the DIP Loan Documents) are referred to herein as the “DIP

  Indebtedness”.

                   6.    Interest, Fees, Costs and Expenses. The DIP Indebtedness shall bear

  interest at the applicable non-default rate as set forth in the Motion and in the DIP Loan

  Documents. Notwithstanding the foregoing, nothing in this Interim Order shall be construed to




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  limit or otherwise impair the liability of the DIP Borrower for all of the DIP Indebtedness under

  the DIP Loan Documents.

                  7.      Termination of the DIP Loan. DIP Lender’s obligation to provide the

  Interim DIP Loan shall immediately and automatically terminate (except as DIP Lender may

  otherwise agree in writing in its sole discretion), and all DIP Indebtedness shall be immediately

  due upon the earlier of (i) closing of a § 363 sale of substantially all of the DIP Borrower’s assets;

  or (ii) the occurrence of an Event of Default (as defined in the DIP Loan Documents). In the event

  of a postpetition default of the terms of this Interim Order and/or the DIP Loan Documents, the

  DIP Lender may declare the DIP Indebtedness immediately due and owing; provided that the DIP

  Lender may not exercise any remedies against the DIP Borrower upon default without first

  providing five (5) business days’ notice of default to the DIP Borrower, obtaining a hearing date

  and without further order of the Court.

                  8.      DIP Intercreditor Provisions. Notwithstanding anything to the contrary

  herein, (a) the DIP Lenders shall not have a lien on any Prepetition or Postpetition Collateral 5 that

  is not DIP Collateral, (b) the Prepetition ABL Agent (for the benefit of itself and the Prepetition

  ABL Lenders) shall have a lien (and corresponding adequate protection lien) on the DIP Collateral,

  junior only to the DIP Lenders and the Prepetition ABL Permitted Prior Liens, (c) the Prepetition

  Term Loan Agent (for the benefit of itself and the Prepetition Term Loan Lenders) shall have a

  lien (and corresponding adequate protection lien) on the DIP Collateral, junior only to the DIP

  Lenders, the Prepetition ABL Agent and the Prepetition Term Loan Permitted Prior Liens, (d) the


  5
      Capitalized terms used in this paragraph 8 but not otherwise defined shall have the meanings ascribed
      to such terms in the Interim Order (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting
      Adequate Protection to the Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV)
      Scheduling a Final Hearing, and (V) Granting Related Relief (D.I. 93) (the “Interim CC Order”).




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  DIP Indebtedness shall not be repaid from (or have any recourse to) any proceeds of Prepetition

  or Postpetition Collateral that is not DIP Collateral, and (e) the Debtors shall cause the proceeds

  of DIP Collateral to be deposited into a segregated, non-commingled account which is required to

  be subject to the control of the DIP Lender and the Debtors’ use of such proceeds shall be subject

  to, and distributed in accordance with, the DIP Loan Documents and the Budget.

                 9.      Security for DIP Loan. As security for the DIP Indebtedness, the DIP

  Lender is granted a valid, perfected, first priority priming lien (the “DIP Lien”) against the DIP

  Collateral, as that term is defined in the DIP Loan Documents; provided, however, that the DIP

  Lien shall be junior only to the pre-existing liens on and security interests in such DIP Collateral

  granted in favor of third parties (other than any Prepetition ABL Secured Party or any Prepetition

  Term Loan Secured Party (each as defined in the Interim CC Order)) that, as of the Petition Date,

  (a) were senior in priority under applicable law to the DIP Lien, (b) were not subordinated by

  agreement or applicable law, and (c) were in existence, valid, enforceable, properly perfected and

  non-avoidable as of the Petition Date, including any such liens and security interests that were

  perfected after the Petition Date but relate back to the Petition Date pursuant to section 546(b) of

  the Bankruptcy Code. Solely with respect to the DIP Collateral, the DIP Lender is granted an

  administrative expense in the amount of the Interim DIP Loan with the highest priority under

  §364(c) of the Bankruptcy Code, and shall have priority over all other costs and expenses of

  administration of any kind, including those specified in, or ordered pursuant to, §§ 105, 326, 330,

  331, 503(b), 507(a), 507(b) or 726 or any other provision of the Bankruptcy Code or otherwise

  (whether incurred in this Case or any successor case), and shall at all times be senior to the rights

  of the DIP Borrower, any successor trustee or estate representative in the Case or any successor

  case.




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                  10.     Perfection of DIP Lien and Limited Stay Relief. The DIP Lien shall be,

  and is hereby deemed duly perfected and recorded under all applicable federal or state or other

  laws as of the date hereof, and no notice, filing, mortgage recordation, possession, further order,

  landlord or warehousemen lien waivers or other third party consents or other act, shall be required

  to effect such perfection; provided, however, that notwithstanding the provisions of Section 362

  of the Bankruptcy Code which stay is lifted for the limited purpose of allowing perfection, the (i)

  DIP Lender may, at its sole option, file or record or cause the DIP Borrower to obtain any such

  landlord or warehousemen lien waivers or other third party consents or execute, file or record, at

  the DIP Borrower’s expense, any such UCC financing statements, notices of liens and security

  interests, mortgages and other similar documents as DIP Lender may require, and (ii) DIP Lender

  may require the DIP Borrower to deliver to DIP Lender any chattel paper, instruments or securities

  evidencing or constituting any DIP Collateral, and the DIP Borrower is directed to cooperate and

  comply therewith. If DIP Lender, in its sole discretion, shall elect for any reason to cause to be

  obtained any landlord or warehouse lien waivers or other third party consents or cause to be filed

  or recorded any such notices, financing statements, mortgages or other documents with respect to

  such security interests and liens, or if DIP Lender, in accordance with the DIP Loan Documents

  or this Interim Order, elects to take possession of any DIP Collateral, all such landlord or

  warehouse lien waivers or other third party consents, financing statements or similar documents

  or taking possession shall be deemed to have been filed or recorded or taken in this Case as of the

  commencement of this Case but with the priorities as set forth herein. The DIP Lender may (in its

  sole discretion), but shall not be required to, file a certified copy of this Interim Order in any filing

  or recording office in any county or other jurisdiction in which the DIP Borrower has property.




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                 11.    Books and Records. The DIP Borrower shall permit DIP Lender and any

  authorized representatives designated by DIP Lender (including, without limitation, its auditors,

  appraisers and financial advisors) to visit and inspect any of the properties of the DIP Borrower,

  including the DIP Borrower’s financial and accounting records, and to make copies and take

  extracts therefrom, and to discuss any DIP Borrower’s affairs, finances and business with such

  DIP Borrower’s officers and independent public accountants, at such reasonable times during

  normal business hours and as often as may be reasonably requested. Without limiting the generality

  of the foregoing, the DIP Borrower shall promptly provide to DIP Lender any information or data

  reasonably requested to monitor the Debtor’s compliance with the covenants and the provisions of

  the DIP Loan Documents and this Order.

                 12.    Effect of Dismissal, Conversion or Substantive Consolidation. If the DIP

  Borrower’s Case is dismissed, converted, otherwise superseded or substantively consolidated, DIP

  Lender’s rights and remedies under this Interim Order and the DIP Loan Documents shall be and

  remain in full force and effect as if the DIP Borrower’s Case had not been dismissed, converted,

  superseded or substantively consolidated. Furthermore, notwithstanding any such dismissal,

  conversion, or substantive consolidation, all of the terms and conditions of this Interim Order,

  including, without limitation, the liens and the priorities granted hereunder, shall remain in full

  force and effect.

                 13.    Order Binding on Successors. The provisions of this Interim Order shall

  be binding upon and inure to the benefit of DIP Lender and the DIP Borrower and their respective

  successors and assigns (including any subsequently appointed trustee, examiner or other estate

  representative appointed as a representative of the DIP Borrower’s estate or of any estate in any




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  successor cases). No third parties are intended to be or shall be deemed to be third party

  beneficiaries of this Interim Order or the DIP Loan Documents.

                 14.     RESERVED

                 15.     Order Binding Upon Parties in Interest. To the fullest extent that relief

  is available at a hearing held pending a final hearing as contemplated by Bankruptcy Rule 4001(2),

  all of the provisions of this Interim Order shall be final and binding on the DIP Borrower

  (including, without limitation, its successors and assigns), the DIP Borrower’s equity holders, and

  all creditors and other parties in interest, including any Chapter 11 or Chapter 7 trustee hereinafter

  appointed.

                 16.     Effect of Modification of Interim Order. The DIP Borrower shall not,

  without DIP Lender’s prior written consent (which shall be given or refused in its sole discretion),

  seek to modify, vacate or amend this Interim Order or any DIP Loan Documents. If any of the

  provisions of this Interim Order are hereafter modified, vacated or stayed by subsequent order of

  this or any other Court without DIP Lender’s prior written consent, such stay, modification or

  vacatur shall not affect the validity of any obligation outstanding immediately prior to the effective

  time of such stay, modification or vacation, or the validity and enforceability of any lien, priority,

  right, privilege or benefit authorized hereby with respect to any such obligations. Notwithstanding

  any such stay, modification or vacatur, any obligation outstanding immediately prior to the

  effective time of such modification, stay or vacatur shall be governed in all respects by the original

  provisions of this Interim Order, and DIP Lender shall be entitled to all the rights, privileges and

  benefits, including, without limitation, the security interests and priorities granted herein, with

  respect to all such obligations.




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                 17.    Safe Harbor. The Court has considered and determined the matters

  addressed herein pursuant to its powers under the Bankruptcy Code, including the power to

  authorize the DIP Borrower to obtain credit on the terms and conditions upon which the DIP

  Borrower and Lender have agreed. Thus, each of such terms and conditions constitutes a part of

  the authorization under Section 364 of the Bankruptcy Code, and is, therefore, subject to the

  protections contained in Section 364(e) of the Bankruptcy Code.

                 18.    Insurance Proceeds and Policies. Upon entry of this Interim Order and to

  the fullest extent provided by applicable law, the DIP Lender, shall be, and shall be deemed to be,

  without any further action or notice, named as additional insured and loss payee on each insurance

  policy maintained by the DIP Borrower that in any way relates to the DIP Collateral.

                 19.    Relationship to Contemplated Sale Transaction. As contemplated by the

  Levin-Wolf LOI (attached as Exhibit B to the First Day Declaration), the Sale Agreement (as

  defined in the DIP Credit Agreement) shall provide for the DIP Lender and Levin Trucking, LLC,

  the purchasers thereunder, to assume, pay or otherwise satisfy all allowed section 503(b)(9) claims

  against the DIP Borrower, effective upon and subject to the occurrence of the closing under such

  Sale Agreement.

                 20.    Notice of Interim Order. The DIP Borrower shall promptly serve a copy

  of this Order, by regular mail upon the creditors holding the 30 largest unsecured claims of each

  of the Debtor, or the Committee, if appointed, and any other party which theretofore has filed in

  the Cases a request for special notice with this Court and served such request upon DIP Borrower’s

  counsel.

                 21.    Objections Overruled or Withdrawn. All objections to the entry of this

  Interim Order have been withdrawn or are hereby overruled.




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                 22.     Controlling Effect of Order. To the extent any provisions in this Interim

  Order conflict with any provisions of the Motion, or any DIP Loan Document, the provisions of

  this Interim Order shall control.

                 23.     Final Hearing. The Final Hearing to consider entry of the Final Order is

  scheduled for April 6, 2020 at 1:00 p.m. (Prevailing Delaware Time) before the Honorable

  Christopher S. Sontchi, Chief United States Bankruptcy Judge at the United States Bankruptcy

  Court for the District of Delaware. On or before March 13, 2020, the Debtors shall serve, by

  United States mail, first-class postage prepaid, notice of the entry of this Interim Order and of the

  Final Hearing (the “Final Hearing Notice”), together with copies of this Interim Order and the

  Motion, on: (a) the parties having been given notice of the Interim Hearing; (b) any party which

  has filed prior to such date a request for notices with this Court; (c) counsel for a Committee (if

  appointed); (d) the Securities and Exchange Commission; and (e) the Internal Revenue Service.

  The Final Hearing Notice shall state that any party in interest objecting to the entry of the proposed

  Final Order shall file written objections with the Clerk of the Court no later than March 30, 2020,

  which objections shall be served so as to be received on or before such date by: (i) counsel to the

  Debtors, Benesch, Friedlander, Coplan & Aronoff LLP, 222 Delaware Avenue, Suite 201,

  Wilmington, Delaware 19801-1611, Attn: Michael J. Barrie and Gregory W. Werkheiser;

  (ii) counsel to the DIP Lender, Clark Hill PLC, (a) 301 Grant Street, 14th Floor, Pittsburgh,

  Pennsylvania 15219, Attn: William C. Price and Jarrod Duffy, and (b) 824 N. Market Street, Suite

  710, Wilmington, Delaware 19801, Attn: Karen Grivner; (iii) the Office of The United States

  Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Linda

  Richenderfer; (iv) lead counsel to the Prepetition ABL Agent, Morgan Lewis & Bockius LLP, (a)

  101 Park Avenue, New York, New York 10178-0060, Attn: Jennifer Feldsher, and (b) One Federal




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  Street, Boston, Massachusetts 02110, Attn: Marjorie Crider and Christopher L. Carter; (v)

  Delaware counsel to the Prepetition ABL Agent, Burr & Forman LLP, 1201 N. Market Street,

  Suite 1407, Wilmington, Delaware 19801, Attn: J. Cory Falgowski; (vi) counsel to the Prepetition

  Term Loan Agent, Greenberg Traurig, LLP, One International Place, Suite 2000, Boston, MA

  02110, Attn: Jeffrey M. Wolf; and (vii) counsel to the Committee (if appointed)

                 24.     Nunc Pro Tunc Effect of this Interim Order. This Interim Order shall

  constitute findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052 and shall take

  effect and be enforceable nunc pro tunc to the Petition Date immediately upon execution thereof.

                 25.     Retention of Jurisdiction. The Court has and will retain jurisdiction to

  enforce the terms of, any and all matters arising from or related to this Interim Order.




          Dated: March 16th, 2020                      CHRISTOPHER S. SONTCHI
          Wilmington, Delaware                         UNITED STATES BANKRUPTCY JUDGE




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                                   EXHIBIT G




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                                         MEMORANDUM

  TO:            Employees Affected By Closing of 6500 E 14 Mile Rd, Warren, MI, 48092;
                 27775 Novi Rd, Novi, MI, 48377; 4375 28th St SE, Grand Rapids, MI, 49321;
                 4095 E Court St, Burton, MI, 48509; 14055 Hall Rd, Shelby Township, MI,
                 48315; 8748 W Saginaw Hwy, Lansing, MI, 48917; and 4273 Alpine Ave Nw
                 Ste B, Alpine, MI, 49321

  FROM:          Cathrine Wenger, Senior Counsel

  SUBJECT:       WARN Act Notice

  DATE:          March 5, 2020


          Art Van Furniture, LLC (the “Company”) has made the difficult decision to wind-down
  its operations, which will include the closure of its facilities located at 6500 E 14 Mile Rd,
  Warren, MI, 48092; 27775 Novi Rd, Novi, MI, 48377; 4375 28th St SE, Grand Rapids, MI,
  49321; 4095 E Court St, Burton, MI, 48509; 14055 Hall Rd, Shelby Township, MI, 48315; 8748
  W Saginaw Hwy, Lansing, MI, 48917; and 4273 Alpine Ave Nw Ste B, Alpine, MI, 49321, and
  will be permanently terminating the employment of all employees at these locations.

         The Company submits this notice to you to satisfy any obligation that may exist under the
  federal Worker Adjustment and Retraining Notification Act, 29 U.S.C. § 2101 et seq. (the
  “WARN Act”). If no obligations exist, this notice is being provided to you voluntarily.

           All terminations of employment will be permanent and you will not have bumping rights
  for other positions (i.e., you will not have the right to displace employees with less seniority).
  While an exact date has not yet been established for these closures, it is anticipated that your
  employment with the Company will terminate on May 5, 2020 or a date within 14 days thereafter
  which may be provided to you by the Company (your “Termination Date”). Nothing in this
  letter alters your at-will employment status with the Company.

          You will be required to work through your Termination Date, following which date you
  will not be required to report to work or provide any services to the Company.

         I will be acting as the Company’s representative with regard to these matters. Should you
  have any questions, please contact me for further information at Cathrine Wenger, Senior
  Counsel, cwenger@artvan.com, (586) 983-2000. My address is 6500 E 14 Mile Rd, Warren, MI
  48092.

                                     *             *             *

       On a personal note, we are extremely grateful for the service you have given to the
  Company, and greatly appreciate your continued professionalism through this process.



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                                   EXHIBIT H




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                       )
      In re:                                                           ) Chapter 11
                                                                       )
      ART VAN FURNITURE, LLC, et al., 1                                ) Case No. 20-10553 (CSS)
                                                                       )
                                          Debtors.                     ) (Jointly Administered)
                                                                       )
                                                                       ) Objection Deadline: At the Hearing
                                                                       ) Hearing Date: April 6, 2020 at 1:00 p.m. (ET)
                                                                       )

              DEBTORS’ CORRECTED MOTION FOR ENTRY OF AN ORDER
             (I) CONVERTING THEIR CHAPTER 11 CASES TO CASES UNDER
            CHAPTER 7, (II) ESTABLISHING A DEADLINE FOR FILING FINAL
          CHAPTER 11 FEE APPLICATIONS AND SETTING A HEARING THEREON,
                       AND (III) GRANTING RELATED RELIEF

               The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

  hereby submit this motion (this “Motion”), pursuant to section 1112(a) of title 11 of the United

  States Code (the “Bankruptcy Code”), Rule 1017(f) of the Federal Rules of Bankruptcy Procedure

  (the “Bankruptcy Rules”), and Rule 2002-1 of the Local Rules of Bankruptcy Practice and

  Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

  for the entry of an order, substantially in the form attached hereto as Exhibit A (the “Proposed

  Order”), (i) converting each of the Debtors’ chapter 11 cases to cases under chapter 7 of the

  Bankruptcy Code, effective as of 12:00 a.m. (prevailing Delaware time on April 7, 2020 (the

  “Conversion Date”), (ii) establishing a deadline for filing final chapter 11 fee applications and



  1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
               identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291);
               AVCE, LLC (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451);
               Levin Parent, LLC (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC
               (8968); AVF Franchising, LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort
               Mattress LLC (4463). The location of the Debtors’ service address in these chapter 11 cases is: 6500 East
               14 Mile Road, Warren Michigan 48092.




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  setting a hearing thereon, and (iii) granting related relief. In support of this Motion, the Debtors

  respectfully state as follows:

                                   PRELIMINARY STATEMENT 2

         1.      These Chapter 11 Cases were pending for just three days when on March 11, 2020,

  the World Health Organization declared the novel coronavirus disease (COVID-19) outbreak to

  be a pandemic. 3 These Chapter 11 Cases were pending for just five days when on March 13, 2020,

  the Trump administration declared a national emergency in response to the COVID-19 outbreak. 4

  These Chapter 11 Cases were pending for just six days when on March 14, 2020, government

  regulators in Pennsylvania, one of four states in which the Debtors’ core retail operations are

  concentrated, issued guidance urging all non-essential retail businesses to close, with other states

  and localities soon to follow. 5 And, these Chapter 11 Cases were pending for just eleven to

  fourteen days when the four states in which the Debtors’ principal operations are located —

  Michigan, Pennsylvania, Ohio and Illinois — issued “stay at home” or “shelter in place” orders

  requiring, among other things, all non-essential businesses (including the Debtors’ retail stores) to

  shut their doors and mandating that individuals not leave their homes except in limited

  circumstances. 6


  2
         Capitalized terms used but not defined in this Preliminary Statement have the meanings ascribed to such
         terms elsewhere in this Motion.
  3
         World Health Organization, WHO Director-General’s opening remarks at the media briefing on COVID-19,
         March 11, 2020 (https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-
         media-briefing-on-covid-19---11-march-2020).
  4
         Pres. Donald J. Trump, Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus
         Disease (COVID-19) Outbreak, dated March 13, 2020 (https://www.whitehouse.gov/presidential-
         actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-
         outbreak/).
  5
         Wolf Administration Issues Guidance to Non-essential Businesses as Part of COVID-19 Mitigation Efforts,
         March 14, 2020 (https://dced.pa.gov/newsroom/wolf-administration-issues-guidance-to-non-essential-
         businesses-as-part-of-covid-19-mitigation-efforts/).
  6
         Michigan: Gov. Gretchen Whitmer, Executive Order 2020-21 (COVID-19), dated March 23, 2020
         (https://www.michigan.gov/whitmer/0,9309,7-387-90499_90705-522626--,00.html); Pennsylvania: Gov.




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         2.      Even before government action in response to the COVID-19 pandemic made it

  impossible for the Debtors’ retail operations to continue, the consumer public’s understandable

  fear of the spread of the COVID-19 disease already had a devastating impact on the Debtors’

  ability to implement their original restructuring plan. These key components included (a) the

  continuation of Store Closing Sales at substantially all of the Debtors’ 125 Art Van Furniture, Art

  Van Pure Sleep and Scott Shuptrine Interiors branded locations and eight of the Debtors’ Wolf

  Furniture branded locations, and (b) the operation of 44 Levin Furniture, Levin Mattress and Wolf

  Furniture locations pending consummation of a going concern sale of those business lines and

  related assets that was contemplated at the outset of these proceedings. Unfortunately, by the

  conclusion of the week ending March 14, 2020, customer traffic in the Debtors’ stores — both

  those participating in the Store Closing Sales program and the Levin and Wolf going concern

  locations — precipitously dropped below what any of the Debtors’ pre-bankruptcy and pre-

  COVID-19 pandemic financial could have predicted. As a consequence, it was quickly evident

  that continued retail operations of any sort would cause the Debtors to incur expenses for the

  foreseeable future that far outstripped the revenues generated.           Ultimately, of course, the

  aforementioned restrictions on economic and other activity that various state and local

  governments determined to be necessary to slow the spread of the COVID-19 disease effectively

  removed any choice the Debtors had in the matter by mandating that the Debtors discontinue all

  retail operations and other non-essential business operations.




         Tom Wolf, Executive Order, dated March 19, 2020 (https://www.governor.pa.gov/wp-
         content/uploads/2020/03/20200319-TWW-COVID-19-business-closure-order.pdf); Ohio: Dir. Of Public
         Health,      Amy       Acton,     Stay    at    Home      Order,     dated     March    22,   2020
         (https://content.govdelivery.com/attachments/OHOOD/2020/03/22/file_attachments/1407840/Stay%20Ho
         me%20Order.pdf); and Illinois: Gov. JB Pritzker, Executive Order in Response to COVID-19 (COVID-19
         Executive Order No. 8), dated March 20, 2020 (https://www2.illinois.gov/IISNews/21288-
         Gov._Pritzker_Stay_at_Home_Order.pdf).




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          3.      By late March, the exponential spread of the COVID-19 disease throughout the

  United States, along with the resulting state and locally imposed limitations and prohibitions on

  non-essential retail operations, had left the Debtors with few potentially viable options. Further,

  these extraordinary and unprecedented events have made it extremely difficult for the Debtors and

  their advisors to predict with any reasonable certainty the best path forward in these proceedings

  for the Debtors and their estates. At present, no one can predict with any reliability how long the

  shelter-in-place orders issued in many states where the Debtors operate will remain in effect. In

  fact, the Trump administration just recently extended social distancing guidelines from April 15,

  2020 through April 30, 2020. 7          And, even assuming regulatory barriers to resuming retail

  operations are lifted in the near future, no one can predict with any reliability what consumer

  appetite will exist for furniture, given the economic and other trauma that the nation is undergoing

  presently. 8

          4.      In order to preserve to the greatest extent possible the value of the Debtors’ assets

  and maximize the proceeds thereof that may eventually be distributable to their creditors, the

  Debtors had initially hoped — consistent with what has been recently approved in certain other

  retail chapter 11 bankruptcy proceedings 9 — to pursue relief from this Court authorizing the

  Debtors to “mothball” their remaining assets and operations and to suspend substantially all

  activity in these chapter 11 cases until such time as the broader economic and public safety


  7
          See, e.g., Michael D. Shear, “Trump Extends Social Distancing Guidelilnes Through End of April,” The New
          York        Times      (Pub.      March       29,       2020,     updated       April     1,       2020)
          (https://www.nytimes.com/2020/03/29/us/politics/trump-coronavirus-guidelines.html).
  8
          See, e.g., Ed Yong, “How the Pandemic Will End,” The Atlantic (March 25, 2020) (exploring different
          plausible scenarios for resolution of the COVID-19 epidemic with some taking 12-18 months for society to
          return to a level of normalcy).
  9
          See Order Establishing Temporary Procedures and Granting Related Relief, entered March 30, 2020 [D.I.
          217], In re CraftWorks Parent, LLC, et al., Case No. 20-10475 (BLS) (Bankr. D. Del.); Order Temporarily
          Suspending the Debtors’ Chapter 11 Case Pursuant to 11 U.S.C. §§ 105 and 305, entered March 27, 2020
          [D.I. 166], In re Modell’s Sporting Goods, Inc., et al., Case No. 20-14179 (VFP) (Bankr. D.N.J.).




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  situations stabilized and hopefully improved sufficiently to allow the Debtors to resume value-

  maximizing actions for the benefit of their creditors and other stakeholders. After consultation with

  advisors for the Prepetition ABL Agent and the Committee, as of last Thursday, March 26, 2020,

  the Debtors believed that they had at least conceptual support for pursuing this path, as the Debtors

  reported to this Court and parties in interest at the status conference held that day.

         5.      Unfortunately, despite the Debtors and their advisors working around the clock for

  days, in consultation with the Prepetition ABL Agent, the Committee and others, no viable path

  forward in chapter 11 emerged that would garner the support of the Debtors’ senior secured lenders

  and certain other stakeholders. With the COVID-19 pandemic still raging and by all reputable

  accounts likely to get worse in the next several weeks before it improves, the execution risk

  associated with any of these strategies appears to be unacceptably high for the Debtors to garner

  the support their senior secured lenders and other stakeholders necessary for the Debtors to be able

  to move forward. The Debtors’ ability to implement any of these strategies is further confounded

  by the reality that what remains of the Debtors’ cash on hand is likely inadequate to implement

  certain of these restructuring alternatives, such as the resumption of GOB Sales. Even in the best

  case forecasts available to the Debtors, virtually all of their remaining cash on hand would be

  consummated by the time the Debtors and their senior secured lenders conceivably might have

  some visibility into if or when any of these restructuring alternatives could be successfully

  implemented.

         6.      Furthermore, the Debtors have no ability, without the consent of the Prepetition

  ABL Agent, to implement any case suspension-based restructuring strategy. Of necessity, on or

  about March 19, 2020, after communicating with representatives of the Prepetition ABL Agent on

  several occasions about the Debtors’ increasing operating losses and need to take appropriate




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  action to prevent further dissipation of the Debtors’ assets, the Debtors ceased operating their retail

  stores as going concerns and thereafter dismissed the vast majority of their employees. As a result,

  the Debtors have no top line revenue, such that each dollar expended by the Debtors at this point

  is not being replaced. For this and other reasons, the Debtors have no ability to demonstrate that

  their secured lenders are adequately protected to the degree required for the Debtors continue using

  cash collateral and other collateral without their consent. And, under the terms of the Interim CC

  Order, absent extraordinary relief from the Court, the consent of the Senior Secured Parties to use

  cash collateral and other collateral will expire no later than the end of the day Monday, April 6,

  2020.

          7.     The Debtors, thus, find themselves with no choice other than to move for the

  prompt conversion of these Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code.

  Though this path is a difficult one that the Debtors are following only after exhausting all other

  alternatives, under these dire circumstances, the Debtors believe that converting these cases is in

  the best interests of the Debtors’ estates. The Debtors understand that the conversion of Chapter

  11 Cases is supported by the Debtors’ senior lenders and not opposed by the Committee.

                                   JURISDICTION AND VENUE

          9.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

  1334(b), and the Amended Standing Order of Reference from the United States District Court for

  the District of Delaware dated as of February 29, 2012. This is a core proceeding pursuant to 28

  U.S.C. § 157(b) and, pursuant to Rule 9013-1(f) of the Local Rules, the Debtors consent to the

  entry of a final order by the Court in connection with this Motion to the extent that it is later

  determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

  connection herewith consistent with Article III of the United States Constitution.




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         10.      Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         11.      The statutory bases for the relief requested herein are section 1112(a) of the

  Bankruptcy Code, Bankruptcy Rule 1017(f), and Local Rule 2002-1.

                                                BACKGROUND

                  A. General Background.

         12.      On March 8, 2020 (the “Petition Date”), each of the Debtors commenced with this

  Court voluntary cases (the “Chapter 11 Cases”) under chapter 11 of the Bankruptcy Code. The

  Debtors continue to operate their businesses and manage their properties as debtors in possession

  pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         13.      The Debtors’ cases are being jointly administered under lead Case No. 20-10553

  (CSS) pursuant to Bankruptcy Rule 1015.

         14.      Information regarding the Debtors’ business, capital structure, and the

  circumstances leading to the commencement of these chapter 11 cases is set forth in the

  Declaration of David Ladd, Executive Vice President and Chief Financial Offer of Art Van

  Furniture, LLC, in Support of Chapter 11 Petitions and First Day Motions (the “First Day

  Declaration”) [D.I. 12], incorporated by reference herein.

         15.      At the commencement of these cases, the Debtors operated 169 stores in eight

  states, specifically Michigan, Indiana, Ohio, Illinois, Pennsylvania, Maryland, Missouri, West

  Virginia, and Virginia. 10 The Debtors also have four regional distribution centers, three of which

  are leased and one of which is owned. The Debtors are headquartered in Warren, Michigan and

  had approximately 4,500 employees as of the Petition Date.



  10
         The vast majority of the Debtors’ stores were located in four states: Michigan; Ohio; Pennsylvania; and
         Illinois. The remaining five states listed above accounted for only 16 of the Debtors’ 169 retail locations as
         of the Petition Date.




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         16.      As set forth in the First Day Declaration, the Debtors filed these chapter 11 cases

  with the intention of liquidating their inventory through store closing sales (the “Store Closing

  Sales”) conducted with the assistance of the Consultant and other proposed professionals, paying

  down their secured debt, and using any remaining proceeds of their Store Closing Sales to windup

  their operations. Also as set forth in the First Day Declaration and Exhibit B thereto, as of the

  Petition Date, the Debtors were party to a binding letter of intent for a going concern sale of 44

  Levin and Wolf stores and related assets and operations (the “Levin-Wolf Sale”). The Debtors

  intended to effectuate this restructuring through the consensual use of cash collateral.

         17.      In furtherance thereof, on or around the Petition Date, the Debtors filed, among

  other things:

               a. Debtors' Application for Entry of Order Appointing Kurtzman Carson Consultants
                  LLC as Claims and Noticing Agent Nunc Pro Tunc to the Petition Date [D.I. 3];

               b. Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing Use of
                  Cash Collateral and Affording Adequate Protection; (II) Modifying the Automatic
                  Stay; (III) Scheduling a Final Hearing; and (IV) Granting Related Relief [D.I. 5];
                  and

               c. Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Approving
                  Procedures for Store Closing Sales, (II) Authorizing Customary Bonuses to
                  Employees of Closing Stores, (III) Authorizing Assumption of the Consulting
                  Agreement Under §§ 363 and 365 of the Bankruptcy Code, (IV) Authorizing the
                  Debtors to Retain Certain Consultant Entities as Special Asset Disposition
                  Advisors to the Debtors Pursuant to § 327(a) of the Bankruptcy Code and (V)
                  Granting Related Relief [D.I. 52] (the “Store Closing Motion”).

         18.      On March 10, 2020 (as continued, in part, to March 12, 2020), the Court held a

  hearing (the “First Day Hearing”) following which it entered certain orders, including: (a) an order

  [D.I. 77], pursuant to 28 U.S.C. § 156(c), appointing Kurtzman Carson Consultants LLC (“KCC”)

  as the Claims and Noticing Agent for these Chapter 11 Cases (the “Claims Agent”); (b) the Interim

  Order (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate Protection to the

  Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing,



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  and (V) Granting Related Relief [D.I. 93] (the “Interim CC Order”); and (c) an order [D.I. 143]

  granting limited relief in connection with the Store Closing Motion on an interim basis.

         19.     Shortly after the Petition Date, the Debtors filed applications to employ and retain:

  (a) Benesch, Friedlander, Coplan & Aronoff, LLP (“Benesch”), as their proposed general

  bankruptcy counsel [D.I. 142]; (b) Montgomery McCracken Walker & Rhoads (“MMWR”), as

  their proposed special counsel [D.I. 193]; (c) Alvarez & Marsal North America LLC (“A&M”), as

  their proposed financial advisors [D.I. 145]; and (d) Jones Lang Lasalle Americas, Inc. (“JLL,”

  and together with Benesch, MMWR and A&M, the “Debtors’ Professionals”), as their proposed

  real estate consultants and advisors [D.I. 141]. The applications to employ and retain Benesch,

  A&M and JLL, each are scheduled to be heard on April 6, 2020, at 1:00 p.m. (ET). The application

  to employ and retain MMWR is scheduled to be heard on April 27, 2020, at 2:00 p.m. (ET).

         20.     On March 18, 2020, the Office of the United States Trustee for the District of

  Delaware (the “U.S. Trustee”) appointed a seven member Official Committee of Unsecured

  Creditors in these Chapter 11 Cases (as reconstituted from time to time, the “Committee”). The

  Committee has engaged and filed applications to employ and retain Pachulski Stang Ziehl & Jones

  LLP (“Pachulski Stang”) as its proposed counsel [D.I. 244] and Alix Partners (“Alix Partners,”

  and together with Pachulski Stang, the “Committee’s Professionals”), as its proposed financial

  advisor [D.I. 241].

                 B. Events in the Chapter 11 Cases.

         21.     Since the First Day Hearing, the exponential spread of COVID-19 has wrought

  economic and social havoc across the country and the globe. As discussed in the Preliminary

  Statement, on the afternoon of March 13, 2020, President Trump declared COVID-19 a national




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  emergency and most of the states in which the Debtors operate have also declared states of

  emergency and issued “stay at home” or “shelter-in-place” type orders.

         22.     Notwithstanding the careful planning and modeling of the Debtors and their

  advisors, since shortly after the Petition Date, the Debtors’ situation has changed drastically as a

  result of COVID-19. Customer traffic in the Debtors’ stores, which had been robust just days

  earlier, dissipated to almost nothing within the first week after the Petition Date. Specifically,

  during the initial days of the Store Closing Sales from March 5-8, 2020, deposits from inventory

  sales were in excess of $23.0 million; 11 however, for the full week ending March 15th, deposits

  from sales were just $8.0 million. It quickly became apparent to the Debtors’ management and

  advisory teams that continued retail operations of any sort were causing the Debtors to incur

  expenses (and would do so for the foreseeable future) that far outstripped any revenues being

  generated through the Debtors’ continued retail operations.

         23.     By March 14, 2020, Governor Tom Wolf of Pennsylvania, where 25 of the Debtors’

  stores and two of their distribution centers are located, had issued guidance urging all non-essential

  businesses to close. 12 Two days later, Governor Wolf repeated and amplified that guidance,

  declaring: “The Wolf Administration is relying on businesses to act now before the governor or

  the Secretary of Health finds it necessary to compel closures under the law for the interest of public

  health ….” 13 Similarly, on March 16, 2020, Governor Gretchen Whitmer of Michigan — where


  11
         The Debtors, however, did not realize the cash proceeds from most of these sales because just prior to the
         Petition Date and immediately thereafter, certain of the Debtors’ credit card processor banks purported to
         exercise rights to intercept the proceeds from such transactions and redirect them into chargeback reserve
         accounts.
  12
         Wolf Administration Issues Guidance to Non-essential Businesses as Part of COVID-19 Mitigation Efforts,
         March 14, 2020 (https://dced.pa.gov/newsroom/wolf-administration-issues-guidance-to-non-essential-
         businesses-as-part-of-covid-19-mitigation-efforts/)
  13
         Wolf Administration Updates Businesses on Guidance for COVID-19 Mitigation Efforts, March 16, 2020
         (https://www.governor.pa.gov/newsroom/wolf-administration-updates-businesses-on-guidance-for-covid-
         19-mitigation-efforts/).




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  the Debtors’ headquarters, a distribution center and 82 of their stores are located — entered an

  executive order that closed Michigan’s bars, theaters, casinos and other public spaces. 14 While

  Michigan’s initial order did not explicitly mandate closing of all non-essential retail

  establishments, it was accompanied by appropriately alarming statement from Governor Whitmer

  urging Michigan residents to “mak[e] smart choices” by “not putting [themselves] or others at risk

  by going out in public unless it is absolutely necessary.” 15 Government authorities in Ohio and

  Illinois also issued similar guidance and direction.

         24.     As detailed in the Preliminary Statement, on March 19, 2020, Pennsylvania became

  the first of the four states in which the Debtors’ major retail and fulfillment operations are located

  to issue a “stay at home” or “shelter in place” type order. Similar orders soon followed in

  Michigan, Ohio and Illinois, all of which also were in lock-down by March 23, 2020.

         25.     Although the situation was evolving rapidly, the Debtors’ board, management team

  and advisors were paying close attention to the threat COVID-19 posed to the health and welfare

  of the Debtors’ employees and customers and to the financial impact on the Debtors’ businesses.

  The Debtors’ board, management team and advisors were in near constant communication about

  these events as they unfolded in mid-March. Moreover, the Debtors and their advisors worked to

  the best of their ability under these circumstances to keep their secured lenders and other

  stakeholders informed about these challenges and exhausted all efforts to work with them to

  develop viable responses to the rapidly deteriorating situation. When no other viable alternative

  emerged, on March 19, 2020, the Debtors made the painful decision to suspend all retail operations




  14
         Governor Whitmer Signs Executive Order Temporarily Closing Bars, Theaters, Casinos, and Other Public
         Spaces; Limiting Restaurants to Delivery and Carry-Out Orders, March 16, 2020
         (https://www.michigan.gov/coronavirus/0,9753,7-406-98158-521763--,00.html).
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         Id.




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  and terminate the majority of their employees — moves the Debtors hoped at the time would be

  only temporary measures.

         26.     Further compounding the Debtors’ problems, on March 19, 2020 the proposed

  purchaser for the Levin-Wolf Sale notified the Debtors that they would not proceed with the

  transaction at that time, effectively ending any hope the Debtors had to consummate a going

  concern transaction for the Levin and Wolf furniture operations and dashing hopes to save upwards

  of a 1,000 jobs.

         27.     Late in the day on March 19, 2020, however, the Prepetition ABL Agent issued a

  purported Termination Declaration under the Interim CC Order. Pursuant to Paragraph 21 of the

  Interim CC Order, a valid Termination Declaration issued on March 19th would have triggered a

  Remedies Notice Period five business days’ in length. Thereafter, the Prepetition ABL Agent

  agreed to extend any Remedies Notice Period relating to the alleged Termination Declaration

  through the end of the day on Tuesday, March 31, 2020, and then again through and including the

  end of the day on Monday, April 6, 2020.

         28.     Following these events, the Debtors and their advisors continued to work with the

  Prepetition ABL Agent, the Committee, and their respective advisors to identify solutions for the

  Debtors’ deteriorating situation that would allow them to preserve to the greatest extent possible

  the value of the Debtors’ assets and maximize the proceeds thereof that might eventually be

  distributable to their creditors. The Debtors had hoped — consistent with what has been recently

  approved this Court in the CraftWorks chapter 11 cases and by the District of New Jersey

  bankruptcy court in the Modell’s chapter 11 cases — to pursue relief from this Court authorizing

  the Debtors to “mothball” their remaining assets and operations and to suspend substantially all

  activity in these Chapter 11 Cases until such time as the broader economic and public safety




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  situations stabilized and hopefully improved sufficiently to allow the Debtors to resume value-

  maximizing actions for the benefit of their creditors and other stakeholders. After consultation with

  advisors for the Prepetition ABL Agent and the Committee, as of last Thursday, March 26, 2020,

  the Debtors believed that they had at least conceptual support for pursuing this path, as the Debtors

  reported to the Court that day.

         29.     Both before and after the March 26th status conference, the Debtors, with the

  assistance of their advisors and in consultation with the Prepetition ABL Agent, the Committee

  and their respective advisors, were working to develop and evaluate several potentially value

  maximizing alternatives for the Debtors to pursue after the contemplated suspension of operations

  and downscaling of activities in these Chapter 11 Cases came to an end. One such path was to

  resume Store Closing Sales at all of the Debtors’ locations where it would be financially and

  operationally viable to do so. A second path considered was to focus on one or more bulk sales

  most or all of the Debtors’ inventory, equipment, and other readily monetizable assets.

  Additionally, the Debtors and their advisors examined several “middle” paths for the Debtors and

  their estates, which would involve various combinations of resuming Store Closing Sales at certain

  locations and bulk-selling inventory, equipment, and certain other assets associated with other

  locations.

         30.     To be clear, each of the post-suspension restructuring alternatives explored by the

  Debtors had the prospect of producing some return to the Debtors’ senior secured lenders and

  potentially to other stakeholders. But none of the potential scenarios showed a reasonable chance

  of generating a recovery for the Debtors’ senior secured lenders coming anywhere near what the

  pre-COVID 19 pandemic modeling had suggested. Indeed, under most scenarios, the Prepetition

  ABL Secured Parties, which at the outset of these proceedings were projected to receive a full




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  recovery on their approximately $34 million of Prepetion ABL Obligations by the mid-point of

  the Store Closing Sales Process, would not get out whole before their ABL Priority Collateral was

  fully monetized.

         31.     Despite the Debtors working around the clock for days, in consultation with the

  Prepetition ABL Agent, the Committee and others, these concerted efforts were unable to produce

  a path forward in chapter 11 that would garner the support of their senior secured lenders and

  potentially other stakeholders. Unfortunately, with the COVID-19 pandemic still raging and by

  all reputable accounts likely to get worse before it improves, the perceived execution risk of any

  of these restructuring strategies has proven to be an insurmountable barrier to the Debtors ability

  to obtain the necessary support of their secured lenders and others. The Debtors’ ability to

  implement any of these strategies is further confounded by the reality that what remains of the

  Debtors’ cash on hand is inadequate to implement certain of these restructuring alternatives, such

  as the resumption of GOB Sales. Even in the reasonable best case forecasts available to the

  Debtors, virtually all of their remaining cash on hand would be consumed by operating expenses

  before the Debtors and their senior secured lenders would have meaningful visibility into whether

  these restructuring alternatives could be successfully implemented.

         32.     By Monday, March 30, 2020, the Debtors were effectively out of time, with their

  access to Cash Collateral under the Interim CC Order then due to terminate at the end of the

  following day. Although it was clear by this point in the proceedings that the Debtors would be

  unable to continue these Chapter 11 Cases without the support and consent of their senior secured

  lenders, unresolved issues existed as to what obligations would and would not be funded under the

  terms of the Interim CC Order prior to any conversion of the Chapter 11 Cases. Recognizing the

  contributions that their employees had made to the Debtors’ businesses postpetition and the




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  extreme hardship that many of the employees and their families were apt to experience as a result

  of losing their jobs in the midst of an ongoing pandemic and associated economic crisis, the

  Debtors attempted everything in their power to ensure that employee payroll and related employee

  obligations would be fully funded under the Interim CC Order.

         33.      These efforts were to a degree successful. At a hearing held on March 31, 2020,

  the Court confirmed that the Debtors would have access to Cash Collateral to fund and pay current

  payroll obligations, including wages, salaries and commissions. The cash available, however, was

  insufficient for it to be possible for the Debtors to provide at this time for payment in full of other

  employee related obligations, such as coverage obligations for employee healthcare expenses and

  certain other benefits plans that were, in whole or part, self-funded by the company. 16 Even though

  this situation is primarily the result of the COVID-19 pandemic and other circumstances entirely

  beyond the Debtors’ control, the Debtors deeply regret that they are not in a position to be able to

  do more for their employees, customers, vendors, landlords and other stakeholders.

         34.      Based upon the foregoing, the Debtors have considered the circumstances in which

  they find themselves, and have concluded that converting the Debtors’ Chapter 11 Cases to cases

  under chapter 7 of the Bankruptcy Code is in the best interests of the Debtors’ estates.




  16
         The Debtors estimate the total unfunded trailing liabilities under their partially self-funded employee health
         plan to be approximately $8.5 million. Under self-funded plans, like the ones the Debtors had established for
         their employees in the ordinary course of business prior to the Petition Date, when employees and their
         covered dependents receive covered services the resulting charges are remitted to the plan’s claims
         administrator for processing. Thereafter, the approved claims are batched and remitted to the Debtors for
         payment. The remittance of the batched claims to the Debtors for payment can trail the rendering of services
         to employees by up to several months. In general, the Debtors terminated health care covered for their
         employees effective as of the dates such employees separated from the company. Thus, the estimated $8.5
         million of trailing obligations is on account of covered healthcare services to covered persons provided prior
         to each such employee’s termination date. Although the Debtors’ original budget for these Chapter 11 Cases
         contemplated the funding of such trailing employee healthcare plan obligations, the COVID-19 pandemic’s
         disruption of the Debtors’ ability to operate postpetition combined with the issuance of a Termination
         Declaration under the Interim CC Order that followed, left the Debtors with inadequate cash on hand and
         inadequate access to additional cash with which to fund such obligations.




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                                         RELIEF REQUESTED

          35.      By this Motion, the Debtors request entry of the Proposed Order, pursuant to section

  1112(a) of the Bankruptcy Code and Bankruptcy Rule 1017(f), (i) converting the Debtors’ chapter

  11 cases to cases under chapter 7 of the Bankruptcy Code effective as of the Conversion Date, (ii)

  establishing a deadline for filing final chapter 11 professional fee applications and setting a date

  for a hearing thereon, and (iii) granting related relief.

          36.      The Debtors also request that the Court approve the following procedures in

  connection with the conversion of these Chapter 11 Cases to chapter 7 of the Bankruptcy Code

  (the “Conversion Procedures”):

                a. Professional Fees. To the extent professionals currently or hereafter retained in the
                   Chapter 11 case have not already submitted final fee applications to the Court (the
                   “Final Fee Applications”), all professionals shall submit Final Fee Applications in
                   accordance with the Bankruptcy Code, Bankruptcy Rules, Local Rules, and orders
                   of this Court by no later than thirty (30) days after the Conversion Date (the “Final
                   Fee Application Deadline”). Objections, if any, to the Final Fee Applications shall
                   be filed and served by no later than twenty-one (21) days after the Final Fee
                   Application Deadline. The Court will schedule a hearing, if necessary, at the
                   Court’s convenience and subject to the Court’s availability, on such Final Fee
                   Applications within fourteen (14) days thereafter or such later date as the Court
                   determines. To the extent no objections are filed to a given professional’s final fee
                   application, such professional may file a Certificate of No Objection, and the Court
                   may, in its sole discretion, enter an order approving such fees. To the extent the
                   Court approves a Final Fee Application after the Conversion Date, all approved
                   amounts owed for professional fees and expenses shall be paid (x) first, from each
                   professional’s retainer to the extent such retainers exist; (y) next, from the Carve
                   Out Reserves (as defined in the Interim CC Order) in accordance with its terms;
                   and (z) thereafter, from the Debtors’ chapter 7 estates in accordance with the
                   priorities set forth in the Bankruptcy Code.

                b. Books and Records. As soon as reasonably practicable, but in no event more than
                   fourteen (14) days after the appointment of the interim chapter 7 trustee, the
                   Debtors shall turn over or provide access to the chapter 7 trustee the books and
                   records of the Debtors in the Debtors’ possession and control, as required by
                   Bankruptcy Rule 1019(4). For purposes hereof, the Debtors may provide copies
                   (including electronic copies) of such books and records to the chapter 7 trustee, or
                   instructions for locating and accessing such books and records, and may retain




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                  copies of such books and records to the extent necessary to complete the reports
                  required herein.

               c. Schedules and SOFA. To the extent not already filed with the Court, the statements
                  and schedules required by Bankruptcy Rules 1019(1)(A) and 1007(b) shall be filed
                  within forty-two (42) days after the Conversion Date.

               d. Schedule of Unpaid Debts. Within fourteen (14) days of the Conversion Date, the
                  Debtors shall file a schedule of unpaid debts incurred after commencement of the
                  Debtors’ Chapter 11 Cases, including the name and address of each creditor, as
                  required by Bankruptcy Rule 1019(5).

               e. Final Report. Within thirty (30) days after the Conversion Date, the Debtors shall
                  file and transmit to the chapter 7 trustee a final report and account in accordance
                  with Bankruptcy Rule 1019(5)(A).

               f. Claims. Within fourteen (14) days of the Conversion Date, KCC shall (i) forward
                  to the Clerk of this Court an electronic version of all imaged claims; (ii) upload the
                  creditor mailing list into CM/ECF; (iii) docket a final claims register in the Debtors’
                  Chapter 11 Cases; and (iv) box and transport all original claims to the Philadelphia
                  Federal Records Center, 14470 Townsend Road, Philadelphia, PA 19154 and
                  docket a completed SF-135 Form indicating the accession and location numbers of
                  the archived claims.

                                          BASIS FOR RELIEF

  A.     The Conversion Relief Should be Granted

         37.      Section 1112(a) of the Bankruptcy Code provides that a debtor may convert a case

  to chapter 7 as a matter of right. See H.R. Rep. No. 95-595, 1st Sess. 405 (1977) (“Subdivision (a)

  gives the debtor an absolute right to convert a voluntarily commenced chapter 11 case in which

  the debtor remains in possession to a liquidation case”); see also Tex. Extrusion Corp. v. Lockheed

  Corp. (In re Tex. Extrusion Corp.), 844 F.2d 1142 (5th Cir. 1988) (“[A] debtor has the absolute

  right to convert [its] Chapter 11 case to a Chapter 7 case”). There are only three circumstances

  where a debtor is precluded from exercising that right: (i) the debtor is not a debtor in possession;

  (ii) the case was originally commenced as an involuntary case under chapter 11; or (iii) the case

  was converted to a case under chapter 11 other than at the debtor's request. 11 U.S.C. § 1112(a).




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  None of those exceptions is applicable in these Chapter 11 Cases. Therefore, the Debtors are

  entitled, as an absolute right, to convert the Chapter 11 Cases to cases under chapter 7.

           38.   In addition, conversion of these Chapter 11 Cases to cases under chapter 7 is in the

  best interests of the Debtors’ estates and creditors. The Debtors no longer have funding to

  administer these Chapter 11 Cases. Thus, although there is substantial inventory and equipment

  remaining in the Debtors’ stores and distribution centers and other estate assets that may be

  available to satisfy certain creditor claims, without an ability to fund ongoing administrative

  expenses, the Debtors have no ability to pursue the recovery of those assets or prosecute a chapter

  11 plan. Accordingly, the Debtors believe there is no reasonable likelihood that the Debtors could

  confirm and consummate a chapter 11 plan, and respectfully submit that a chapter 7 trustee will

  be able to more efficiently and effectively bring these cases to their conclusion.

           39.   Accordingly, the Debtors respectfully request that the Court enter an order

  converting the Debtors’ cases from chapter 11 to chapter 7, effective as of the Conversion Date.

  B.       The Conversion Procedures and Other Related Relief Should Be Approved

           40.   Pursuant to Local Rule 2002-1(f)(xi), “[u]pon conversion of a chapter 11 case to a

  chapter 7 case, if there are more than 200 creditors, the claims agent appointed in the chapter 11

  case shall . . . submit a termination order." Del. Bankr. L.R. 2002-1(f)(xi).

           41.   Accordingly, the Debtor requests that the conversion order sought hereby also

  provides for the termination of KCC services as claims and noticing agent in these Chapter 11

  Cases.

           42.   The Debtor also believes that the Conversion Procedures are appropriate under the

  facts of this case and should be approved. The Conversion Procedures include, among other things,

  a request to extend the deadline under Bankruptcy Rule 1019(1)(A) for the filing of any statements




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  and schedules required by Bankruptcy Rules 1019(1)(A) and 1007(b) from fourteen (14) days after

  the Conversion Date to forty-two days (42) after the Conversion Date.

          43.     The Court has authority to grant the requested extension under Bankruptcy Rules

  1007(c) and 9006(b) and Bankruptcy Local Rule 1007-1(b). Bankruptcy Rule 1007(c), together

  with Bankruptcy Rule 9006(b), allows the Court to extend the filing deadline for the Schedules

  and Statements “for cause shown.” Similarly, Bankruptcy Local Rule 1007-1(b) provides that such

  an extension may be granted for cause. Showing “cause” merely requires that a debtor

  “demonstrate some justification for the issuance of the order,” and bankruptcy courts will normally

  grant such extensions “in the absence of bad faith or prejudice to the adverse party.” See, e.g.,

  Bryant v. Smith, 165 B.R. 176, 182 (W.D. Va. 1994) (discussing the standard for granting

  extensions under Bankruptcy Rule 1007) (internal citations and quotation marks omitted).

          44.     Because of the COVID-19 pandemic and other extremely difficult circumstances

  that have defined these Chapter 11 Cases, the Debtors and their advisors have had virtually no free

  time or resources available since he Petition Date to devote to the preparation of schedules and

  statements required by Bankruptcy Rules 1019(1)(A) and 1007(b). Given the extent of work that

  remains to be done and the extremely limited resources remaining with which to undertake such

  work, which conditions both exist through no fault of the Debtors and their advisors, the Debtors’

  respectfully submit that “cause” exists to extend this deadline. Moreover, since these proceedings

  are still in their very early stages, the granting of such an extension is unlikely to prejudice the

  trustee, any creditor or any other party in interest.

                                                NOTICE

          45.     Notice of this Motion has been provided to: (i) the U.S. Trustee for the District of

  Delaware; (ii) proposed counsel for the Committee; (iii) the agents under the Debtors’ prepetition




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  secured facilities and counsel thereto; and (iv) any party that has requested notice pursuant to

  Bankruptcy Rule 2002. A copy of this Motion is also available on the website of the Debtors’

  notice and claims agent at https://www.kccllc.net/artvan. In light of the nature of the relief

  requested herein, the Debtors submit that no other or further notice is necessary.

                                   RESERVATION OF RIGHTS

         46.     The Debtors understand that employee payroll, the Carve Out and all other

  obligations that are required to be funded and paid under the Interim CC Order, including without

  limitation Paragraph 2 thereof, have been or will be funded and paid prior to the Conversion Date.

  Nevertheless, in the event that such obligations are not funded and paid as required under the

  Interim CC Order, the Debtors reserve all rights for themselves and their estates, including but not

  limited to any chapter 7 trustee that may hereafter be appointed.




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         WHEREFORE, the Debtors respectfully request that the Court enter an order, substantially

  in the form attached hereto, granting the relief requested in this Motion and granting such other

  relief as is appropriate under the circumstances.

  Dated: April 3, 2020                          BENESCH, FRIEDLANDER, COPLAN
  Wilmington, Delaware                          & ARONOFF LLP

                                                  /s/ Gregory W. Werkheiser
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                                                Michael J. Barrie (DE No. 4684)
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                                                        jgentile@beneschlaw.com

                                                Proposed Counsel to the Debtors and Debtors in
                                                Possession




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                                  Exhibit A




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                        )
      In re:                                                            ) Chapter 11
                                                                        )
      ART VAN FURNITURE, LLC, et al., 1                                 ) Case No. 20-10553 (CSS)
                                                                        )
                                          Debtors.                      ) (Jointly Administered)
                                                                        )
                                                                        ) Re: D.I. _______
                                                                        )


        ORDER (I) CONVERTING THEIR CHAPTER 11 CASES TO CASES UNDER
      CHAPTER 7, (II) ESTABLISHING A DEADLINE FOR FILING FINAL CHAPTER 11
         FEE APPLICATIONS AND SETTING A HEARING THEREON, AND (III)
                            GRANTING RELATED RELIEF



               Upon consideration of the corrected motion (the “Motion”) 2 of the above-captioned debtors

  and debtors in possession (collectively, the “Debtors”) for the entry of an order, pursuant to section

  1112(a) of the Bankruptcy Code, (i) converting the Debtors’ chapter 11 cases to cases under

  chapter 7 of the Bankruptcy Code, (ii) establishing a deadline for filing final chapter 11 fee

  applications, and (iii) granting related relief; and it appearing that this Court has jurisdiction to

  consider the Motion pursuant to 28 U.S.C. §§ 1334 and 157, and the Amended Standing Order of

  Reference from the United States District Court for the District of Delaware dated February 29,

  2012; and it appearing that this is a core matter pursuant to 28 U.S.C. § 157(b)(2) and that this



  1
               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
               identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291);
               AVCE, LLC (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451);
               Levin Parent, LLC (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC
               (8968); AVF Franchising, LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort
               Mattress LLC (4463). The location of the Debtors’ service address in these chapter 11 cases is: 6500 East
               14 Mile Road, Warren Michigan 48092.
  2
               Capitalized terms used but not otherwise defined in this Order have the meanings ascribed to such terms in
               the Motion.




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  Court may enter a final order consistent with Article III of the United States Constitution; and it

  appearing that venue of these chapter 11 cases and of the Motion is proper pursuant to 28 U.S.C.

  §§ 1408 and 1409; and it appearing that due and adequate notice of the Motion has been given

  under the circumstances, and that no other or further notice need be given; and this Court having

  determined that the relief requested in the Motion is in the best interests of the Debtors, their

  estates, their creditors, and other parties in interest; and after due deliberation and sufficient cause

  appearing therefor,

          IT IS HEREBY ORDERED THAT:

          1.      The Motion is GRANTED, as set forth herein.

          2.      Effective as of 12:00 a.m. (prevailing Delaware time), on April 7, 2020 (the

  “Conversion Date”), the Chapter 11 Cases shall be converted to cases under chapter 7 of the

  Bankruptcy Code.

          3.      The following Conversion Procedures are hereby approved:

               a. Professional Fees. To the extent professionals currently or hereafter retained in the
                  Chapter 11 case have not already submitted final fee applications to the Court (the
                  “Final Fee Applications”), all professionals shall submit Final Fee Applications in
                  accordance with the Bankruptcy Code, Bankruptcy Rules, Local Rules, and orders
                  of this Court by no later than thirty (30) days after the Conversion Date (the “Final
                  Fee Application Deadline”). Objections, if any, to the Final Fee Applications shall
                  be filed and served by no later than twenty-one (21) days after the Final Fee
                  Application Deadline. The Court will schedule a hearing, if necessary, at the
                  Court’s convenience and subject to the Court’s availability, on such Final Fee
                  Applications within fourteen (14) days thereafter or such later date as the Court
                  determines. To the extent no objections are filed to a given professional’s final fee
                  application, such professional may file a Certificate of No Objection, and the Court
                  may, in its sole discretion, enter an order approving such fees. To the extent the
                  Court approves a Final Fee Application after the Conversion Date, all approved
                  amounts owed for professional fees and expenses shall be paid (x) first, from each
                  professional’s retainer to the extent such retainers exist; (y) next, from the Carve
                  Out Reserves (as defined in the Interim CC Order) in accordance with its terms;
                  and (z) thereafter, from the Debtors’ chapter 7 estates in accordance with the
                  priorities set forth in the Bankruptcy Code.




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              b. Books and Records. As soon as reasonably practicable, but in no event more than
                 fourteen (14) days after the appointment of the interim chapter 7 trustee, the
                 Debtors shall turn over or provide access to the chapter 7 trustee the books and
                 records of the Debtors in the Debtors’ possession and control, as required by
                 Bankruptcy Rule 1019(4). For purposes hereof, the Debtors may provide copies
                 (including electronic copies) of such books and records to the chapter 7 trustee, or
                 instructions for locating and accessing such books and records, and may retain
                 copies of such books and records to the extent necessary to complete the reports
                 required herein.

              c. Schedules and SOFA. To the extent not already filed with the Court, the statements
                 and schedules required by Bankruptcy Rules 1019(1)(A) and 1007(b) shall be filed
                 within forty-two (42) days after the Conversion Date.

              d. Schedule of Unpaid Debts. Within fourteen (14) days of the Conversion Date, the
                 Debtors shall file a schedule of unpaid debts incurred after commencement of the
                 Debtors’ Chapter 11 Cases, including the name and address of each creditor, as
                 required by Bankruptcy Rule 1019(5).

              e. Final Report. Within thirty (30) days after the Conversion Date, the Debtors shall
                 file and transmit to the chapter 7 trustee a final report and account in accordance
                 with Bankruptcy Rule 1019(5)(A).

              f. Claims. Within fourteen (14) days of the Conversion Date, KCC shall (i) forward
                 to the Clerk of this Court an electronic version of all imaged claims; (ii) upload the
                 creditor mailing list into CM/ECF; (iii) docket a final claims register in the Debtors’
                 Chapter 11 Cases; and (iv) box and transport all original claims to the Philadelphia
                 Federal Records Center, 14470 Townsend Road, Philadelphia, PA 19154 and
                 docket a completed SF-135 Form indicating the accession and location numbers of
                 the archived claims.

         4.      Subject to its compliance with Del. Bankr. L.R. 2002-1(f)(x)-(xi), on the

  Conversion Date, KCC shall be relieved of its responsibilities as the Debtors’ claims and noticing

  agent in the Debtors’ Chapter 11 Cases and will have no further obligations to the Court, the

  Debtors, the chapter 7 trustee (once appointed), or any party in interest with respect to the Debtors’

  Chapter 11 Cases or the chapter 7 cases.

         5.      Notwithstanding anything to the contrary in the Interim Order (I) Authorizing the

  Debtors to Use Cash Collateral, (II) Granting Adequate Protection to the Prepetition Secured

  Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting




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  Related Relief [D.I. 93] (the “Interim CC Order”), KCC shall be treated as a Professional Person

  (as such term is defined in the Interim CC Order) solely for the purpose of KCC’s eligibility to

  have its fees and expenses paid from the Carve Out Reserves or otherwise as part of the Carve Out

  (each as defined in the Interim CC Order). To the extent that KCC is entitled, or hereafter becomes

  entitled, to payment of its fees and expenses in accordance with the Order Appointing KCC as

  Claims and Noticing Agent Nunc Pro Tunc to the Petition Date [D.I. 77] (the “Claims Agent

  Order”) and the Agreement (as defined in the Claims Agent Order), such fees and expenses shall

  be Allowed Professional Fees (as defined in the Interim CC Order) for purposes of the Carve Out.

         6.      Except as expressly provided in Paragraph 5 above, nothing in this Order or the

  conversion of these Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code shall affect

  or modify the terms of the Interim CC Order, prejudice any person or entity’s rights thereunder or

  relieve any person or entity of obligations thereunder. All rights, claims, remedies, defenses and

  obligations under and in connection with the Interim CC Order shall be reserved and preserved in

  their entirety. For the avoidance of doubt and without in any way limiting the foregoing, all rights

  and obligations in respect of the Carve Out and the Carve Out Reserves (each as defined in the

  Interim CC Order) shall survive any termination of the Specified Period (as defined in the Interim

  CC Order).

         7.      For the avoidance of doubt, with respect to cash and cash equivalents in the

  possession, custody or control of any Debtor as of the date of entry of this Order, neither the entry

  of this Order, nor any relief granted hereunder, nor the occurrence of the Conversion Date for any

  Debtor’s Chapter 11 Case shall have any effect on whether such cash or cash equivalents (i) are or

  are not funds collected on account of “trust fund taxes” and held in trust for the benefit taxing

  authorities or other governmental units (as defined in section 101(27) of the Bankruptcy Code) or




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  (ii) are or are not property of any Debtor’s bankruptcy estate pursuant section 541 of the

  Bankruptcy Code.

         8.      Nothing herein shall affect the Order Granting the Motion of Jofran Sales, Inc. for

  Injunctive Relief entered on March 27, 2020, in Adversary Proceeding 20-50546.

         9.      This Court shall retain jurisdiction to hear and determine all matters arising from

  or related to the implementation, interpretation and/or enforcement of this Order.




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                 )
      In re:                                                     ) Chapter 11
                                                                 )
      ART VAN FURNITURE, LLC, et al.,1                           ) Case No. 20-10553 (CSS)
                                                                 )
                                     Debtors.                    ) (Jointly Administered)
                                                                 )
                                                                 ) Objection Deadline: At the Hearing
                                                                 ) Hearing Date: April 6, 2020 at 1:00 p.m. (ET) (requested)
                                                                 )

         NOTICE OF VIDEO AND TELEPHONIC HEARING REGARDING DEBTORS’
        CORRECTED MOTION FOR ENTRY OF AN ORDER (I) CONVERTING THEIR
         CHAPTER 11 CASES TO CASES UNDER CHAPTER 7, (II) ESTABLISHING A
      DEADLINE FOR FILING FINAL CHAPTER 11 FEE APPLICATIONS AND SETTING
             A HEARING THEREON, AND (III) GRANTING RELATED RELIEF

               PLEASE TAKE NOTICE that on April 3, 2020, the above-captioned debtors and debtors

  in possession (collectively, the “Debtors”) filed the Debtors Corrected Motion for Entry of an

  Order (I) Converting Their Chapter 11 Cases to Cases Under Chapter 7, (II) Establishing a

  Deadline for Filing Final Chapter 11 Fee Applications and Setting a Hearing Thereon, and (III)

  Granting Related Relief (the “Motion”) with the United States Bankruptcy Court for the District

  of Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy

  Court”). A copy of the Motion is attached hereto.

               PLEASE TAKE FURTHER NOTICE that this Motion will be heard on April 6, 2020

  at 1:00 p.m. (ET), before the Honorable Chief Judge Christopher S. Sontchi via video and

  telephonic conference.


  1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
  identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC
  (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC
  (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC
  (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location of the
  Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.




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         PLEASE TAKE FURTHER NOTICE THAT THE HEARING IS PROCEEDING

  VIA ZOOM USING THE FOLLOWING INSTRUCTIONS:

         Topic: Art Van Furniture 20-10553 - Hearing
         Time: Apr 6, 2020 1:00 PM Eastern Time (US and Canada)
         Join Zoom Meeting
         https://uchicago.zoom.us/j/911880719
         Meeting ID: 911 880 719

         DO NOT COME TO THE COURTHOUSE. ANY PARTY WHO WISHES TO

  PRESENT EVIDENCE OR EXAMINE WITNESSES IS REQUIRED TO ACCESS VIA

  ZOOM. ANY PARTY WHO WISHES TO ACCESS VIA ZOOM MUST ALSO MAKE

  AUDIO ARRANGEMENTS THROUGH COURTCALL BY TELEPHONE (888-882-6878)

  OR FACSIMILE (310-743-1850).

         OTHER PARTIES IN INTEREST MAY MAKE ARRANGEMENTS TO

  PARTICIPATE BY TELEPHONE AT THE HEARING THROUGH COURTCALL BY

  TELEPHONE (888-882-6878) OR FACSIMILE (310-743-1850).

         PLEASE TAKE FURTHER NOTICE THAT, IF NO RESPONSES OR

  OBJECTIONS TO THE MOTION ARE TIMELY RECEIVED IN ACCORDANCE WITH

  THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE RELIEF

  REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.




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  Dated: April 3, 2020                   BENESCH, FRIEDLANDER, COPLAN &
  Wilmington, Delaware                   ARONOFF LLP

                                           /s/ Gregory W. Werkheiser
                                         Gregory W. Werkheiser (DE No. 3553)
                                         Michael J. Barrie (DE No. 4684)
                                         Jennifer R. Hoover (DE No. 5111)
                                         Kevin M. Capuzzi (DE No. 5462)
                                         Kate Harmon (DE No. 5343)
                                         John C. Gentile (DE No. 6159)
                                         222 Delaware Avenue, Suite 801
                                         Wilmington, DE 19801
                                         Telephone: (302) 442-7010
                                         Facsimile: (302) 442-7012
                                         E-mail: gwerkheiser@beneschlaw.com
                                                 mbarrie@beneschlaw.com
                                                 jhoover@beneschlaw.com
                                                 kcapuzzi@beneschlaw.com
                                                 kharmon@beneschlaw.com
                                                 jgentile@beneschlaw.com

                                         Proposed Counsel to the Debtors and Debtors in
                                         Possession




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                                   EXHIBIT I




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                       )
      In re:                                                           ) Chapter 11
                                                                       )
      ART VAN FURNITURE, LLC, et al.,1                                 ) Case No. 20-10553 (___)
                                                                       )
                                         Debtors.                      ) (Joint Administration Requested)
                                                                       )

                DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL
          ORDERS (I) AUTHORIZING THE DEBTORS TO USE CASH COLLATERAL,
        (II) GRANTING ADEQUATE PROTECTION TO THE PREPETITION SECURED
           PARTIES, (III) MODIFYING THE AUTOMATIC STAY, (IV) SCHEDULING
                A FINAL HEARING, AND (V) GRANTING RELATED RELIEF


               The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

  respectfully state as follows in support of this motion (this “Motion”):

                                                    Relief Requested

               1.    The Debtors seek entry of an interim order (the “Interim Order”), substantially in

  the form attached hereto, and a final order (the “Final Order”), inter alia: (a) authorizing the

  Debtors’ use of Cash Collateral (as defined below); (b) granting adequate protection to the

  Prepetition Secured Parties (as defined below) for any diminution in value of their interests in the

  Prepetition Collateral (as defined below), including Cash Collateral; and (c) vacating and

  modifying the automatic stay solely to the extent necessary to implement and effectuate the terms

  and provisions of the Interim Order.




  1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509);
        AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC
        (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising,
        LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463). The location
        of the Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren Michigan 48092.



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           2.     In addition, the Debtors request that the Court schedule a final hearing within

  approximately 35 days of the commencement of these chapter 11 cases to consider approval of

  this Motion on a final basis.

                                         Jurisdiction and Venue

           3.     The United States Bankruptcy Court for the District of Delaware (the “Court”) has

  jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

  Order of Reference from the United States District Court for the District of Delaware, dated

  February 29, 2012. The Debtors confirm their consent, pursuant to rule 7008 of the Federal Rules

  of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 9013-1(f) of the Local Rules of

  Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

  Delaware (the “Bankruptcy Local Rules”), to the entry of a final order by the Court in connection

  with this Motion to the extent that it is later determined that the Court, absent consent of the parties,

  cannot enter final orders or judgments in connection herewith consistent with Article III of the

  United States Constitution.

           4.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

           5.     The bases for the relief requested herein are sections 105, 361, 362, 363, 503, 506,

  507 and 552 of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),

  Bankruptcy Rules 4001 and 9014, and Bankruptcy Local Rules 4401-2 and 9013.1(m).

                                               Background

           6.     The Debtors operate 169 locations, including 92 furniture and mattress showrooms

  and 77 freestanding mattress and specialty locations. The Debtors do business under brand names,

  including Art Van Furniture, Pure Sleep, Scott Shuptrine Interiors, Levin Furniture, Levin

  Mattress, and Wolf Furniture. The Debtors were founded in 1959 and was owned by its founder,

  Art Van Elslander, until it was sold to funds affiliated with Thomas H. Lee Partners, L.P. (“THL”)

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  in March 2017. Pennsylvania based Levin Furniture and Wolf Furniture were acquired by Art Van

  in November 2017. As of the Petition Date (as defined below), the Debtors operate stores

  throughout Michigan, Indiana, Ohio, Illinois, Pennsylvania, Maryland, Missouri, and Virginia.

  The Debtors are headquartered in Warren, Michigan and have approximately 4,500 employees as

  of the Petition Date (as defined below).

           7.    On March 8, 2020 (the “Petition Date”), each of the Debtors filed a voluntary

  petition for relief under chapter 11 of the Bankruptcy Code. A detailed description surrounding

  the facts and circumstances of these chapter 11 cases is set forth in the Declaration of David Ladd,

  Executive Vice President and Chief Financial Offer of Art Van Furniture, LLC, in Support of

  Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), filed

  contemporaneously with this Motion and incorporated by reference herein. Concurrently with the

  filing of this Motion, the Debtors filed a motion requesting procedural consolidation and joint

  administration of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b). The Debtors are

  operating their business and managing their properties as debtors in possession pursuant to

  sections 1107(a) and 1108 of the Bankruptcy Code. No request for the appointment of a trustee

  or examiner has been made in these chapter 11 cases and no official committees have been

  appointed or designated.

                      Statement of the Material Terms of the Interim Order

           8.    Pursuant to Bankruptcy Rule 4001(b), (c) and (d) and Bankruptcy Local Rule 4001-

  2(a)(i) and (ii), the following is a concise statement and summary of the material terms of the

  Interim Order (collectively, the “Highlighted Provisions”):




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        Material Terms                          Summary of Material Terms                                Para(s). of
                                                                                                         Interim
                                                                                                          Order
      Entities with an           The Prepetition ABL Parties2 and the Prepetition Term                   ¶¶ F & H
      Interest in Cash           Loan Parties3 (collectively, the “Prepetition Secured
      Collateral                 Parties”)

      Bankruptcy Rule
      400l(b)(1)(B)(i)

      Purposed Use of             The Debtors seek authority to use Cash Collateral to:                     ¶2
      Cash Collateral                                                                                    (i) F
                                  (i) finance their working capital needs and for any other
      Bankruptcy Rule             general corporate purposes; and (ii) pay related
      400l(b)(1)(B)(ii)           transaction costs, fees, liabilities and expenses
                                  (including all professional fees and expenses) and other
      Local Rule 4001-            administration costs incurred in connection with and for
      2(a)(ii)                    the benefit of these chapter 11 cases, in each case solely
                                  to the extent consistent with the Budget (as defined
                                  below) and the Interim Order.

      Budget and                 Budget: The use of Cash Collateral for the first                           ¶ 11
      Variance                   thirteen-week period from the Petition Date shall be in
      Reporting                  accordance with the budget (the “Budget”), which
                                 Budget shall be updated, modified, or supplemented by
      Bankruptcy Rule            the Debtors not less than one time in each four-week
      400l(b)(1)(B)(ii)          period.

      Local Rule 4001-           Budget Compliance: The Debtors shall not, without                        ¶ 12(a)
      2(a)(ii)                   the consent of the Prepetition Agents, permit (i) the
                                 actual Total Cash Receipts (as defined in the Interim
                                 Order) for any rolling four-week period to be less than
                                 90% of the Total Cash Receipts set forth in the Budget
                                 for such period, (ii) the actual GOB Disbursements (as
                                 defined in the Interim Order) for any rolling four-week
                                 period to exceed 110% of the aggregate GOB
                                 Disbursements set forth in the Budget for such period,
                                 (iii) the actual Operating Disbursements (as defined in
                                 the Interim Order) for any rolling four-week period to
                                 exceed 110% of the aggregate Operating
  2
   The “Prepetition ABL Parties” are Wells Fargo Bank, National Association, as administrative agent, issue bank, and
  collateral agent (in such capacity, the “Prepetition ABL Agent”) and the lenders party to the Prepetition ABL
  Agreement (as defined in the Interim Order).

  3
    The “Prepetition Term Loan Parties” are Virtus Group, LP, as administrative agent and collateral agent and the
  lenders party to the Prepetition Term Loan Agreement (as defined in the Interim Order).


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                          Disbursements set forth in the Budget for such period,
                          or (iv) the actual Non-Operating Disbursements (as
                          defined in the Interim Order) for any rolling four week
                          period to exceed 110% of the aggregate Non-Operating
                          Disbursements set forth in the Budget for such period
                          (with any unspent amounts in the subparagraph (iv)
                          being carried forward for subsequent periods).

     Duration of Use of   Specified Period: The Debtors are authorized to use            ¶2
     Cash Collateral/     Cash Collateral for the period from the Petition Date
     Events of Default/   through the date which is the earliest to occur of: (a)
     Rights and           the Termination Date (as defined in the Interim Order),
     Remedies Upon        (b) thirty (30) days after the Petition Date, and (c)
     Event of Default     entry of the Final Order; provided, however, that,
                          during the Remedies Notice Period (as defined in the
                          Interim Order) the Debtors may use Cash Collateral for
                          certain specified purposes.

                          Events of Default: The occurrence of any of the               ¶ 20
                          following events, unless consented to or waived by the
                          Prepetition Agents in advance in writing, each in their
                          sole and absolute discretion, shall constitute an event
                          of default (collectively, the “Events of Default”):

                          (a)   the failure of the Debtors to perform, in any
                                respect, any of the terms, provisions, conditions,
                                covenants, or obligations under the Interim
                                Order (including, without limitation, the
                                Covenants in paragraph 12 of the Interim
                                Order);

                          (b)   the failure of the Debtors to obtain a Final Order
                                on the Motion on terms acceptable to the
                                Prepetition Agents on or before 30 days after the
                                Petition Date;

                          (c)   (i) the failure by the Debtors to continue sales of
                                the Assets in accordance with the Consulting
                                Agreement and to assume the Consulting
                                Agreement on a timely basis;

                          (d)   the filing of a motion or any plan of
                                reorganization or disclosure statement attendant

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                               thereto by and of the Debtors: (i) to obtain
                               additional financing under section 364(d) of the
                               Bankruptcy Code not otherwise permitted
                               pursuant to the Interim Order; (ii) to grant any
                               lien other than Permitted Prior Liens (as defined
                               in the Interim Order) upon or affecting any
                               Postpetition Collateral(as defined in the Interim
                               Order); or (iii) except as provided in the Interim
                               Order, to use Cash Collateral under section
                               363(c) of the Bankruptcy Code;

                         (e)   (i) the filing of any Prohibited Plan (as defined
                               in the Interim Order) or disclosure statement
                               attendant thereto, or any direct or indirect
                               amendment to such chapter 11 plan or disclosure
                               statement, by a Debtor, (ii) the entry or request
                               for entry of any order terminating any Debtor’s
                               exclusive right to file a chapter 11 plan (unless
                               actively contested by the Debtors), or (iii) the
                               expiration of any Debtor’s exclusive right to file
                               a chapter 11 plan;

                         (f)   the entry of an order in any of the cases
                               confirming a Prohibited Plan;

                         (g)   the entry of an order amending, supplementing,
                               staying, vacating or otherwise modifying the
                               Interim Order or the Cash Management Order,
                               the filing by a Debtor of a motion for
                               reconsideration with respect to the Interim Order
                               or the Cash Management Order, or the Interim
                               Order shall cease to be in full force and effect;

                         (h)   the payment of, or application by the Debtors for
                               authority to pay, any prepetition claim unless in
                               accordance with the Budget, subject to variances
                               permitted by the Interim Order;

                         (i)   the appointment of an interim or permanent
                               trustee in the cases, the appointment of a
                               receiver, receiver and manager, interim receiver
                               or similar official over any substantial portion of
                               the assets of the Debtors, or the appointment of a


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                                     trustee receiver or an examiner in the cases with
                                     expanded powers to operate or manage the
                                     financial affairs, the business, or reorganization
                                     of the Debtors;

                               (j)   the filing of a motion to approve a Prohibited
                                     Sale (as defined in the Interim Order) or to sell
                                     all or substantially all of the Debtors’ assets
                                     other than in accordance with the Consulting
                                     Agreement or the Levin LOI (as those terms are
                                     defined in the Interim Order);
                         the
                               (k)   the dismissal of any case, or the conversion of
                                     any case from one under Chapter 11 to one
                                     under Chapter 7 of the Bankruptcy Code or any
                                     Debtor filing a motion or other pleading seeking
                                     the dismissal of the cases under section 1112 of
                                     the Bankruptcy Code or otherwise or the
                                     conversion of the cases to Chapter 7 of the
                                     Bankruptcy Code;

                               (l)   the filing of a motion seeking, or the Court shall
                                     enter an order granting, relief from or modifying
                                     the automatic stay of section 362 of the
                                     Bankruptcy Code (i) to allow any creditor (other
                                     than the Prepetition ABL Agent and, subject to
                                     the Intercreditor Agreement (as defined in the
                                     Interim Order), the Prepetition Term Loan
                                     Agent) to execute upon or enforce a lien on any
                                     Postpetition Collateral or Prepetition Collateral,
                                     (ii) approving any settlement or other stipulation
                                     with any secured creditor of any Debtor
                                     providing for payments as adequate protection
                                     or otherwise to such secured creditor, or (iii)
                                     with respect to any lien on or the granting of any
                                     lien on any Postpetition Collateral or the
                                     Prepetition Collateral to any federal, state or
                                     local environmental or regulatory agency or
                                     authority, which in either case involves a claim
                                     of [$250,000] or more;

                               (m)   the existence of any claim or charges, or the
                                     entry of any order of the Court authorizing any


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                                   claims or charges entitled to superpriority
                                   administrative expense claim status in any Case
                                   pursuant to section 364(c)(1) of the Bankruptcy
                                   Code pari passu with or senior to the claims of
                                   the Prepetition Secured Parties under the Interim
                                   Order, or there shall arise or be granted by the
                                   Court (i) any claim having priority over any or
                                   all administrative expenses of the kind specified
                                   in clause (b) of section 503 or clause (b) of
                                   section 507 of the Bankruptcy Code or (ii) any
                                   lien on the Postpetition Collateral or the
                                   Prepetition Collateral having a priority senior to
                                   or pari passu with the liens and security interests
                                   granted in the Interim Order, except, in each
                                   case, as expressly provided in the Interim Order;

                             (n)   the filing of a motion or entry of an order
                                   materially adversely impacting the rights and
                                   interests of the Prepetition Secured Parties shall
                                   have been entered by the Court or any other
                                   court of competent jurisdiction;

                             (o)   any Debtor shall challenge, support or encourage
                                   a challenge of any payments made to any
                                   Prepetition ABL Party with respect to the
                                   Prepetition ABL Obligations;

                             (p)   any Debtor shall challenge, support or encourage
                                   the challenge of any payments made to any
                                   Prepetition Term Loan Party with respect to the
                                   Prepetition Term Loan Obligations;
                         A
                             (q)   the entry of any order by the Court granting, or
                                   the filing by any Debtor of any motion or other
                                   request with the Court seeking authority to use
                                   cash proceeds of any of the Postpetition
                                   Collateral or Prepetition Collateral other than as
                                   set forth in the Interim Order or to obtain any
                                   financing under section 364(d) of the
                                   Bankruptcy Code;

                             (r)   any Debtor or any person on behalf of any
                                   Debtor shall file any motion seeking authority to


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                                consummate a sale of assets, other than in
                                connection with the Consulting Agreement or
                                the Levin APA (as defined in the Interim Order),
                                with respect to Postpetition Collateral or
                                Prepetition Collateral having a value in excess of
                                [$250,000] outside the ordinary course of
                                business and not otherwise permitted under the
                                Interim Order;

                          (s)   any Debtor shall make any payment (whether by
                                way of adequate protection or otherwise) of
                                principal or interest or otherwise provide any
                                credit on account of any prepetition
                                indebtedness or payables other than payments (i)
                                under customary “first day orders as approved
                                by the Prepetition Agents in writing (provided
                                that the Interim Order and all orders relating to
                                cash management shall be acceptable to the
                                Prepetition Agents) and (ii) payments approved
                                (A) by the Court or (B) by the Prepetition
                                Agents in writing, in each case in accordance
                                with the Budget, subject to variances permitted
                                by the Interim Order;

                          (t)   any Debtor shall fail to contest in good faith a
                                request to take any action that if taken by the
                                Debtor would constitute an event of default
                                under paragraph 20 of the Interim Order;

                          (u)   the automatic stay shall be modified, reversed,
                                revoked or vacated in a manner that has a
                                material adverse impact on the rights and
                                interests of the Prepetition Agents or the
                                Prepetition Secured Parties.

                         Rights and Remedies Upon Entry of Default:                    ¶ 21
                         Immediately upon the occurrence and during the
                         continuation of an Event of Default, without any
                         application, motion, or notice to, hearing before, or
                         order from the Court, but subject to the terms of the
                         Interim Order (and the Remedies Notice Period), (a) (i)
                         the Prepetition ABL Agent may declare (any such
                         declaration delivered by the Prepetition ABL Agent or


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                         the Prepetition Term Loan Agent, as applicable, shall be
                         referred to as a “Termination Declaration”) (A) all
                         Prepetition ABL Obligations owing under the
                         Prepetition ABL Documents to be immediately due and
                         payable, and (B) that the application of the Carve Out
                         (as defined in the Interim Order) has occurred through
                         the delivery of the Carve Out Trigger Notice (as defined
                         in the Interim Order); and (ii) the Prepetition ABL
                         Agent may declare a termination, reduction, or
                         restriction on the ability of the Debtors to use Cash
                         Collateral, and (b) the Prepetition Term Loan Agent
                         may (i) declare a termination, reduction, or restrict on
                         the ability of the Debtors to use Cash Collateral that is
                         Postpetition Term Priority Collateral and (ii) after the
                         Prepetition ABL Obligations have been Paid in Full,
                         declare a termination, reduction, or restriction on the
                         ability of the Debtors to use Cash Collateral (the date a
                         Termination Declaration is delivered shall be referred to
                         as the “Termination Date”). The Termination
                         Declaration shall be given by electronic mail (or other
                         electronic means) to counsel to the Debtors, counsel to a
                         Committee (if appointed), the Prepetition ABL Agent
                         (if delivered by the Prepetition Term Loan Agent), the
                         Prepetition Term Loan Agent (if delivered by the
                         Prepetition ABL Agent), and the U.S. Trustee. The
                         automatic stay in the Cases otherwise applicable to the
                         Prepetition ABL Parties is hereby modified so that five
                         (5) business days after the date a Termination
                         Declaration is delivered (the “Remedies Notice
                         Period”), the Prepetition ABL Parties shall be entitled to
                         exercise their rights and remedies in accordance with
                         the Prepetition ABL Documents and the Interim Order
                         to satisfy the Prepetition ABL Obligations, Prepetition
                         ABL Superpriority Claims, and Prepetition ABL
                         Adequate Protection Liens, subject to the Carve Out (to
                         the extent applicable). During the Remedies Notice
                         Period, the Debtors and/or a Committee (if appointed)
                         shall be entitled to seek an emergency hearing within
                         the Remedies Notice Period with the Court. Upon
                         expiration of the Remedies Notice Period, unless the
                         Court orders otherwise, the automatic stay, as to the
                         Prepetition ABL Parties, shall automatically be
                         terminated without further notice or order and the


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                         Prepetition ABL Parties shall be permitted to exercise
                         all remedies set forth in the Interim Order, in the
                         Prepetition Documents, and as otherwise available at
                         law without further order of or application or motion to
                         the Court consistent with the Intercreditor Agreement
                         and the Interim Order. Upon the occurrence and during
                         the continuation of an Event of Default, in each case,
                         subject to the Intercreditor Agreement, the Prepetition
                         ABL Agent and any liquidator or other professional will
                         have the right to access and utilize, at no cost or
                         expense, any trade names, trademarks, copyrights or
                         other intellectual property and any warehouse,
                         distribution centers, store or other locations to the extent
                         necessary or appropriate in order to sell, lease or
                         otherwise dispose of any of the Postpetition ABL
                         Priority Collateral, including pursuant to any Court
                         approved sale process.

     Proposed             The Prepetition Secured Parties shall be granted, to the      ¶¶ 3, 5, 7-8
     Adequate             extent of any diminution in value of its interests in the
     Protection           Prepetition Collateral from and after the Petition Date,
                          the following:
     Bankruptcy Rule
     400l(b)(1)(B)(iv)    Adequate Protection Liens.
                          (a) Prepetition ABL Adequate Protection Liens.                 ¶ 3(a)-(b)

     Local Rule 4001-          Subject to the Carve Out, pursuant to sections
     2(a)(ii)                  361 and 363(e) of the Bankruptcy Code, as
                               adequate protection of the interests of the
                               Prepetition ABL Parties in the Prepetition
                               Collateral to the extent of any Diminution in
                               Value of such interests in the Prepetition
                               Collateral, the Debtors grant to the Prepetition
                               ABL Agent, for the benefit of itself and the
                               Prepetition ABL Parties, continuing, valid,
                               binding, enforceable, and perfected postpetition
                               security interests in and liens (the “Prepetition
                               ABL Adequate Protection Liens”) on any
                               Postpetition Collateral.

                          (b)    Prepetition Term Loan Adequate Protection
                                 Liens. Subject to the Carve Out, pursuant to
                                 sections 361 and 363(e) of the Bankruptcy Code,
                                 as adequate protection of the interests of the

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                               Prepetition Term Loan Parties in the Prepetition
                               Collateral to the extent of any Diminution in
                               Value of such interests in the Prepetition
                               Collateral, the Debtors grant to the Prepetition
                               Term Loan Agent, for the benefit of itself and
                               the Prepetition Term Loan Parties, continuing,
                               valid, binding, enforceable, and perfected
                               postpetition security interests in and liens (the
                               “Prepetition Term Loan Adequate Protection
                               Liens,” and together with the Prepetition ABL
                               Adequate Protection Liens, the “Adequate
                               Protection Liens”) on the Postpetition Collateral.

                         Adequate Protection Superpriority Claims.                   ¶ 5(a)-(b)
                         (a) Prepetition ABL Superpriority Claim. As further
                              adequate protection of the interests of the
                              Prepetition ABL Parties in the Prepetition
                              Collateral to the extent of any Diminution in
                              Value of such interests in the Prepetition
                              Collateral, the Prepetition ABL Agent, on behalf
                              of itself and the Prepetition ABL Parties, is
                              granted as and to the extent provided by section
                              507(b) of the Bankruptcy Code, an allowed
                              superpriority administrative expense claim in
                              each of the Cases and any Successor Cases (the
                              “Prepetition ABL Superpriority Claim”).

                         (b)   Prepetition Term Loan Superpriority Claim. As
                               further adequate protection of the interests of the
                               Prepetition Term Loan Parties in the Prepetition
                               Collateral to the extent of any Diminution in
                               Value of such interests in the Prepetition
                               Collateral, the Prepetition Term Loan Agent, on
                               behalf of itself and the Prepetition Term Loan
                               Parties, is granted as and to the extent provided
                               by section 507(b) of the Bankruptcy Code, an
                               allowed superpriority administrative expense
                               claim in each of the Cases and any Successor
                               Cases (the “Prepetition Term Loan Superpriority
                               Claim,” and together with the Prepetition ABL
                               Superpriority Claim, the “Adequate Protection
                               Superpriority Claims”).



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                         Adequate Protection Payments and Protections for             ¶7
                         Prepetition ABL Parties. As further adequate
                         protection, the Debtors are authorized and directed to
                         pay in cash the following: (a) all principal and interest
                         at the default rate due under the Prepetition ABL
                         Documents (but subject to the Challenge rights to the
                         extent preserved in paragraph 27 of the Interim Order),
                         (b) immediately upon entry of the Interim Order, the
                         reasonable and documented fees, out-of-pocket fees
                         and expenses, and disbursements (including the
                         reasonable and documented fees, out-of-pocket fees
                         and expenses, and disbursements of counsel, financial
                         advisors, auditors, third-party consultants, and other
                         vendors) incurred by the Prepetition ABL Agent
                         arising prior to the Petition Date and reimbursable
                         under the Prepetition ABL Documents, (c) om
                         accordance with paragraph 22 of the Interim Order, the
                         reasonable and documented fees, out-of-pocket fees
                         and expenses, and disbursements (including the
                         reasonable and documented fees, out-of-pocket fees
                         and expenses, and disbursements of counsel, financial
                         advisors, auditors, third-party consultants, and other
                         vendors) incurred by the Prepetition ABL Agent on and
                         subsequent to the Petition Date reimbursable under the
                         Prepetition ABL Documents, (d) the Prepetition ABL
                         Obligations in accordance with the Budget, and (e)the
                         Prepetition ABL Obligations with the Deposit (as
                         defined in the Levin LOI) upon such Deposit becoming
                         non-refundable in accordance with the terms of the
                         Levin LOI. In addition, immediately upon the payment
                         in full in cash of the Prepetition ABL Obligations
                         (including principal, interest, fees, prepayment
                         premiums, expenses, indemnities, other than contingent
                         indemnification obligations for which no claim has
                         been asserted), the cash collateralization of all treasury
                         and cash management obligations, hedging obligations,
                         and bank product obligations, in each case, in
                         accordance with the terms of the Prepetition ABL
                         Documents, the Debtors shall fund to the Prepetition
                         ABL Agent, for the benefit of the Prepetition ABL
                         Parties, $500,000 into a non-interest bearing account
                         maintained at Wells Fargo Bank, National Association
                         (the “Prepetition ABL Indemnity Reserve”) to secure


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                         contingent indemnification, reimbursement, or similar
                         continuing obligations arising under or related to the
                         Prepetition ABL Documents (the “Prepetition ABL
                         Indemnity Obligations”). The Prepetition ABL
                         Indemnity Reserve shall secure all costs, expenses, and
                         other amounts (including reasonable and documented
                         attorneys’ fees) owed to or incurred by the Prepetition
                         ABL Agent and the Prepetition ABL Lenders related to
                         the Prepetition ABL Documents, the Prepetition ABL
                         Obligations, or the Prepetition ABL Liens, as
                         applicable, whether in these Cases or independently in
                         another forum, court, or venue. The Prepetition ABL
                         Indemnity Obligations shall be secured by a first
                         priority lien on the Prepetition ABL Indemnity Reserve
                         and the funds therein (which shall not be subject to the
                         Carve-Out) and by a lien on the Postpetition Collateral
                         and the Prepetition Collateral (subject in all respects to
                         the Intercreditor Agreement). Subject to paragraph 22
                         of the Interim Order, the Debtors shall pay all
                         Prepetition ABL Indemnity Obligations as and when
                         they arise and paid; provided, that the Prepetition ABL
                         Agent shall have authority in its sole discretion, but not
                         an obligation, to apply amounts in the Prepetition ABL
                         Indemnity Reserve to any Prepetition ABL Indemnity
                         Obligations, without further notice to or consent from
                         the Debtors, a Committee (if appointed), or any other
                         parties in interest and without further order of this
                         Court; provided, that (i) any such indemnification
                         claims shall be subject to (a) the terms of the
                         Prepetition ABL Documents (including with respect to
                         application of proceeds) and (b) the rights of parties in
                         interest with requisite standing to object to such
                         indemnification claim(s) to the extent set forth in
                         paragraph 27 of the Interim Order. The Prepetition
                         ABL Agent (for itself and on behalf of the Prepetition
                         ABL Parties) shall retain and maintain the Prepetition
                         ABL Liens and the Prepetition ABL Adequate
                         Protection Liens granted to the Prepetition ABL Agent
                         as security for the amount of any Prepetition ABL
                         Indemnity Obligations in excess of the funds on deposit
                         in the Prepetition ABL Indemnity Reserve. The
                         Prepetition ABL Indemnity Reserve shall be released at
                         such time as the Prepetition ABL Indemnity


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                                                                                   Interim
                                                                                    Order
                         Obligations are Paid in Full.
                                                                                      ¶8
                         Adequate Protection Payments and Protections for
                         Prepetition Term Loan Agent. As further adequate
                         protection, the Debtors are authorized and directed to
                         pay in cash the following: (a) the reasonable and
                         documented fees, out-of-pocket fees and expenses, and
                         disbursements (including the reasonable and
                         documented fees, out-of-pocket fees and expenses, and
                         disbursements of counsel, financial advisors, auditors,
                         third-party consultants, and other vendors) incurred by
                         the Prepetition Term Loan Agent arising prior to the
                         Petition Date and reimbursable under the Prepetition
                         Term Loan Documents, and (b) in accordance with
                         paragraph 22 of the Interim Order, the reasonable and
                         documented fees, out-of-pocket fees and expenses, and
                         disbursements (including the reasonable and
                         documented fees, out-of-pocket fees and expenses, and
                         disbursements of counsel, financial advisors, auditors,
                         third-party consultants, and other vendors) incurred by
                         the Prepetition Term Loan Agent on and subsequent to
                         the Petition Date reimbursable under the Prepetition
                         Term Loan Documents; provided, however, that any
                         payments made under this paragraph 8 shall be made
                         solely from proceeds of Postpetition Term Priority
                         Collateral.

     Liens on            Subject to the entry of the Final Order, the Adequate     ¶ 3(a)-(b)
     Chapter 5           Protection Liens include the proceeds of any
     Actions             avoidance actions brought pursuant to Chapter 5 of the
                         Bankruptcy Code or applicable state law equivalents.
     Local Rule 4001-
     2(a)(i)(D)




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        Material Terms               Summary of Material Terms                       Para(s). of
                                                                                     Interim
                                                                                      Order
     Carve Out           The “Carve Out” means (i) all fees required to be paid to     ¶ 24
                         (A) the Clerk of the Court and (B) the Office of the
     Local Rule 4001-    United States Trustee under section 1930(a) of title 28
     2(a)(i)(F)          of the United States Code; (ii) all reasonable fees and
                         expenses up to $50,000 (and any interest thereon)
                         incurred by a trustee under section 726(b) of the
                         Bankruptcy Code (the “Chapter 7 Trustee Carve Out”);
                         (iii) to the extent allowed at any time (regardless of
                         whether allowed by the Court prior to or after delivery
                         of a Carve Out Trigger Notice (as defined below)),
                         whether by interim order, procedural order, or
                         otherwise, all accrued and unpaid fees and expenses
                         incurred by persons or firms retained by the Debtors
                         pursuant to sections 327, 328 or 363 of the Bankruptcy
                         Code (the “Debtor Professionals”) and a Committee (if
                         appointed) pursuant to sections 328 or 1103 of the
                         Bankruptcy Code (the “Committee Professionals” and,
                         together with the Debtor Professionals, the “Professional
                         Persons”) (such fees and expenses, the “Allowed
                         Professional Fees”) at any time on or prior to the first
                         business day following delivery by the Prepetition ABL
                         Agent of a Carve Out Trigger Notice (as defined in the
                         Interim Order), provided that the amount of such
                         Allowed Professional Fees shall, as relates to the
                         Prepetition ABL Parties, the Prepetition ABL Priority
                         Collateral and the Postpetition ABL Priority Collateral,
                         not exceed, at any time, the amount set forth for
                         Allowed Professional Fees in the Budget at such time
                         (the “ABL Professional Fee Cap”); and (iv) Allowed
                         Professional Fees of Professional Persons in an
                         aggregate amount not to exceed $[500,000] incurred
                         after the first business day following delivery by the
                         Prepetition ABL Agent of the Carve Out Trigger Notice,
                         to the extent allowed at any time, whether by interim
                         order, procedural order or otherwise (the amounts set
                         forth in this clause (iv) being the “Post Carve Out
                         Trigger Notice Cap”). For purposes of the foregoing,
                         “Carve Out Trigger Notice” shall mean a written notice
                         delivered by email (or other electronic means) by the
                         Prepetition ABL Agent to lead restructuring counsel for
                         the Debtors, the U.S. Trustee, and lead counsel to a
                         Committee (if appointed), which notice may be
                         delivered following the occurrence and during the


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        Material Terms               Summary of Material Terms                       Para(s). of
                                                                                     Interim
                                                                                      Order
                         continuation of an Event of Default (as defined above),
                         stating that the Post-Carve Out Trigger Notice Cap has
                         been invoked. Each Professional Person shall deliver
                         bi-weekly (on Thursday of each such week, beginning
                         on the second Thursday following the Petition Date) to
                         the Debtors (and the Debtors shall cause the same to be
                         delivered to the Prepetition Agents on the same day
                         received by the Debtors) a statement setting forth a
                         good-faith estimate of the amount of fees and expenses
                         incurred during the preceding week by such Professional
                         Persons (through Saturday of such week).

     Cross               None, other than replacement liens as adequate                N/A
     Collateralization   protection.

     Local Rule 4001-
     2(a)(i)(A)

     Findings            As set forth in the Interim Order, the Debtors have         ¶¶ F, 27
     Regarding           acknowledged and agreed as set forth therein, to the
     Validity/           validity, perfection, priority, amount and
     Perfection/         enforceability of the Prepetition Secured Obligations,
     Amount              without prejudice to any other party’s rights to assert
                         claims, counterclaims or causes of actions, objections,
     Local Rule 4001-    contests or defenses prior to the expiration of the
     2(a)(i)(B)          Challenge Period (as defined below).

     Challenge Period    The “Challenge Period” is (A) for a Committee (if             ¶ 27
                         appointed), sixty (60) days from the date of formation of
     Local Rule 4001-    the Committee (if appointed), or (B) seventy-five (75)
     2(a)(i)(B)          days following the entry of the Interim Order for any
                         other party in interest with requisite standing (the
                         occurrence of (A) and (B), as applicable, the “Challenge
                         Deadline”), as such applicable date may be extended in
                         writing from time to time in the sole discretion of the
                         Prepetition ABL Agent (with respect to the Prepetition
                         ABL Documents) and the Prepetition Term Loan Agent
                         (with respect to the Prepetition Term Loan Documents),
                         or by this Court for good cause shown pursuant to an
                         application filed by a party in interest prior to the
                         expiration of the Challenge Deadline.




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                                                                                       Interim
                                                                                        Order
     506(c) Waiver       Subject to entry of the Final Order, no costs or                ¶ 29
                         expenses of administration which have been or may be
     Local Rule 4001-    incurred in the cases at any time shall be charged
     2(a)(i)(C)          against the Prepetition Secured Parties or any of their
                         respective claims, the Postpetition Collateral, or the
                         Prepetition Collateral pursuant to sections 105 or
                         506(c) of the Bankruptcy Code, or otherwise, without
                         the prior written consent of the Prepetition Secured
                         Parties, as applicable, and no such consent shall be
                         implied from any other action, inaction, or
                         acquiescence by any such parties.
     552(b) Wavier       Subject to entry of the Final Order, the Prepetition            ¶ 31
                         Secured Parties shall each be entitled to all of the rights
     Local Rule          and benefits of section 552(b) of the Bankruptcy Code,
     4001-               and the “equities of the case” exception under section
     2(a)(i)(H)          552(b) of the Bankruptcy Code shall not apply to the
                         Prepetition Secured Parties, with respect to proceeds,
                         product, offspring or profits of any of the Prepetition
                         Collateral.

     Releases            The Debtors stipulate and agree that they forever and          ¶ F(x)
                         irrevocably release, discharge, and acquit the
     Local Rule          Prepetition Agents, the Prepetition Secured Parties, all
     4001-               former, current and future Prepetition Secured Parties,
     2(a)(ii)            and each of their respective successors, assigns,
                         affiliates, subsidiaries, parents, officers, shareholders,
                         directors, employees, attorneys and agents, past,
                         present and future, and their respective heirs,
                         predecessors, successors and assigns (collectively, the
                         “Releasees”) of and from any and all claims,
                         controversies, disputes, liabilities, obligations,
                         demands, damages, expenses (including reasonable
                         attorneys’ fees), debts, liens, actions and causes of
                         action of any and every nature whatsoever relating to,
                         as applicable, the Prepetition Secured Facilities, the
                         Prepetition Documents, and/or the transactions
                         contemplated under the Interim Order or thereunder
                         occurring prior to the entry of the Interim Order
                         including (x) any so-called “lender liability” or
                         equitable subordination or recharacterization claims or
                         defenses, (y) any and all claims and causes of action
                         arising under the Bankruptcy Code, and (z) any and all
                         claims and causes of action with respect to the validity,

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          Material Terms                             Summary of Material Terms                                   Para(s). of
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                                     priority, perfection or avoidability of the liens or claims
                                     of the Prepetition Agents and the Prepetition Secured
                                     Parties. The Debtors further waive and release any
                                     defense, right of counterclaim, right of set-off or
                                     deduction to the payment of the Prepetition Secured
                                     Obligations which the Debtors may now have or may
                                     claim to have against the Releasees, arising out of,
                                     connected with or relating to any and all acts,
                                     omissions or events occurring prior to this Court
                                     entering the Interim Order.

       Provisions                    None.                                                                          N/A
       Deeming
       Prepetition Debt
       to be Postpetition
       Debt

       Local Rule 4001-
       2(a)(i)(E)

       Non-Consensual                None.                                                                          N/A
       Priming

       Local Rule 4001-
       2(a)(i)(G)


                                                      Basis for Relief

  I.            The Debtors’ Request to Use Cash Collateral and Proposed Adequate Protection
                are Appropriate

             10.      The Debtors’ use of property of their estates, including Cash Collateral, is governed

  by section 363 of the Bankruptcy Code.4 Pursuant to section 363(c)(2) of the Bankruptcy Code, a



  4
      The Bankruptcy Code defines “cash collateral” as follows:

        Cash, negotiable instruments, documents of title, securities, deposit accounts, or other cash equivalents whenever
        acquired in which the estate and an entity other than the estate have an interest and includes the proceeds, products,
        offspring rents, or profits of property and the fees, charges, accounts or other payments for the use or occupancy
        of rooms and other public facilities in hotels, motels, or other lodging properties subject to a security interest as

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  debtor may use cash collateral as long as “(A) each entity that has an interest in such cash collateral

  consents; or (B) the court, after notice and a hearing, authorizes such use, sale, or lease in

  accordance with the provisions of this section.” 11 U.S.C. § 363(c)(2).

           11.     Section 363(e) of the Bankruptcy Code provides for adequate protection of interests

  in property when a debtor uses cash collateral. 11 U.S.C. § 363(e). Further, section 362(d)(1) of

  the Bankruptcy Code provides for adequate protection of interests in property due to the imposition

  of the automatic stay. See In re Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996). While section

  361 of the Bankruptcy Code provides examples of forms of adequate protection, such as granting

  replacement liens and administrative claims, courts decide what constitutes sufficient adequate

  protection on a case-by-case basis. Resolution Trust Corp. v. Swedeland Dev. Grp., Inc. (In re

  Swedeland Dev. Grp., Inc.), 16 F.3d 552, 564 (3d Cir. 1994) (“[A] determination of whether there

  is adequate protection is made on a case by case basis.”); In re Satcon Tech. Corp., No. 12-12869,

  2012 WL 6091160, at *6 (Bankr. D. Del. Dec. 7, 2012); see also In re Dynaco Corp., 162 B.R.

  389, 394 (Bankr. D.N.H. 1993) (citing 2 COLLIER ON BANKRUPTCY ¶ 361.01 [1] at 361-66

  (15th ed. 1993) (explaining that adequate protection can take many forms and “must be determined

  based upon equitable considerations arising from the particular facts of each proceeding”); In re

  Mosello, 195 B.R. 277, 289 (Bankr. S.D.N.Y. 1996) (“[T]he determination of adequate protection

  is a fact-specific inquiry left to the vagaries of each case . . . ”) (citation and quotation omitted).

           12.     The concept of adequate protection is designed to shield a secured creditor from

  diminution in the value of its interest in collateral during the period of a debtor’s use. See In re



      provided in section 552(b) of this title, whether existing before or after the commencement of a case under this
      title.

  11 U.S.C. § 363(a).


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  Carbone Cos., 395 B.R. 631, 635 (Bankr. N.D. Ohio 2008) (“The test is whether the secured

  party’s interest is protected from diminution or decrease as a result of the proposed use of cash

  collateral.”); see also In re Cont’l Airlines, Inc., 154 B.R. 176, 180-81 (Bankr. D. Del. 1993)

  (holding that adequate protection for use of collateral under section 363 of the Bankruptcy Code

  is limited to use-based decline in value).

           A.    The Proposed Adequate Protection for the Prepetition Secured Parties is
                 Sufficient

           13.   As set forth in the Interim Order and described above in the Highlighted Provisions,

  the Debtors propose to provide the Prepetition Secured Parties with various forms of Adequate

  Protection. The Debtors respectfully submit that, in light of the circumstances of these chapter 11

  cases, the proposed Adequate Protection is appropriate and sufficient to protect the Prepetition

  Secured Parties from any diminution in value to the Collateral during the Specified Period. In

  particular, the Cash Collateral will be used to sustain the Debtors’ business operations, allowing

  for the maximization of the value of the Debtors’ estates, specifically the arms’ length negotiated

  terms to protect the Debtors’ customer programs. If Cash Collateral is not available for this

  purpose, the Debtors will be unable to fund payroll obligations, procure goods and services from

  vendors or otherwise maintain their operations and service their customers, thereby dissipating

  value to the detriment of the Prepetition Secured Parties and other stakeholders. The use of the

  Cash Collateral will therefore protect the Prepetition Secured Parties’ security interests by

  preserving the value of their collateral. See In re 495 Cent. Park Ave. Corp., 136 B.R. 626, 631

  (Bankr. S.D.N.Y. 1992) (evaluating “whether the value of the debtor’s property will increase as a

  result of the” use of collateral in determining sufficiency of adequate protection); In re Salem Plaza

  Assocs., 135 B.R. 753, 758 (Bankr. S.D.N.Y. 1992) (holding that a debtor’s use of cash collateral

  to pay operating expenses, thereby “preserv[ing] the base that generates the income stream,”

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  provided adequate protection to the secured creditor); In re Constable Plaza Assocs., L.P., 125

  B.R. 98, 105 (Bankr. S.D.N.Y. 1991) (observing that debtor’s use of rents to maintain and operate

  property “will serve to preserve or enhance the value of the building which, in turn, will protect

  the collateral covered by [the secured lender’s] mortgage”).

           14.    In light of the foregoing, the Debtors submit that the proposed Adequate Protection

  to be provided for the benefit of the Prepetition Secured Parties is appropriate. Thus, the Debtors’

  proposed Adequate Protection not only is necessary to protect the Prepetition Secured Parties

  against any diminution in value, but also is fair and appropriate on an interim basis under the

  circumstances of these chapter 11 cases to ensure the Debtors are able to continue using Cash

  Collateral in the near term, for the benefit of their estates and all parties in interest.

  II.      Failure to Obtain Immediate Interim Use of Cash Collateral Would Cause
           Immediate and Irreparable Harm

           15.    Bankruptcy Rule 4001(b)(2) provides that a final hearing on a motion to use cash

  collateral pursuant to section 363 of the Bankruptcy Code may not be commenced earlier than

  fourteen (14) days after the service of such motion. Fed. R. Bankr. P. 4001(b)(2). However, the

  Court is authorized to conduct a preliminary expedited hearing on the Motion and authorize the

  Debtors’ proposed use of Cash Collateral to the extent necessary to avoid immediate and

  irreparable harm to the Debtors’ estates. Id.

           16.    The Debtors has an immediate postpetition need to use Cash Collateral. The

  Debtors cannot maintain the value of their estates during the pendency of these chapter 11 cases

  without access to cash. The Debtors will use cash to, among other things, continue operating their

  business and satisfy other working capital needs during the chapter 11 cases, including, among

  other things, to fund their customer programs. The Debtors believe that all or substantially all of

  their available cash constitutes the Prepetition Secured Parties’ Cash Collateral, as that term is

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  used by section 363(c) of the Bankruptcy Code. The Debtors therefore will be unable to proceed

  with operating their business without the ability to use Cash Collateral, and will suffer immediate

  and irreparable harm to the detriment of all creditors and other parties in interest. In short, the

  Debtors’ ability to finance their operations and the availability of sufficient working capital and

  liquidity to the Debtors through the use of Cash Collateral is vital to the preservation and

  maintenance of the value of the Debtors’ estates.

           17.   The Debtors, therefore, seek immediate authority to use the Cash Collateral on an

  interim basis and as set forth in this Motion and in the Interim Order to prevent immediate and

  irreparable harm to their estates pending the Final Hearing pursuant to Bankruptcy Ru1e

  400l(b)(2). Accordingly, to the extent that the Debtors require the use of Cash Collateral, the

  Debtors respectfully submit that they have satisfied the requirements of Bankruptcy Rule

  4001(b)(2) to support an expedited preliminary hearing and immediate Cash Collateral availability

  on an interim basis.

  III.     Modification of the Automatic Stay is Appropriate

           18.   The Interim Order and Final Order (together, the “Cash Collateral Orders”)

  contemplate a modification of the automatic stay (to the extent applicable) as necessary to, inter

  alia, permit the Debtors to: (a) grant the security interests, liens and superpriority claims described

  above, and to perform such acts as may be requested to assure the perfection and priority of such

  security interests and liens; and (b) authorize the Debtors to make certain payments in accordance

  with the terms of the Cash Collateral Orders. In addition, the Cash Collateral Orders provide for

  modification of the automatic stay to allow the Prepetition Secured Partiers to exercise remedies

  upon the occurrence and during the continuance of an Event of Default, and after the giving of five

  (5) business days’ prior written notice to the Debtors.


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           19.   Stay modification provisions of this kind are ordinary and standard terms of

  postpetition use by debtors-in-possession of prepetition collateral, and, in the Debtors’ business

  judgment, are reasonable under the present circumstances. See, e.g., In re Open Road Films, LLC,

  Case No. 18-12012 (LSS) [Docket No. 51] (Bankr. D. Del. September 7, 2018) (terminating

  automatic stay after occurrence of termination event and applicable notice); In re RM Holdco LLC,

  Case No. 18-11795 (MFW) [Docket No. 53] (Bankr. D. Del. August 7, 2018) (same); In re

  Heritage Home Grp. LLC, Case No. 18-11736 (KG) [Docket No. 46] (Bankr. D. Del. July 31,

  2018) (same); In re EBH Topco, LLC, Case No. 18-11212 (BLS) [Docket No. 55] (Bankr. D. Del.

  May 24, 2018) (same); In re Gibson Brands, Inc., Case No. 18-11025 (CSS) [Docket No. 71]

  (Bankr. D. Del. May 2, 2018) (same); In re Appvion, Inc., Case No. 17-12082 (KJC) [Docket No.

  75] (Bankr. D. Del. October 5, 2017). Accordingly, the Debtors respectfully request that the Court

  authorize the modification of the automatic stay in accordance with the terms set forth in the Cash

  Collateral Orders.

                                      Request for Final Hearing

           20.   Pursuant to Bankruptcy Rule 400l(b)(2), the Debtors request that the Court set a

  date for the Final Hearing within thirty-five (35) days of the Petition Date and fix the date and time

  prior to the Final Hearing for parties to file objections to the relief requested by this Motion.

                   The Requirements of Bankruptcy Rule 6003(b) Are Satisfied

           24.   Bankruptcy Rule 6003 empowers a court to grant relief within the first 21 days after

  the commencement of a chapter 11 case “to the extent that relief is necessary to avoid immediate

  and irreparable harm.” Fed. R. Bankr. P. 6003. For the reasons discussed above, authorizing the

  Debtors to use Cash Collateral and granting the other relief requested herein is integral to the

  Debtors’ ability to transition their operations into these chapter 11 cases smoothly. Failure to

  receive such authorization and other relief during the first 21 days of these chapter 11 cases would

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  severely disrupt the Debtors’ operations at this critical juncture. Accordingly, the Debtors submit

  that they have satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule 6003

  to support granting the relief requested herein.

                          Waiver of Bankruptcy Rule 6004(a) and 6004(h)

           25.   To implement the foregoing successfully, the Debtors request that the Court enter

  an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and

  that the Debtors have established cause to exclude such relief from the 14-day stay period under

  Bankruptcy Rule 6004(h).

                                         Reservation of Rights

           26.   Nothing contained in this Motion or any actions taken by the Debtors pursuant to

  any order granting the relief requested by this Motion is intended or should be construed as: (a)

  an admission as to the validity, priority, or amount of any particular claim against a Debtor entity;

  (b) a waiver of the Debtors’ right to dispute any particular claim on any grounds; (c) a promise or

  requirement to pay any particular claim; (d) an implication or admission that any particular claim

  is of a type specified or defined in this Motion or any order granting the relief requested by this

  Motion; (e) a request or authorization to assume any agreement, contract, or lease pursuant to

  section 365 of the Bankruptcy Code; (f) a waiver or limitation of the Debtors’ rights under the

  Bankruptcy Code or any other applicable law; or (g) a concession by the Debtors or any other

  party-in-interest that any liens (contractual, common law, statutory, or otherwise) satisfied

  pursuant to this Motion are valid and the Debtors and all other parties-in-interest expressly reserve

  their rights to contest the extent, validity, or perfection, or to seek avoidance of all such liens. If

  the Court grants the relief sought herein, any payment made pursuant to the Court’s Interim Order

  and Final Order is not intended and should not be construed as an admission as to the validity,



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  priority, or amount of any particular claim or a waiver of the Debtors’ or any other party-in-

  interest’s rights to subsequently dispute such claim.

                                                  Notice

           27.   Notice of the hearing on the relief requested in this Motion will be provided by the

  Debtors in accordance and compliance with Bankruptcy Rules 4001 and 9014, as well as the

  Bankruptcy Local Rules, and is sufficient under the circumstances.              Without limiting the

  foregoing, due notice will be afforded, whether by facsimile, electronic mail, overnight courier or

  hand delivery, to parties-in-interest, including: (a) the Office of the U.S. Trustee for the District

  of Delaware; (b) the holders of the 30 largest unsecured claims against the Debtors (on a

  consolidated basis); (c) the agents under the Debtors’ prepetition secured facilities and counsel

  thereto; (d) the United States Attorney’s Office for the District of Delaware; (e) the Internal

  Revenue Service; (f) the state attorneys general for states in which the Debtors conduct business;

  and (g) any party that has requested notice pursuant to Bankruptcy Rule 2002. The Debtors submit

  that, in light of the nature of the relief requested, no other or further notice need be given.

                                           No Prior Request

           28.   No prior motion for the relief requested herein has been made to this or any other

  court.

                              [Remainder of page intentionally left blank.]




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           WHEREFORE, for the reasons set forth herein and in the First Day Declaration, and based

  on the record of the Chapter 11 Case, the Debtors respectfully request that this Court (a) enter the

  Cash Collateral Orders (i) authorizing the Debtors to use Cash Collateral on an interim and final

  basis subject to the terms and conditions set forth therein; (ii) granting adequate protection to the

  Prepetition Secured Parties to the extent set forth in the Cash Collateral Orders; (iii) scheduling

  the Final Hearing, pursuant to the Interim Order, within approximately thirty-five (35) days of the

  commencement of the chapter 11 cases, to consider approval of this Motion on a final basis; and

  (iv) granting related relief; and (b) grant the Debtors such other and further relief as may be just

  and proper.


  Dated: March 8, 2020                          BENESCH, FRIEDLANDER, COPLAN &
  Wilmington, Delaware                          ARONOFF LLP

                                                   /s/ Gregory W. Werkheiser
                                                Gregory W. Werkheiser (DE No. 3553)
                                                Michael J. Barrie (DE No. 4684)
                                                Jennifer Hoover (DE No. 5111)
                                                Kevin Capuzzi (DE No. 5462)
                                                John C. Gentile (DE No. 6159)
                                                222 Delaware Avenue, Suite 801
                                                Wilmington, DE 19801
                                                Telephone: (302) 442-7010
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                                                E-mail: gwerkheiser@beneschlaw.com
                                                        mbarrie@beneschlaw.com
                                                        jhoover@beneschlaw.com
                                                        kcapuzzi@beneschlaw.com
                                                        jgentile@beneschlaw.com

                                                Proposed Counsel to the Debtors and Debtors in
                                                Possession




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                               )
      In re:                                                   ) Chapter 11
                                                               )
      ART VAN FURNITURE, LLC, et al.,1                         ) Case No. 20-10553 (___)
                                                               )
                                    Debtors.                   ) (Joint Administration Requested)
                                                               )
                                                               )

               INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO USE
          CASH COLLATERAL, (II) GRANTING ADEQUATE PROTECTION TO THE
       PREPETITION SECURED PARTIES, (III) MODIFYING THE AUTOMATIC STAY,
       (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”)2 of (a) AVF Parent, LLC (the “Borrower”), and

  (b) AVF Holdings II, LLC, Art Van Furniture, LLC, Art Van Furniture of Canada, LLC, AV Pure

  Sleep Franchising, LLC, AVCE, LLC, AVF Franchising, LLC, AVF Holding Company, Inc., AVF

  Holdings I, LLC, Levin Parent, LLC, LF Trucking, Inc., Comfort Mattress, LLC and Sam Levin,

  Inc., each as a debtor and debtor in possession (collectively, with the Borrower, the “Debtors”) in

  the above-captioned Chapter 11 cases (collectively, the “Cases”), seeking entry of an order (this

  “Interim Order”) pursuant to sections 105, 361, 362, 363 and 507 of chapter 11 of title 11 of the

  United States Code (the “Bankruptcy Code”) and Rules 2002, 4001, 6004, and 9014 of the Federal

  Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) inter alia:




  1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
  identification number, include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291);
  AVCE, LLC (2509); AVF Holdings I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC
  (3451); Levin Parent, LLC (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep Franchising,
  LLC (8968); AVF Franchising, LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and
  Comfort Mattress LLC (4463). The location of the Debtors’ service address in these chapter 11 cases is:
  6500 East 14 Mile Road, Warren Michigan 48092.
  2
    Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to such terms in
  the Motion.


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           (i)       authorizing the Debtors to use the Prepetition Collateral (as defined herein),

  including all property constituting “Cash Collateral” as defined in section 363(a) of the Bankruptcy

  Code (“Cash Collateral”) of the Prepetition ABL Parties under the Prepetition ABL Documents

  and the Prepetition Term Loan Parties under the Prepetition Term Loan Documents (each as

  defined herein), and providing adequate protection to the Prepetition ABL Parties and Prepetition

  Term Loan Parties for any diminution in value, including resulting from the imposition of the

  automatic stay, the Debtors’ use, sale, or lease of the Prepetition Collateral, including Cash

  Collateral, and, in the case of the Prepetition Secured Parties, the priming of their respective

  interests in the Prepetition Collateral (including by the Carve Out) pursuant to the terms and

  conditions set forth herein (“Diminution in Value”);

           (ii)      vacating and modifying the automatic stay imposed by section 362 of the

  Bankruptcy Code solely to the extent necessary to implement and effectuate the terms and

  provisions of this Interim Order; and

           (iii)     scheduling a final hearing (the “Final Hearing”) within 30 days of the Petition

  Date to consider the relief requested in the Motion on a final basis (the “Final Order”) and

  approving the form of notice with respect to the Final Hearing.

           The Court having considered the Motion, the exhibits attached thereto, the Declaration of

  David Ladd, Executive Vice President and Chief Financial Officer of Art Van Furniture, LLC, in

  Support of Chapter 11 Petitions and First Day Motions and the evidence submitted and argument

  made at the interim hearing held on March [__], 2020 (the “Interim Hearing”); and notice of the

  Interim Hearing having been given in accordance with Bankruptcy Rules 2002, 4001(b) and (d),

  and all applicable Local Rules of Bankruptcy Practice and Procedure of the United States

  Bankruptcy Court for the District of Delaware (the “Local Rules”); and the Interim Hearing having



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  been held and concluded; and all objections, if any, to the interim relief requested in the Motion

  having been withdrawn, resolved or overruled by the Court; and it appearing that approval of the

  interim relief requested in the Motion is necessary to avoid immediate and irreparable harm to the

  Debtors and their estates pending the Final Hearing, and otherwise is fair and reasonable and in

  the best interests of the Debtors, their estates, and all parties in interest, and is essential for the

  continued operation of the Debtors’ businesses and the preservation of the value of the Debtors’

  assets; and after due deliberation and consideration, and good and sufficient cause appearing

  therefor;

  BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING, THE

  COURT MAKES THE FOLLOWING FINDINGS OF FACT AND CONCLUSIONS OF

  LAW:3

                  A.       Petition Date. On March 8, 2020 (the “Petition Date”), each of the Debtors

  filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code with the United States

  Bankruptcy Court for the District of Delaware (the “Court”).

                  B.       Debtors in Possession. The Debtors have continued in the management

  and operation of their businesses and properties as debtors in possession pursuant to sections 1107

  and 1108 of the Bankruptcy Code.

                  C.       Jurisdiction and Venue. This Court has jurisdiction over the Cases, the

  Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and 1334.

  Venue for the Cases and proceedings on the Motion is proper before this Court pursuant to 28



  3
    The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of
  law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule
  9014. To the extent that any of the following findings of fact constitute conclusions of law, they are adopted
  as such. To the extent any of the following conclusions of law constitute findings of fact, they are adopted
  as such.

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  U.S.C. §§ 1408 and 1409.

                  D.      Committee Formation. As of the date hereof, the United States Trustee

  for the District of Delaware (the “U.S. Trustee”) has not appointed an official committee of

  unsecured creditors in these Cases pursuant to section 1102 of the Bankruptcy Code (a

  “Committee”).

                  E.      Notice. Proper, timely, adequate, and sufficient notice of the Motion and

  the Interim Hearing has been provided in accordance with the Bankruptcy Code, the Bankruptcy

  Rules, and the Local Rules, and no other or further notice of the Motion with respect to the relief

  requested at the Interim Hearing or the entry of this Interim Order shall be required.

                  F.      Debtors’ Stipulations. After consultation with their attorneys and financial

  advisors, and without prejudice to the rights of parties in interest as set forth in paragraph 27 herein,

  the Debtors, on their behalf and on behalf of their estates, admit, stipulate, acknowledge, and agree

  as follows (paragraphs F(i) through F(xii) below are referred to herein, collectively, as the

  “Debtors’ Stipulations”):

                                  Prepetition ABL Facility. Pursuant to that certain ABL Credit

  Agreement dated as of March 1, 2017 (as amended, restated, supplemented, or otherwise modified

  from time to time, the “Prepetition ABL Agreement,” and collectively with the Loan Documents

  (as defined in the Prepetition ABL Agreement) and any other agreements and documents executed

  or delivered in connection therewith, each as may be amended, restated, supplemented, waived or

  otherwise modified from time to time, the “Prepetition ABL Documents”), among (a) the Borrower

  (the “Prepetition ABL Borrower”), (b) the guarantors party thereto (the “Prepetition ABL

  Guarantors”), (c) Wells Fargo Bank, National Association, as administrative agent, issuing bank

  and collateral agent (in such capacity, the “Prepetition ABL Agent”), and (d) the lenders party



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  thereto (collectively, including the Prepetition ABL Agent, the “Prepetition ABL Lenders,” and

  the Prepetition ABL Lenders and the Prepetition ABL Agent, together, the “Prepetition ABL

  Parties”), the Prepetition ABL Lenders provided revolving credit, term loans and other financial

  accommodations to, and issued letters of credit for the account of, the Prepetition ABL Borrowers

  pursuant to the Prepetition ABL Documents (the “Prepetition ABL Facility”) in an aggregate

  principal amount of up to $82,500,000.

                                Prepetition ABL Obligations. As of the Petition Date, the aggregate

  principal amount outstanding under the Prepetition ABL Facility was not less than approximately

  $33,573,784.18, inclusive of not less than $14,900,000 of issued and outstanding letters of credit

  and the Early Termination Premium as defined in the Prepetition ABL Documents (collectively,

  together with accrued and unpaid interest, bankers’ acceptances, any reimbursement obligations

  (contingent or otherwise) in respect of letters of credit and bankers’ acceptances, any fees,

  expenses and disbursements (including attorneys’ fees, accountants’ fees, auditor fees, appraisers’

  fees and financial advisors’ fees, and related expenses and disbursements), treasury, cash

  management, bank product and derivative obligations, indemnification obligations, guarantee

  obligations, and other charges, amounts and costs of whatever nature owing, whether or not

  contingent, whenever arising, accrued, accruing, due, owing, or chargeable in respect of any of the

  Prepetition ABL Borrowers’ or the Prepetition ABL Guarantors’ obligations pursuant to, or

  secured by, the Prepetition ABL Documents, including all “Obligations” as defined in the

  Prepetition ABL Agreement, and all interest, fees, prepayment premiums, costs and other charges

  allowable under section 506(b) of the Bankruptcy Code, the “Prepetition ABL Obligations”).

                                Prepetition ABL Liens and Prepetition ABL Priority Collateral. As

  more fully set forth in the Prepetition ABL Documents, prior to the Petition Date, the Prepetition



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  ABL Borrowers and the Prepetition ABL Guarantors granted to the Prepetition ABL Agent, for

  the benefit of itself and the Prepetition ABL Lenders, security interests in and continuing liens on

  (the “Prepetition ABL Liens”) substantially all of their assets and property, including (a) a first

  priority security interest in and continuing lien on the ABL Priority Collateral (as defined in that

  certain Intercreditor Agreement referred to in paragraph F(vii) below) and all proceeds, products,

  accessions, rents, and profits thereof, in each case whether then owned or existing or thereafter

  acquired or arising (collectively, the “Prepetition ABL Priority Collateral”), and (b) a second

  priority security interest in and continuing lien on the Term Loan Priority Collateral (as defined in

  the Intercreditor Agreement) and proceeds, products, and rents of any of the foregoing

  (collectively, the “Prepetition Term Priority Collateral,” and together with the Prepetition ABL

  Priority Collateral, the “Prepetition Collateral”), subject only to the liens of the Prepetition Term

  Loan Agent on the Prepetition Term Priority Collateral and Prepetition ABL Permitted Prior Liens

  (as defined herein).

                                 Prepetition Term Loan Facility. Pursuant to that certain Credit

  Agreement dated as of March 1, 2017 (as amended, restated, supplemented, waived or otherwise

  modified from time to time, the “Prepetition Term Loan Agreement,” and collectively with the

  Loan Documents (as defined in the Prepetition Term Loan Agreement) and any other agreements

  and documents executed or delivered in connection therewith, each as may be amended, restated,

  supplemented, waived or otherwise modified from time to time, the “Prepetition Term Loan

  Documents,” and together with the Prepetition ABL Documents, the “Prepetition Documents”),

  among (a) the Borrower (the “Prepetition Term Loan Borrower” and together with the Prepetition

  ABL Borrower, the “Prepetition Borrowers”), (b) Virtus Group, LP, as administrative agent and

  collateral agent (in such capacities, the “Prepetition Term Loan Agent,” and together with the



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  Prepetition ABL Agent, the “Prepetition Agents”), (c) the guarantors thereunder (the “Prepetition

  Term Loan Guarantors” and, together with the Prepetition ABL Guarantors, the “Prepetition

  Guarantors”), and (d) the lenders party thereto (the “Prepetition Term Loan Lenders,” and

  collectively, including the Prepetition Term Loan Agent, the “Prepetition Term Loan Parties,” and

  together with the Prepetition ABL Parties, the “Prepetition Secured Parties”), the Prepetition Term

  Loan Lenders provided term loans to the Prepetition Term Loan Borrower (the “Prepetition Term

  Loan Facility,” and together with the Prepetition ABL Facility, the “Prepetition Secured

  Facilities”) in an aggregate principal amount of $100,000,000.

                                Prepetition Term Loan Obligations. As of the Petition Date, the

  aggregate principal amount outstanding under the Prepetition Term Loan Facility was not less than

  approximately $175,000,000 (collectively, together with accrued and unpaid interest, any fees,

  expenses and disbursements (including attorneys’ fees, accountants’ fees, appraisers’ fees, and

  financial advisors’ fees and related expenses and disbursements reimbursable thereunder),

  indemnification obligations, and other charges, amounts, and costs of whatever nature owing,

  whether or not contingent, whenever arising, accrued, accruing, due, owing, or chargeable in

  respect of any of the Prepetition Term Loan Borrower’s and the Prepetition Term Loan

  Guarantors’ obligations pursuant to, or secured by, the Prepetition Term Loan Documents,

  including all “Obligations” as defined in the Prepetition Term Loan Agreement, and all interest,

  fees, costs and other charges allowable under section 506(b) of the Bankruptcy Code, the

  “Prepetition Term Loan Obligations,” and together with the Prepetition ABL Obligations, the

  “Prepetition Secured Obligations”).

                                Prepetition Term Loan Liens and Prepetition Term Priority

  Collateral. As more fully set forth in the Prepetition Term Loan Documents, prior to the Petition



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  Date, the Prepetition Term Loan Borrower and the Prepetition Term Loan Guarantors granted to

  the Prepetition Term Loan Agent, for the benefit of itself and the Prepetition Term Loan Lenders,

  security interests in and continuing liens on (the “Prepetition Term Loan Liens,” and together with

  the Prepetition ABL Liens, the “Prepetition Liens”) substantially all of their assets and property,

  including (a) a first priority security interest in and continuing lien on the Prepetition Term Priority

  Collateral, and (b) a second priority security interest in and continuing lien on the Prepetition ABL

  Priority Collateral, subject only to the liens of the Prepetition ABL Agent on the Prepetition ABL

  Priority Collateral and Prepetition Term Loan Permitted Prior Liens (as defined herein).

                                 Priority of Prepetition Liens; Intercreditor Agreement.             The

  Prepetition Agents entered into that certain Intercreditor Agreement dated as of March 1, 2017 (as

  may be further amended, restated, supplemented, or otherwise modified in accordance with its

  terms, the “Intercreditor Agreement”) to govern the respective rights, interests, obligations,

  priority, and positions of the Prepetition Secured Parties with respect to the assets and properties

  of the Debtors and other obligors. Each of the Prepetition Borrowers and Prepetition Guarantors

  under the Prepetition Documents acknowledged and agreed to the Intercreditor Agreement.

                                 Validity, Perfection, and Priority of Prepetition ABL Liens and

  Prepetition ABL Obligations. The Debtors acknowledge and agree that as of the Petition Date

  (a) the Prepetition ABL Liens on the Prepetition Collateral were valid, binding, enforceable,

  non-avoidable, and properly perfected and were granted to, or for the benefit of, the Prepetition

  ABL Parties for fair consideration and reasonably equivalent value; (b) the Prepetition ABL Liens

  were senior in priority over any and all other liens on the Prepetition Collateral, subject only to

  (1) the Prepetition Term Loan Liens on the Prepetition Term Priority Collateral and (2) certain

  liens senior by operation of law (solely to the extent such liens were valid, non-avoidable, and



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  senior in priority to the Prepetition ABL Liens as of the Petition Date and properly perfected prior

  to the Petition Date or perfected subsequent to the Petition Date as permitted by section 546(b) of

  the Bankruptcy Code) or otherwise permitted by the Prepetition ABL Documents (the “Prepetition

  ABL Permitted Prior Liens”); (c) the Prepetition ABL Obligations constitute legal, valid, binding,

  and non-avoidable obligations of the Debtors enforceable in accordance with the terms of the

  applicable Prepetition ABL Documents; (d) no offsets, recoupments, challenges, objections,

  defenses, claims, or counterclaims of any kind or nature to any of the Prepetition ABL Liens or

  Prepetition ABL Obligations exist, and no portion of the Prepetition ABL Liens or Prepetition

  ABL Obligations is subject to any challenge or defense including avoidance, disallowance,

  disgorgement, recharacterization, or subordination (equitable or otherwise) pursuant to the

  Bankruptcy Code or applicable non-bankruptcy law; (e) the Debtors and their estates have no

  claims, objections, challenges, causes of action, and/or choses in action, including avoidance

  claims under Chapter 5 of the Bankruptcy Code or applicable state law equivalents or actions for

  recovery or disgorgement, against any of the Prepetition ABL Parties or any of their respective

  affiliates, agents, attorneys, advisors, professionals, officers, directors, and employees arising out

  of, based upon or related to the Prepetition ABL Facility; (f) the Debtors have waived, discharged,

  and released any right to challenge any of the Prepetition ABL Obligations, the priority of the

  Debtors’ obligations thereunder, and the validity, extent, and priority of the liens securing the

  Prepetition ABL Obligations; and (g) the Prepetition ABL Obligations constitute allowed, secured

  claims within the meaning of sections 502 and 506 of the Bankruptcy Code.

                                 Validity, Perfection, and Priority of Prepetition Term Loan Liens

  and Prepetition Term Loan Obligations. The Debtors further acknowledge and agree that, as of

  the Petition Date, (a) the Prepetition Term Loan Liens on the Prepetition Collateral were valid,



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  binding, enforceable, non-avoidable, and properly perfected and were granted to, or for the benefit

  of, the Prepetition Term Loan Parties for fair consideration and reasonably equivalent value;

  (b) the Prepetition Term Loan Liens were senior in priority over any and all other liens on the

  Prepetition Collateral, subject only to (1) the Prepetition ABL Liens on the Prepetition ABL

  Priority Collateral and (2) certain liens senior by operation of law (solely to the extent such liens

  were valid, non-avoidable, and senior in priority to the Prepetition Term Loan Liens as of the

  Petition Date and properly perfected prior to the Petition Date or perfected subsequent to the

  Petition Date as permitted by section 546(b) of the Bankruptcy Code) or otherwise permitted by

  the Prepetition Term Loan Documents (the “Prepetition Term Loan Permitted Prior Liens” and,

  together with the Prepetition ABL Permitted Prior Liens, the “Permitted Prior Liens”);4 (c) the

  Prepetition Term Loan Obligations constitute legal, valid, binding, and non-avoidable obligations

  of the Debtors enforceable in accordance with the terms of the applicable Prepetition Term Loan

  Documents; (d) no offsets, recoupments, challenges, objections, defenses, claims, or counterclaims

  of any kind or nature to any of the Prepetition Term Loan Liens or Prepetition Term Loan

  Obligations exist, and no portion of the Prepetition Term Loan Liens or Prepetition Term Loan

  Obligations is subject to any challenge or defense, including avoidance, disallowance,

  disgorgement, recharacterization, or subordination (equitable or otherwise) pursuant to the

  Bankruptcy Code or applicable non-bankruptcy law; (e) the Debtors and their estates have no

  claims, objections, challenges, causes of action, and/or choses in action, including avoidance

  claims under Chapter 5 of the Bankruptcy Code or applicable state law equivalents or actions for

  recovery or disgorgement, against any of the Prepetition Term Loan Parties, or any of their


  4
    For the avoidance of doubt, as used in this Interim Order, no reference to the Prepetition ABL Permitted
  Prior Liens, the Prepetition Term Loan Permitted Prior Liens, or the Permitted Prior Liens shall refer to or
  include the Prepetition ABL Liens or the Prepetition Term Loan Liens.

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  respective affiliates, agents, attorneys, advisors, professionals, officers, directors, and employees

  arising out of, based upon or related to the Prepetition Term Loan Facility; (f) the Debtors have

  waived, discharged, and released any right to challenge any of the Prepetition Term Loan

  Obligations, the priority of the Debtors’ obligations thereunder, and the validity, extent, and

  priority of the liens securing the Prepetition Term Loan Obligations; and (g) the Prepetition Term

  Loan Obligations constitute allowed, secured claims within the meaning of sections 502 and 506

  of the Bankruptcy Code.

                                 Release. The Debtors hereby stipulate and agree that they forever

  and irrevocably release, discharge, and acquit the Prepetition Agents, the Prepetition Secured

  Parties, all former, current and future Prepetition Secured Parties, and each of their respective

  successors, assigns, affiliates, subsidiaries, parents, officers, shareholders, directors, employees,

  attorneys and agents, past, present and future, and their respective heirs, predecessors, successors

  and assigns (collectively, the “Releasees”) of and from any and all claims, controversies, disputes,

  liabilities, obligations, demands, damages, expenses (including reasonable attorneys’ fees), debts,

  liens, actions and causes of action of any and every nature whatsoever relating to, as applicable,

  the Prepetition Secured Facilities, the Prepetition Documents, and/or the transactions contemplated

  hereunder or thereunder occurring prior to entry of this Interim Order, including (x) any so-called

  “lender liability” or equitable subordination or recharacterization claims or defenses, (y) any and

  all claims and causes of action arising under the Bankruptcy Code, and (z) any and all claims and

  causes of action with respect to the validity, priority, perfection or avoidability of the liens or

  claims of the Prepetition Agents and the Prepetition Secured Parties. The Debtors further waive

  and release any defense, right of counterclaim, right of set-off or deduction to the payment of the

  Prepetition Secured Obligations which the Debtors may now have or may claim to have against



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  the Releasees, arising out of, connected with or relating to any and all acts, omissions or events

  occurring prior to this Court entering this Interim Order.

                                Default by the Debtors. The Debtors acknowledge and stipulate that

  (i) they have been, since February 5, 2020, and are in default of their obligations under the

  Prepetition ABL Documents, and that an Event of Default has occurred under the Prepetition ABL

  Documents, and that since February 5, 2020, interest has accrued, and will continue to accrue, on

  the Prepetition ABL Obligations at the default rate set forth in the Prepetition ABL Agreement,

  and (ii) they have been, since February 29, 2020, and are in default of the obligations under the

  Prepetition Term Loan Documents, and that a Default has occurred under the Prepetition Term

  Loan Documents, and that as of the Petition Date, interest will accrue, on the Prepetition Term

  Loan Obligations at the default rate set forth in the Prepetition Term Loan Documents.

                                Consulting Agreement with the Liquidators. Pursuant to that certain

  Consulting and Marketing Services Agreement, dated as of March 5, 2020, by and among Hilco

  Merchant Resources, LLC, Hilco IP Services, LLC, d/b/a Hilco Streambank, Hilco Real Estate,

  LLC, Hilco Receivables, LLC, Gordon Brothers Retail Partners, LLC, DJM Realty Services, LLC,

  d/b/a Gordon Brothers Real Estate, Gordon Brothers Commercial & Industrial, LLC and Gordon

  Brothers Brands, LLC and certain of the Debtors, acknowledged by the Prepetition Agents (as

  amended, restated or otherwise modified from time to time, the “Consulting Agreement”), the

  Debtors have retained the Consultant to conduct “Going Out of Business” sales of the Assets (each

  as defined in the Consulting Agreement). The continued existence and validity of the Consulting

  Agreement and the uninterrupted continuation of the sales contemplated thereby is a condition to

  the consent of the Prepetition Agents to this Interim Order and the Debtors’ use of Cash Collateral

  hereunder.



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                 G.      Levin DIP Facility. [Insert description of Levin DIP motion/relief, to be

  referenced as the “Levin DIP Facility.”]. The Prepetition Agents have consented to the Levin DIP

  Facility (in accordance with the Levin DIP Order and Levin DIP Documents, in form and substance

  reasonably acceptable to the Prepetition Agents), and the Debtors’ compliance with, and the

  obligations incurred under, the Levin DIP Facility (in accordance with the Levin DIP Order and

  Levin DIP Documents, in form and substance reasonably acceptable to the Prepetition Agents)

  shall not give rise to an Event of Default under this Interim Order.

                 H.      Permitted Prior Liens. Nothing herein shall constitute a finding or ruling

  by this Court that any alleged Permitted Prior Lien is valid, senior, enforceable, prior, perfected,

  or non-avoidable. Moreover, nothing shall prejudice the rights of any party-in-interest, including,

  but not limited to the Debtors, the Prepetition Secured Parties, or a Committee (if appointed), to

  challenge the validity, priority, enforceability, seniority, avoidability, perfection, or extent of any

  alleged Permitted Prior Lien. The right of a seller of goods to reclaim such goods under section

  546(c) of the Bankruptcy Code is not a Permitted Prior Lien, rather, any such alleged claim arising

  or asserted as a right of reclamation (whether asserted under section 546(c) of the Bankruptcy

  Code or otherwise) shall have the same rights and priority with respect to the Prepetition ABL

  Liens as such claims had on the Petition Date.

                 I.      Cash Collateral. All of the Debtors’ cash, including any cash in deposit

  accounts of the Debtors, wherever located, constitutes Cash Collateral of the Prepetition Secured

  Parties.

                 J.      Adequate Protection. The Prepetition ABL Agent, for the benefit of itself

  and the other Prepetition ABL Parties, and the Prepetition Term Loan Agent, for the benefit of

  itself and the Prepetition Term Loan Parties, are each entitled to receive adequate protection as set



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  forth herein to the extent of any Diminution in Value of their respective interests in the Prepetition

  Collateral.

                  K.      Sections 506(c) and 552(b). In light of: (i) the Prepetition ABL Parties’

  agreement that their liens shall be subject to the Carve Out and, in the case of the Prepetition Term

  Priority Collateral, subordinate to the Prepetition Term Loan Liens and the Prepetition Term Loan

  Adequate Protection Liens; (ii) the Prepetition Term Loan Parties’ agreement that their liens shall

  be subject to the Carve Out and, in the case of the Prepetition ABL Priority Collateral, subordinate

  to the Prepetition ABL Liens and the Prepetition ABL Adequate Protection Liens; and (iii) the

  payment of claims and/or expenses as set forth in the Budget (as defined herein) to the extent

  approved by the Court in connection with the Debtors’ “first day motions,” subject to entry of a

  Final Order, the Prepetition Secured Parties are each entitled to (a) a waiver of any “equities of the

  case” exception under section 552(b) of the Bankruptcy Code, and (b) a waiver of the provisions

  of section 506(c) of the Bankruptcy Code.

                  L.      Good Faith.     The Prepetition Secured Parties and the Debtors have

  negotiated at arms’ length and in good faith regarding the Debtors’ use of Cash Collateral to fund

  the continued operation of the Debtors’ businesses during the Specified Period (defined below).

  The Prepetition Secured Parties have agreed to permit the Debtors to use their Cash Collateral for

  the Specified Period, subject to the terms and conditions set forth herein, which terms and

  conditions are fair and reasonable and have been stipulated to by the Debtors in the exercise of

  their sound business judgment. Entry of this Interim Order is in the best interests of the Debtors,

  their estates and their creditors.

                  M.      Immediate Entry. Sufficient cause exists for immediate entry of this

  Interim Order pursuant to Bankruptcy Rule 4001(c)(2).



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                  N.     Interim Hearing. Notice of the Interim Hearing and the relief requested in

  the Motion has been provided by the Debtors, whether by facsimile, electronic mail, overnight

  courier or hand delivery, to certain parties-in-interest, including: (i) the U.S. Trustee; (ii) those

  entities or individuals included on the Debtors’ list of 30 largest unsecured creditors on a

  consolidated basis; (iii) counsel to the Prepetition ABL Agent; (iv) counsel to the Prepetition Term

  Loan Agent; (v) counsel to the Consultant (as defined in the Consulting Agreement); (vi) counsel

  to Levin Furniture, LLC and Levin Trucking, LLC, and (vii) all other parties entitled to notice

  under the Bankruptcy Rules and the Local Rules. The Debtors have made reasonable efforts to

  afford the best notice possible under the circumstances and no other notice is required in

  connection with the relief set forth in this Interim Order.

           Based upon the foregoing findings and conclusions, the Motion and the record before the

  Court with respect to the Motion, and after due consideration and good and sufficient cause

  appearing therefor,

           IT IS HEREBY ORDERED that:

                  1.     Motion Granted. The Motion is granted, subject to the terms and conditions

  set forth in this Interim Order. The Debtors shall not use Cash Collateral except as expressly

  authorized and permitted herein or by subsequent order of the Court. All objections to this Interim

  Order to the extent not withdrawn, waived, settled, or resolved are hereby denied and overruled.

                  2.     Authorization to Use Cash Collateral. Subject to the terms and conditions

  of this Interim Order, and in accordance with the Budget, subject to such variances as are permitted

  by this Interim Order, the Debtors are authorized to use Cash Collateral for the period (the

  “Specified Period”) from the Petition Date through the date which is the earliest to occur of: (a)

  the Termination Date, (b) thirty (30) days after the Petition Date and (c) entry of the Final Order;



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  provided, however, that, during the Remedies Notice Period (as defined herein), the Debtors may

  use Cash Collateral solely to meet payroll obligations and pay expenses necessary or reasonably

  advisable to avoid immediate and irreparable harm to the Debtors’ estates in accordance with the

  Budget and as otherwise agreed to by the Prepetition ABL Agent in its sole discretion. Nothing

  in this Interim Order shall authorize the disposition of any assets of the Debtors or their estates

  outside the ordinary course of business, or any use of Cash Collateral or proceeds resulting

  therefrom, except (x) as permitted in the Consulting Agreement or the Levin APA (as defined

  below), (y) as otherwise consented to by the Prepetition ABL Agent (with respect to Postpetition

  ABL Priority Collateral) or the Prepetition Term Loan Agent (with respect to Postpetition Term

  Priority Collateral) in writing, or (z) as otherwise disposed of, or used, in accordance with the

  Budget, subject to such variances as are permitted by this Interim Order.

                   3.      Adequate Protection Liens.

                           (a)      Prepetition ABL Adequate Protection Liens.                Subject to the

  Carve Out, pursuant to sections 361 and 363(e) of the Bankruptcy Code, as adequate protection of

  the interests of the Prepetition ABL Parties in the Prepetition Collateral to the extent of any

  Diminution in Value of such interests in the Prepetition Collateral, the Debtors hereby grant to the

  Prepetition ABL Agent, for the benefit of itself and the Prepetition ABL Parties, continuing, valid,

  binding, enforceable, and perfected postpetition security interests in and liens (the “Prepetition

  ABL Adequate Protection Liens”) on any Postpetition Collateral.5


  5
    “Postpetition Collateral” means: all personal property, whether now existing or hereafter arising and
  wherever located, tangible and intangible, of each of the Debtors, including: (a) all cash, cash equivalents,
  deposit accounts, securities accounts, accounts, other receivables (including credit card receivables), chattel
  paper, contract rights, inventory (wherever located), instruments, documents, securities (whether or not
  marketable) and investment property (including all of the issued and outstanding capital stock of each of
  its subsidiaries), hedge agreements, furniture, fixtures, equipment (including documents of title), goods,
  franchise rights, trade names, trademarks, servicemarks, copyrights, patents, license rights, intellectual
  property, general intangibles (including, for the avoidance of doubt, payment intangibles), rights to the

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                           (b)      Prepetition Term Loan Adequate Protection Liens. Subject to the

  Carve Out, pursuant to sections 361 and 363(e) of the Bankruptcy Code, as adequate protection of

  the interests of the Prepetition Term Loan Parties in the Prepetition Collateral, to the extent of any

  Diminution in Value of such interests in the Prepetition Collateral, the Debtors hereby grant to the

  Prepetition Term Loan Agent, for the benefit of itself and the Prepetition Term Loan Parties,

  continuing, valid, binding, enforceable, and perfected postpetition security interests in and liens

  (the “Prepetition Term Loan Adequate Protection Liens,” and together with the Prepetition ABL

  Adequate Protection Liens, the “Adequate Protection Liens”) on the Postpetition Collateral.

                   4.      Priority of Adequate Protection Liens.

                           (a)      The Prepetition ABL Adequate Protection Liens shall be senior to



  payment of money (including tax refunds and any other extraordinary payments), supporting obligations,
  guarantees, letter of credit rights, commercial tort claims, causes of action, and all substitutions,
  indemnification rights, all present and future intercompany debt, books and records related to the foregoing,
  accessions and proceeds of the foregoing, wherever located, including insurance or other proceeds; (b) all
  proceeds of leased real property; (c) subject to entry of a Final Order, the proceeds of any avoidance actions
  brought pursuant to Chapter 5 of the Bankruptcy Code or applicable state law equivalents; (d) subject to
  entry of a Final Order, proceeds of the Debtors’ rights under section 506(c) (solely to the extent such rights
  result from the use of Postpetition Collateral, and are, therefore, enforceable against parties other than the
  Prepetition Agents or the Prepetition Secured Parties) and 550 of the Bankruptcy Code; and (e) all
  Prepetition Collateral that was not otherwise subject to valid, perfected, enforceable, and unavoidable liens
  on the Petition Date. Notwithstanding the foregoing, Postpetition Collateral shall not include the Debtors’
  real property leases (but shall include all proceeds of such leases). Postpetition Collateral that is (i)
  Prepetition ABL Priority Collateral, (ii) of a type that would be Prepetition ABL Priority Collateral; (iii) of
  a type that would be Prepetition ABL Priority Collateral, but that was not otherwise subject to valid,
  perfected, enforceable, and unavoidable liens on the Petition Date; and (iv) the “Deposit”, as defined in that
  certain letter agreement dated as of March 4, 2020 by and among Levin Furniture, LLC, Levin Trucking,
  LLC, as Buyer, and Sam Levin, Inc. and LF Trucking, Inc., as Seller (the “Levin LOI”) shall, in each case,
  constitute “Postpetition ABL Priority Collateral.” Postpetition Collateral that is (i) Prepetition Term
  Priority Collateral, (ii) of a type that would be Prepetition Term Priority Collateral; and (iii) of a type that
  would be Prepetition Term Priority Collateral, but that was not otherwise subject to valid, perfected,
  enforceable, and unavoidable liens on the Petition Date shall constitute “Postpetition Term Priority
  Collateral.” Postpetition Collateral that is (i) the proceeds of the Debtors’ real property leases; and (ii) the
  proceeds of avoidance actions brought pursuant to Chapter 5 of the Bankruptcy Code or applicable state
  law equivalents shall be shared Postpetition Collateral, and the Prepetition ABL Liens and Prepetition Term
  Loan Liens (and corresponding adequate protection liens and claims) on such proceeds shall rank equally
  in priority and share such proceeds equally (with 50% of such proceeds applied to the Prepetitition ABL
  Obligations and 50% applied to the Prepetition Term Loan Obligations).

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  all other security interests in, liens on, or claims against any of the Postpetition Collateral; provided

  that, the Prepetition ABL Adequate Protection Liens shall be subject to the Carve Out and shall be

  junior only to: (i) with respect to the Postpetition ABL Priority Collateral, (A) Prepetition ABL

  Permitted Prior Liens and (B) the Prepetition ABL Liens; and (ii) with respect to the Postpetition

  Term Priority Collateral, (A) Prepetition Term Loan Permitted Prior Liens, (B) the Prepetition

  Term Loan Liens, (C) the Prepetition Term Loan Adequate Protection Liens, and (D) the

  Prepetition ABL Liens.

                          (b)     The Prepetition Term Loan Adequate Protection Liens shall be

  senior to all other security interests in, liens on, or claims against any of the Postpetition Collateral;

  provided that, the Prepetition Term Loan Adequate Protection Liens shall be subject to the Carve

  Out and shall be junior only to: (i) with respect to the Postpetition ABL Priority Collateral, (A)

  Prepetition ABL Permitted Prior Liens, (B) the Prepetition ABL Liens, (C) the Prepetition ABL

  Adequate Protection Liens, and (D) the Prepetition Term Loan Liens; and (ii) with respect to the

  Postpetition Term Priority Collateral, (A) Prepetition Term Loan Permitted Prior Liens, and (B)

  the Prepetition Term Loan Liens.

                          (c)     Except as provided herein (including with respect to the Carve Out),

  the Adequate Protection Liens shall not be made subject to or pari passu with any lien or security

  interest heretofore or hereinafter in the Cases or any case under Chapter 7 of the Bankruptcy Code

  upon the conversion of any of the Cases, or in any other proceedings superseding or related to any

  of the foregoing (collectively, the “Successor Cases”), and shall be valid and enforceable against

  any trustee appointed in any of the Cases or any Successor Cases, or upon the dismissal of any of

  the Cases or Successor Cases. The Adequate Protection Liens shall not be subject to sections 510,

  549, or 550 of the Bankruptcy Code. No lien or interest avoided and preserved for the benefit of



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  the estate pursuant to section 551 of the Bankruptcy Code shall be pari passu with or senior to the

  Prepetition Liens or the Adequate Protection Liens.

                 5.      Adequate Protection Superpriority Claims.

                         (a)     Prepetition ABL Superpriority Claim.            As further adequate

  protection of the interests of the Prepetition ABL Parties in the Prepetition Collateral, to the extent

  of any Diminution in Value of such interests in the Prepetition Collateral, the Prepetition ABL

  Agent, on behalf of itself and the Prepetition ABL Parties, is hereby granted as and to the extent

  provided by section 507(b) of the Bankruptcy Code, an allowed superpriority administrative

  expense claim in each of the Cases and any Successor Cases (the “Prepetition ABL Superpriority

  Claim”).

                         (b)     Prepetition Term Loan Superpriority Claim. As further adequate

  protection of the interests of the Prepetition Term Loan Parties in the Prepetition Collateral, to the

  extent of any Diminution in Value of such interests in the Prepetition Collateral, the Prepetition

  Term Loan Agent, on behalf of itself and the Prepetition Term Loan Parties, is hereby granted as

  and to the extent provided by section 507(b) of the Bankruptcy Code, an allowed superpriority

  administrative expense claim in each of the Cases and any Successor Cases (the “Prepetition Term

  Loan Superpriority Claim,” and together with the Prepetition ABL Superpriority Claim, the

  “Adequate Protection Superpriority Claims”).

                 6.      Priority of the Adequate Protection Superpriority Claims. Except as set

  forth herein, the Adequate Protection Superpriority Claims shall have priority over all

  administrative expense claims and unsecured claims against the Debtors or their estates, now

  existing or hereafter arising, of any kind or nature whatsoever, including administrative expenses

  of the kinds specified in or ordered pursuant to sections 105, 326, 328, 330, 331, 503(a), 503(b),



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  507(a), 506(c) (subject to entry of the Final Order), 507(b), 546(c), 546(d), 726, 1113, and 1114

  of the Bankruptcy Code. The Adequate Protection Superpriority Claims shall be subject to the

  Carve Out and shall be subject to the following priorities: (a) with respect to Postpetition ABL

  Priority Collateral, (1) the Prepetition ABL Superpriority Claim and (2) the Prepetition Term Loan

  Superpriority Claim; and (b) with respect to Postpetition Term Priority Collateral, (1) the

  Prepetition Term Loan Superpriority Claim and (2) the Prepetition ABL Superpriority Claim.

                 7.     Adequate Protection Payments and Protections for Prepetition ABL Parties.

  As further adequate protection, the Debtors are authorized and directed to pay in cash the

  following: (a) all principal and interest at the default rate due under the Prepetition ABL

  Documents (but subject to the Challenge rights to the extent preserved in paragraph 27 below, (b)

  immediately upon entry of this Interim Order, the reasonable and documented fees, out-of-pocket

  fees and expenses, and disbursements (including the reasonable and documented fees, out-of-

  pocket fees and expenses, and disbursements of counsel, financial advisors, auditors, third-party

  consultants, and other vendors) incurred by the Prepetition ABL Agent arising prior to the Petition

  Date and reimbursable under the Prepetition ABL Documents, (c) in accordance with paragraph

  22 herein, the reasonable and documented fees, out-of-pocket fees and expenses, and

  disbursements (including the reasonable and documented fees, out-of-pocket fees and expenses,

  and disbursements of counsel, financial advisors, auditors, third-party consultants, and other

  vendors) incurred by the Prepetition ABL Agent on and subsequent to the Petition Date

  reimbursable under the Prepetition ABL Documents, (d) the Prepetition ABL Obligations in

  accordance with the Budget, and (e) the Prepetition ABL Obligations with the Deposit (as defined

  in the Levin LOI) upon such Deposit becoming non-refundable in accordance with the terms of

  the Levin LOI. In addition, immediately upon the payment in full in cash of the Prepetition ABL



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  Obligations (including principal, interest, fees, prepayment premiums, expenses, indemnities,

  other than contingent indemnification obligations for which no claim has been asserted), the cash

  collateralization of all treasury and cash management obligations, hedging obligations, and bank

  product obligations, and the cancelation, replacement, backing, or cash collateralization of letters

  of credit, in each case, in accordance with the terms of the Prepetition ABL Documents, the

  Debtors shall fund to the Prepetition ABL Agent, for the benefit of the Prepetition ABL Parties,

  $500,000 into a non-interest bearing account maintained at Wells Fargo Bank, National

  Association (the “Prepetition ABL Indemnity Reserve”) to secure contingent indemnification,

  reimbursement, or similar continuing obligations arising under or related to the Prepetition ABL

  Documents (the “Prepetition ABL Indemnity Obligations”). The Prepetition ABL Indemnity

  Reserve shall secure all costs, expenses, and other amounts (including reasonable and documented

  attorneys’ fees) owed to or incurred by the Prepetition ABL Agent and the Prepetition ABL

  Lenders related to the Prepetition ABL Documents, the Prepetition ABL Obligations, or the

  Prepetition ABL Liens, as applicable, whether in these Cases or independently in another forum,

  court, or venue. The Prepetition ABL Indemnity Obligations shall be secured by a first priority

  lien on the Prepetition ABL Indemnity Reserve and the funds therein (which shall not be subject

  to the Carve-Out) and by a lien on the Postpetition Collateral and the Prepetition Collateral (subject

  in all respects to the Intercreditor Agreement). Subject to paragraph 22 below, the Debtors shall

  pay all Prepetition ABL Indemnity Obligations as and when they arise and paid; provided, that the

  Prepetition ABL Agent shall have authority in its sole discretion, but not an obligation, to apply

  amounts in the Prepetition ABL Indemnity Reserve to any Prepetition ABL Indemnity Obligations,

  without further notice to or consent from the Debtors, a Committee (if appointed), or any other

  parties in interest and without further order of this Court; provided, that (i) any such



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  indemnification claims shall be subject to (a) the terms of the Prepetition ABL Documents

  (including with respect to application of proceeds) and (b) the rights of parties in interest with

  requisite standing to object to such indemnification claim(s) to the extent set forth in paragraph 27

  hereof. The Prepetition ABL Agent (for itself and on behalf of the Prepetition ABL Parties) shall

  retain and maintain the Prepetition ABL Liens and the Prepetition ABL Adequate Protection Liens

  granted to the Prepetition ABL Agent as security for the amount of any Prepetition ABL Indemnity

  Obligations in excess of funds on deposit in the Prepetition ABL Indemnity Reserve. The

  Prepetition ABL Indemnity Reserve shall be released at such time as the Prepetition ABL

  Indemnity Obligations are Paid in Full.6

                   8.      Adequate Protection Payments and Protections for Prepetition Term Loan

  Agent. As further adequate protection, the Debtors are authorized and directed to pay in cash the

  following:    (a) the reasonable and documented fees, out-of-pocket fees and expenses, and

  disbursements (including the reasonable and documented fees, out-of-pocket fees and expenses,

  and disbursements of counsel, financial advisors, auditors, third-party consultants, and other

  vendors) incurred by the Prepetition Term Loan Agent arising prior to the Petition Date and

  reimbursable under the Prepetition Term Loan Documents, and (b) in accordance with paragraph


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    “Paid in Full” means the indefeasible repayment in full in cash of all obligations (including principal,
  interest, fees, prepayment premiums, expenses, indemnities, other than contingent indemnification
  obligations for which no claim has been asserted) under the applicable credit facility, the cash
  collateralization of all treasury and cash management obligations, hedging obligations, and bank product
  obligations, and the cancelation, replacement, backing, or cash collateralization of letters of credit, in each
  case, in accordance with the terms of the applicable credit facility. No facility shall be deemed to have
  been Paid in Full until such time as, with respect to the applicable facility, (a) the commitments to lend
  thereunder have been terminated, (b) with respect to the Prepetition ABL Obligations (i) the Challenge
  Deadline (as defined in paragraph 27 of this Interim Order) shall have occurred without the timely and
  proper commencement of a Challenge or (ii) if a Challenge is timely and properly asserted prior to the
  Challenge Deadline, upon the final, non-appealable disposition of such Challenge; and (c) the Prepetition
  ABL Agent has received (i) a countersigned payoff letter in form and substance satisfactory to the
  Prepetition ABL Agent and (ii) releases in form and substance satisfactory to the Prepetition ABL Agent
  in its sole discretion.

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  22 herein, the reasonable and documented fees, out-of-pocket fees and expenses, and

  disbursements (including the reasonable and documented fees, out-of-pocket fees and expenses,

  and disbursements of counsel, financial advisors, auditors, third-party consultants, and other

  vendors) incurred by the Prepetition Term Loan Agent on and subsequent to the Petition Date

  reimbursable under the Prepetition Term Loan Documents; provided, however, that any payments

  made under this paragraph 8 shall be made solely from proceeds of Postpetition Term Priority

  Collateral.

                 9.      Perfection of Adequate Protection Liens. This Interim Order shall be

  sufficient and conclusive evidence of the creation, validity, perfection, and priority of all liens

  granted herein, including the Adequate Protection Liens, without the necessity of filing or

  recording any financing statement, mortgage, notice, or other instrument or document which may

  otherwise be required under the law or regulation of any jurisdiction or the taking of any other

  action (including, for the avoidance of doubt, entering into any deposit account control agreement)

  to validate or perfect (in accordance with applicable non-bankruptcy law) the Adequate Protection

  Liens, or to entitle the Prepetition Secured Parties to the priorities granted herein. Notwithstanding

  the foregoing, each Prepetition Agent is authorized to file, as it in its sole discretion deems

  necessary or advisable, such financing statements, security agreements, mortgages, notices of

  liens, and other similar documents to perfect in accordance with applicable non-bankruptcy law or

  to otherwise evidence the Adequate Protection Liens, and all such financing statements,

  mortgages, notices, and other documents shall be deemed to have been filed or recorded as of the

  Petition Date; provided, however, that no such filing or recordation shall be necessary or required

  in order to create or perfect the Adequate Protection Liens. The Debtors are authorized and

  directed to execute and deliver promptly upon demand to the Prepetition Agents, as applicable,



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  all such financing statements, mortgages, notices, and other documents as the Prepetition Agents

  may reasonably request. Each Prepetition Agent, in its discretion, may file a photocopy of this

  Interim Order as a financing statement with any filing or recording office or with any registry of

  deeds or similar office, in addition to or in lieu of such financing statements, notices of lien, or

  similar instrument.

                  10.     Adequate Protection Reservation. Nothing herein shall impair or modify

  the application of section 507(b) of the Bankruptcy Code in the event that the adequate protection

  provided to the Prepetition Secured Parties hereunder is insufficient to compensate for any

  Diminution in Value of their respective interests in the Prepetition Collateral during the Cases or

  any Successor Cases. The receipt by the Prepetition Secured Parties of the adequate protection

  provided herein shall not be deemed an admission that the interests of the Prepetition Secured

  Parties are adequately protected. Further, this Interim Order shall not prejudice or limit the rights

  of the Prepetition Secured Parties to seek additional relief with respect to the use of Cash Collateral

  or for additional adequate protection.

                  11.     Budget. The use of Cash Collateral during the Specified Period is permitted

  solely in accordance with a cash collateral budget (the “Budget”) approved by the Prepetition

  Agents,7 each in their sole discretion, subject to such variances as are permitted by this Interim

  Order or agreed to in writing by the Prepetition Agents. A copy of the initial approved Budget is

  attached hereto as Exhibit [_]. The Budget shall depict, on a weekly basis and line item basis (i)

  projected cash receipts, (ii) projected disbursements (including ordinary course operating

  expenses, bankruptcy-related expenses (including professional fees of the Debtors’ professionals


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   For the avoidance of doubt, any reference to the consent rights of the Prepetition Term Loan Agent shall
  mean the Prepetition Term Loan Agent acting at the direction of the Required Lenders (as defined in the
  Prepetition Term Loan Agreement).

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  and advisors), asset sales and any other fees and expenses), and (iii) net cash flow, for the first

  thirteen (13) week period from the Petition Date, and such initial Budget shall be approved by, and

  in form and substance satisfactory to the Prepetition Agents, each in their sole discretion (it being

  acknowledged and agreed that the initial Budget attached hereto is approved by and satisfactory

  to the Prepetition Agents). The Budget shall be updated, modified, or supplemented by the Debtors

  with the written consent of the Prepetition Agents, but in any event the Budget shall be updated

  by the Debtors not less than one time in each four (4) consecutive week period, and each such

  updated, modified, or supplemented budget shall be approved in writing (including by email) by,

  and shall be in form and substance satisfactory to, the Prepetition Agents, each in their sole

  discretion), and no such updated, modified, or supplemented budget shall be effective until so

  approved, and once so approved shall be deemed the Budget; provided, however, that in the event

  the Prepetition Agents, on the one hand, and the Debtors, on the other hand, cannot agree as to an

  updated, modified or supplemented budget, the Debtors shall continue to operate under the most

  recent prior-approved Budget and such disagreement shall give rise to an Event of Default once

  the period covered by such prior Budget has terminated. Each Budget delivered to the Prepetition

  Agents shall be accompanied by such customary supporting documentation as reasonably

  requested by the Prepetition Agents and shall be prepared in good faith based upon assumptions

  the Debtors believe to be reasonable at the time of delivery. A copy of any Budget (or updated

  Budget once approved by the Prepetition Agents) shall simultaneously be delivered to the counsel

  for a Committee (if appointed), and the U.S. Trustee. All Cash Collateral use must be strictly in

  accordance with the terms of the Budget, subject to such variances as are permitted by this Interim

  Order or agreed to in writing by the Prepetition Agents.




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                 12.     Covenants.

                         (a)     Budget Compliance. The Debtors shall not, without the consent of

  the Prepetition Agents, permit (i) the actual Total Cash Receipts for any rolling two week period

  to be less than 90% of the Total Cash Receipts set forth in the Budget for such period, (ii) the

  actual GOB Disbursements for any rolling two week period to exceed 110% of the aggregate GOB

  Disbursements set forth in the Budget for such period, (iii) the actual Operating Disbursements for

  any rolling two week period to exceed 110% of the aggregate Operating Disbursements set forth

  in the Budget for such period, or (iv) the actual Non-Operating Disbursements for any rolling two

  week period to exceed 110% of the aggregate Non-Operating Disbursements set forth in the

  Budget for such period (with any unspent amounts in this subparagraph (iv) being carried forward

  for subsequent periods).

                         (b)     Borrowing Base. Until the Prepetition ABL Obligations are Paid in

  Full, the Debtors shall at all times maintain actual Total Excess ABL Availability After Covenant

  (calculated in the manner set forth in the Borrowing Base Certificate attached to the Budget) in an

  amount not less than $0, it being understood and agreed that the Availability Block set forth in the

  Borrowing Base Certificate attached to the Budget shall be deemed to be $5,000,000 for each of

  the weeks beginning March 8, 2020 and March 15, 2020. Until the Prepetition ABL Obligations

  are Paid in Full, the Borrowing Base Certificate shall be updated and delivered weekly in

  accordance with the requirements of an “Increased Reporting Event” as defined in the Prepetition

  ABL Agreement. For the avoidance of doubt, the calculation of the Borrowing Base shall at all

  times deduct the amount of the Carve Out Reserves. Until the Prepetition ABL Obligations are

  Paid in Full, the Debtors shall deliver to the Prepetition Agents, by not later than Thursday of each

  week, an updated Borrowing Base Certificate, substantially in the form attached hereto as Exhibit



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  [_] (the “Borrowing Base Certificate”), and such Borrowing Base Certificate shall include such

  detail as is reasonably satisfactory to the Prepetition Agents (it being agreed the detail required by

  the Prepetition ABL Agreement shall be deemed so satisfactory).

                         (c)     Variance Testing. The Debtors shall, commencing with the week

  beginning March 15, 2020, deliver to the Prepetition Agents, by not later than Thursday of each

  week, a certificate, substantially in the form attached hereto as Exhibit [_] (the “Budget Variance

  Certificate”) and such Budget Variance Certificate shall include such detail as is reasonably

  satisfactory to the Prepetition Agents, showing a reconciliation for the prior two week cumulative

  period, and certifying that (i) the Debtors are in compliance with the covenants contained in this

  Section 12 and (ii) to the knowledge of the Debtors, no Event of Default hereunder has occurred

  or, if such an Event of Default has occurred, specifying the nature and extent thereof and any

  corrective action taken or proposed to be taken with respect thereto.

                         (d)     Consent Fee for Prepetition ABL Parties. The Debtors shall pay the

  Prepetition ABL Agent, for the benefit of the Prepetition ABL Parties, a consent fee (“Consent

  Fee”) in the amount of $150,000 per week until such time as the Prepetition ABL Obligations have

  been repaid in full in cash (including principal, interest, fees, prepayment premiums, expenses,

  indemnities, other than contingent indemnification obligations for which no claim has been

  asserted), the cash collateralization of all treasury and cash management obligations, hedging

  obligations, and bank product obligations, and the cancelation, replacement, backing, or cash

  collateralization of letters of credit, in each case, in accordance with the terms of the Prepetition

  ABL Documents. The Consent Fee shall be fully earned on Saturday of each week and shall be

  paid to the Prepetition ABL Agent on the immediately following Tuesday and shall not be subject




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  to refund, offset or rebate under any circumstances.

                         (e)     Levin Sale Milestones. The Debtors shall achieve each of the

  following milestones, if and when applicable (as the same may be extended from time to time with

  the consent of the Prepetition ABL Agent (in its sole discretion), the “Levin Sale Milestones”), in

  each case on terms and conditions, and subject to documentation in form and substance, reasonably

  acceptable to the Prepetition ABL Agent in all respects:

                                 (i)     On or before the date that is five (5) days following the

  Petition Date, the Debtors shall file a motion to approve the sale of the “Assets”, as such term is

  defined in the Levin LOI (the “Levin Sale”), to the Buyer under the Levin LOI.

                                 (ii)    On or before the date that is ten (10) days following the

  Petition Date, the Debtors shall enter into an asset purchase agreement with the Buyer under the

  Levin LOI for the Levin Sale (the “Levin APA”).

                                 (iii)   On or before the date that is twenty-one (21) days following

  the Petition Date, the Debtors shall receive an order from the Court approving the Levin Sale.

                                 (iv)    On or before the date that is two (2) business days after the

  order approving the Levin Sale, the Debtor shall have consummated the Levin Sale and the

  proceeds thereof shall have been applied to the Prepetition ABL Obligations.

                 13.     Modification of Automatic Stay. The automatic stay imposed under section

  362(a)(2) of the Bankruptcy Code is hereby modified as necessary to effectuate all of the terms

  and provisions of this Interim Order, including to: (a) permit the Debtors to grant the Adequate

  Protection Liens and Adequate Protection Superpriority Claims; (b) permit the Debtors to perform

  such acts as the Prepetition ABL Agent may reasonably request to assure the perfection and

  priority of the liens granted herein; (c) permit the Debtors to incur all liabilities and obligations to



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  the Prepetition ABL Parties under this Interim Order; and (d) authorize the Debtors to pay, and the

  Prepetition Secured Parties to retain and apply, payments made in accordance with the terms of

  this Interim Order.

                 14.     Protections of Rights of Prepetition Secured Parties.

                         (a)    Subject to the Intercreditor Agreement, unless the Prepetition ABL

  Agent and Prepetition Term Loan Agent have each provided their respective prior written consent,

  or all Prepetition ABL Obligations and Prepetition Term Loan Obligations (excluding contingent

  indemnification obligations for which no claim has been asserted) have been Paid in Full, the

  Debtors shall neither seek entry of, nor support any motion or application seeking entry of, and

  otherwise shall object to any motion or application seeking entry of, any order (other than this

  Interim Order or the Final Order, but including any order confirming any plan of reorganization or

  liquidation) that authorizes any of the following: (i) the obtaining of credit or the incurring of

  indebtedness that is secured by a security, mortgage, or collateral interest or other Lien on all or

  any portion of the Postpetition Collateral or Prepetition Collateral and/or that is entitled to

  administrative priority status, in each case that is superior to or pari passu with the Prepetition

  Liens, the Prepetition Adequate Protection Liens, and/or the Adequate Protection Superpriority

  Claims except as expressly set forth in this Interim Order; (ii) the use of Cash Collateral for any

  purpose other than as permitted in this Interim Order (including any use in accordance with the

  Budget, subject to variances permitted by this Interim Order); (iii) the return of goods pursuant to

  section 546(h) of the Bankruptcy Code (or other return of goods on account of any prepetition

  indebtedness) to any creditor of any Debtor or any creditor’s taking any setoff or recoupment

  against any of its prepetition indebtedness based upon any such return of goods pursuant to section

  553 of the Bankruptcy Code or otherwise; or (iv) any modification of any of the Prepetition



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  Secured Parties’ rights under this Interim Order, the Prepetition ABL Documents, or the

  Prepetition Term Loan Documents with respect any Prepetition ABL Obligations or Prepetition

  Term Loan Obligations. It shall be an Event of Default under this Interim Order if, in any of these

  Cases or any Successor Cases, the Debtors take or take to take any of the actions contemplated

  with respect to provisions (i) through (iv) of the previous sentence or if any order is entered

  granting any of the relief enumerated in provisions (i) through (iv) of the previous sentence.

                         (b)     The Debtors shall (i) maintain books, records, and accounts to the

  extent and as required by the Prepetition Documents (and subject to the applicable grace periods

  set forth therein); (ii) reasonably cooperate with, consult with, and provide to the Prepetition

  Agents, as applicable, all such information and documents that any or all of the Debtors are

  obligated (including upon reasonable request by any of the Prepetition Agents, as applicable) to

  provide under the Prepetition Documents, or the provisions of this Interim Order; (iii) upon

  reasonable advance notice, permit the Prepetition Agents to visit and inspect any of the Debtors’

  respective properties, to examine and make abstracts or copies from any of their respective books

  and records, to tour the Debtors’ business premises and other properties, and to discuss, and

  provide advice with respect to, their respective affairs, finances, properties, business operations,

  and accounts with their respective officers, employees, independent public accountants, and other

  professional advisors (other than legal counsel) as and to the extent required by the Prepetition

  Documents; (iv) permit the Prepetition Agents to consult with the Debtors’ management and

  advisors on matters concerning the Debtors’ businesses, financial condition, operations, and assets;

  and (v) upon reasonable advance notice, permit the Prepetition Agents to conduct, at their

  discretion and at the Debtors’ cost and expense, field audits, collateral examinations, liquidation

  valuations, and inventory appraisals at reasonable times in respect of any or all of the Postpetition



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  Collateral and Prepetition Collateral, in each case, in accordance with the Prepetition Documents.

                  15.     Credit Bidding. No Debtor shall object to any Prepetition ABL Parties

  credit bidding up to the full amount of the applicable outstanding Prepetition ABL Obligations, or

  with respect to the Prepetition Term Loan Parties, credit bidding up to the full amount of the

  applicable outstanding Prepetition Term Loan Obligations, in each case including any accrued

  interest, fees, and expenses, in any sale of any Prepetition Collateral, as applicable, whether such

  sale is effectuated through sections 363 or 1129 of the Bankruptcy Code, by a Chapter 7 trustee

  under section 725 of the Bankruptcy Code, or otherwise, to the extent permitted by section 363(k)

  of the Bankruptcy Code, and subject in each case to the rights, duties, and limitations, as

  applicable, of the parties under the Intercreditor Agreement, Prepetition Documents and to the

  provision of consideration sufficient to pay in full in cash any senior liens on the collateral that is

  subject to the credit bid.

                  16.     Proceeds of Subsequent Financing.         If the Debtors, any trustee, any

  examiner with expanded powers, or any responsible officer subsequently appointed in these Cases

  or any Successor Cases, shall obtain credit or incur debt pursuant to sections 364(b), 364(c), or

  364(d) of the Bankruptcy Code at any time prior to the Prepetition Obligations being Paid in Full,

  including subsequent to the confirmation of any plan with respect to any or all of the Debtors and

  the Debtors’ estates, and such facilities are secured by any Prepetition Collateral or Postpetition

  Collateral, then all the cash proceeds derived from such credit or debt shall immediately be turned

  over to the Prepetition ABL Agent (or, following the Prepetition ABL Obligations being Paid in

  Full, to the Prepetition Term Loan Agent) to be applied in accordance with this Interim Order and

  the Intercreditor Agreement.

                  17.     Cash Collection. From and after the date of the entry of this Interim Order,



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  all collections and proceeds of any Postpetition Collateral and Prepetition Collateral or services

  provided by any Debtor and all Cash Collateral (that does not constitute Prepetition or Postpetition

  Term Priority Collateral) that shall at any time come into the possession, custody, or control of

  any Debtor, or to which any Debtor is now or shall become entitled at any time, shall be promptly

  deposited in the same lock-box and/or deposit accounts into which the collections and proceeds of

  the Prepetition ABL Priority Collateral were deposited under the Prepetition Documents (or in

  such other accounts as are designated by the Prepetition ABL Agent from time to time)

  (collectively, the “Cash Collection Accounts”), which accounts shall, until the Prepetition ABL

  Obligations are Paid in Full, be subject to the sole dominion and control of the Prepetition ABL

  Agent and any amounts deposited into the Cash Collection Accounts shall be deemed to be

  Postpetition ABL Priority Collateral. Proceeds and other amounts in the Cash Collection Accounts

  shall be used, subject to the conditions set forth herein, to fund the Budget during the Specified

  Period, and the Debtors are authorized and directed to pay to the Prepetition ABL Agent, and the

  Prepetition ABL Agent is authorized to apply, amounts in excess thereof in accordance with the

  Budget until the Prepetition ABL Obligations are Paid in Full. In furtherance of the foregoing,

  each Thursday during the Specified Period the Debtors shall deliver to the Prepetition Agents a

  schedule of all proposed disbursements for the following seven (7) day period (each a

  “Disbursement Schedule”), including identification of which line item(s) in the Budget such

  proposed disbursements relate to. Upon the Prepetition ABL Agent’s receipt of a written cash

  collateral draw request (each a “CC Draw Request,” which shall be delivered to the Prepetition

  Term Loan Agent at the same time such CC Draw Request is delivered to the Prepetition ABL

  Agent) (which may be made on a daily basis), and following verification of conformity with the

  associated Disbursement Schedule and Budget, the Prepetition ABL Agent shall disburse funds



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  from the Cash Collection Account as appropriate to fund the amounts specified in the CC Draw

  Request; provided that, during the period prior to the Prepetition ABL Obligations being Paid in

  Full, the Prepetition ABL Agent shall only be required to disburse funds if the Debtors are in

  compliance with the provisions of this Interim Order (including, without limitation, that after

  giving effect to such disbursement, actual Total Excess ABL Availability After Covenant at such

  time (calculated in the manner as set forth in the Borrowing Base Certificate attached to the

  Budget) shall not be less than $0). For the avoidance of doubt, it shall be a condition to the

  Debtors’ ability to access and use the Prepetition Secured Parties’ Cash Collateral that they submit

  to the Prepetition ABL Agent the CC Draw Request and associated Disbursement Schedule in the

  manner and time provided herein. In addition to the foregoing, the Prepetition ABL Agent (or the

  Prepetition Term Loan Agent, after the Prepetition ABL Obligations are Paid In Full) is authorized

  to debit the Debtors’ accounts and apply Cash Collateral on deposit therein in an amount sufficient

  to maintain the “Ending Balance” set forth in the Budget for any applicable weekly period (at the

  end of the relevant week) and, until the Prepetition ABL Obligations are Paid in Full, the

  Prepetition ABL Agent is authorized to debit the Debtors’ accounts and apply Cash Collateral on

  deposit therein in an amount such that actual Total Excess ABL Availability After Covenant at

  such time (calculated in the manner as set forth in the Borrowing Base Certificate attached to the

  Budget) shall not be less than $0. Until the Prepetition ABL Obligations are Paid in Full, unless

  otherwise agreed to in writing by the Prepetition ABL Agent or otherwise provided for herein, the

  Debtors shall maintain no accounts except those identified in any cash management order entered

  by the Court (a “Cash Management Order”). The Debtors and the financial institutions where the

  Debtors’ Cash Collection Accounts are maintained (including those accounts identified in any

  Cash Management Order), are authorized and directed to remit, without offset or deduction, funds



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  in such Cash Collection Accounts upon receipt of any direction to that effect from the Prepetition

  ABL Agent (or the Prepetition Term Loan Agent, after the Prepetition ABL Obligations are Paid

  in Full), in each case, to the extent such direction is made in accordance with this Interim Order.

  The Debtors shall cause the proceeds of Prepetition and Postpetition Term Priority Collateral as

  identified by the Consultant to be deposited into a segregated, non-commingled account which is

  required to be subject to the control of the Prepetition Term Loan Agent, and the Debtors’ use of

  such proceeds shall be subject to (and limited to the extent set forth in) this Interim Order but, for

  the avoidance of doubt, may be used in accordance with the Budget, subject to variances permitted

  by this Interim Order.

                 18.       Maintenance of Collateral. Until all Prepetition ABL Obligations are Paid

  in Full, the Debtors shall: (a) insure the Postpetition Collateral and Prepetition Collateral as

  required under the Prepetition Documents; and (b) maintain the cash management system in effect

  as of the Petition Date, as may be modified with the consent of the Prepetition Agents (such consent

  not to be unreasonably withheld) or as a result of entry of any order by the Court.

                 19.       Disposition of Collateral.   The Debtors shall not sell, transfer, lease,

  encumber, or otherwise dispose of any portion of the Postpetition Collateral or Prepetition

  Collateral other than in the ordinary course of business and in accordance with the Consulting

  Agreement and the Levin APA, without (subject to the Intercreditor Agreement) the prior written

  consent of the Prepetition ABL Agent (with respect to Postpetition ABL Priority Collateral) or the

  Prepetition Term Loan Agent (with respect to Postpetition Term Priority Collateral), and no such

  consent shall be implied, from any other action, inaction or acquiescence by the Prepetition

  Secured Parties or from any order of this Court.

                 20.       Events of Default. The occurrence of any of the following events, unless



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  consented to or waived by the Prepetition Agents in advance, in writing, each in their sole and

  absolute discretion, shall constitute an event of default (collectively, the “Events of Default”):

                         (a)     the failure of the Debtors to perform, in any respect, any of the

  terms, provisions, conditions, covenants, or obligations under this Interim Order (including,

  without limitation, the Covenants in paragraph 12 herein);

                         (b)     the failure of the Debtors to obtain a Final Order on the Motion on

  terms acceptable to the Prepetition Agents on or before 30 days after the Petition Date;

                         (c)     (i) the failure by the Debtors to continue sales of the Assets in

  accordance with the Consulting Agreement and to assume the Consulting Agreement on a timely

  basis;

                         (d)     the filing of a motion or any plan of reorganization or disclosure

  statement attendant thereto by and of the Debtors: (i) to obtain additional financing under section

  364(d) of the Bankruptcy Code not otherwise permitted pursuant to this Interim Order; (ii) to grant

  any lien other than Permitted Prior Liens upon or affecting any Postpetition Collateral; or (iii)

  except as provided in this Interim Order, to use Cash Collateral under section 363(c) of the

  Bankruptcy Code;

                         (e)     (i) the filing of any Prohibited Plan (as defined herein) or disclosure

  statement attendant thereto, or any direct or indirect amendment to such chapter 11 plan or

  disclosure statement, by a Debtor, (ii) the entry or request for entry of any order terminating any

  Debtor’s exclusive right to file a chapter 11 plan (unless actively contested by the Debtors) or (iii)

  the expiration of any Debtor’s exclusive right to file a chapter 11 plan;

                         (f)     the entry of an order in any of the Cases confirming a Prohibited




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  Plan;

                         (g)     the entry of an order amending, supplementing, staying, vacating or

  otherwise modifying this Interim Order or the Cash Management Order, the filing by a Debtor of

  a motion for reconsideration with respect to this Interim Order or the Cash Management Order, or

  the Interim Order shall cease to be in full force and effect;

                         (h)     the payment of, or application by the Debtors for authority to pay,

  any prepetition claim unless in accordance with the Budget, subject to variances permitted by this

  Interim Order;

                         (i)     the appointment of an interim or permanent trustee in the Cases, the

  appointment of a receiver, receiver and manager, interim receiver or similar official over any

  substantial portion of the assets of the Debtors, or the appointment of a trustee receiver or an

  examiner in the Cases with expanded powers to operate or manage the financial affairs, the

  business, or reorganization of the Debtors;

                         (j)     the filing of a motion to approve a Prohibited Sale or to sell all or

  substantially all of the Debtors’ assets other than in accordance with the Consulting Agreement or

  the Levin LOI;

                         (k)     the dismissal of any Case, or the conversion of any Case from one

  under Chapter 11 to one under Chapter 7 of the Bankruptcy Code or any Debtor filing a motion or

  other pleading seeking the dismissal of the Cases under section 1112 of the Bankruptcy Code or

  otherwise or the conversion of the Cases to Chapter 7 of the Bankruptcy Code;

                         (l)     the filing of a motion seeking, or the Court shall enter an order

  granting, relief from or modifying the automatic stay of section 362 of the Bankruptcy Code (i) to

  allow any creditor (other than the Prepetition ABL Agent and, subject to the Intercreditor



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  Agreement, the Prepetition Term Loan Agent) to execute upon or enforce a lien on any Postpetition

  Collateral or Prepetition Collateral, (ii) approving any settlement or other stipulation with any

  secured creditor of any Debtor providing for payments as adequate protection or otherwise to such

  secured creditor, or (C) with respect to any lien on or the granting of any lien on any Postpetition

  Collateral or the Prepetition Collateral to any federal, state or local environmental or regulatory

  agency or authority, which in either case involves a claim of [$250,000] or more;

                         (m)     the existence of any claim or charges, or the entry of any order of

  the Court authorizing any claims or charges, entitled to superpriority administrative expense claim

  status in any Case pursuant to section 364(c)(1) of the Bankruptcy Code pari passu with or senior

  to the claims of the Prepetition Secured Parties under this Interim Order, or there shall arise or be

  granted by the Court (i) any claim having priority over any or all administrative expenses of the

  kind specified in clause (b) of section 503 or clause (b) of section 507 of the Bankruptcy Code or

  (ii) any lien on the Postpetition Collateral or the Prepetition Collateral having a priority senior to

  or pari passu with the liens and security interests granted herein, except, in each case, as expressly

  provided in this Interim Order;

                         (n)     the filing of a motion or entry of an order materially adversely

  impacting the rights and interests of the Prepetition Secured Parties shall have been entered by the

  Court or any other court of competent jurisdiction;

                         (o)     any Debtor shall challenge, support or encourage a challenge of any

  payments made to any Prepetition ABL Party with respect to the Prepetition ABL Obligations;

                         (p)     any Debtors shall challenge, support or encourage a challenge of any

  payments made to any Prepetition Term Loan Party with respect to the Prepetition Term Loan

  Obligations;



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                         (q)     the entry of any order by the Court granting, or the filing by any

  Debtor of any motion or other request with the Court seeking authority to use cash proceeds of any

  of the Postpetition Collateral or Prepetition Collateral other than as set forth in this Interim Order

  or to obtain any financing under section 364(d) of the Bankruptcy Code;

                         (r)     any Debtor or any person on behalf of any Debtor shall file any

  motion seeking authority to consummate a sale of assets, other than in connection with the

  Consulting Agreement or the Levin APA, with respect to Postpetition Collateral or Prepetition

  Collateral having a value in excess of [$250,000] outside the ordinary course of business and not

  otherwise permitted hereunder;

                         (s)     any Debtor shall make any payment (whether by way of adequate

  protection or otherwise) of principal or interest or otherwise provide any credit on account of any

  prepetition indebtedness or payables other than payments (i) under customary “first day orders” as

  approved by the Prepetition Agents in writing (provided that this Interim Order and all orders

  relating to cash management shall be acceptable to the Prepetition Agents) and (ii) payments

  approved (A) by the Court or (B) by the Prepetition Agents in writing, in each case in accordance

  with the Budget, subject to variances permitted by this Interim Order;

                         (t)     any Debtor shall fail to contest in good faith a request to take any

  action that if taken by the Debtor would constitute an event of default under this paragraph 20;

                         (u)     the automatic stay shall be modified, reversed, revoked or vacated

  in a manner that has a material adverse impact on the rights and interests of the Prepetition Agents

  or the Prepetition Secured Parties.

                 21.     Rights and Remedies Upon Event of Default.            Immediately upon the

  occurrence and during the continuation of an Event of Default under this Interim Order,



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  notwithstanding the provisions of section 362 of the Bankruptcy Code, without any application,

  motion, or notice to, hearing before, or order from the Court, but subject to the terms of this Interim

  Order (and the Remedies Notice Period), (a) (i) the Prepetition ABL Agent may declare (any such

  declaration delivered by the Prepetition ABL Agent or the Prepetition Term Loan Agent, as

  applicable, shall be referred to herein as a “Termination Declaration”) (A) all Prepetition ABL

  Obligations owing under the Prepetition ABL Documents to be immediately due and payable, and

  (B) that the application of the Carve Out has occurred through the delivery of the Carve Out

  Trigger Notice (as defined herein); and (ii) the Prepetition ABL Agent may declare a termination,

  reduction, or restriction on the ability of the Debtors to use Cash Collateral, and (b) the Prepetition

  Term Loan Agent may (i) declare a termination, reduction, or restriction on the ability of the

  Debtors to use Cash Collateral that is Postpetition Term Priority Collateral and (ii) after the

  Prepetition ABL Obligations have been Paid in Full, declare a termination, reduction, or restriction

  on the ability of the Debtors to use Cash Collateral (the date a Termination Declaration is delivered

  shall be referred to herein as the “Termination Date”). The Termination Declaration shall be given

  by electronic mail (or other electronic means) to counsel to the Debtors, counsel to a Committee

  (if appointed), the Prepetition ABL Agent (if delivered by the Prepetition Term Loan Agent), the

  Prepetition Term Loan Agent (if delivered by the Prepetition ABL Agent), and the U.S. Trustee.

  The automatic stay in the Cases otherwise applicable to the Prepetition ABL Parties is hereby

  modified so that five (5) business days after the date a Termination Declaration is delivered (the

  “Remedies Notice Period”), the Prepetition ABL Parties shall be entitled to exercise their rights

  and remedies in accordance with the Prepetition ABL Documents and this Interim Order to satisfy

  the Prepetition ABL Obligations, Prepetition ABL Superpriority Claims, and Prepetition ABL

  Adequate Protection Liens, subject to the Carve Out (to the extent applicable). During the



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  Remedies Notice Period, the Debtors and/or a Committee (if appointed) shall be entitled to seek

  an emergency hearing within the Remedies Notice Period with the Court. Upon expiration of the

  Remedies Notice Period, unless the Court orders otherwise, the automatic stay, as to the Prepetition

  ABL Parties, shall automatically be terminated without further notice or order and the Prepetition

  ABL Parties shall be permitted to exercise all remedies set forth herein, in the Prepetition

  Documents, and as otherwise available at law without further order of or application or motion to

  the Court consistent with the Intercreditor Agreement and this Interim Order. Upon the occurrence

  and during the continuation of an Event of Default, in each case, subject to the Intercreditor

  Agreement, the Prepetition ABL Agent and any liquidator or other professional will have the right

  to access and utilize, at no cost or expense, any trade names, trademarks, copyrights or other

  intellectual property and any warehouse, distribution centers, store or other locations to the extent

  necessary or appropriate in order to sell, lease or otherwise dispose of any of the Postpetition ABL

  Priority Collateral, including pursuant to any Court approved sale process.

                 22.     Prepetition Secured Parties’ Expenses. The Debtors are authorized and

  directed to pay, in accordance with this Interim Order, all reasonable and documented prepetition

  and postpetition fees and out-of-pocket expenses of (a) the Prepetition ABL Agent (limited in the

  case of counsel, to all reasonable and documented out of pocket fees, costs, disbursements and

  expenses of Morgan, Lewis & Bockius LLP and Burr & Forman LLP, and any successor counsel)

  and, (b) solely from the proceeds of Postpetition Term Priority Collateral, the Prepetition Term

  Loan Agent (limited in the case of counsel, to all reasonable and documented out of pocket fees,

  costs, disbursements and expenses of Riemer & Braunstein LLP and Greenberg Traurig, LLP, and

  any successor counsel). Payment of all such fees and expenses shall not be subject to allowance

  by the Court. Professionals for the Prepetition Agents shall not be required to comply with the



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  U.S. Trustee fee guidelines, provided, however that any time such professionals seek payment of

  fees and expenses from the Debtors that were incurred after the Petition Date, each professional

  shall provide summary copies of its fee and expense statements or invoices (which shall not be

  required to contain time entries and which may be redacted or modified to the extent necessary to

  delete any information subject to the attorney-client privilege, any information constituting

  attorney work product, or any other confidential information, and the provision of such invoices

  shall not constitute any waiver of the attorney client privilege or of any benefits of the attorney

  work product doctrine) to the U.S. Trustee and counsel for a Committee (if appointed)

  contemporaneously with the delivery of such summary fee and expense statements to the Debtors.

  Any objections raised by the Debtors, the U.S. Trustee, or a Committee (if appointed) with respect

  to such invoices within ten (10) days of the receipt thereof will be subject to resolution by the

  Court to the extent they cannot be resolved by the applicable parties. Pending such resolution, the

  undisputed portion of any such invoice will be paid promptly by the Debtors. Notwithstanding the

  foregoing, the Debtors are authorized and directed to pay upon entry of this Interim Order all

  reasonable and documented fees, costs, and out-of-pocket expenses of the Prepetition ABL Parties

  as provided in the Prepetition ABL Documents, incurred on or prior to such date without the need

  for any professional engaged by the Prepetition ABL Parties to first deliver a copy of its invoice

  as provided for herein. No attorney or advisor to any Prepetition ABL Party shall be required to

  file an application seeking compensation for services or reimbursement of expenses with the Court.

                 23.    Proofs of Claim. Notwithstanding any order entered by this Court in

  relation to the establishment of a bar date in any of the Cases or any Successor Cases to the

  contrary, the Prepetition ABL Parties and the Prepetition Term Loan Parties will not be required

  to file proofs of claim in any of the Cases or Successor Cases for any claims arising under the



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  Prepetition ABL Documents or the Prepetition Term Loan Documents. The Debtors’ stipulations,

  admissions, and acknowledgments and the provisions of this Interim Order shall be deemed to

  constitute a timely filed proof of claim for the Prepetition ABL Parties and the Prepetition Term

  Loan Parties with regard to all claims arising under the Prepetition ABL Documents or the

  Prepetition Term Loan Documents, as the case may be. Notwithstanding the foregoing, the

  Prepetition ABL Agent on behalf of itself and the Prepetition ABL Parties, and the Prepetition

  Term Loan Agent on behalf of itself and the Prepetition Term Loan Parties, are hereby authorized

  and entitled, in their sole discretion, but not required, to file (and amend and/or supplement, as it

  sees fit) a proof of claim and/or aggregate or master proofs of claim in each of the Cases or

  Successor Cases for any claim described herein (with any such aggregate or master proof of claim

  filed in any of the Cases deemed to be filed in all Cases of each of the Debtors and asserted against

  all of the applicable Debtors). Any proof of claim filed by the Prepetition ABL Agent or the

  Prepetition Term Loan Agent shall be deemed to be in addition to and not in lieu of any other proof

  of claim that may be filed by any of the Prepetition ABL Parties or Prepetition Term Loan Parties.

  Any order entered by the Court in relation to the establishment of a bar date in any of the Cases or

  Successor Cases shall not apply to any claim of the Prepetition ABL Parties or the Prepetition

  Term Loan Parties. The provisions set forth in this paragraph are intended solely for the purpose

  of administrative convenience and shall not affect the substantive rights of any party-in-interest or

  their respective successors-in-interest.

                 24.     Carve Out.

                         (a)     Carve Out. As used in this Interim Order, the “Carve Out” means

  (i) all fees required to be paid to (A) the Clerk of the Court and (B) the Office of the United States

  Trustee under section 1930(a) of title 28 of the United States Code; (ii) all reasonable fees and



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  expenses up to $50,000 (and any interest thereon) incurred by a trustee under section 726(b) of the

  Bankruptcy Code (the “Chapter 7 Trustee Carve Out”); (iii) to the extent allowed at any time

  (regardless of whether allowed by the Court prior to or after delivery of a Carve Out Trigger Notice

  (as defined below)), whether by interim order, procedural order, or otherwise, all accrued and

  unpaid fees and expenses incurred by persons or firms retained by the Debtors pursuant to sections

  327, 328 or 363 of the Bankruptcy Code (the “Debtor Professionals”) and a Committee (if

  appointed) pursuant to sections 328 or 1103 of the Bankruptcy Code (the “Committee

  Professionals” and, together with the Debtor Professionals, the “Professional Persons”) (such fees

  and expenses, the “Allowed Professional Fees”) at any time on or prior to the first business day

  following delivery by the Prepetition ABL Agent of a Carve Out Trigger Notice (as defined

  herein), provided that the amount of such Allowed Professional Fees shall, as relates to the

  Prepetition ABL Parties, the Prepetition ABL Priority Collateral and the Postpetition ABL Priority

  Collateral, not exceed, at any time, the amount set forth for Allowed Professional Fees in the

  Budget at such time (the “ABL Professional Fee Cap”); and (iv) Allowed Professional Fees of

  Professional Persons in an aggregate amount not to exceed $[500,000] incurred after the first

  business day following delivery by the Prepetition ABL Agent of the Carve Out Trigger Notice,

  to the extent allowed at any time, whether by interim order, procedural order or otherwise (the

  amounts set forth in this clause (iv) being the “Post Carve Out Trigger Notice Cap”). For purposes

  of the foregoing, “Carve Out Trigger Notice” shall mean a written notice delivered by email (or

  other electronic means) by the Prepetition ABL Agent to lead restructuring counsel for the

  Debtors, the U.S. Trustee, and lead counsel to a Committee (if appointed), which notice may be

  delivered following the occurrence and during the continuation of an Event of Default (as defined

  herein), stating that the Post-Carve Out Trigger Notice Cap has been invoked. Each Professional



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  Person shall deliver bi-weekly (on Thursday of each such week, beginning on the second Thursday

  following the Petition Date) to the Debtors (and the Debtors shall cause the same to be delivered

  to the Prepetition Agents on the same day received by the Debtors) a statement setting forth a

  good-faith estimate of the amount of fees and expenses incurred during the preceding week by

  such Professional Persons (through Saturday of such week).

                         (b)     Carve Out Reserves. On the day on which a Carve Out Trigger

  Notice is given by the Prepetition ABL Agent (the “Termination Declaration Date”), the Carve

  Out Trigger Notice shall be deemed a demand to the Debtors, and authorization for the Debtors,

  to utilize cash on hand and proceeds of the Postpetition Collateral to fund a reserve in an amount

  equal to the Carve Out. The Debtors shall deposit and hold such amounts in a segregated account

  at the Prepetition ABL Agent in trust exclusively to pay such unpaid Allowed Professional Fees

  (each, a “Carve Out Reserves”). For the avoidance of doubt, the Carve Out Reserves shall

  constitute the primary source for payment of Allowed Professional Fees entitled to benefit from

  the Carve Out, and any lien priorities or superpriority claims granted pursuant to this Interim Order

  or the Final Order to secure payment of the Carve Out shall be limited to the Carve Out Reserves,

  once funded.

                                 Following payment of all Allowed Professional Fees entitled to

  benefit from the Carve Out, any remaining funds in the Carve-Out Reserves funded by (x) the

  proceeds of Postpetition ABL Priority Collateral shall be distributed (A) first, to the Prepetition

  ABL Agent on account of the Obligations (as defined in the Prepetition ABL Agreement) until

  such obligations have been Paid in Full, and (B) second, to the Prepetition Term Loan Agent on

  account of the Obligations (as defined in the Prepetition Term Loan Agreement) until such

  obligations have been Paid in Full; and (y) the proceeds of Postpetition Term Priority Collateral



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  shall be distributed (A) first, to the Prepetition Term Loan Agent which shall apply such funds to

  the Obligations (as defined in the Prepetition Term Loan Agreement) in accordance with the

  Prepetition Term Loan Agreement until such obligations have been Paid in Full, and (B) second,

  to the Prepetition ABL Administrative Agent on account of the Obligations (as defined in the

  Prepetition ABL Agreement) until such obligations have been Paid in Full.

                                 Notwithstanding anything to the contrary in this Interim Order,

  following the end of the third business day after delivery of a Carve Out Trigger Notice, (x) the

  Prepetition ABL Agent shall not sweep or foreclose on cash (including cash received as a result of

  the sale or other disposition of any assets) of the Debtors until the Carve Out Reserves have been

  fully funded, but the Prepetition ABL Agent, on the one hand, and the Prepetition Term Loan

  Agent, on the other hand, shall have a security interest in any residual interests in the Carve Out

  Reserves, with any excess paid as provided above; and (y) the Prepetition Term Loan Agent shall

  not sweep or foreclose on cash (including cash received as a result of the sale or other disposition

  of any assets) of the Debtors until the Carve Out Reserves required to be funded by the proceeds

  of Postpetition Collateral have been fully funded, but shall have a security interest in any residual

  interest in the Carve Out Reserves held in accounts by the Prepetition Term Loan Agent, with any

  excess paid as provided above.

                                 For the avoidance of doubt and notwithstanding anything to the

  contrary herein or in any Prepetition Secured Facilities, to the extent of any shortfall in the Carve

  Out Reserves, the Carve Out shall be senior to all liens and claims securing the Adequate

  Protection Liens and any and all other forms of adequate protection, liens, or claims securing the

  obligations under the Prepetition Documents; provided that in all cases, the Carve Out priority

  with regard to the Prepetition ABL Priority Collateral and the Postpetition ABL Priority Collateral



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  will always be subject to the limitations applicable thereto set forth in the definition of Carve Out.

                         (c)     No Direct Obligation To Pay Allowed Professional Fees. The

  Prepetition Secured Parties shall not be responsible for the payment or reimbursement of any fees

  or disbursements of any Professional Person incurred in connection with the Chapter 11 Cases or

  any Successor Cases under any chapter of the Bankruptcy Code. Nothing in this Interim Order or

  otherwise shall be construed to obligate the Prepetition Secured Parties in any way, to pay

  compensation to, or to reimburse expenses of, any Professional Person or to guarantee that the

  Debtors have sufficient funds to pay such compensation or reimbursement.

                         (d)     Payment of Allowed Professional Fees Prior to the Termination

  Declaration Date.     Any payment or reimbursement made prior to the occurrence of the

  Termination Declaration Date in respect of any Allowed Professional Fees shall not reduce the

  Carve Out.

                         (e)     Payment of Carve Out On or After the Termination Declaration

  Date. Any payment or reimbursement made on or after the occurrence of the Termination

  Declaration Date in respect of any Allowed Professional Fees shall permanently reduce the Carve

  Out on a dollar-for-dollar basis.

                         (f)     Release of Prepetition ABL Parties. Notwithstanding anything to

  the contrary contained herein, (i) prior to the delivery of the Carve Out Trigger Notice, the Debtors

  shall fund the Carve Out Reserves at the reasonable request of the Prepetition ABL Agent in

  consultation with the Prepetition Term Loan Agent, the Debtors and their advisors, and (ii) upon

  the repayment in full of the principal amount of all Loans under the Prepetition ABL Agreement,

  the cash-collateralization of all Letters of Credit under the Prepetition ABL Agreement and the

  funding of the Prepetition ABL Indemnity Reserve (the date that such events occur, the “ABL



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  Repayment Date”), and after the funding of the Carve Out Reserves in an amount equal to, as of

  the ABL Repayment Date, the lesser of (x) the amount set forth in the Budget for Professional

  Persons (plus the amounts set forth in 24(a)(i) and (ii)) and (y) the then accrued Carve Out, the

  Prepetition ABL Parties and the Prepetition ABL Liens shall be released from all further liability

  from the Carve Out (such release shall be a condition to the Prepetition ABL Obligations being

  deemed Paid in Full).

                 25.      Limitations on Use of Cash Collateral, and Carve Out. The Postpetition

  Collateral, the Prepetition Collateral, the Cash Collateral, and the Carve Out may not be used in

  connection with: (a) except to contest the occurrence of an Event of Default, preventing, hindering,

  or delaying any of the Prepetition Secured Parties’ permitted enforcement or realization upon any

  of the Postpetition Collateral or Prepetition Collateral; (b) using or seeking to use Cash Collateral

  except as provided for in this Interim Order; (c) selling or otherwise disposing of Postpetition

  Collateral without the consent of the Prepetition Agents; (d) using or seeking to use any insurance

  proceeds constituting Prepetition Collateral or Postpetition Collateral except as provided for in this

  Interim Order without the consent of the Prepetition ABL Agent or the Prepetition Term Loan

  Agent (in the case of Postpetition Term Priority Collateral); (e) incurring Indebtedness (as defined

  in the Prepetition Documents) without the prior consent of the Prepetition Agents; (f) seeking to

  amend or modify any of the rights granted to the Prepetition Secured Parties under this Interim

  Order or the Prepetition Documents, including seeking to use Cash Collateral and/or Collateral on

  a contested basis; (g) objecting to or challenging in any way the Prepetition Liens, Prepetition

  Secured Obligations, Collateral (including Cash Collateral) or, as the case may be, Prepetition

  Collateral, or any other claims or liens, held by or on behalf of any of the Prepetition Secured

  Parties, respectively; (h) asserting, commencing, or prosecuting any claims or causes of action



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  whatsoever, including any actions under Chapter 5 of the Bankruptcy Code or applicable state law

  equivalents or actions to recover or disgorge payments, against any of the Prepetition Secured

  Parties, or any of their respective affiliates, agents, attorneys, advisors, professionals, officers,

  directors, and employees; (i) litigating, objecting to, challenging, or contesting in any manner, or

  raising any defenses to, the validity, extent, amount, perfection, priority, or enforceability of any

  of the Prepetition Liens, Prepetition Secured Obligations, or any other rights or interests of any of

  the Prepetition Secured Parties; or (j) seeking to subordinate, recharacterize, disallow, or avoid the

  Prepetition Secured Obligations; provided, however, without prejudice to the ability of a

  Committee (if appointed) to contest the Investigation Budget Amount (as defined herein) in

  connection with the Final Hearing, that the Carve Out and such collateral proceeds may be used

  for allowed fees and expenses, in an amount not to exceed, subject to the Final Order, $50,000 in

  the aggregate (the “Investigation Budget Amount”), incurred solely by a Committee (if appointed),

  in investigating (but not prosecuting or challenging), the Prepetition Lien and Claim Matters (as

  defined herein).

                 26.     Payment of Compensation. Nothing herein shall be construed as a consent

  to the allowance of any professional fees or expenses of any Professional Person or shall affect the

  right of the Prepetition Secured Parties to object to the allowance and payment of such fees and

  expenses. So long as an unwaived Event of Default has not occurred, the Debtors shall be

  permitted to pay fees and expenses allowed and payable by final order (that has not been vacated

  or stayed, unless the stay has been vacated) under sections 328, 330, 331, and 363 of the

  Bankruptcy Code, as the same may be due and payable, as reflected in the most recent Budget

  provided by the Debtors to the Prepetition Agents.

                 27.     Effect of Stipulations on Third Parties.



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                         (a)     Generally. The admissions, stipulations, agreements, releases, and

  waivers set forth in paragraph F of this Interim Order (collectively, the “Prepetition Lien and Claim

  Matters”) are and shall be binding on the Debtors, any subsequent trustee, responsible person,

  examiner with expanded powers, any other estate representative, and all creditors and parties in

  interest and all of their successors in interest and assigns, including a Committee (if appointed),

  unless and to the extent that a party in interest with proper standing granted by order of the

  Bankruptcy Court (or other court of competent jurisdiction) has properly filed an adversary

  proceeding or contested matter under the Bankruptcy Rules (other than the Debtors, as to which

  any Challenge (as defined below) is irrevocably waived and relinquished) and (i) has timely filed

  the appropriate pleadings, and timely commenced the appropriate proceeding required under the

  Bankruptcy Code and Bankruptcy Rules, including as required pursuant to Part VII of the

  Bankruptcy Rules (in each case subject to the limitations set forth in this paragraph 27) challenging

  the Prepetition Lien and Claim Matters (each such proceeding or appropriate pleading

  commencing a proceeding or other contested matter, a “Challenge”) by no later than the earlier of

  (A) for a Committee (if appointed), sixty (60) days from the date of formation of the Committee

  (if appointed), or (B) seventy-five (75) days following the entry of the Interim Order for any other

  party in interest with requisite standing (the occurrence of (A) and (B), as applicable, the

  “Challenge Deadline”), as such applicable date may be extended in writing from time to time in

  the sole discretion of the Prepetition ABL Agent (with respect to the Prepetition ABL Documents)

  and the Prepetition Term Loan Agent (with respect to the Prepetition Term Loan Documents), or

  by this Court for good cause shown pursuant to an application filed by a party in interest prior to

  the expiration of the Challenge Deadline, and (ii) this Court enters judgment in favor of the

  plaintiff or movant in any such timely and properly commenced Challenge proceeding and any



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  such judgment has become a final judgment that is not subject to any further review or appeal.

                         (b)     Binding Effect. To the extent no Challenge is timely and properly

  commenced by the Challenge Deadline, or to the extent such proceeding does not result in a final

  and non-appealable judgment or order of this Court that is inconsistent with the Prepetition Lien

  and Claim Matters, then, without further notice, motion, or application to, order of, or hearing

  before, this Court and without the need or requirement to file any proof of claim, the Prepetition

  Lien and Claim Matters shall, pursuant to this Interim Order, become binding, conclusive, and

  final on any person, entity, or party in interest in the Cases, and their successors and assigns, and

  in any Successor Case for all purposes and shall not be subject to challenge or objection by any

  party in interest, including a trustee, responsible individual, examiner with expanded powers, or

  other representative of the Debtors’ estates. Notwithstanding anything to the contrary herein, if

  any such proceeding is properly and timely commenced, the Prepetition Lien and Claim Matters

  shall nonetheless remain binding on all other parties in interest and preclusive as provided in

  subparagraph (a) above except to the extent that any of such Prepetition Lien and Claim Matters

  is expressly the subject of a timely and properly filed Challenge, which Challenge is successful as

  set forth in a final judgment as provided in subparagraph (a) above, and only as to plaintiffs or

  movants that have complied with the terms hereof. To the extent any such Challenge proceeding

  is timely and properly commenced, the Prepetition Secured Parties shall be entitled to payment of

  the related costs and expenses, including, but not limited to, reasonable attorneys’ fees, incurred

  under the Prepetition Documents in defending themselves in any such proceeding as adequate

  protection. Upon a successful Challenge brought pursuant to this paragraph 27, the Court may

  fashion any appropriate remedy.

                 28.     No Third Party Rights. Except as explicitly provided for herein, this



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  Interim Order does not create any rights for the benefit of any third party, creditor, equity holder

  or any direct, indirect, or incidental beneficiary.

                  29.     Section 506(c) Claims. Subject to entry of a Final Order, no costs or

  expenses of administration which have been or may be incurred in the Cases at any time shall be

  charged against the Prepetition Secured Parties or any of their respective claims, the Postpetition

  Collateral, or the Prepetition Collateral pursuant to sections 105 or 506(c) of the Bankruptcy Code,

  or otherwise, without the prior written consent of the Prepetition Secured Parties, as applicable,

  and no such consent shall be implied from any other action, inaction, or acquiescence by any such

  parties.

                  30.     No Marshaling/Applications of Proceeds. Subject to entry of a Final Order,

  the Prepetition Secured Parties shall not be subject to the equitable doctrine of “marshaling” or

  any other similar doctrine with respect to any of the Postpetition Collateral or the Prepetition

  Collateral, as the case may be, and proceeds shall be received and applied pursuant to this Interim

  Order, notwithstanding any other agreement or provision to the contrary.

                  31.     Section 552(b). Subject to entry of a Final Order, the Prepetition Secured

  Parties shall each be entitled to all of the rights and benefits of section 552(b) of the

  Bankruptcy Code, and the “equities of the case” exception under section 552(b) of the Bankruptcy

  Code shall not apply to the Prepetition Secured Parties, with respect to proceeds, products,

  offspring or profits of any of the Prepetition Collateral.

                  32.     Access to Collateral. Subject to and effective upon entry of a Final Order,

  upon expiration of the Remedies Notice Period, the Prepetition Secured Parties, subject to the

  Intercreditor Agreement, shall be permitted to (a) access and recover any and all Prepetition and

  Postpetition Collateral, and (b) enter onto any leased premises of any Debtor and exercise all of



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  the Debtors’ rights and privileges as lessee under such lease in connection with an orderly

  liquidation of the Postpetition Collateral, provided, however, in the case of clause (b),

  notwithstanding anything to the contrary herein, and subject to the Intercreditor Agreement, the

  Prepetition Secured Parties can only enter upon a leased premises during the continuation of an

  Event of Default in accordance with (i) a separate written agreement by and between the

  Prepetition Secured Parties, as applicable, and any applicable landlord, (ii) pre-existing rights of

  the Prepetition Secured Parties, as applicable, and any applicable landlord under applicable

  non-bankruptcy law, (iii) consent of the applicable landlord, or (iv) entry of an order of this Court

  obtained by motion of the applicable Prepetition Secured Party on such notice to the landlord as

  shall be required by this Court; provided, however, that solely with respect to rent due to a landlord

  of any such leased premises, the Prepetition Secured Parties, as applicable, shall be obligated only

  for the payment of rent of the Debtors that first accrues after delivery of the Termination

  Declaration in accordance with paragraph 20 herein that is payable during the period of such

  occupancy by the Prepetition Secured Parties, as applicable, calculated on a daily per diem basis;

  provided, further, that nothing herein shall relieve the Debtors of their obligations pursuant to

  section 365(d)(3) of the Bankruptcy Code for the payment of rent that accrues prior to delivery of

  the Termination Declaration through and including any assumption and/or rejection of any lease.

  Nothing herein shall require the Prepetition Secured Parties to assume any lease as a condition to

  the rights afforded in this paragraph.

                 33.     Limits on Lender Liability. Subject to entry of a Final Order, nothing in

  this Interim Order, the Prepetition Documents, or any other documents related thereto shall in any

  way be construed or interpreted to impose or allow the imposition upon the Prepetition Secured

  Parties of any liability for any claims arising from any activities by the Debtors in the operation of



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  their businesses or in connection with the administration of these Cases. The Prepetition Secured

  Parties shall not, solely by reason of having made loans under the Prepetition Documents, be

  deemed in control of the operations of the Debtors or to be acting as a “responsible person” or

  “owner or operator” with respect to the operation or management of the Debtors (as such terms,

  or any similar terms, are used in the United States Comprehensive Environmental Response,

  Compensation and Liability Act, 42 U.S.C. §§ 9601 et seq., as amended, or any similar federal or

  state statute). Nothing in this Interim Order shall in any way be construed or interpreted to impose

  or allow the imposition upon the Prepetition Secured Parties of any liability for any claims arising

  from the prepetition or postpetition activities of any of the Debtors.

                 34.     Insurance Proceeds and Policies. Upon entry of this Interim Order and to

  the fullest extent provided by applicable law, the Prepetition ABL Agent (on behalf of the

  Prepetition ABL Parties) and the Prepetition Term Loan Agent (on behalf of the Prepetition Term

  Loan Parties), shall be, and shall be deemed to be, without any further action or notice, named as

  additional insured and loss payee on each insurance policy maintained by the Debtors that in any

  way relates to the Postpetition Collateral.

                 35.     Additional Rights of the Prepetition Term Loan Agent. Subject to the

  Prepetition ABL Obligations being Paid in Full and the rights preserved in paragraph 27 herein,

  any reference in this Interim Order to the Prepetition ABL Agent agreeing to or having the right

  to do, or refraining from or having the right to refrain from doing, an act, or providing any consent

  or waiver hereunder, shall automatically, without further order of the Court, be construed as

  referring to the Prepetition Term Loan Agent.

                 36.     Levin DIP Facility. Notwithstanding anything to the contrary contained

  herein or in any order approving the Levin DIP Facility, (a) the DIP Lenders (as defined in the



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  Levin DIP) shall not have a lien on any Prepetition or Postpetition Collateral (other than Prepetition

  or Postpetition Collateral that is DIP Collateral (as defined in the DIP Order), (b) the Prepetition

  ABL Agent (for the benefit of itself and the Prepetition ABL Lenders) shall have a lien (and

  corresponding adequate protection lien) on the DIP Collateral, junior only to the DIP Lenders and

  the Prepetition ABL Permitted Prior Liens, (c) the Prepetition Term Loan Agent (for the benefit

  of itself and the Prepetition Term Loan Lenders) shall have a lien (and corresponding adequate

  protection lien) on the DIP Collateral, junior only to the DIP Lenders, the Prepetition ABL Agent

  and the Prepetition Term Loan Permitted Prior Liens, (d) the Levin DIP shall not be repaid from

  (or have any recourse to) any proceeds of Prepetition or Postpetition Collateral that is not DIP

  Collateral, and (e) the Debtors shall cause the proceeds of DIP Collateral to be deposited into a

  segregated, non-commingled account which is required to be subject to the control of the DIP

  Agent and the Debtors’ use of such proceeds shall be subject to, and distributed in accordance

  with, the Levin DIP Order.

                 37.     Joint and Several Liability. Nothing in this Interim Order shall be construed

  to constitute a substantive consolidation of any of the Debtors’ estates, it being understood,

  however, that the Debtors shall be jointly and severally liable for the obligations hereunder.

                 38.     No Superior Rights of Reclamation. The right of a seller of goods to reclaim

  such goods under section 546(c) of the Bankruptcy Code is not a Permitted Prior Lien; rather, any

  such alleged claims arising or asserted as a right of reclamation (whether asserted under section

  546(c) of the Bankruptcy Code or otherwise) shall have the same rights and priority with respect

  to the Prepetition ABL Liens as such claim had on the Petition Date.

                 39.     Rights Preserved. Notwithstanding anything herein to the contrary, the

  entry of this Interim Order is without prejudice to, and does not constitute a waiver of, expressly



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  or implicitly, subject to the Prepetition Documents and the Intercreditor Agreement: (a) the

  Prepetition Secured Parties’ right to seek any other or supplemental relief in respect of the Debtors;

  (b) any of the rights of any of the Prepetition Secured Parties under the Bankruptcy Code or under

  non-bankruptcy law, including the right to (i) request modification of the automatic stay of section

  362 of the Bankruptcy Code, (ii) request dismissal of any of the Cases or Successor Cases,

  conversion of any of the Cases to cases under Chapter 7, or appointment of a Chapter 11 trustee

  or examiner with expanded powers, or (iii) propose, subject to the provisions of section 1121 of

  the Bankruptcy Code, a Chapter 11 plan or plans; or (c) any other rights, claims, or privileges

  (whether legal, equitable, or otherwise) of any of the Prepetition Secured Parties. Notwithstanding

  anything herein to the contrary, the entry of this Interim Order is without prejudice to, and does

  not constitute a waiver of, expressly or implicitly, the Debtors’, a Committee’s (if appointed), or

  any party in interest’s right to oppose any of the relief requested in accordance with the

  immediately preceding sentence except as expressly set forth in this Interim Order. Entry of this

  Interim Order is without prejudice to any and all rights of any party in interest with respect to the

  terms and approval of the Final Order and, unless otherwise set forth in this Interim Order or the

  Final Order, any other position which any party in interest deems appropriate to raise in the

  Debtors’ Chapter 11 cases.

                 40.     No Waiver by Failure to Seek Relief. The failure of the Prepetition Secured

  Parties to seek relief or otherwise exercise their rights and remedies under this Interim Order, the

  Prepetition Documents, or applicable law, as the case may be, shall not constitute a waiver of any

  of the rights hereunder, thereunder, or otherwise of the Prepetition Secured Parties.

                 41.     Binding Effect of Interim Order. Immediately upon execution by this Court,

  the terms and provisions of this Interim Order shall become valid and binding upon and inure to



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  the benefit of the Debtors, the Prepetition Secured Parties, all other creditors of any of the Debtors,

  a Committee (if appointed), or any other court appointed committee, and all other parties-in-

  interest and their respective successors and assigns, including any trustee or other fiduciary

  hereafter appointed in any of the Cases, any Successor Cases, or upon dismissal of any Case or

  Successor Case.

                 42.     No Modification of Interim Order. Until and unless the Prepetition Secured

  Obligations have been Paid in Full (such payment being without prejudice to any terms or

  provisions contained in the Prepetition ABL Documents which survive such discharge by their

  terms) the Debtors irrevocably waive the right to seek and shall not seek or consent to, directly or

  indirectly: (a) without the prior written consent of the Prepetition Agents, (i) any modification,

  stay, vacatur, or amendment to this Interim Order; or (ii) a priority claim for any administrative

  expense or unsecured claim against the Debtors (now existing or hereafter arising of any kind or

  nature whatsoever, including any administrative expense of the kind specified in sections 503(b),

  506(c), 507(a), or 507(b) of the Bankruptcy Code) in any of the Cases or Successor Cases, equal

  or superior to the Adequate Protection Superpriority Claims, other than the Carve Out; (b) without

  the prior written consent of the Prepetition ABL Agent for any order allowing use of Cash

  Collateral (other than as permitted during the Remedies Notice Period) resulting from Collateral

  or Prepetition Collateral; or (c) without the prior written consent of the Prepetition Agents, any

  lien on any of the Postpetition Collateral with priority equal or superior to the Prepetition Liens or

  Adequate Protection Liens, other than the Carve Out. The Debtors irrevocably waive any right to

  seek any amendment, modification, or extension of this Interim Order without the prior written

  consent, as provided in the foregoing, of the Prepetition Agents, and no such consent shall be

  implied by any other action, inaction or acquiescence of the Prepetition ABL Agent or the



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  Prepetition Term Loan Agent.

                 43.     Continuing Effect of Intercreditor Agreement. The Debtors and Prepetition

  Secured Parties each shall be bound by, and be subject to all the terms, provisions and restrictions

  of the Intercreditor Agreement.

                 44.     Interim Order Controls. In the event of any inconsistency between the terms

  and conditions of the Intercreditor Agreement and this Interim Order (solely as between the

  Prepetition Secured Parties), the provisions of the Intercreditor Agreement shall govern and

  control.

                 45.     Discharge. The obligations of the Debtors with respect to the adequate

  protection provided herein shall not be discharged by the entry of an order confirming any plan of

  reorganization in any of the Cases, notwithstanding the provisions of section 1141(d) of the

  Bankruptcy Code, unless such obligations have been Paid in Full, on or before the effective date

  of such confirmed plan of reorganization, or each of the Prepetition ABL Agent and Prepetition

  Term Loan Agent, as applicable, has otherwise agreed in writing. None of the Debtors shall

  propose or support any plan of reorganization or sale of all or substantially all of the Debtors’

  assets, or order confirming such plan or approving such sale, that does not require that all

  Prepetition ABL Obligations be Paid in Full (in the case of the sale of Postpetition ABL Priority

  Collateral) or that all Prepetition Term Loan Obligations be Paid in Full (in the case of the sale of

  Postpetition Term Priority Collateral), and the payment of the Debtors’ obligations with respect to

  the adequate protection provided for herein, in full in cash within a commercially reasonable period

  of time (and in no event later than the effective date of such plan of reorganization or sale) (a

  “Prohibited Plan or Sale”) without the written consent of each of the Prepetition ABL Agent and

  Prepetition Term Loan Agent, as applicable. For the avoidance of doubt, the Debtors’ proposal or



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  support of a Prohibited Plan or Sale, or the entry of an order with respect thereto, shall constitute

  an Event of Default hereunder.

                 46.     Survival. The provisions of this Interim Order and any actions taken

  pursuant hereto shall survive entry of any order which may be entered: (a) confirming any plan of

  reorganization in any of the Cases; (b) converting any of the Cases to a case under Chapter 7 of

  the Bankruptcy Code; (c) dismissing any of the Cases or any Successor Cases; or (d) pursuant to

  which this Court abstains from hearing any of the Cases or Successor Cases. The terms and

  provisions of this Interim Order, including the claims, liens, security interests, and other

  protections granted to the Prepetition Secured Parties granted pursuant to this Interim Order,

  notwithstanding the entry of any such orders described in (a)-(d), above, shall continue in the

  Cases, in any Successor Cases, or following dismissal of the Cases or any Successor Cases, and

  shall maintain their priority as provided by this Interim Order until: (x) in respect of the Prepetition

  ABL Facility, all of the Prepetition ABL Obligations pursuant to the Prepetition ABL Documents

  and this Interim Order, have been Paid in Full; and (y) in respect of the Prepetition Term Loan

  Agreement, all of the Prepetition Term Loan Obligations pursuant to the Prepetition Term Loan

  Documents and this Interim Order have been Paid in Full. In addition, the terms and provisions

  of this Interim Order shall continue in full force and effect for the benefit of the Prepetition Term

  Loan Parties notwithstanding the repayment in full of the Prepetition ABL Obligations.

                 47.     Final Hearing. The Final Hearing to consider entry of the Final Order is

  scheduled for [________], 2020 at [__]:00 [_].m. (EST) before the Honorable [____________],

  United States Bankruptcy Judge at the United States Bankruptcy Court for the District of

  Delaware. On or before [___________], 2020, the Debtors, or an agent appointed for such

  purpose, shall serve, by United States mail, first-class postage prepaid, notice of the entry of this



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  Interim Order and of the Final Hearing (the “Final Hearing Notice”), together with copies of this

  Interim Order and the Motion, on: (a) the parties having been given notice of the Interim Hearing;

  (b) any party which has filed prior to such date a request for notices with this Court; (c) counsel

  for a Committee (if appointed); (d) the Securities and Exchange Commission; (e) the Internal

  Revenue Service; (f) counsel for the Consultant; and (g) counsel for Levin Furniture, LLC, and

  Levin Towing, LLC. The Final Hearing Notice shall state that any party in interest objecting to

  the entry of the proposed Final Order shall file written objections with the Clerk of the Court no

  later than on [_________], 2020, at [__]:00 p.m. (EST), which objections shall be served so as to

  be received on or before such date by: (i) counsel to the Debtors, Benesch, Friedlander, Coplan &

  Aronoff LLP, 222 Delaware Avenue, Suite 201, Wilmington, Delaware 19801-1611, Attn:

  Michael J. Barrie and Gregory W. Werkheiser; (ii) counsel to the Prepetition ABL Agent, Morgan

  Lewis & Bockius LLP, (a) 101 Park Avenue, New York, New York 10178-0060, Attn: Jennifer

  Feldsher, and (b) One Federal Street, Boston, Massachusetts 02110, Attn: Marjorie Crider and

  Christopher L. Carter, and Burr & Forman LLP, 1201 N. Market Street, Suite 1407, Wilmington,

  Delaware 19801, Attn: J. Cory Falgowski; (iii) counsel to the Prepetition Term Loan Agent,

  Greenberg Traurig, LLP, One International Place, Suite 2000, Boston, MA 02110, Attn: Jeffrey

  M. Wolf; and (iv) counsel to the Committee (if appointed).

                 48.     Nunc Pro Tunc Effect of this Interim Order. This Interim Order shall

  constitute findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052 and shall take

  effect and be enforceable nunc pro tunc to the Petition Date immediately upon execution thereof.

                 49.     Retention of Jurisdiction. The Court has and will retain jurisdiction to

  enforce the terms of, any and all matters arising from or related to the this Interim Order.




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   Dated: __________
   Wilmington, Delaware                        UNITED STATES BANKRUPTCY JUDGE




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                                   EXHIBIT J




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